Case 1:15-cr-00072-TWP-DML Document 148-1 Filed 12/12/16 Page 1 of 349 PageID #:
                                    3365

                                                                             APPEAL,REDACT,CLOSED
                             U.S. District Court
                  Southern District of Indiana (Indianapolis)
          CRIMINAL DOCKET FOR CASE #: 1:15−cr−00072−TWP−DML−1

   Case title: USA v. AL−AWADI
   Magistrate judge case number: 1:15−mj−00073−TAB

   Date Filed: 04/14/2015
   Date Terminated: 06/13/2016

   Assigned to: Judge Tanya
   Walton Pratt
   Referred to: Magistrate Judge
   Debra McVicker Lynch
   Appeals court case number:
   16−2643 7th Circuit

   Trial Date:                                       Final Pretrial Conference:
   Plea and Sentence:                                Sentencing:
   Change of Plea Hearing:                           Accept/Reject Plea Hearing:
   Initial Appearance:                               Pending SRV:

   Defendant (1)
   ALI AL−AWADI                     represented by Charles C. Hayes
   TERMINATED: 06/13/2016                          SWEENEY HAYES LLC
                                                   141 E. Washington
                                                   Suite 225
                                                   Indianapolis, IN 46204
                                                   317−491−1050
                                                   Email: charleshayes.atty@gmail.com
                                                   ATTORNEY TO BE NOTICED
                                                   Designation: Retained

                                                     Dylan A. Vigh
                                                     DULIK & VIGH
                                                     120 East Market Street
                                                     12th Floor
                                                     Indianapolis, IN 46204
                                                     317−636−0708
                                                     Fax: 317−636−1603
                                                     Email: dvighlaw@gmail.com
                                                     TERMINATED: 04/23/2015
                                                     ATTORNEY TO BE NOTICED
                                                     Designation: Retained


                                                                                                    1
Case 1:15-cr-00072-TWP-DML Document 148-1 Filed 12/12/16 Page 2 of 349 PageID #:
                                    3366

                                           Jane Ruemmele
                                           HAYES RUEMMELE LLC
                                           141 E. Washington St.
                                           Suite 225
                                           Indianapolis, IN 46204
                                           (317) 491−1050
                                           Fax: (317) 491−1043
                                           Email: janeruemmele@gmail.com
                                           ATTORNEY TO BE NOTICED
                                           Designation: Retained

                                           Ross G. Thomas
                                           3728 N. Delaware Street
                                           Indianapolis, IN 46205−3434
                                           (317) 920−2840
                                           Fax: (317) 920−2875
                                           Email: rossthomas@defenselawyerindiana.com
                                           ATTORNEY TO BE NOTICED
                                           Designation: Retained

   Pending Counts                          Disposition
   18:2251.F PRODUCTION OF
   CHILD PORNOGRAHY                        SUPERSEDED
   (1)
   18:2251.F PRODUCTION OF
   CHILD PORNOGRAPHY                       SUPERSEDED
   (1s−4s)
                                           Defendant was Found Guilty of Counts 1,2,4,7.
   18:2251.F PRODUCTION OF                 IMPRISONMENT: 324 Months Per Count,
   CHILD PORNOGRAPHY                       concurrent. SUPERVISED RELEASE: 15 Years Per
   (1ss−2ss)                               Count, Concurrent. S.A. Fee: $400.00.
                                           RESTITUTION: $9,000.
   18:2251.F PRODUCTION OF
   CHILD PORNOGRAPHY                       NOT GUILTY
   (3ss)
                                           Defendant was Found Guilty of Counts 1,2,4,7.
   18:2251.F PRODUCTION OF                 IMPRISONMENT: 324 Months Per Count,
   CHILD PORNOGRAPHY                       concurrent. SUPERVISED RELEASE: 15 Years Per
   (4ss)                                   Count, Concurrent. S.A. Fee: $400.00.
                                           RESTITUTION: $9,000.
   18:2251.F ATTEMPTED
   PRODUCTION OF CHILD
                                           SUPERSEDED
   PORNOGRAPHY
   (5s−8s)
   18:2251.F ATTEMPTED
   PRODUCTION OF CHILD
                                           DISMISSED
   PORNOGRAPHY
   (5ss−6ss)

                                                                                           2
Case 1:15-cr-00072-TWP-DML Document 148-1 Filed 12/12/16 Page 3 of 349 PageID #:
                                    3367

                                           Defendant was Found Guilty of Counts 1,2,4,7.
   18:2251.F ATTEMPTED
                                           IMPRISONMENT: 324 Months Per Count,
   PRODUCTION OF CHILD
                                           concurrent. SUPERVISED RELEASE: 15 Years Per
   PORNOGRAPHY
                                           Count, Concurrent. S.A. Fee: $400.00.
   (7ss)
                                           RESTITUTION: $9,000.
   18:2251.F ATTEMPTED
   PRODUCTION OF CHILD
                                           DISMISSED
   PORNOGRAPHY
   (8ss)

   Highest Offense Level
   (Opening)
   Felony

   Terminated Counts                       Disposition
   None

   Highest Offense Level
   (Terminated)
   None

   Complaints                              Disposition
   SEXUAL EXPLOITATION OF
   A CHILD



   Plaintiff
   USA                                 represented by Bradley Paul Shepard
                                                      UNITED STATES ATTORNEY'S
                                                      OFFICE
                                                      10 West Market Street
                                                      Suite 2100
                                                      Indianapolis, IN 46204
                                                      317−226−6333
                                                      Fax: (317) 226−6125
                                                      Email: brad.shepard@usdoj.gov
                                                      ATTORNEY TO BE NOTICED
                                                      Designation: Government Attorney

                                                     Kristina M. Korobov
                                                     UNITED STATES ATTORNEY'S
                                                     OFFICE
                                                     10 West Market Street
                                                     Suite 2100
                                                     Indianapolis, IN 46204
                                                     (317) 226−6333
                                                     Email: kristina.korobov@usdoj.gov
                                                                                           3
Case 1:15-cr-00072-TWP-DML Document 148-1 Filed 12/12/16 Page 4 of 349 PageID #:
                                    3368

                                                               ATTORNEY TO BE NOTICED

    Date Filed   #    Page Docket Text
    02/02/2015    1        COMPLAINT & AFFIDAVIT approved and signed by Judge Magistrate Judge
                           Tim A. Baker, as to ALI AL−AWADI (1). Electronic Notice to USM. (CBU)
                           [1:15−mj−00073−TAB] (Entered: 02/03/2015)
    02/02/2015    3        NOTICE OF ATTORNEY APPEARANCE Steven D. DeBrota appearing for
                           USA. (CBU) [1:15−mj−00073−TAB] (Entered: 02/03/2015)
    02/02/2015             NOTICE OF ATTORNEY APPEARANCE Charnette Darlene Garner
                           appearing for USA. (CBU) [1:15−mj−00073−TAB] (Entered: 02/03/2015)
    02/03/2015    5        WAIVER of Preliminary Hearing by ALI AL−AWADI (BAS)
                           [1:15−mj−00073−TAB] (Entered: 02/03/2015)
    02/03/2015    6        Arrest Warrant Returned by US Marshal. Service of Warrant EXECUTED on
                           2/3/2015 in case as to ALI AL−AWADI. (BAS) [1:15−mj−00073−TAB]
                           (Entered: 02/03/2015)
    02/04/2015    7        MINUTE ORDER for proceedings held before Magistrate Judge Tim A.
                           Baker: Initial Appearance on Complaint held on 2/3/2015. Defendant ALI
                           AL−AWADI appears in person and by FCD counsel Mike Donahoe.
                           Appearance for the USA by AUSA Steve DeBrota. USPO represented by
                           Mandy Burton. Charges, Rights and Penalties explained. Defendant waived his
                           right to a detention hearing and probable cause was found. Government orally
                           moved for pretrial detention and a hearing was granted. Detention Hearing set
                           for 2/6/2015 01:30 PM in room #238, United States Courthouse, 46 E. Ohio
                           Street, Indianapolis, Indiana before Criminal Duty Magistrate Judge.
                           Government orally moved to unseal the case file and the same granted.
                           Defendant is remanded to custody of USM. Signed by Magistrate Judge Tim
                           A. Baker. (BAS) [1:15−mj−00073−TAB] (Entered: 02/04/2015)
    02/05/2015    8        NOTICE OF ATTORNEY APPEARANCE: Dylan A. Vigh appearing for ALI
                           AL−AWADI (Retained). (Vigh, Dylan) [1:15−mj−00073−TAB] (Entered:
                           02/05/2015)
    02/05/2015    9        WAIVER of Detention by ALI AL−AWADI. (Vigh, Dylan)
                           [1:15−mj−00073−TAB] (Entered: 02/05/2015)
    02/06/2015   10        ORDER accepting Waiver of Detention as to ALI AL−AWADI. Defendant
                           ordered detained. Hearing set for 2/6/15 is vacated. (Marginal Notation).
                           Signed by Magistrate Judge Tim A. Baker on 2/6/2015. (MAC)
                           [1:15−mj−00073−TAB] (Entered: 02/06/2015)
    02/25/2015   11        MOTION for Extension of Time to May 1, 2015 to File an Indictment by USA
                           as to ALI AL−AWADI. (Attachments: # 1 Text of Proposed Order)(Garner,
                           Charnette) [1:15−mj−00073−TAB] (Entered: 02/25/2015)
    02/26/2015   12        ORDER granting 11 Motion for Extension of Time to File an Indictment or an
                           Information as to ALI AL−AWADI (1) to and including May 1, 2015. Signed
                           by Magistrate Judge Mark J. Dinsmore on 2/26/2015.(MGG)
                           [1:15−mj−00073−TAB] (Entered: 02/27/2015)
    03/05/2015   13
                                                                                                           4
Case 1:15-cr-00072-TWP-DML Document 148-1 Filed 12/12/16 Page 5 of 349 PageID #:
                                    3369


                        MOTION to Withdraw Attorney Appearance by Charnette D. Garner. by USA
                        as to ALI AL−AWADI. (Attachments: # 1 Text of Proposed Order)(Garner,
                        Charnette) [1:15−mj−00073−TAB] (Entered: 03/05/2015)
    03/06/2015   14     NOTICE OF ATTORNEY APPEARANCE Bradley Paul Shepard appearing
                        for USA. (Shepard, Bradley) [1:15−mj−00073−TAB] (Entered: 03/06/2015)
    03/09/2015   16     ORDER granting 13 Motion to Withdraw Attorney Appearance. Charnette
                        Darlene Garner withdrawn from case on behalf of the USA. Signed by
                        Magistrate Judge Mark J. Dinsmore on 3/9/2015.(CBU)
                        [1:15−mj−00073−TAB] (Entered: 03/11/2015)
    03/10/2015   15     MOTION to Withdraw Attorney Appearance by Steven D. DeBrota. by USA
                        as to ALI AL−AWADI. (Attachments: # 1 Text of Proposed Order)(DeBrota,
                        Steven) [1:15−mj−00073−TAB] (Entered: 03/10/2015)
    03/11/2015   17     ORDER granting 15 Motion to Withdraw Attorney Appearance. Steven D.
                        DeBrota withdrawn from case as counsel for the USA. Signed by Magistrate
                        Judge Denise K. LaRue on 3/11/2015.(CBU) [1:15−mj−00073−TAB]
                        (Entered: 03/12/2015)
    04/08/2015   18     NOTICE OF ATTORNEY APPEARANCE: Ross G. Thomas appearing for
                        ALI AL−AWADI (Retained). (Thomas, Ross) [1:15−mj−00073−TAB]
                        (Entered: 04/08/2015)
    04/14/2015   19     INDICTMENT as to ALI AL−AWADI (1) count(s) 1. Electronic Notice to
                        USM. (MGG) (Entered: 04/15/2015)
    04/14/2015   22     NOTICE OF ATTORNEY APPEARANCE Bradley Paul Shepard appearing
                        for USA. (MGG) (Entered: 04/15/2015)
    04/15/2015   26     NOTIFICATION of Assigned Judge, Automatic Not Guilty Plea, Trial Date,
                        Discovery Order and Other Matters as to ALI AL−AWADI. Jury Trial set for
                        6/15/2015 09:00 AM in room #344, United States Courthouse, 46 E. Ohio
                        Street, Indianapolis, Indiana before Judge Tanya Walton Pratt. Electronic
                        Notice to USM. Signed by Judge Tanya Walton Pratt on 4/15/2015. (MGG)
                        (Entered: 04/15/2015)
    04/17/2015   27     SCHEDULING ORDER as to ALI AL−AWADI Initial Appearance set for
                        4/23/2015 02:30 PM in room #243, United States Courthouse, 46 E. Ohio
                        Street, Indianapolis, Indiana before Criminal Duty Magistrate Judge. Signed by
                        Magistrate Judge Debra McVicker Lynch on 4/17/2015. (BAS) (Entered:
                        04/20/2015)
    04/20/2015   28     MOTION to Withdraw Attorney Appearance by Dylan Vigh. by ALI
                        AL−AWADI. (Vigh, Dylan) (Entered: 04/20/2015)
    04/20/2015   29     SCHEDULING ORDER as to ALI AL−AWADI (1) − The trial by jury in this
                        matter remains set for June 15, 2015 at 9:00 a.m. Accordingly, this matter is set
                        for final pretrial conference on May 27, 2015 at 11:00 a.m. in Room 344,
                        BirchBayh Federal Building and United States Courthouse, Indianapolis,
                        Indiana. Counsel shall be prepared to fully discuss the status of the action in
                        accordance with the agenda for final pretrial conferences set out in this Court's
                        Courtroom Practice and Trial Procedures. The Defendant is ordered to appear
                        at the final pretrial conference. **SEE ORDER**. Signed by Judge Tanya
                        Walton Pratt on 4/20/2015. (MGG) (Entered: 04/21/2015)
                                                                                                            5
Case 1:15-cr-00072-TWP-DML Document 148-1 Filed 12/12/16 Page 6 of 349 PageID #:
                                    3370


    04/22/2015   30     Submission of Proposed Order , re 28 MOTION to Withdraw Attorney
                        Appearance by Dylan Vigh. by ALI AL−AWADI. (Vigh, Dylan) (Entered:
                        04/22/2015)
    04/23/2015   31     ORDER granting 28 Motion to Withdraw Attorney Appearance. Dylan A.
                        Vigh withdrawn from case as to ALI AL−AWADI (1). Signed by Judge Tanya
                        Walton Pratt on 4/23/2015.(AH) (Entered: 04/23/2015)
    04/23/2015   32     Arrest Warrant Returned by US Marshal. Service of Warrant EXECUTED on
                        4/23/2015 in case as to ALI AL−AWADI. (BAS) (Entered: 04/24/2015)
    04/23/2015   33     MINUTE ORDER for proceedings held before Magistrate Judge Denise K.
                        LaRue: Initial Appearance on Indictment held on 4/23/2015. Defendant ALI
                        AL−AWADI appears in person and by retained counsel Ross Thomas.
                        Appearance for the USA by AUSA Cindy Cho for AUSA Brad Shepard.
                        Charges, Rights and Penalties explained. Parties ordered to meet and confer
                        regarding disclosure of evidence on or before 5/7/15. Defendant waived his
                        right to a detention hearing on 2/5/15 and that waiver stands. Defendant waived
                        formal arraignment. Defendant is remanded to custody of USM. Signed by
                        Magistrate Judge Denise K. LaRue. (BAS) (Entered: 04/24/2015)
    05/15/2015   34     MOTION to Continue by USA as to ALI AL−AWADI (1). (Attachments: # 1
                        Text of Proposed Order)(Shepard, Bradley) Modified on 5/18/2015 (CKM).
                        (Entered: 05/15/2015)
    05/18/2015   35     ORDER − granting 34 Motion to Continue as to ALI AL−AWADI (1); The
                        June 15, 2015 trial and the May 27, 2015 final pretrial conference are
                        VACATED. Final Pretrial Conference is reset for 10/7/2015 02:30 PM in room
                        #344, United States Courthouse, 46 E. Ohio Street, Indianapolis, Indiana
                        before Judge Tanya Walton Pratt. Jury Trial is reset for 10/26/2015 09:00 AM
                        before Judge Tanya Walton Pratt. The Defendant shall appear at the final
                        pretrial conference. The deadlines for pretrial filings are due in accordance
                        with the order at Dkt. 29. Signed by Judge Tanya Walton Pratt on
                        5/18/2015.(CKM) (Entered: 05/18/2015)
    09/21/2015   36     MOTION TO CONTINUE PRE−TRIAL CONFERENCE, JURY TRIAL DATE
                        AND ALL ASSOCIATED PRE−TRIAL FILING DEADLINES by USA as to
                        ALI AL−AWADI (1). (Attachments: # 1 Text of Proposed Order)(Shepard,
                        Bradley) (Entered: 09/21/2015)
    09/22/2015   37     ORDER granting United States' 36 Motion as to ALI AL−AWADI (1).
                        Scheduling: Jury Trial reset for 2/22/2016 at 09:00 AM in room #344, United
                        States Courthouse, 46 E. Ohio Street, Indianapolis, Indiana before Judge Tanya
                        Walton Pratt., Pretrial Conference reset for 2/3/2016 at 03:00 PM in room
                        #344, United States Courthouse, 46 E. Ohio Street, Indianapolis, Indiana
                        before Judge Tanya Walton Pratt., Status Conference set for 10/8/2015 10:00
                        AM in room #344, United States Courthouse, 46 E. Ohio Street, Indianapolis,
                        Indiana before Judge Tanya Walton Pratt. Signed by Judge Tanya Walton Pratt
                        on 9/22/2015.(MAC) (Entered: 09/23/2015)
    10/08/2015   38     MINUTE ENTRY for status conference held before Judge Tanya Walton Pratt
                        on 10/8/2015: Defendant ALI AL−AWADI (1) appeared in person and by
                        retained counsel Ross G. Thomas who apeared telephonically. Appearance for
                        the USA by AUSA Brad Shepard. An accept or reject hearing was scheduled
                        for January 14, 2016 at 10:30 a.m. in Courtroom 344. Case remains set for final
                                                                                                          6
Case 1:15-cr-00072-TWP-DML Document 148-1 Filed 12/12/16 Page 7 of 349 PageID #:
                                    3371


                         pretrial conference on February 3, 2016 at 3:00 p.m. in Courtroom 344 and trial
                         by jury on February 22, 2016 at 9:00 a.m. in Courtroom 344. Signed by Judge
                         Tanya Walton Pratt. (Court Reporter David Moxley) (TRG) (Entered:
                         10/08/2015)
    01/06/2016   39      SCHEDULING ORDER − Due to a conflict of the Court's schedule, the accept
                         or reject hearing set for Thursday, January 14, 2016 at 10:30 a.m. is
                         RESCHEDULED to Thursday, January 14, 2016 at 2:00 p.m. in Courtroom
                         344, Birch Bayh Federal Building and United States Courthouse, 46 East Ohio
                         Street, Indianapolis, Indiana. Please make note of this time change. SO
                         ORDERED. Signed by Judge Tanya Walton Pratt on 1/6/2016. (JLS) (Entered:
                         01/06/2016)
    01/06/2016   41   16 SUPERSEDING INDICTMENT as to ALI AL−AWADI (1) count(s) 1s−4s,
                         5s−8s. Electronic Notice to USM. (JLS) (Entered: 01/07/2016)
    01/06/2016   44      NOTICE OF ATTORNEY APPEARANCE Bradley Paul Shepard appearing
                         for USA. (JLS) (Entered: 01/07/2016)
    01/06/2016   48      PENALTIES Form as to ALI AL−AWADI (1). (JLS) (Entered: 01/07/2016)
    01/07/2016   40      NOTICE OF ATTORNEY APPEARANCE Kristina M. Korobov appearing
                         for USA. (Korobov, Kristina) (Entered: 01/07/2016)
    01/13/2016   49      MOTION for Extension of Time to File Response/Reply as to 29 Scheduling
                         Order Pre−Trial Filings by USA as to ALI AL−AWADI (1). (Attachments: #
                         1 Text of Proposed Order)(Shepard, Bradley) (Entered: 01/13/2016)
    01/14/2016   50      ORDER FOR EXTENSION OF PRE−TRIAL FILINGS − This matter is
                         before the Court upon Government's Motion to Extend the Pre−Trial Filings,
                         presently set in this cause, and the Court, being duly advised, now finds the
                         Motion well taken, and that the Motion should be GRANTED for the reasons
                         set forth in Government's Motion. IT IS THEREFORE ORDERED that the
                         Court continue ALI AL−AWADI's Pre−Trial filing deadlines until January 22,
                         2016. Signed by Judge Tanya Walton Pratt on 1/14/2016.(JLS) (Entered:
                         01/14/2016)
    01/14/2016   51      Arrest Warrant Returned by US Marshal. Service of Warrant EXECUTED on
                         1/14/2016 in case as to ALI AL−AWADI (1). Electronic Notice to
                         USM.(TRG) (Entered: 01/14/2016)
    01/14/2016   52      PENALTIES Form executed as to ALI AL−AWADI (1). (TRG) (Entered:
                         01/14/2016)
    01/15/2016   53      MINUTE ENTRY for initial hearing held before Judge Tanya Walton Pratt on
                         1/14/2016: Defendant ALI AL−AWADI (1) appeared in person and by retained
                         counsel Ross G. Thomas. Appearance for the USA by AUSA Brad Shepard
                         and Kristina Korobov. Initial Appearance on Indictment held on 1/14/2016.
                         Charges, Rights and Penalties explained. Defendant waived formal
                         arraignment. All plea offers rejected. Case remains set for jury trial on
                         February 22, 2016. Defendant is remanded to custody of USM. Case remains
                         set for trial on February 22, 2016. Signed by Judge Tanya Walton Pratt. (Court
                         Reporter David Moxley) (TRG) (Entered: 01/15/2016)
    01/22/2016   54      *** WITHDRAWN Per Court's 61 order *** Submission Governments Expert
                         Disclosure by USA as to ALI AL−AWADI (1). (Shepard, Bradley) Modified
                                                                                                           7
Case 1:15-cr-00072-TWP-DML Document 148-1 Filed 12/12/16 Page 8 of 349 PageID #:
                                    3372


                           on 1/25/2016 (JLS). Modified on 1/25/2016 (JLS). (Entered: 01/22/2016)
    01/22/2016   55        MOTION to Withdraw Document 54 Submission Government's Expert
                           Disclosure by USA as to ALI AL−AWADI (1). (Attachments: # 1 Text of
                           Proposed Order)(Shepard, Bradley) (Entered: 01/22/2016)
    01/22/2016   56        Submission Governments Expert Disclosure by USA as to ALI AL−AWADI
                           (1). (Attachments: # 1 Exhibit Bates CV, # 2 Exhibit Melton CV, # 3 Exhibit
                           Woodall CV, # 4 Exhibit Hicks CV, # 5 Exhibit Fishburn CV, # 6 Exhibit
                           Hayes−Anderson CV)(Shepard, Bradley) (Entered: 01/22/2016)
    01/22/2016   57    19 Submission Governments Notice of Intent to Use Evidence by USA as to ALI
                          AL−AWADI (1). (Attachments: # 1 Exhibit Exh A − Center of Hope Records,
                          # 2 Exhibit Exh B − Marion County Forensics, # 3 Exhibit Exh C − Day Care
                          employees Written statements, # 4 Exhibit Exh D − Defendants Interview
                          transcript)(Shepard, Bradley) (Entered: 01/22/2016)
    01/22/2016   58   248 Submission Governments Second Notice of Intent to by USA as to ALI
                          AL−AWADI (1). (Attachments: # 1 Exhibit Exh A − Excerpt from Bright
                          Horizons Handbook)(Shepard, Bradley) (Entered: 01/22/2016)
    01/22/2016   59   259 Submission Gov't Notce of intent to Use Evidence under F.R.E. 801 and F.R.E.
                          803 by USA as to ALI AL−AWADI (1). (Shepard, Bradley) (Entered:
                          01/22/2016)
    01/22/2016   60        EXHIBIT LIST and WITNESS LIST by USA as to ALI AL−AWADI (1)
                           (Shepard, Bradley) Modified on 1/25/2016 (TRG). (Entered: 01/22/2016)
    01/25/2016   61   262 ORDER − This matter is before the Court on the United States' Motion to
                          Withdraw, Docket Number 54 and the Court being duly advised, now grants
                          the motion. It is hereby ORDERED that the Clerk of Court show this filing as
                          WITHDRAWN. Signed by Judge Tanya Walton Pratt on 1/25/2016.(JLS)
                          (Entered: 01/25/2016)
    02/02/2016   62        ORDER − No later than February 5, 2016, parties shall confer and file a joint
                           set of proposed jury instructions and verdict forms. Signed by Judge Tanya
                           Walton Pratt on 2/2/2016. (TRG) (Entered: 02/02/2016)
    02/03/2016   63        SUPERSEDING INDICTMENT as to ALI AL−AWADI (1) count(s) 1ss−4ss,
                           5ss−8ss. Electronic Notice to USM. (JLS) (Entered: 02/03/2016)
    02/03/2016   66        NOTICE OF ATTORNEY APPEARANCE Bradley Paul Shepard appearing
                           for USA. (JLS) (Entered: 02/03/2016)
    02/03/2016   70        PENALTIES Form as to ALI AL−AWADI (1). (JLS) (Entered: 02/03/2016)
    02/03/2016   71        MINUTE ENTRY for final pretrial held before Judge Tanya Walton Pratt on
                           2/3/2016: Defendant ALI AL−AWADI (1) appeared in person and by retained
                           counsel Ross G. Thomas. The Defendant executed a Waiver of Initial
                           Appearance, Arraignment and Execution of Warrant on Superseding
                           Indictment and a Charges and Penalties sheet in open court. Discussion held
                           regarding pending motions, anticipated witnesses and exhibits. The Court will
                           issue a separate Entry consistent with Federal Rule of Criminal Procedure 17.1.
                           This matter remains set for trial by jury on 2/22/16 at 9:00 a.m. in Courtroom
                           344, Birch Bayh Federal Building and United States Courthouse, Indianapolis,
                           Indiana. Signed by Judge Tanya Walton Pratt. (Court Reporter David Moxley)

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Case 1:15-cr-00072-TWP-DML Document 148-1 Filed 12/12/16 Page 9 of 349 PageID #:
                                    3373


                           (TRG) (Entered: 02/03/2016)
    02/03/2016   72        PENALTIES Form executed in open court as to ALI AL−AWADI (1). (JLS)
                           (Entered: 02/04/2016)
    02/04/2016   73        WAIVER of Initial Appearance, Arraignment, and Execution of Warrant on
                           Superseding Indictment by ALI AL−AWADI (1). (JLS) (Entered: 02/04/2016)
    02/05/2016   74   263 NOTICE Supplemental Brief in support by USA as to ALI AL−AWADI (1) re
                          57 Submission (Shepard, Bradley) (Entered: 02/05/2016)
    02/05/2016   75        Proposed Jury Instructions by USA as to ALI AL−AWADI (1) (Shepard,
                           Bradley) (Entered: 02/05/2016)
    02/05/2016   76        Submission Verdict Forms by USA as to ALI AL−AWADI (1). (Shepard,
                           Bradley) (Entered: 02/05/2016)
    02/05/2016   77        ENTRY FOLLOWING FINAL PRETRIAL CONFERENCE − The trial in this
                           matter is scheduled for five days beginning Monday, February 22, 2016, at
                           9:00 a.m. in Courtroom 344, Birch Bayh Federal Building and United States
                           Courthouse, Indianapolis, Indiana. The doors to the Courtroom will be
                           unlocked at 7:30 a.m. Attorneys and the Defendant are ordered to appear by
                           8:00 a.m. The jury is scheduled to arrive at 8:30 a.m., and panel selection will
                           begin at 9:00 a.m. To accommodate counsel, trial will begin on subsequent
                           days at 9:30 a.m. (See order for instructions and further information). Signed
                           by Judge Tanya Walton Pratt on 2/5/2016. (JLS) (Entered: 02/05/2016)
    02/19/2016   78   271 EXHIBIT LIST by USA as to ALI AL−AWADI (1) (Shepard, Bradley)
                          (Entered: 02/19/2016)
    02/23/2016   79        MINUTE ENTRY for jury trial held before Judge Tanya Walton Pratt on
                           2/22/2016 (Day 1): Parties appeared by counsel. Jury seated and sworn.
                           Opening statements presented. Government began presentation of
                           case−in−chief. Evidence and testimony presented. Parties instructed to return at
                           9:00 a.m., Tuesday, February 23, 2016. Signed by Judge Tanya Walton Pratt.
                           (Court Reporter David Moxley) (TRG) (Entered: 02/23/2016)
    02/23/2016   80   277 Preliminary Jury Instructions as to ALI AL−AWADI read into the record.
                          (TRG) (Entered: 02/23/2016)
    02/23/2016   81        MINUTE ENTRY for jury trial held before Judge Tanya Walton Pratt on
                           2/23/2016 (Day 2): Parties appeared by counsel. Testimony presented and
                           evidence entered. Jury instructed to return at 8:45 a.m., Wednesday, February
                           24, 2016. Parties instructed to return at 8:30 a.m., Wednesday, February 24,
                           2016. Signed by Judge Tanya Walton Pratt. (Court Reporter David Moxley)
                           (TRG) (Entered: 02/23/2016)
    02/25/2016   82        MINUTE ENTRY for jury trial held before Judge Tanya Walton Pratt on
                           2/24/2016 (Day 3): Parties appeared by counsel. Testimony presented and
                           evidence entered. Government rested its case−in−chief. Defendant began
                           presentation of his case−in−chief. Jury instructed to return at 10:00 a.m. on
                           2/25/16. Parties instructed to return at 9:00 a.m. on 2/25/16. Signed by Judge
                           Tanya Walton Pratt. (Court Reporter David Moxley) (TRG) (Entered:
                           02/25/2016)
    02/26/2016   83

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Case 1:15-cr-00072-TWP-DML Document 148-1 Filed 12/12/16 Page 10 of 349 PageID #:
                                    3374


                           MINUTE ENTRY for jury trial held before Judge Tanya Walton Pratt on
                           2/25/2016 (Day 4): Parties appeared by counsel. Closing arguments presented.
                           Final instructions read. Jury retired for deliberation. Jury reached a verdict.
                           Jury found the Defendant GUILTY as charged in Counts 1, 2, 4, 5, 6, 7, and 8
                           and NOT GUILTY as to Count 3 of the Second Superseding Indictment.
                           Counsel disagreed regarding entering judgment. Government shall file a
                           written statement regarding their position on 2/26/2016. Defendant may file his
                           response no later 2/29/2016. USPO directed to prepare PSR. Sentencing set
                           6/2/2016 at 10:30 a.m. in Courtroom 344. Defendant remanded to custody of
                           USM. Signed by Judge Tanya Walton Pratt. (Court Reporter David Moxley)
                           (TRG) (Entered: 02/26/2016)
    02/26/2016   84        MOTION to Vacate Counts 5, 6 and 8 by USA as to ALI AL−AWADI (1).
                           (Shepard, Bradley) (Entered: 02/26/2016)
    02/26/2016   85        JURY VERDICT as to ALI AL−AWADI (1) Guilty on Count
                           1ss−2ss,4ss,5ss−8ssALI AL−AWADI (1) Not Guilty on Count 3ss. **Verdict
                           vacated as to Counts 5,6 and 8 pursuant to Order 92 ** (JLS) Modified on
                           3/2/2016 (JLS). (Entered: 02/26/2016)
    02/26/2016   87   292 Final Jury Instructions as to ALI AL−AWADI (1) (JLS) (Entered: 02/26/2016)
    02/26/2016   88   325 EXHIBITS ADMITTED INTO EVIDENCE DURING TRIAL.(JLS) (Entered:
                          02/26/2016)
    02/26/2016   89        BAILIFF AND MEAL ENTRY THE HONORABLE TANYA WALTON
                           PRATT, DISTRICT JUDGE − IT IS ORDERED that the jury in this cause be
                           committed to the custody of the bailiffs, Tanesa Genier and Kelly Brewer. The
                           Clerk is ORDERED to provide lunch for fourteen (14) jurors. Signed by Judge
                           Tanya Walton Pratt on 2/26/2016. (JLS) (Entered: 02/26/2016)
    02/26/2016   90        ENTRY ON TRIAL EXHIBITS − The Court now ORDERS the Government
                           and its agents to keep and maintain custody and control over the trial exhibits
                           that, due to their size or nature (containing biological or biohazardous
                           material), cannot easily be maintained by the Clerk's Office. The Government
                           shall substitute photographs of these exhibits to stand in place of the originals,
                           which photographs shall then be maintained by the Clerk's Office. Signed by
                           Judge Tanya Walton Pratt on 2/26/2016. (JLS) (Entered: 02/26/2016)
    03/01/2016   92        ORDER − The Defendant was convicted after a trial by jury of Counts 1, 2, 4,
                           5, 6, 7, and 8. At the conclusion of the proceedings, the Court took under
                           advisement whether it could impose convictions on Counts 5, 6, and 8 because
                           they were lesser included offenses of Counts 1, 2, and 4. Based upon the
                           Supreme Court's holdings in Rutledge v. United States, 517 U.S. 292 (1996)
                           and Rey v. United States, 481 U.S. 736 (1987), the convictions must be
                           vacated. WHEREFOR, the Court vacates the verdict for Counts 5, 6, and 8, and
                           enters a judgment of conviction for Counts 1, 2, 4, and 7. Signed by Judge
                           Tanya Walton Pratt on 3/1/2016.(JLS) (Entered: 03/01/2016)
    04/28/2016   94        MOTION for Extension of Time to May 5, 2016 to file objections to PSI by
                           ALI AL−AWADI (1). (Attachments: # 1 Text of Proposed Order)(Thomas,
                           Ross) (Entered: 04/28/2016)
    04/29/2016   95        ORDER ON DEFENDANT'S MOTION TO EXTEND DEADLINE FOR
                           FILING OBJECTIONS TO PRESENTENCE REPORT − The Defendant, Ali

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Case 1:15-cr-00072-TWP-DML Document 148-1 Filed 12/12/16 Page 11 of 349 PageID #:
                                    3375


                            Al−Awadi, by counsel, Ross G. Thomas, having moved to extend the deadline
                            for noting objections to the Presentence Report, and the Court having
                            considered the same and being duly advised, now GRANTS said Motion and
                            extends the deadline to May 5, 2016. Copy to U.S. Probation per distribution
                            list. Signed by Judge Tanya Walton Pratt on 04/29/2016.(JLS) (Entered:
                            05/02/2016)
    05/05/2016    97        SCHEDULING ORDER − This matter is set for sentencing on June 2, 2016.
                            The hearing will now be held at 8:30 a.m. in Courtroom 344, Birch Bayh
                            Federal Building and United States Courthouse, Indianapolis, Indiana. Please
                            make note of the time change. Signed by Judge Tanya Walton Pratt on
                            5/5/2016. Electronic Notice to USPO.(JLS) (Entered: 05/05/2016)
    05/24/2016   101        ORDER directing the Clerk of the Court to docket the letter regarding
                            sentencing as to ALI AL−AWADI (1). Signed by Judge Tanya Walton Pratt on
                            5/24/2016. (CBU) (Entered: 05/25/2016)
    06/02/2016   104        MINUTE ENTRY for sentencing held before Judge Tanya Walton Pratt on
                            6/2/2016: Defendant ALI AL−AWADI (1) appeared in person and by retained
                            counsel Ross G. Thomas. Appearance for the USA by AUSA Brad Shepard
                            and AUSA Kristina Korobov. USPO represented by Michelle Fitzgerald.
                            Sentence imposed. Judgment forthcoming. Defendant is remanded to custody
                            of USM. Signed by Judge Tanya Walton Pratt. (Court Reporter David Moxley)
                            (TRG) (Entered: 06/02/2016)
    06/13/2016   105   327 JUDGMENT as to ALI AL−AWADI (1). Count(s) 1, 1s−4s, 5s−8s,
                           SUPERSEDED; Defendant was Found Guilty of Counts 1,2,4,7.
                           IMPRISONMENT: 324 Months Per Count, concurrent. SUPERVISED
                           RELEASE: 15 Years Per Count, Concurrent. S.A. Fee: $400.00.
                           RESTITUTION: $9,000.; Count(s) 3ss, NOT GUILTY; Count(s) 5ss−6ss, 8ss,
                           DISMISSED. Signed by Judge Tanya Walton Pratt on 6/13/2016. (JLS)
                           (Entered: 06/13/2016)
    06/22/2016   107   334 NOTICE OF APPEAL by ALI AL−AWADI (1) re 105 Judgment. (Filing fee
                           $505, receipt number 0756−3939717) (Thomas, Ross) (Entered: 06/22/2016)
    06/22/2016   108   335 DOCKETING STATEMENT as to ALI AL−AWADI (1) re 107 Notice of
                           Appeal (Thomas, Ross) (Entered: 06/22/2016)
    06/23/2016   109        *** SEE DKT. NUMBER 139 FOR REDACTED TRANSCRIPT ***
                            PARTIAL TRANSCRIPT (Excerpt) of Jury Trial as to ALI AL−AWADI (1)
                            held on 02/22/2016 before Judge Tanya Walton Pratt. (420 pages.) Court
                            Reporter/Transcriber: David Moxley (Telephone: (317) 916−8209). Please
                            review Local Rule 80−2 for more information on redaction procedures.
                            Redaction Statement due 7/14/2016. Release of Transcript Restriction set for
                            9/21/2016. (Moxley, David) Released in error on 9/21/2016 (SWM). Modified
                            on 10/17/2016 (SWM). Modified on 11/18/2016 (SWM). (Entered:
                            06/23/2016)
    06/23/2016   110        NOTICE of FILING of OFFICIAL TRANSCRIPT of Excerpts of Jury Trial
                            held before Judge Tanya Walton Pratt on 02/22/2016 in case as to ALI
                            AL−AWADI (1) (Moxley, David) (Entered: 06/23/2016)
    06/24/2016   111        PARTIES' SHORT RECORD as to ALI AL−AWADI (1) re 107 Notice of
                            Appeal − Instructions for Attorneys and Designation of Record

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Case 1:15-cr-00072-TWP-DML Document 148-1 Filed 12/12/16 Page 12 of 349 PageID #:
                                    3376


                            information attached. (A paper copy of the Short Record was sent on
                            6/24/2016 to the defendant, via US Mail, at Grayson County Detention
                            Center.) **Docket Sheet containing sealed entries emailed to counsel.** (LBT)
                            (Entered: 06/24/2016)
    06/24/2016   112        Transmission of Notice of Appeal and Docket Sheet as to ALI AL−AWADI
                            (1) to US Court of Appeals re 107 Notice of Appeal. − for Court of Appeals
                            Use Only. (LBT) (Entered: 06/24/2016)
    06/24/2016   113        USCA Case Number 16−2643 as to ALI AL−AWADI (1) for 107 Notice of
                            Appeal filed by ALI AL−AWADI. (MAG) (Entered: 06/24/2016)
    06/30/2016   114        NOTICE OF INTENT TO REDACT TRANSCRIPT AND REQUEST FOR
                            EXTENSION OF TIME TO FILE by USA as to ALI AL−AWADI (1) re 109
                            Transcript (Attachments: # 1 Text of Proposed Order)(Shepard, Bradley)
                            Modified on 7/1/2016 (TRG). (Entered: 06/30/2016)
    07/01/2016   115        ORDER − granting 114 Motion as to ALI AL−AWADI (1); The Government
                            shall have up to and including August 15, 2016, to file a redaction statement.
                            Signed by Judge Tanya Walton Pratt on 7/1/2016.(CKM) (Entered:
                            07/01/2016)
    07/08/2016   116   337 SEVENTH CIRCUIT TRANSCRIPT INFORMATION SHEET by ALI
                           AL−AWADI (1) for proceedings held on 2/22/2016, 6/2/2016 before Judge
                           Tonya Walton Pratt, re 107 Notice of Appeal Transcript due by 7/8/2016.
                           (Thomas, Ross) Modified on 7/11/2016 to link to Notice of Appeal (MAG).
                           (Entered: 07/08/2016)
    07/22/2016   117        *** SEE DKT. NUMBER 141 FOR REDACTED TRANSCRIPT ***
                            PARTIAL TRANSCRIPT (Excerpt) of Testimony of Miosotis Georgiana
                            Rodriguez as to ALI AL−AWADI (1) held on 02/22/2016 before Judge Tanya
                            Walton Pratt. (36 pages.) Court Reporter/Transcriber: David Moxley
                            (Telephone: (317) 916−8209). Please review Local Rule 80−2 for more
                            information on redaction procedures. Redaction Statement due 8/12/2016.
                            Release of Transcript Restriction set for 10/20/2016. (Moxley, David)
                            Modified on 11/18/2016 (SWM). (Entered: 07/22/2016)
    07/22/2016   118        NOTICE of FILING of OFFICIAL TRANSCRIPT of Excerpt − Testimony of
                            Miosotis Georgiana Rodrigrez held before Judge Tanya Walton Pratt on
                            02/22/2016 in case as to ALI AL−AWADI (1) (Moxley, David) (Entered:
                            07/22/2016)
    08/01/2016   119        *** SEE DKT. NUMBER 143 FOR REDACTED TRANSCRIPT ***
                            TRANSCRIPT of Jury Trial − Vol. I as to ALI AL−AWADI (1) held on
                            02/22/2016 before Judge Tanya Walton Pratt. (141 pages.) Court
                            Reporter/Transcriber: David Moxley (Telephone: (317) 916−8209). Please
                            review Local Rule 80−2 for more information on redaction procedures.
                            Redaction Statement due 8/22/2016. Release of Transcript Restriction set for
                            10/31/2016. (Moxley, David) Modified on 11/18/2016 (SWM). (Entered:
                            08/01/2016)
    08/01/2016   120        *** SEE DKT. NUMBER 144 FOR REDACTED TRANSCRIPT ***
                            TRANSCRIPT of Jury Trial − Vol. II as to ALI AL−AWADI (1) held on
                            02/23/2016 before Judge Tanya Walton Pratt. (190 pages.) Court
                            Reporter/Transcriber: David Moxley (Telephone: (317) 916−8209). Please

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Case 1:15-cr-00072-TWP-DML Document 148-1 Filed 12/12/16 Page 13 of 349 PageID #:
                                    3377


                        review Local Rule 80−2 for more information on redaction procedures.
                        Redaction Statement due 8/22/2016. Release of Transcript Restriction set for
                        10/31/2016. (Moxley, David) Modified on 11/18/2016 (SWM). (Entered:
                        08/01/2016)
    08/01/2016   121    *** SEE DKT. NUMBER 145 FOR REDACTED TRANSCRIPT ***
                        TRANSCRIPT of Jury Trial − Vol. III as to ALI AL−AWADI (1) held on
                        02/24/2016 before Judge Tanya Walton Pratt. (345 pages.) Court
                        Reporter/Transcriber: David Moxley (Telephone: (317) 916−8209). Please
                        review Local Rule 80−2 for more information on redaction procedures.
                        Redaction Statement due 8/22/2016. Release of Transcript Restriction set for
                        10/31/2016. (Moxley, David) Modified on 11/18/2016 (SWM). (Entered:
                        08/01/2016)
    08/01/2016   122    *** SEE DKT. NUMBER 146 FOR REDACTED TRANSCRIPT ***
                        TRANSCRIPT of Jury Trial − Vol. IV as to ALI AL−AWADI (1) held on
                        02/25/2016 before Judge Tanya Walton Pratt. (100 pages.) Court
                        Reporter/Transcriber: David Moxley (Telephone: (317) 916−8209). Please
                        review Local Rule 80−2 for more information on redaction procedures.
                        Redaction Statement due 8/22/2016. Release of Transcript Restriction set for
                        10/31/2016. (Moxley, David) Modified on 11/18/2016 (SWM). (Entered:
                        08/01/2016)
    08/01/2016   123    NOTICE of FILING of OFFICIAL TRANSCRIPT of Jury Trial held before
                        Judge Tanya Walton Pratt on 02/22/2016 − 02/25/2016 in case as to ALI
                        AL−AWADI (1) (Moxley, David) (Entered: 08/01/2016)
    08/02/2016   124    TRANSCRIPT of Sentencing as to ALI AL−AWADI (1) held on 06/02/2016
                        before Judge Tanya Walton Pratt. (59 pages.) Court Reporter/Transcriber:
                        David Moxley (Telephone: (317) 916−8209). Please review Local Rule 80−2
                        for more information on redaction procedures. Redaction Statement due
                        8/23/2016. Release of Transcript Restriction set for 10/31/2016. (Moxley,
                        David) (Entered: 08/02/2016)
    08/02/2016   125    NOTICE of FILING of OFFICIAL TRANSCRIPT of Sentencing held before
                        Judge Tanya Walton Pratt on 06/02/2016 in case as to ALI AL−AWADI (1)
                        (Moxley, David) (Entered: 08/02/2016)
    08/16/2016   126    MOTION for Extension of Time to File Redaction Statement to August 23,
                        2016 re 109 Transcript by USA as to ALI AL−AWADI (1). (Attachments: # 1
                        Text of Proposed Order) Motions referred to Debra McVicker Lynch.(Shepard,
                        Bradley) (Entered: 08/16/2016)
    08/18/2016   127    ORDER granting 126 Motion for Extension of Time re 121 Transcript as to
                        ALI AL−AWADI (1) Redaction Statement due 8/23/2016. Signed by Judge
                        Tanya Walton Pratt on 8/18/2016.(JLS) (Entered: 08/18/2016)
    08/23/2016   128    MOTION for Extension of Time to October 7, 2016 TO FILE REDACTION
                        STATEMENT by USA as to ALI AL−AWADI (1). (Attachments: # 1 Text of
                        Proposed Order)(Shepard, Bradley) (Entered: 08/23/2016)
    08/24/2016   129    ORDER − This matter comes before the Court on the Government's motion for
                        extension of time to and including October 7, 2016, to file a Redaction
                        Statement. Upon consideration of the same, and for good cause shown, the
                        Court grants the Government=s request. IT IS THEREFORE ORDERED that

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Case 1:15-cr-00072-TWP-DML Document 148-1 Filed 12/12/16 Page 14 of 349 PageID #:
                                    3378


                           the Government shall have up to and including October 7, 2016, to file a
                           redaction statement. Signed by Judge Tanya Walton Pratt on 8/24/2016.(JLS)
                           (Entered: 08/25/2016)
    09/15/2016   130       TRANSCRIPT of Initial Appearance and Final Pretrial Conference as to ALI
                           AL−AWADI (1) held on 02/03/2016 before Judge Tanya Walton Pratt. (46
                           pages.) Court Reporter/Transcriber: David Moxley (Telephone: (317)
                           916−8209). Please review Local Rule 80−2 for more information on redaction
                           procedures. Redaction Statement due 10/6/2016. Release of Transcript
                           Restriction set for 12/14/2016. (Moxley, David) (Entered: 09/15/2016)
    09/15/2016   131       NOTICE of FILING of OFFICIAL TRANSCRIPT of Initial Appearance and
                           Final Pretrial Conference held before Judge Tanya Walton Pratt on 02/03/2016
                           in case as to ALI AL−AWADI (1) (Moxley, David) (Entered: 09/15/2016)
    09/16/2016   132       (Case Participants Document) REDACTION STATEMENT in case as to
                           ALI AL−AWADI (1) re 130 Transcript filed by attorney Bradley Paul Shepard
                           (Shepard, Bradley) (Entered: 09/16/2016)
    09/26/2016   133       NOTICE OF ATTORNEY APPEARANCE: Charles C. Hayes appearing for
                           ALI AL−AWADI (1) (Retained). (Hayes, Charles) (Entered: 09/26/2016)
    09/26/2016   134   338 DESIGNATION OF RECORD ON APPEAL by ALI AL−AWADI (1) re 107
                           Notice of Appeal (Attachments: # 1 Exhibit Exhibit A −Highlighted
                           Docket)(Hayes, Charles) (Entered: 09/26/2016)
    10/03/2016   135       (Case Participants Document) REDACTION STATEMENT in case as to
                           ALI AL−AWADI (1) re 120 Transcript, 124 Transcript, 119 Transcript, 122
                           Transcript, 117 Transcript, 121 Transcript, 109 Transcript filed by attorney
                           Bradley Paul Shepard (Shepard, Bradley) (Entered: 10/03/2016)
    10/24/2016   136       ORDER as to ALI AL−AWADI (1) re 135 Redaction Statement − Transcript.
                           On October 3, 2016, the Government filed its Redaction Statement (Dkt. 135)
                           for the transcripts docketed in the matter. Because of the nature of the matter
                           tried, the names of eight minor children are mentioned throughout the trial
                           record. The Government's redaction statement fails to note numerous instances
                           of names of minors. The Court requires that the minors' names be redacted to
                           both the first and last initial only. The word "minor" need not be included. The
                           Government is ordered to file an amended redaction statement which includes
                           all minor names, and any other items that should be redacted. The amended
                           redaction statement is due November 7, 2016. Any questions should be
                           directed to the Courtroom Deputy. Signed by Judge Tanya Walton Pratt on
                           10/24/2016. (JLS) (Entered: 10/25/2016)
    10/25/2016   137       NOTICE OF ATTORNEY APPEARANCE: Jane Ruemmele appearing for
                           ALI AL−AWADI (1) (Retained). (Ruemmele, Jane) (Entered: 10/25/2016)
    10/31/2016   138       (Case Participants Document) REDACTION STATEMENT in case as to
                           ALI AL−AWADI (1) re 120 Transcript, 124 Transcript, 119 Transcript, 122
                           Transcript, 117 Transcript, 121 Transcript, 109 Transcript filed by attorney
                           Bradley Paul Shepard (Shepard, Bradley) (Entered: 10/31/2016)
    11/17/2016   139       REDACTED Version of previously filed 109 TRANSCRIPT of Excerpts of
                           Jury Trial as to ALI AL−AWADI (1) held on 02/22/2106 − 02/25/2016 before
                           Judge Tanya Walton Pratt. (420 pages.) Court Reporter/Transcriber: David

                                                                                                              14
Case 1:15-cr-00072-TWP-DML Document 148-1 Filed 12/12/16 Page 15 of 349 PageID #:
                                    3379


                         Moxley (Telephone: (317) 916−8209). (Moxley, David) Released on
                         11/18/2016 (SWM). (Entered: 11/17/2016)
    11/17/2016   140     NOTICE of FILING of OFFICIAL TRANSCRIPT of REDACTED VERSION
                         of Excerpts of Jury Trial held before Judge Tanya Walton Pratt on 02/22/2016
                         − 02/25/2016 in case as to ALI AL−AWADI (1) (Moxley, David) (Entered:
                         11/17/2016)
    11/17/2016   141     REDACTED Version of previously filed 117 TRANSCRIPT of Excerpt of
                         Jury Trial (Testimony of Miosotis Georgiana) as to ALI AL−AWADI (1) held
                         on 02/22/2016 before Judge Tanya Walton Pratt. (36 pages.) Court
                         Reporter/Transcriber: David Moxley (Telephone: (317) 916−8209). (Moxley,
                         David) Released on 11/18/2016 (SWM). (Entered: 11/17/2016)
    11/17/2016   142     NOTICE of FILING of OFFICIAL TRANSCRIPT of REDACTED VERSION
                         of Excerpt of Jury Trial (Testimony of Miosotis Georgiana) held before Judge
                         Tanya Walton Pratt on 02/22/2016 in case as to ALI AL−AWADI (1) (Moxley,
                         David) (Entered: 11/17/2016)
    11/17/2016   143     REDACTED Version of previously filed 119 TRANSCRIPT of Jury Trial
                         (Vol. I) as to ALI AL−AWADI (1) held on 02/22/2016 before Judge Tanya
                         Walton Pratt. (141 pages.) Court Reporter/Transcriber: David Moxley
                         (Telephone: (317) 916−8209). (Moxley, David) Released on 11/18/2016
                         (SWM). (Entered: 11/17/2016)
    11/17/2016   144     REDACTED Version of previously filed 120 TRANSCRIPT of Jury Trial
                         (Vol. II) as to ALI AL−AWADI (1) held on 02/23/2016 before Judge Tanya
                         Walton Pratt. (190 pages.) Court Reporter/Transcriber: David Moxley
                         (Telephone: (317) 916−8209). (Moxley, David) Released on 11/18/2016
                         (SWM). (Entered: 11/17/2016)
    11/17/2016   145     REDACTED Version of previously filed 121 TRANSCRIPT of Jury Trial
                         (Vol. III) as to ALI AL−AWADI (1) held on 02/24/2016 before Judge Tanya
                         Walton Pratt. (345 pages.) Court Reporter/Transcriber: David Moxley
                         (Telephone: (317) 916−8209). (Moxley, David) Released on 11/18/2016
                         (SWM). (Entered: 11/17/2016)
    11/17/2016   146     REDACTED Version of previously filed 122 TRANSCRIPT of Jury Trial
                         (Vol. IV) as to ALI AL−AWADI (1) held on 02/25/2016 before Judge Tanya
                         Walton Pratt. (100 pages.) Court Reporter/Transcriber: David Moxley
                         (Telephone: (317) 916−8209). (Moxley, David) Released on 11/18/2016
                         (SWM). (Entered: 11/17/2016)
    11/17/2016   147     NOTICE of FILING of OFFICIAL TRANSCRIPT (REDACTED VERSION)
                         of Jury Trial held before Judge Tanya Walton Pratt on 02/22/2016 −
                         02/25/2016 in case as to ALI AL−AWADI (1) (Moxley, David) (Entered:
                         11/17/2016)

   Case #: 1:15−cr−00072−TWP−DML−1




                                                                                                        15
Case 1:15-cr-00072-TWP-DML
  Case  1:15-cr-00072-TWP-DMLDocument 148-1
                               Document     Filed01/06/16
                                        41 Filed  12/12/16 Page
                                                           Page116
                                                                 ofof
                                                                   3 349 PageID
                                                                      PageID 91 #:
                                      3380




                                                                                     16
Case 1:15-cr-00072-TWP-DML
  Case  1:15-cr-00072-TWP-DMLDocument 148-1
                               Document     Filed01/06/16
                                        41 Filed  12/12/16 Page
                                                           Page217
                                                                 ofof
                                                                   3 349 PageID
                                                                      PageID 92 #:
                                      3381




                                                                                     17
Case 1:15-cr-00072-TWP-DML
  Case  1:15-cr-00072-TWP-DMLDocument 148-1
                               Document     Filed01/06/16
                                        41 Filed  12/12/16 Page
                                                           Page318
                                                                 ofof
                                                                   3 349 PageID
                                                                      PageID 93 #:
                                      3382




                                                                                 18
Case
 Case1:15-cr-00072-TWP-DML
      1:15-cr-00072-TWP-DML Document
                             Document148-1 Filed
                                      57 Filed   12/12/16Page
                                               01/22/16   Page  1912
                                                              1 of of 349 PageID
                                                                       PageID 150#:
                                     3383



                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF INDIANA
                                   INDIANAPOLIS DIVISION


  UNITED STATES OF AMERICA,                     )
                                                )
                 Plaintiff,                     )
                                                )
     v.                                         ) Cause No. 1 1:15-cr-00072-TWP-DML
                                                )
  ALI AL-AWADI,                                 )
                                                )
                 Defendant.                     )

                          Government’s Notice of Intent to Use Evidence
                                  under F.R.E. 414 and 404

          The United States of America, by counsel, Josh J. Minkler, United States Attorney for the

  Southern District of Indiana, Bradley P. Shepard and Kristina Korobov, Assistant United States

  Attorneys, hereby files its notice of intent to introduce evidence pursuant to Federal Rules of

  Evidence 414 and 404(b).

                                         Proffered Evidence

          On or about August 21, 2014, Victim One was taken to the Center of Hope at St.

  Vincent's Hospital by her parents, MR and JG, after Victim One disclosed that "Mr. Ali" had

  touched her vagina and she was experiencing pain as a result. During the examination at St.

  Vincent, Victim One and MR were seen by Angela Bates, RN. According to her report:

                   [MR] reports [Victim One] was picked up from Bright Horizons daycare
          at approximately 1730. [MR] states Victim One told [JG] that 'she hurt down
          there.' [MR] states [JG] gave [Victim One] some diaper rash cream and told her
          to put it down there. [MR]states Justo told her [Victim One] complained of pain
          to her 'Tito." [MR] states she asked [Victim One] "why does it hurt down there?"
          [MR] states "[Victim One] started crying and ran to her room saying No, No,
          No." [MR] reports she went and picked up [Victim One] and asked "why does it
          hurt down there?" again. [MR]states this time "[Victim One] just pee'd all over
          me. She told me Mr. Ali touched me with his finger down there and it hurt."



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Case
 Case1:15-cr-00072-TWP-DML
      1:15-cr-00072-TWP-DML Document
                             Document148-1 Filed
                                      57 Filed   12/12/16Page
                                               01/22/16   Page  2012
                                                              2 of of 349 PageID
                                                                       PageID 151#:
                                     3384



           [MR] states she asked [Victim One] "Why didn't you tell me right away?" [MR]
           states [Victim One] told her "he said not to tell anybody."

  Center of Hope Records of Victim One, redacted attached as Exhibit A.

           A physical exam was conducted, finding many things consistent with the reported

  incident. These included (1) swelling, erythema, and redness noted to Victim One's hymen, and

  (2) redness of Victim One's peri hymenal and vestibular areas. St. Vincent's also recovered

  forensic samples from Victim One's "pink and black panties." Id. Scientists from the Marion

  County Forensic Services Agency detected male DNA in the crotch of the pink and black

  underwear. Indianapolis Marion County Forensic Services Agency, attached as Exhibit B. A Y-

  STR profile was generated from the male DNA sample. Id. The Defendant’s DNA profile was

  compared to the unknown male DNA in the crotch of Victim 1’s underwear, using Y-Marker

  analysis, and the analyst determined that defendant's Y-STR profile is consistent with the profile

  recovered. The profile developed would be present in 1 of every 8,621 individuals to a 95%

  certainty. Id. The defendant and all of his male relatives cannot be excluded as contributors to

  the Male DNA sample recovered from Victim One's underwear. 1 Id.

           The Indianapolis Metropolitan Police Department (IMPD) launched an investigation the

  following day which included interviewing members of the day care including Tyria Graham,

  Chiana Harris, and Heidi Conces. All three individuals provided written statements regarding

  their recollections of Victim One’s disclosure of the molesting, their observations of Victim One,

  and the Defendant's reactions to Victim One's disclosures, including those disclosures that

  Victim One made in the Defendant’s presence. Bright Horizon records, attached as Exhibit C.

  These statements were also memorialized in the business records of the day care.



  1 It should, however, be noted that none of the Defendant’s relatives, male or female, are alleged to have had any
  contact with Victim One, let alone touched her underwear.

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Case
 Case1:15-cr-00072-TWP-DML
      1:15-cr-00072-TWP-DML Document
                             Document148-1 Filed
                                      57 Filed   12/12/16Page
                                               01/22/16   Page  2112
                                                              3 of of 349 PageID
                                                                       PageID 152#:
                                     3385



         The Defendant was interviewed in a recorded interview. Transcript of defendant's

  interview attached as Exhibit D. He also provided a written statement to his daycare employer.

  Bright Horizon records. The majority of these statements concern what occurred on August 21,

  2014. The Defendant initially made statements of general denial. Then, the Defendant said that

  his arm had been between Victim One’s legs when she was grabbing on to him. Next, the

  Defendant asserted that perhaps his watch had “pinched” Victim One’s vagina (through her

  clothing). Finally in his interview with Det. Eli McAlister, the Defendant claimed that Victim

  One was sexually experimenting with his arm, and that if detectives found any of his DNA on

  her underpants, it would be there because he had tickled her stomach and put his finger at the top

  of her underwear to show Victim One that her pants were too big.

         Finally, there was a follow-up/confirmation medical exam by Dr. Ralph Hicks. It is

  believed that Dr. Hicks would testify that the types of injuries sustained by Victim One are

  consistent with the contact described by Victim One and inconsistent with the contact described

  by the Defendant.

         After all of the above-listed evidence was obtained and analyzed, IMPD Cyber Crimes

  conducted a forensic analysis of the Defendant’s cell phone. During this examination, analyst

  Det. Grant Melton discovered evidence that showed that, during the time of the molesting

  described by Victim One on August 21, 2014, the Defendant’s cell phone camera created four

  “root paths.” IMPD also recovered four deleted images which were a lascivious exhibition of

  Victim One's genitals and/or pubic area from the image cache on Defendant's phone. In these

  images are what appears to be the black and pink underwear recovered from the sexual assault




                                                  3

                                                                                                       21
Case
 Case1:15-cr-00072-TWP-DML
      1:15-cr-00072-TWP-DML Document
                             Document148-1 Filed
                                      57 Filed   12/12/16Page
                                               01/22/16   Page  2212
                                                              4 of of 349 PageID
                                                                       PageID 153#:
                                     3386



  kit, a pair of jeans worn by Victim One on August 21, 2014, and a blanket belonging to Victim

  One, retrieved from the day care 2.

                                              Law and Argument

          The evidence of the molest is direct evidence of the crimes charged and therefore

  admissible without resort to Fed R. Crim. P. 414 or 404(b). In the alternative, the evidence is

  allowed under Rule 414 as it is relevant and not more prejudicial than probative. Finally the

  proffered evidence is not offered for propensity purposes, but rather to show the intent of the

  defendant, the identity of the person who created the charged images.

                                                     Charges

          Defendant is charged with four counts of production of child pornography and four

  counts of attempted production of child pornography in violation of 18 U.S.C. § 2251(a)&(e).

  Title 18 U.S.C. § 2252(a) has the following elements:

          1.       At the time Victim One was under the age of eighteen years; and

          2.      The defendant, for the purpose of producing a visual depiction of such
          conduct employed [used] persuaded] coerced] Victim One to take part in sexually
          explicit conduct;

          3.     The visual depiction was produced using materials that had been mailed,
          shipped, transported across state lines or in foreign commerce.

  Seventh Cir. Pattern Instruction 18 U.S.C. § 2251(a).

  The attempt counts add the requirement of a substantial step.

          Sexually explicit conduct includes actual or simulated

          (1)    sexual intercourse, including genital-genital, oral-genital, anal-genital, or oral-
          anal, whether between persons of the same or opposite sex;

          (2)      bestiality;

          (3)      masturbation;


  2 The Government will make the images available upon request for the Court's review in deciding this motion.

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                                                                                                                 22
Case
 Case1:15-cr-00072-TWP-DML
      1:15-cr-00072-TWP-DML Document
                             Document148-1 Filed
                                      57 Filed   12/12/16Page
                                               01/22/16   Page  2312
                                                              5 of of 349 PageID
                                                                       PageID 154#:
                                     3387



         (4)     sadistic or masochistic abuse; or

         (5)     lascivious exhibition of the genitals or pubic area of any person.

  Seventh Circuit Pattern Instruction 18 U.S.C. § 2256(2)(a).

         "A lascivious display is one that draws attention to the genitals or pubic area of the

  subject 'in order to excite lustfulness or sexual stimulation in the viewer.'" United States v.

  Russell, 662 F.3d 831, 864 (7th Cir. 2011).

                The molest is direct evidence of a matter the Government must prove

         Rule 402 of the Federal Rules of Evidence states that “all relevant evidence is

  admissible.” Fed. R. Evid. 402. Evidence is relevant if it has the “tendency to make the

  existence of any fact that is of consequence to the determination of the action more probable or

  less probable.” Fed. R. Evid. 401. Relevant evidence should be admitted unless its “probative

  value is substantially outweighed by the danger of unfair prejudice.” Fed. R. Evid. 403.

  Foundation or contextual evidence may be admissible as relevant evidence, and not “other acts”

  evidence under Rule 404(b) when it constitutes direct evidence of the crimes charged. See

  United States v. Vargas, 689 F.3d 867, 874 (7th Cir. 2012). Evidence is direct when it “tend[s]

  to prove the elements of the offense . . . actually charged.” Id; see, e.g., United States v. Miller,

  673 F.3d 688 (7th Cir. 2012) (holding that evidence of defendant’s prior possession of a gun was

  admissible as direct evidence that the defendant possessed the same gun on the date charged);

  United States v. McKibbins, 656 F.3d 707 (7th Cir. 2011) (determining that it was not an abuse

  of discretion for the district court to admit child pornography and profile pictures as direct

  evidence of an obstruction charge).

         The pattern jury instructions make clear that the Government must prove that “The

  defendant, for the purpose of producing a visual depiction of such conduct employed [used]

  [persuaded] [coerced] Victim One to take part in sexually explicit conduct.” Seventh Cir. Pattern

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                                                                                                          23
Case
 Case1:15-cr-00072-TWP-DML
      1:15-cr-00072-TWP-DML Document
                             Document148-1 Filed
                                      57 Filed   12/12/16Page
                                               01/22/16   Page  2412
                                                              6 of of 349 PageID
                                                                       PageID 155#:
                                     3388



  Instruction 18 U.S.C. § 2251(a). As a result, the Government must prove that the defendant

  employed, used, persuaded, or coerced Victim One to take part in sexually explicit conduct.

  Evidence from Victim One and others proves that the Defendant so employed, used, persuaded,

  or coerced Victim One to engage in sexually explicit conduct.

         a. Statements made by Victim One about the defendant touching her vagina will be used

             to prove this element.

         b. Testimony from Tyria Graham about the Defendant’s responses when Victim One

             stated, in the Defendant’s presence, that the defendant had touched her vagina, will be

             used to prove this element.

         c. Testimony from medical personnel about the nature of Victim One’s vaginal injuries

             will be used to prove the sexually explicit conduct.

         The defendant's intent when creating the images, i.e. that they were created in order to

  excite lustfulness or sexual stimulation in the viewer (the defendant), is also something the

  Government must prove in its case in chief. The evidence of the molest proves not only that the

  Defendant is sexually attracted to children, but specifically to Victim One. As a result, all

  evidence is direct evidence that the defendant produced the images in order to excite lustfulness

  and sexual stimulation as he viewed the images, a visual reminder of his molest. 3

                                Evidence Admissible as 414 Evidence

         Rule 414 of the Federal Rules of Evidence governs the admission of evidence of similar

  crimes in child molestation cases, and reads in pertinent part:



         3
            Although Gomez clarifies how the district court should analyze Rule 404(b) evidence, it
  remains intact that Rule 404(b) does not apply to direct evidence of the crime charged. United
  States v. Ferrell, 2015 WL 6774213, *8 (7th Cir. 2015).



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                                                                                                       24
Case
 Case1:15-cr-00072-TWP-DML
      1:15-cr-00072-TWP-DML Document
                             Document148-1 Filed
                                      57 Filed   12/12/16Page
                                               01/22/16   Page  2512
                                                              7 of of 349 PageID
                                                                       PageID 156#:
                                     3389



         In a criminal case in which the defendant is accused of an offense of child
         molestation, evidence of the defendant’s commission of another offense or
         offenses of child molestation is admissible, and may be considered for its bearing
         on any matter to which it is relevant.

  Fed. R. Evid. 414. Thus, in order to be admissible pursuant to Rule 414, the defendant must be

  accused of child molestation, and the evidence offered must be evidence that defendant

  committed a prior or different offense of child molestation.

         An “offense of child molestation” is defined, in pertinent part as, inter alia, as a crime

  under federal or state law that involved conduct proscribed by Chapter 110 of Title 18 the U.S.

  Code. Id. Child pornography and child sexual exploitation offenses clearly fall within this

  definition, as they are part of Chapter 110. See 18 U.S.C. §§ 2251(a), 2252(a)(1), 2252(a)(4)(B),

  and 2260A. Attempts are also included. Fed. R. Evid. 414(d)(2)(f).

         An offense of child molestation also includes an offense where contact occurs "between

  any part of the defendant's body-or object-and a child's genitals or anus." Fed. R. Evidence

  414(d)(2)(D). The proffered evidence falls within this category.

         Rule 403 requires the exclusion of relevant evidence when its “probative value is

  substantially outweighed by a danger of . . . unfair prejudice, confusing the issues, [or]

  misleading the jury . . . .” Fed. R. Evid. 403. “Unfair prejudice ... means an undue tendency to

  suggest a decision on an improper basis, commonly, though not necessarily, an emotional one.”

  Advisory Committee’s Notes on Fed. R. Evid. 403, cited approvingly in Old Chief v. United

  States, 519 U.S. 172, 184−85 (1997). Rule 414 constitutes an exception to the rule that evidence

  of prior bad acts is inadmissible to show a defendant's propensity to commit the offense charged.

  See United States v. Rogers, 587 F.3d 816, 822-23 (7th Cir. 2009) (discussing analogous Rule

  413). Rules 413 and 414 effectively override the propensity bar in rule 404(a)(1) in sexual

  assault cases. United States v. Stokes, 726 F.3d 880,896 (7th Cir. 2013).


                                                    7

                                                                                                      25
Case
 Case1:15-cr-00072-TWP-DML
      1:15-cr-00072-TWP-DML Document
                             Document148-1 Filed
                                      57 Filed   12/12/16Page
                                               01/22/16   Page  2612
                                                              8 of of 349 PageID
                                                                       PageID 157#:
                                     3390



         The evidence of the molest of Victim One by the Defendant is relevant, as it proves

  motivation and intent on the part of the Defendant in creating the images in question. It is the

  Government's theory of the case that the defendant was attracted to Victim One, molested her,

  and created the images to remember the incident. Therefore, the images were created to excite

  the lustfulness and sexual stimulation of the viewer, namely the defendant.

         The evidence of the molest of Victim One by the Defendant is relevant, as it proves the

  identity of the offender. The Government always must prove who committed the charged crime.

  The evidence of the molestation of Victim One by the Defendant is also relevant to prove it was

  the defendant who created the charged images and that it is the body of Victim One captured in

  the images.

         The only other analysis is whether the probative value of the proffered evidence –

  evidence showing that the Defendant touched the vagina of Victim One on or about August 22,

  2014 – is substantially outweighed by the danger of unfair prejudice, confusion of the issues,

  misleading the jury, undue delay, wasting time, or needlessly presenting cumulative evidence.

  The evidence of the sexual touching of Victim One by the Defendant established that the

  defendant had the opportunity to commit the offense in question, that he was in a physical

  position to commit the offenses in question, and that he had the motive to commit the offenses in

  question. Establishing that the defendant put his hand into the underwear of Victim One on or

  about August 22, 2014 helps the Government to prove the charged offense. There is no danger

  of unfair prejudice. United States v. Russell, 662 F.3d 831, 847–48 (7th Cir.2011) (prior

  instances of inappropriate touching, by establishing defendant's sexual interest in his minor

  daughter, were probative of his motive to induce his daughter to create sexually explicit

  photographs in violation of section 2251(a)); United States v. Hawpetoss, 478 F.3d 82, 824-827



                                                   8

                                                                                                      26
Case
 Case1:15-cr-00072-TWP-DML
      1:15-cr-00072-TWP-DML Document
                             Document148-1 Filed
                                      57 Filed   12/12/16Page
                                               01/22/16   Page  2712
                                                              9 of of 349 PageID
                                                                       PageID 158#:
                                     3391



  (7th Cir. 2007)(admitting evidence under rule 403 of molestation of two uncharged minor

  victims); United States v. Roux, 715 F.3d 1019, 1024 (7th Cir. 2013).

         As a result, the evidence is admissible pursuant to Fed. Rule Evid. 414.

                                                404(b)

         If this Court were to find that this evidence is subject to Fed. R. Crim. P. 404(b), there are

  multiple non-propensity uses for the evidence. In United States v. Gomez, the Seventh Circuit

  adopted “a more straightforward rules-based approach,” which is summarized as follows:

         [T]o overcome an opponent's objection to the introduction of other-act evidence,
         the proponent of the evidence must first establish that the other act is relevant to a
         specific purpose other than the person's character or propensity to behave in a
         certain way. See Fed.R.Evid. 401, 402, 404(b). Other-act evidence need not be
         excluded whenever a propensity inference can be drawn. But its relevance to
         “another purpose” must be established through a chain of reasoning that does not
         rely on the forbidden inference that the person has a certain character and acted in
         accordance with that character on the occasion charged in the case. If the
         proponent can make this initial showing, the district court must in every case
         assess whether the probative value of the other-act evidence is substantially
         outweighed by the risk of unfair prejudice and may exclude the evidence under
         Rule 403 if the risk is too great. The court's Rule 403 balancing should take
         account of the extent to which the non-propensity fact for which the evidence is
         offered actually is at issue in the case.


  Gomez, 763 F.3d 845, 853, 860 (7th Cir. 2014).

                                            Motive/Intent

         The first non-propensity use offered by the Government is the defendant's motive/intent

  for creating the images. As stated above, because the Superseding Indictment charges that the

  images were lascivious exhibitions of Victim One's genitals, it must prove that the images were

  created "to excite lustfulness or sexual stimulation in the viewer." It is the Government's theory



                                                   9

                                                                                                          27
Case
Case1:15-cr-00072-TWP-DML
     1:15-cr-00072-TWP-DML Document
                           Document148-1  Filed
                                    57 Filed    12/12/16Page
                                             01/22/16     Page
                                                             1028 of 349
                                                               of 12     PageID
                                                                      PageID 159#:
                                    3392



  of the case that the defendant was attracted to Victim One, molested her, and created the images

  to remember the incident. Therefore, the images were created to excite the lustfulness and

  sexual stimulation of the viewer, namely the defendant. The evidence of the molest is direct

  evidence as to why the charged images would excite such passions in the defendant.

         This is evidence of motive/intent is derived from a propensity-free chain of reasoning.

  There is no attempted use of the evidence to say that because the defendant molested another

  child, he is more likely to have created child pornography of Victim One (although such

  evidence would be proper under Rule 414). Rather this is evidence of a sexual attraction to

  Victim One, the minor depicted in the charged images, and it is evidence of why he created the

  specific images charged. As a result the chain from the proffered evidence to the proffered use

  has no propensity use in it and is therefore proper.

         The final analysis is under Rule 403, is whether the probative value of the molest

  evidence substantially outweighed by the danger of unfair prejudice. “Unfair prejudice ... means

  an undue tendency to suggest a decision on an improper basis, commonly, though not

  necessarily, an emotional one.” Advisory Committee’s Notes on Fed. R. Evid. 403, cited

  approvingly in Old Chief v. United States, 519 U.S. 172, 184−85 (1997). The Seventh Circuit

  has repeatedly held that evidence of a prior molest is not more prejudicial than probative. United

  States v. Russell, 662 F.3d 831, 847–48 (7th Cir.2011) (prior instances of inappropriate touching,

  by establishing defendant's sexual interest in his minor daughter, were probative of his motive to

  induce his daughter to create sexually explicit photographs in violation of section 2251(a));

  United States v. Hawpetoss, 478 F.3d 82, 824-827 (7th Cir. 2007)(admitting evidence under rule

  403 of molestation of two uncharged minor victims); United States v. Roux, 715 F.3d 1019, 1024

  (7th Cir. 2013).



                                                   10

                                                                                                       28
Case
Case1:15-cr-00072-TWP-DML
     1:15-cr-00072-TWP-DML Document
                           Document148-1  Filed
                                    57 Filed    12/12/16Page
                                             01/22/16     Page
                                                             1129 of 349
                                                               of 12     PageID
                                                                      PageID 160#:
                                    3393



         As a result, the evidence is admissible to prove identity.

                                                Identity

         The Government also proffers that the evidence is admissible to prove identity. The

  Government always must prove who it was that committed the charged crime. No one other than

  Victim One is depicted in the charged images. 4 The evidence of the molest is also relevant to

  prove it was the defendant who took the pictures.

         Specifically, the identification of the Defendant by Victim One as the molester; the

  timing of the identification occurring during the time in which the Government theorizes the

  images were created; and the presence of a Y-STR profile consistent with the defendant in

  material recovered from the inside of the underwear worn by the defendant as depicted in the

  images all go to establish it was the defendant who created the images. Further, that chain of

  reasoning does not contain a prohibited hidden propensity reason.

         Finally, rule 403, does not preclude the admissions for the same reasons as above.

  Therefore the evidence is admissible to prove identity.

         WHEREFORE the Government requests this Court issue a ruling that the evidence of the

  molest of Victim One by the defendant is admissible in the Government's case in chief.


                                                Respectfully submitted,

                                                JOSH J. MINKLER
                                                United States Attorney

                                          By:   s/ Bradley P. Shepard
                                                Bradley P. Shepard
                                                Assistant United States Attorney




  4In two of the images, what appears to be parts of an adult male hand are depicted holding open
  Victim One's underwear.

                                                  11

                                                                                                    29
Case
Case1:15-cr-00072-TWP-DML
     1:15-cr-00072-TWP-DML Document
                           Document148-1  Filed
                                    57 Filed    12/12/16Page
                                             01/22/16     Page
                                                             1230 of 349
                                                               of 12     PageID
                                                                      PageID 161#:
                                    3394



                                                s/ Kristina M. Korobov
                                                Kristina M. Korobov
                                                Assistant United States Attorney



                                        CERTIFICATE OF SERVICE

          I hereby certify that on January 22, 2016, a copy of the foregoing Government’s Notice

  of Intent to Use Evidence under F.R.E. 414 and 404 was filed electronically. Notice of this filing

  will be sent to the parties by operation of the Court’s electronic filing system. Parties may access

  this filing through the Court’s system.

  Date:    January 22, 2016                     Respectfully submitted,

                                                JOSH J. MINKLER
                                                United States Attorney


                                        By:     s:/ Bradley P. Shepard
                                                Bradley P. Shepard
                                                Assistant United States Attorney
                                                10 West Market Street, Suite 2100
                                                Indianapolis, IN 46204-3048
                                                Telephone: 317-226-6333
                                                Fax: 317-229-6125
                                                Email: bradley.shepard@usdoj.gov




                                                   12

                                                                                                         30
Case
Case 1:15-cr-00072-TWP-DML
     1:15-cr-00072-TWP-DML Document
                           Document 148-1 Filed01/22/16
                                    57-1 Filed  12/12/16 Page
                                                          Page131
                                                                of of
                                                                   23349 PageID
                                                                       PageID   #:
                                                                              162
                                    3395




                                                                                     31
Case
Case 1:15-cr-00072-TWP-DML
     1:15-cr-00072-TWP-DML Document
                           Document 148-1 Filed01/22/16
                                    57-1 Filed  12/12/16 Page
                                                          Page232
                                                                of of
                                                                   23349 PageID
                                                                       PageID   #:
                                                                              163
                                    3396




                                                                                     32
Case
Case 1:15-cr-00072-TWP-DML
     1:15-cr-00072-TWP-DML Document
                           Document 148-1 Filed01/22/16
                                    57-1 Filed  12/12/16 Page
                                                          Page333
                                                                of of
                                                                   23349 PageID
                                                                       PageID   #:
                                                                              164
                                    3397




                                                                                     33
Case
Case 1:15-cr-00072-TWP-DML
     1:15-cr-00072-TWP-DML Document
                           Document 148-1 Filed01/22/16
                                    57-1 Filed  12/12/16 Page
                                                          Page434
                                                                of of
                                                                   23349 PageID
                                                                       PageID   #:
                                                                              165
                                    3398




                                                                                     34
Case
Case 1:15-cr-00072-TWP-DML
     1:15-cr-00072-TWP-DML Document
                           Document 148-1 Filed01/22/16
                                    57-1 Filed  12/12/16 Page
                                                          Page535
                                                                of of
                                                                   23349 PageID
                                                                       PageID   #:
                                                                              166
                                    3399




                                                                                     35
Case
Case 1:15-cr-00072-TWP-DML
     1:15-cr-00072-TWP-DML Document
                           Document 148-1 Filed01/22/16
                                    57-1 Filed  12/12/16 Page
                                                          Page636
                                                                of of
                                                                   23349 PageID
                                                                       PageID   #:
                                                                              167
                                    3400




                                                                                     36
Case
Case 1:15-cr-00072-TWP-DML
     1:15-cr-00072-TWP-DML Document
                           Document 148-1 Filed01/22/16
                                    57-1 Filed  12/12/16 Page
                                                          Page737
                                                                of of
                                                                   23349 PageID
                                                                       PageID   #:
                                                                              168
                                    3401




                                                                                     37
Case
Case 1:15-cr-00072-TWP-DML
     1:15-cr-00072-TWP-DML Document
                           Document 148-1 Filed01/22/16
                                    57-1 Filed  12/12/16 Page
                                                          Page838
                                                                of of
                                                                   23349 PageID
                                                                       PageID   #:
                                                                              169
                                    3402




                                                                                     38
Case
Case 1:15-cr-00072-TWP-DML
     1:15-cr-00072-TWP-DML Document
                           Document 148-1 Filed01/22/16
                                    57-1 Filed  12/12/16 Page
                                                          Page939
                                                                of of
                                                                   23349 PageID
                                                                       PageID   #:
                                                                              170
                                    3403




                                                                                     39
Case 1:15-cr-00072-TWP-DML
Case 1:15-cr-00072-TWP-DML Document
                           Document 57-1
                                    148-1 Filed
                                           Filed01/22/16
                                                 12/12/16 Page
                                                           Page1040ofof23349PageID
                                                                             PageID171
                                                                                    #:
                                     3404




                                                                                     40
Case 1:15-cr-00072-TWP-DML
Case 1:15-cr-00072-TWP-DML Document
                           Document 57-1
                                    148-1 Filed
                                           Filed01/22/16
                                                 12/12/16 Page
                                                           Page1141ofof23349PageID
                                                                             PageID172
                                                                                    #:
                                     3405




                                                                      41
Case 1:15-cr-00072-TWP-DML
Case 1:15-cr-00072-TWP-DML Document
                           Document 57-1
                                    148-1 Filed
                                           Filed01/22/16
                                                 12/12/16 Page
                                                           Page1242ofof23349PageID
                                                                             PageID173
                                                                                    #:
                                     3406




                                                                                     42
Case 1:15-cr-00072-TWP-DML
Case 1:15-cr-00072-TWP-DML Document
                           Document 57-1
                                    148-1 Filed
                                           Filed01/22/16
                                                 12/12/16 Page
                                                           Page1343ofof23349PageID
                                                                             PageID174
                                                                                    #:
                                     3407




                                                                                     43
Case 1:15-cr-00072-TWP-DML
Case 1:15-cr-00072-TWP-DML Document
                           Document 57-1
                                    148-1 Filed
                                           Filed01/22/16
                                                 12/12/16 Page
                                                           Page1444ofof23349PageID
                                                                             PageID175
                                                                                    #:
                                     3408




                                                                                     44
Case 1:15-cr-00072-TWP-DML
Case 1:15-cr-00072-TWP-DML Document
                           Document 57-1
                                    148-1 Filed
                                           Filed01/22/16
                                                 12/12/16 Page
                                                           Page1545ofof23349PageID
                                                                             PageID176
                                                                                    #:
                                     3409




                                                                                     45
Case 1:15-cr-00072-TWP-DML
Case 1:15-cr-00072-TWP-DML Document
                           Document 57-1
                                    148-1 Filed
                                           Filed01/22/16
                                                 12/12/16 Page
                                                           Page1646ofof23349PageID
                                                                             PageID177
                                                                                    #:
                                     3410




                                                                                     46
Case 1:15-cr-00072-TWP-DML
Case 1:15-cr-00072-TWP-DML Document
                           Document 57-1
                                    148-1 Filed
                                           Filed01/22/16
                                                 12/12/16 Page
                                                           Page1747ofof23349PageID
                                                                             PageID178
                                                                                    #:
                                     3411




                                                                                     47
Case 1:15-cr-00072-TWP-DML
Case 1:15-cr-00072-TWP-DML Document
                           Document 57-1
                                    148-1 Filed
                                           Filed01/22/16
                                                 12/12/16 Page
                                                           Page1848ofof23349PageID
                                                                             PageID179
                                                                                    #:
                                     3412




                                                                                     48
Case 1:15-cr-00072-TWP-DML
Case 1:15-cr-00072-TWP-DML Document
                           Document 57-1
                                    148-1 Filed
                                           Filed01/22/16
                                                 12/12/16 Page
                                                           Page1949ofof23349PageID
                                                                             PageID180
                                                                                    #:
                                     3413




                                                                                     49
Case 1:15-cr-00072-TWP-DML
Case 1:15-cr-00072-TWP-DML Document
                           Document 57-1
                                    148-1 Filed
                                           Filed01/22/16
                                                 12/12/16 Page
                                                           Page2050ofof23349PageID
                                                                             PageID181
                                                                                    #:
                                     3414




                                                                                     50
Case 1:15-cr-00072-TWP-DML
Case 1:15-cr-00072-TWP-DML Document
                           Document 57-1
                                    148-1 Filed
                                           Filed01/22/16
                                                 12/12/16 Page
                                                           Page2151ofof23349PageID
                                                                             PageID182
                                                                                    #:
                                     3415




                                                                                     51
Case 1:15-cr-00072-TWP-DML
Case 1:15-cr-00072-TWP-DML Document
                           Document 57-1
                                    148-1 Filed
                                           Filed01/22/16
                                                 12/12/16 Page
                                                           Page2252ofof23349PageID
                                                                             PageID183
                                                                                    #:
                                     3416




                                                                                     52
Case 1:15-cr-00072-TWP-DML
Case 1:15-cr-00072-TWP-DML Document
                           Document 57-1
                                    148-1 Filed
                                           Filed01/22/16
                                                 12/12/16 Page
                                                           Page2353ofof23349PageID
                                                                             PageID184
                                                                                    #:
                                     3417




                                                                                     53
Case
 Case1:15-cr-00072-TWP-DML
      1:15-cr-00072-TWP-DML Document
                             Document148-1 Filed 01/22/16
                                      57-2 Filed 12/12/16 Page
                                                          Page 154ofof6 349 PageID
                                                                         PageID 185#:
                                     3418




                                                                                        54
Case
 Case1:15-cr-00072-TWP-DML
      1:15-cr-00072-TWP-DML Document
                             Document148-1 Filed 01/22/16
                                      57-2 Filed 12/12/16 Page
                                                          Page 255ofof6 349 PageID
                                                                         PageID 186#:
                                     3419




                                                                                        55
Case
 Case1:15-cr-00072-TWP-DML
      1:15-cr-00072-TWP-DML Document
                             Document148-1 Filed 01/22/16
                                      57-2 Filed 12/12/16 Page
                                                          Page 356ofof6 349 PageID
                                                                         PageID 187#:
                                     3420




                                                                                        56
Case
 Case1:15-cr-00072-TWP-DML
      1:15-cr-00072-TWP-DML Document
                             Document148-1 Filed 01/22/16
                                      57-2 Filed 12/12/16 Page
                                                          Page 457ofof6 349 PageID
                                                                         PageID 188#:
                                     3421




                                                                                        57
Case
 Case1:15-cr-00072-TWP-DML
      1:15-cr-00072-TWP-DML Document
                             Document148-1 Filed 01/22/16
                                      57-2 Filed 12/12/16 Page
                                                          Page 558ofof6 349 PageID
                                                                         PageID 189#:
                                     3422




                                                                                        58
Case
 Case1:15-cr-00072-TWP-DML
      1:15-cr-00072-TWP-DML Document
                             Document148-1 Filed 01/22/16
                                      57-2 Filed 12/12/16 Page
                                                          Page 659ofof6 349 PageID
                                                                         PageID 190#:
                                     3423




                                                                                        59
Case
 Case1:15-cr-00072-TWP-DML
      1:15-cr-00072-TWP-DML Document
                             Document148-1 Filed 01/22/16
                                      57-3 Filed 12/12/16 Page
                                                          Page 160ofof3 349 PageID
                                                                         PageID 191#:
                                     3424




                                                                                        60
Case
 Case1:15-cr-00072-TWP-DML
      1:15-cr-00072-TWP-DML Document
                             Document148-1 Filed 01/22/16
                                      57-3 Filed 12/12/16 Page
                                                          Page 261ofof3 349 PageID
                                                                         PageID 192#:
                                     3425




                                                                                        61
Case
 Case1:15-cr-00072-TWP-DML
      1:15-cr-00072-TWP-DML Document
                             Document148-1 Filed 01/22/16
                                      57-3 Filed 12/12/16 Page
                                                          Page 362ofof3 349 PageID
                                                                         PageID 193#:
                                     3426




                                                                                        62
Case 1:15-cr-00072-TWP-DML
Case 1:15-cr-00072-TWP-DML Document
                           Document 57-4
                                    148-1 Filed
                                           Filed01/22/16
                                                 12/12/16 Page
                                                           Page1 63 of 349PageID
                                                                 of 185    PageID194
                                                                                  #:
                                     3427



                              VOLUNTARY STATEMENT
                                   IN CUSTODY

                                 CHILD ADVOCACY CENTER
                                 4134 North Keystone Avenue


  Date: August 22, 2014        Place: Indianapolis Metropolitan       Time Started: 3:46 p.m.
                                          Police Department

  I, Ali Al-Awadi, the undersigned, am 20 years of age, my date and place of birth being
  October 6, 1993, at ___________________. I now live at 7322 Camberwood Drive,
  Indianapolis, Indiana.

  I have been informed by Officer Detective Eli McAllister of the Indianapolis Metropolitan Police
  Department of my CONSTITUTIONAL RIGHTS and have voluntarily waived those RIGHTS
  as indicated by my WAIVER OF RIGHTS.

  I declare that the following statement is being made of my own free will without any promises or
  threats having been made to me and without pressure or coercion having been used against me
  and will full knowledge and understanding of my RIGHTS.

  I have read each page of the statement consisting of ___ pages, each page of which bears my
  signature, and corrections, if any, bear my initials. I certify that the facts contained herein are
  true and correct.

  Statement completed at _____ .m. on the _____ day of __________, 201 .

  Witnessed:                                   Signed:

  ________________________________             __________________________________

  ________________________________             __________________________________




  STATEMENT OF ALI AL-AWADI                      DP14-0088487               PAGE 1 OF 185

                                                                                                        63
Case 1:15-cr-00072-TWP-DML
Case 1:15-cr-00072-TWP-DML Document
                           Document 57-4
                                    148-1 Filed
                                           Filed01/22/16
                                                 12/12/16 Page
                                                           Page2 64 of 349PageID
                                                                 of 185    PageID195
                                                                                  #:
                                     3428



  THIS IS DETECTIVE ELI MCALLISTER WITH INDIANAPOLIS METRO POLICE

  DEPARTMENT, TODAY’S THE 27TH…, 22ND OF AUGUST, 2014, RIGHT NOW IT IS 3:46

  P.M. I’LL BE CONDUCTING AN INTERVIEW REFERENCE IMPD CASE NUMBER

  PD14-088487. I’M HERE AT THE CAC AND I’LL BE SPEAKING WITH MR. ALI

  NADEEM AL-AWADI. (UNSURE OF NAME AND SPELLING)


  Q:     (DOOR OPENS) HEY.

  A:    (INAUDIBLE-UNSURE)

  Q:    WHAT’S THAT?

  A:    HELLO.

  Q:    HELLO, YEAH, SORRY TO MAKE YOU WAIT, MAN. (DOOR CLOSES)

  A:    (INAUDIBLE)

  Q:    UH, (INAUDIBLE-UNSURE), THIS STUPID THING THAT’S IN THE WAY. I’M

        GONNA KICK THIS BACK IN THE CORNER IF THAT’S ALRIGHT, I NEVER USE

        THOSE THINGS, I DON’T KNOW WHY THEY PUT ‘EM IN HERE. (CHUCKLE)

  A:    (CHUCKLE)

  Q:    ANYWAYS, OH, OKAY MAN. SO YEAH, UH, ELI MCALLISTER’S MY NAME

        AND LIKE I SAID I’M A DETECTIVE; MY JOB’S JUST TO BASICALLY LOOK

        INTO THINGS, OKAY?

  A:    M-HMM.

  Q:    SO THAT’S WHAT I’M HERE TO DO. UH, WHENEVER I TALK TO SOMEONE I

        ALWAYS RECORD IT, THAT’S WHAT THIS THING IS JUST A LITTLE AUDIO

        RECORDER, UH…

  A:    UNDERSTAND.

  STATEMENT OF ALI AL-AWADI             DP14-0088487         PAGE 2 OF 185

                                                                                   64
Case 1:15-cr-00072-TWP-DML
Case 1:15-cr-00072-TWP-DML Document
                           Document 57-4
                                    148-1 Filed
                                           Filed01/22/16
                                                 12/12/16 Page
                                                           Page3 65 of 349PageID
                                                                 of 185    PageID196
                                                                                  #:
                                     3429



  Q:    …OKAY AND YOU PROBABLY NOTICED THERE’S SOME CAMERAS IN HERE,

        THAT’S JUST TYPICAL, WE ALWAYS…, WE ALWAYS HAVE…, UH, OUR

        INTERVIEW ROOMS RECORDED. UH, WHEW, I’VE BEEN BUSY TODAY,

        (CHUCKLE) HOW’S YOUR DAY BEEN, MAN?

  A:    (INAUDIBLE) UH, STRESSFUL EVER SINCE YESTERDAY HONESTLY,

        COULDN’T SLEEP AT ALL LAST NIGHT BECAUSE…, I MEAN TO BE HONEST

        WITH YOU IT’S LIKE A NIGHTMARE.

  Q:    YEAH.

  A:    AND ESPECIALLY IT’S NOT TRUE, IT’S REALLY BEEN BOTHERING ME

        BECAUSE I MIGHT HAVE TO LIVE THE REST OF MY LIFE WITH THIS

        HANGING OVER MY HEAD.

  Q:    YEAH.

  A:    AND HOPEFULLY IT’S ALL CLEARED UP AFTER TODAY.

  Q:    OKAY. WELL MY JOB’S TO FIGURE OUT JUST EXACTLY WHAT HAPPENED,

        SO IF THIS IS A BIG MISUNDERSTANDING THEN I’M THE GUY THAT’S

        SUPPOSED TO FIGURE THAT OUT, OKAY. SO…

  A:    AWESOME.

  Q:    …UH, UH, SO YOU LIVE HERE IN INDIANAPOLIS?

  A:    YES I DO.

  Q:    OKAY, UH, DO YOU…, WHERE’D YOU GROW UP?

  A:    UH, I ACTUALLY GREW UP HERE; I CAME TO AMERICA WHEN I WAS 2

        YEARS OLD.

  Q:    M-HMM.



  STATEMENT OF ALI AL-AWADI             DP14-0088487         PAGE 3 OF 185

                                                                                   65
Case 1:15-cr-00072-TWP-DML
Case 1:15-cr-00072-TWP-DML Document
                           Document 57-4
                                    148-1 Filed
                                           Filed01/22/16
                                                 12/12/16 Page
                                                           Page4 66 of 349PageID
                                                                 of 185    PageID197
                                                                                  #:
                                     3430



  A:    UH, BORN ON A REFUGEE CAMP IN SAUDI ARABIA…

  Q:    HMM.

  A:    …UH, TO ESCAPE THE TYRANNY OF SADAM HUSSEIN, SO…

  Q:    HMM.

  A:    …CAME HERE 2 YEARS OLD, PRETTY MUCH AMERICA’S MY HOME…

  Q:    YEAH, OKAY.

  A:    …THAT’S WHY IF PEOPLE LOOK AT ME THEY DON’T THINK I’M FROM THE

        MIDDLE EAST, THEY’RE LIKE, YOU DON’T HAVE AN ACCENT, YOU DON’T

        HAVE ANYTHING WRONG WITH YOU. (CHUCKLE)

  Q:    (CHUCKLE)

  A:    I WAS LIKE, WELL I’VE BEEN HERE ALL MY LIFE, SO.

  Q:    YEAH, I DON’T KNOW IF BEING FROM THE MIDDLE EAST MEANS

        SOMETHING’S WRONG WITH YOU. (CHUCKLE)

  A:    I MEAN SOME PEOPLE…, BECAUSE OF THE WHOLE…, LIKE THE

        TERRORISM GOING ON THERE…

  Q:    OH YEAH.

  A:    …THE WHOLE…, AFTER 911 EVERYTHING JUST WENT…

  Q:    YEAH.

  A:    …STRAIGHT…, IT WAS TERRIBLE.

  Q:    …YES, IT WAS. UH, NOW DO YOU STILL HAVE FAMILY IN IRAQ?

  A:    YES I DO.

  Q:    YEAH, UH…

  A:    UH…



  STATEMENT OF ALI AL-AWADI             DP14-0088487         PAGE 4 OF 185

                                                                                   66
Case 1:15-cr-00072-TWP-DML
Case 1:15-cr-00072-TWP-DML Document
                           Document 57-4
                                    148-1 Filed
                                           Filed01/22/16
                                                 12/12/16 Page
                                                           Page5 67 of 349PageID
                                                                 of 185    PageID198
                                                                                  #:
                                     3431



  Q:    …DO YOU EVER KEEP TOUCH WITH THEM OR IS IT…?

  A:    …WE TRY TO, IT’S…, IT’S BEEN GETTING A LOT EASIER NOW BECAUSE

        SKYPE AND THE…, UH, THEY USED TO HAVE PROBLEMS WITH THEIR…,

        UH, ELECTRICITY GENERATORS THERE WHERE THEY WERE LIMITED TO

        ONLY A CERTAIN TIME OF THE DAY THEY CAN…

  Q:    UH HUH.

  A:    …USE THE ELECTRICITY, BUT NOW IT’S GETTING A LOT BETTER SO WE’RE

        ABLE TO CALL THEM, UH, VIDEO CHAT THEM, IT’S BEEN A LOT EASIER

        NOW.

  Q:    YEAH, WHAT KIND OF FAMILY DO YOU HAVE OVER THERE STILL?

  A:    I HAVE SO MANY UNCLES AND SO MANY…, UH, AUNTS, UH, MY

        GRANDPA’S OVER THERE…

  Q:    OH.

  A:    …LOTS OF COUSINS. UH, THEY PRETTY MUCH JUST STAYED BECAUSE

        THEY WANTED TO ROUGH IT OUT. THEY SAID IF IT’S NOT ANY BETTER

        HERE THEN WHAT MAKES YOU THINK IT’S GONNA BE BETTER TO JUST

        CHANGE YOUR WHOLE LIFE OVER HERE…

  Q:    M-HMM.

  A:    …WE JUST WANTED A BETTER LIFE AND IT’S BEEN PRETTY GOOD.

  Q:    YEAH, ALRIGHT. DO YOU FEEL LIKE YOU’RE LIKE…, I MEAN YOU’RE

        CLEARLY…, IF YOU CAME HERE SINCE YOU WERE…, WHAT DID YOU SAY 2

        OR 3?

  A:    2 YEARS OLD.



  STATEMENT OF ALI AL-AWADI             DP14-0088487         PAGE 5 OF 185

                                                                                   67
Case 1:15-cr-00072-TWP-DML
Case 1:15-cr-00072-TWP-DML Document
                           Document 57-4
                                    148-1 Filed
                                           Filed01/22/16
                                                 12/12/16 Page
                                                           Page6 68 of 349PageID
                                                                 of 185    PageID199
                                                                                  #:
                                     3432



  Q:    SO I MEAN YOU DON’T KNOW ANY DIFFERENT, LIKE YOU DIDN’T…

  A:    UH…

  Q:    …YOU PROBABLY DON’T HAVE ANY MEMORIES OF IRAQ, DO YOU?

  A:    …EXACTLY.

  Q:    ARE YOU GLAD YOU CAME?

  A:    THEY TELL ME SO MANY STORIES OF ME BEING OUT WITH THE CHICKENS

        AND ALWAYS CHASING THEM AROUND AND LIKE PRETTY MUCH REALLY

        LIKE AGGRESSIVE WITH THE CHICKENS BECAUSE I WASN’T SCARED OF

        THEM. THEY WOULD ACTUALLY START BITING PEOPLE, WITH ME THEY’D

        BITE ME AND I’M JUST LIKE…, LIKE HITTING THEM.

  Q:    YEAH.

  A:    BUT THEY TOLD ME ALL THESE STORIES AND I JUST DON’T REMEMBER

        ANYTHING AND HONESTLY I DON’T EVEN REMEMBER UNTIL MAYBE LIKE

        KINDERGARTEN HERE…, WELL ACTUALLY PRESCHOOL HERE. SO IT’S

        BEEN…, IT’S BEEN A LONG RIDE.

  Q:    YEAH, NO KIDDING AND SO I MEAN DO YOU FEEL LIKE A CONNECTION TO

        THE…, YOUR FRIENDS OVER THERE OR YOUR FAMILY OVER THERE OR DO

        YOU FEEL KINDA LIKE…

  A:    HONESTLY…

  Q:    …I MEAN DO THEY LOOK AT YOU WEIRD OR DIFFERENT OR UH…?

  A:    …THEY…, THEY LOOK AT ME DIFFERENT BECAUSE THEY’RE LIKE, AW, HE

        DOESN’T KNOW ANY ARABIC, THE…, WELL EVEN THOUGH I DO THEY…,

        THEY SEE AN ACCENT, BECAUSE SINCE…



  STATEMENT OF ALI AL-AWADI             DP14-0088487         PAGE 6 OF 185

                                                                                   68
Case 1:15-cr-00072-TWP-DML
Case 1:15-cr-00072-TWP-DML Document
                           Document 57-4
                                    148-1 Filed
                                           Filed01/22/16
                                                 12/12/16 Page
                                                           Page7 69 of 349PageID
                                                                 of 185    PageID200
                                                                                  #:
                                     3433



  Q:    OH REALLY.

  A:    …SINCE I WASN’T TALKING OVER THERE AND I SPEAK ENGLISH MOSTLY

        OVER HERE, THEY’RE LIKE WELL HIS ARABIC ISN’T AS STRONG, HE HAS

        A…, A STRONG ACCENT, BUT I DON’T HEAR IT; BUT THEN AGAIN SOME

        PEOPLE FROM TEXAS WON’T HEAR THEIR ACCENT COMPARED TO PEOPLE

        IN NEW YORK, SO.

  Q:    YEAH, YEAH.

  A:    IT’S JUST ONE OF THOSE THINGS.

  Q:    HAVE YOU EVER BEEN BACK OVER FOR A VISIT?

  A:    I’VE BEEN PLANNING ON ONE, MY PARENTS WENT MARCH…

  Q:    UH HUH.

  A:    …THIS YEAR AND UH, THEY TOLD ME I HAVE TO GO, EVERYONE WANTS

        TO SEE ME, THEY WANT TO SEE THE LITTLE BOY WHO USED TO CHASE

        CHICKENS AROUND ALL GROWN UP NOW.

  Q:    THAT’S FUNNY, YEAH. SO, UH, WHO ALL CAME OVER, JUST YOU, YOUR

        MOM AND…

  A:    UH…

  Q:    …DAD OR…?

  A:    …MY GRANDPA CAME OVER FIRST…

  Q:    OH REALLY.

  A:    …AND HE BROUGHT OVER I THINK 3 OF MY UNCLES WITH HIM AND THEN

        WE WERE SUPPOSED TO FOLLOW HIM AT THE SAME TIME, BUT MY MOM

        WAS PREGNANT WITH MY LITTLE BROTHER…



  STATEMENT OF ALI AL-AWADI              DP14-0088487        PAGE 7 OF 185

                                                                                   69
Case 1:15-cr-00072-TWP-DML
Case 1:15-cr-00072-TWP-DML Document
                           Document 57-4
                                    148-1 Filed
                                           Filed01/22/16
                                                 12/12/16 Page
                                                           Page8 70 of 349PageID
                                                                 of 185    PageID201
                                                                                  #:
                                     3434



  Q:    M-HMM.

  A:    …AND THEY PUT HER AS A RISKY FLIGHT ATTEN…, OR ATTENDEE…

  Q:    M-HMM.

  A:    …SO THEY WOULDN’T LET US BOARD THE PLAN. SO UNTIL MY BROTHER

        WAS AROUND 9 MONTHS THEN WE CAME TO AMERICA.

  Q:    M-HMM.

  A:    BUT I DON’T REALLY FEEL MUCH OF A CONNECTION TO THEM OVER

        THERE ONLY BECAUSE…, UH, IT’S LIKE YOU FINDING OUT YOU HAVE

        FAMILY RIGHT NOW, YOU…, YOU’VE NEVER MET THEM, YOU DON’T

        KNOW WHAT THEY’RE LIKE, YOU DON’T KNOW WHAT THEIR FAVORITE

        FOOD IS, WHAT THEY LIKE TO LISTEN TO, STUFF LIKE THAT. IT’S…

  Q:    YEAH, UH HUH.

  A:    …JUST ONE OF THOSE THINGS WHERE YOU DON’T KNOW THEM, BUT YOU

        KNOW THEM.

  Q:    (CLEARING THROAT) YEAH, ABSOLUTELY.

  A:    M-HMM.

  Q:    HUH AND UH, SO YOU GREW UP HERE IN INDIANAPOLIS OR SOMEWHERE

        ELSE IN THIS…, IN THE COUNTRY?

  A:    PRETTY MUCH IN INDIANAPOLIS…

  Q:    YEAH.

  A:    …UH, I THINK WE LIVED IN APARTMENTS AT FIRST, THEN WE GOT US A

        LITTLE HOUSE.

  Q:    YEAH.



  STATEMENT OF ALI AL-AWADI             DP14-0088487         PAGE 8 OF 185

                                                                                   70
Case 1:15-cr-00072-TWP-DML
Case 1:15-cr-00072-TWP-DML Document
                           Document 57-4
                                    148-1 Filed
                                           Filed01/22/16
                                                 12/12/16 Page
                                                           Page9 71 of 349PageID
                                                                 of 185    PageID202
                                                                                  #:
                                     3435



  A:    THEN 4TH GRADE YEAR BOUGHT A BIGGER HOUSE AND I REMEMBER THAT

        BECAUSE IT WAS ONE OF THE HARDEST TRANSITIONS OF MY LIFE GOING

        FROM SCHOOL TO SCHOOL IT WAS JUST SOMETHING REALLY TRAUMATIC

        FOR ME AND THEN I WAS JUST LIKE…, IT’S LIKE STARTING ALL OVER,

        YOU LOSE SO MANY FRIENDS AND THEN YOU GO TO THIS NEW

        ENVIRONMENT YOU’VE NEVER EVEN BEEN IN.

  Q:    HMM.

  A:    IT…, IT WAS KINDA TOUGH, BUT IT…

  Q:    YEAH.

  A:    …I CAN’T SAY I REGRET ANY OF THAT.

  Q:    YEAH. SO WHAT…, WHAT…, WHAT AREA OF TOWN DID YOU END UP

        MOVING TO WHEN YOU WERE IN THE 4TH GRADE?

  A:    UH, JUST…, UH, NORTHWEST SIDE, RIGHT HERE ON…, THE SAME HOUSE

        THAT THEY CAME AND GOT ME FROM…

  Q:    OH OKAY, OKAY.

  A:    …THE…, UH, 71ST AND MICHIGAN REALLY.

  Q:    OH REALLY, OKAY.

  A:    AND WE WERE ON 52ND AND GEORGETOWN, EVEN THOUGH IT WASN’T A

        REALLY BIG MOVE…

  Q:    YEAH.

  A:    …EVERYTHING CHANGED, M-HMM.

  Q:    DIFFERENT SCHOOL AND THAT. THE ELEMENTARY SCHOOLS THEY HAVE

        LIKE ONE EVERY…



  STATEMENT OF ALI AL-AWADI             DP14-0088487         PAGE 9 OF 185

                                                                                   71
 Case1:15-cr-00072-TWP-DML
Case  1:15-cr-00072-TWP-DML Document
                             Document57-4
                                      148-1Filed
                                              Filed 12/12/16Page
                                                  01/22/16    Page
                                                                 1072
                                                                    of of
                                                                       185349PageID
                                                                              PageID203
                                                                                     #:
                                      3436



   A:    EVERY CORNER…

   Q:    …YEAH. (CHUCKLE)

   A:    …AND THEN THEY’RE LIKE YOU CAN’T GO ALL THE WAY OVER THERE

         BECAUSE THERE’S ONE RIGHT HERE.

   Q:    YOU GOT TO PASS 3 JUST TO GET THERE, YEAH…

   A:    M-HMM.

   Q:    …I REMEMBER HOW IT IS. UH, (CLEARING THROAT) AND SO WHICH HIGH

         SCHOOL DID YOU END UP GOING TO?

   A:    PIKE HIGH SCHOOL.

   Q:    OKAY. DID YOU GRADUATE FROM THERE?

   A:    YES I DID.

   Q:    OKAY, AWESOME. UH, SO DID YOU DO ANY SPORTS OR ANY ACTIVITIES

         THERE WHILE YOU WERE OUT THERE?

   A:    UH…

   Q:    MAYBE NOT SPORTS, BUT ANYTHING LIKE CLUBS OR ANYTHING?

   A:    …UH, I DID A LITTLE BPA, THAT’S ABOUT… (UNSURE)

   Q:    WHAT’S THAT?

   A:    …BUSINESS PROFESSIONALS OF AMERICA.

   Q:    OKAY.

   A:    IT’S PRETTY MUCH A COMPUTER…, UH, EXPERTEES CLUB…

   Q:    OKAY.




   STATEMENT OF ALI AL-AWADI              DP14-0088487        PAGE 10 OF 185

                                                                                      72
 Case1:15-cr-00072-TWP-DML
Case  1:15-cr-00072-TWP-DML Document
                             Document57-4
                                      148-1Filed
                                              Filed 12/12/16Page
                                                  01/22/16    Page
                                                                 1173
                                                                    of of
                                                                       185349PageID
                                                                              PageID204
                                                                                     #:
                                      3437



   A:    …WHERE YOU GO AND THERE’S NATIONAL CHALLENGES, I NEVER

         REALLY GOT INTO THOSE, BECAUSE…, UH, WHEN MY GRANDPA PASSED

         AWAY MY FRESHMAN YEAR, UH, REALLY HIT ME KINDA HARD…

   Q:    M-HMM.

   A:    …TO THE POINT WHERE I STARTED SLACKING IN SCHOOL AND THE

         BIGGEST REGRET WAS JUST STARTING TO SLACK, CAUSE IF YOU

         WOULD’VE SEEN ME DO THAT YOU WOULD’VE REALLY DISAPPROVED.

   Q:    M-HMM.

   A:    BUT SINCE HE WAS THE ONLY GRANDPARENT I KNEW, IT WAS LIKE

         REALLY…, WE HAD A REALLY GOOD BOND AND FOR THE LONGEST I FELT

         LIKE DEPRESSED ABOUT IT ALMOST.

   Q:    M-HMM.

   A:    AND…

   Q:    YOU SAID IT WAS YOUR FRESHMAN YEAR?

   A:    …YEAH, MY FRESHMAN YEAR.

   Q:    M-HMM.

   A:    AND IT WAS REALLY HARD BECAUSE I WAS STILL TRYING TO FIT IN AND

         UH, IT WAS JUST REALLY TOUGH KNOWING HE WASN’T IN THE PICTURE

         ANYMORE. SO, UH, AFTER THAT I STARTED PRETTY MUCH ISOLATING

         MYSELF FROM A LOT OF THINGS. THEN MY JUNIOR YEAR I STARTED

         OPENING BACK UP, I TRIED OUT FOR SOCCER, UH, TOO LATE TO MAKE THE

         TEAM. SO AFTER I TRIED OUT BECAUSE WHEN I FIGURED I’LL TRY OUT, IT

         WAS A LITTLE TOO LATE.



   STATEMENT OF ALI AL-AWADI              DP14-0088487        PAGE 11 OF 185

                                                                                      73
 Case1:15-cr-00072-TWP-DML
Case  1:15-cr-00072-TWP-DML Document
                             Document57-4
                                      148-1Filed
                                              Filed 12/12/16Page
                                                  01/22/16    Page
                                                                 1274
                                                                    of of
                                                                       185349PageID
                                                                              PageID205
                                                                                     #:
                                      3438



   Q:    M-HMM.

   A:    THEN I TRIED TRACK AND THEN…, UH, LIKE TORE MY HAM STRING A

         LITTLE BIT, WELL LIKE REALLY PULLED IT AND IT WAS SO PAINFUL I

         DIDN’T GO BACK AFTER THAT.

   Q:    AW YEAH.

   A:    AND I JUST PLAY INTERMURAL SPORTS PRETTY MUCH, BASKETBALL,

         SOCCER JUST FOR FUN, I’M NOT REAL…

   Q:    YEAH, WHAT’S YOUR FAVORITE?

   A:    …UH, I’D HAVE TO GO WITH SOCCER ONLY BECAUSE IT’S A LOT MORE

         INTENSE, BECAUSE IT’S NO BRAKES.

   Q:    YEAH, YEAH, JUST CONSTANT.

   A:    BASKETBALL, YOU’RE SHOOTING THEN YOU GOT TO RUN BACK…, BACK

         AND FORTH.

   Q:    M-HMM. (CLEARING THROAT)

   A:    PICK UP GAMES ARE A LOT LONGER THAN ACTUAL GAMES, CAUSE YOU

         GET SOME MANY TIME OUTS, YOU GOT…, WELL WE STOPPED THE TIME

         FOR THIS AND THIS, IN SOCCER THERE’S NOT STOPPAGE, YOU JUST…

   Q:    YEAH, 45 MINUTES.

   A:    …RUN, RUN, RUN, RUN, IT’S…

   Q:    PLUS STOPPAGE, 45 MINUTES PLUS STOPPAGE.

   A:    …IT’S…, IT’S A LONG DAY.

   Q:    YEAH. DID YOU WATCH MUCH OF THE WORLD CUP?

   A:    I…, IT WAS UPSETTING…



   STATEMENT OF ALI AL-AWADI              DP14-0088487        PAGE 12 OF 185

                                                                                      74
 Case1:15-cr-00072-TWP-DML
Case  1:15-cr-00072-TWP-DML Document
                             Document57-4
                                      148-1Filed
                                              Filed 12/12/16Page
                                                  01/22/16    Page
                                                                 1375
                                                                    of of
                                                                       185349PageID
                                                                              PageID206
                                                                                     #:
                                      3439



   Q:    YEAH.

   A:    …TO SAY THE LEAST, CAUSE…

   Q:    WELL HOW DID…, WELL YOU PROBABLY WERE…, WHO WERE YOU

         CHEERING FOR PRIMARILY?

   A:    UH, I…, MY FAVORITE TEAM WAS ARGENTINA AND…

   Q:    OH REALLY…

   A:    …YEAH.

   Q:    …WELL THEN THAT WAS DISAPPOINTING.

   A:    ESPECIALLY HOW…

   Q:    SO WE KNOW (INAUDIBLE-UNSURE) A BIG FAN OF HIM?

   A:    HUGE, HUGE FAN OF HIM. WELL, UH, THE SIERRA…, (UNSURE) I

         ACTUALLY THOUGHT THE NETHERLANDS WERE GONNA WIN BECAUSE

         THEY’RE A REALLY, REALLY TOUGH TEAM AND I DID NOT EXPECT

         GERMANY TO JUST BLOW OUT BRAZIL LIKE THAT, IT WAS INTENSE.

   Q:    UNBELIEVABLE, ISN’T IT?

   A:    WELL LIKE I WAS CHECKING MY PHONE AND THEN SOME GUY’S LIKE

         YEAH, THE SCORES STILL ZERO/ZERO, I WAS LIKE I BET IF YOU CHECK IT

         AGAIN THE SCORE’S DIFFERENT, HE’S LIKE I JUST CHECKED IT. HE

         CHECKS IT, IT’S ONE/ZERO AND I WAS LIKE, YEAH, THE GAME’S

         PROBABLY GONNA END LIKE TWO…, TWO/ONE SOMETHING LIKE THAT.

         HE WAS LIKE, NO AND THEN BY HALFTIME IT WAS FIVE/ZERO, I WAS LIKE,

         NO.

   Q:    IT ENDED SEVEN/ZERO, RIGHT?



   STATEMENT OF ALI AL-AWADI              DP14-0088487        PAGE 13 OF 185

                                                                                      75
 Case1:15-cr-00072-TWP-DML
Case  1:15-cr-00072-TWP-DML Document
                             Document57-4
                                      148-1Filed
                                              Filed 12/12/16Page
                                                  01/22/16    Page
                                                                 1476
                                                                    of of
                                                                       185349PageID
                                                                              PageID207
                                                                                     #:
                                      3440



   A:    UH, I THINK SO.

   Q:    I THINK IT WAS SEVEN.

   A:    BUT IT’S…, IT’S TERRIBLE, TERRIBLE LOSS.

   Q:    I DON’T REMEMBER WHO ELSE…, I’M TRYING TO THINK WHO ELSE I LIKED

         WATCHING. UH, WHO WERE SOME OF THE FAVORITE TEAMS YOU LIKED,

         YOU SAID NETHERLANDS, YOU ENJOYED THEM?

   A:    I ENJOYED THE NETHERLANDS, UH, USA, I REALLY WANTED THEM TO WIN

         THIS YEAR.

   Q:    OH YEAH, I KNOW, ME TOO OBVIOUSLY.

   A:    IT WAS…, IT WAS TOUGH AFTER SEEING THEM GET SO FAR THIS YEAR…

   Q:    I KNOW.

   A:    …BEATING OUR GHANA…, UH, RIVAL AND JUST BARELY SHY…

   Q:    JUST SHOULD’VE…, PORTUGAL, MAN, THEY SHOULD’VE BEAT ‘EM, RIGHT?

   A:    BUT IT WAS…, THAT WAS A LACK OF DEFENSE I WOULD SAY.

   Q:    THEY COULD’VE LASTED LIKE 4 SECONDS THOUGH, MAN, IT WAS LIKE 95

         MINUTES IN, THEY…

   A:    IT WAS…, IT WAS TERR…, I DID NOT EXPECT THAT TO COME AND THEN

         WELL THE…, YOU CAN’T EXPECT ANY LESS FROM RENARDO, HE IS A

         BEAST. (UNSURE OF NAME SPELLING)

   Q:    OH MAN, ONE FREAKING TO AN HOUR, MAN. (UNSURE) LIKE THE…, THE

         DEFENSE…, I DON’T KNOW, HE WAS…, HE WAS NUTS.




   STATEMENT OF ALI AL-AWADI              DP14-0088487        PAGE 14 OF 185

                                                                                      76
 Case1:15-cr-00072-TWP-DML
Case  1:15-cr-00072-TWP-DML Document
                             Document57-4
                                      148-1Filed
                                              Filed 12/12/16Page
                                                  01/22/16    Page
                                                                 1577
                                                                    of of
                                                                       185349PageID
                                                                              PageID208
                                                                                     #:
                                      3441



   A:    WELL I MEAN SEEING THAT…, THAT SHOT WITH THE HEADER LOOKED

         LIKE THE GUY KICKED THE BALL, THAT’S HOW FAST IT WENT IN. SO I

         DON’T LIKE…

   Q:    YOU’RE TALKING ABOUT PORTUGAL’S GOAL?

   A:    …YEAH, THAT…, THAT WAS…, IT WENT IN SO FAST I DIDN’T THINK IT

         EVEN WENT IN, I WAS LIKE, NO WAY.

   Q:    YEAH, THAT’S NUTS, THAT’S NUTS. (COUGHING) UH, I’LL TELL YOU WHAT

         MAN, I…, I…, UH, I’D RATHER JUST SIT AROUND AND WATCH SOCCER…

         (CHUCKLE)

   A:    I…

   Q:    …BUT I DON’T THINK THERE’S ANY MATCHES ON RIGHT NOW, PLUS WE

         KINDA HAVE TO GET TO SOMETHING, MAN, SO.

   A:    …OF COURSE.

   Q:    UH, I PROBABLY OUGHT TO…, UH, START DOING MY JOB, RIGHT.

         (CHUCKLE)

   A:    (CHUCKLE) NICE LITTLE BREAK.

   Q:    LET’S SEE HERE, YEAH, WELL YOU KNOW I…, UH, YOU GOT ME ON A TOPIC

         I’M QUITE INTERESTED IN. I WAS LIKE…, AND I’M LIKE 33…

   A:    M-HMM.

   Q:    …YEAH, SO I’M A LITTLE BIT OLDER AND I WAS LIKE…, AFTER WATCHING

         ALL THE LITTLE CUP GAMES, I’M LIKE I ALMOST WISH THERE WAS LIKE

         AN ADULT LEAGUE I COULD GO PLAY IN, MAN, CAUSE THIS WOULD BE

         FUN. (CHUCKLE)



   STATEMENT OF ALI AL-AWADI              DP14-0088487        PAGE 15 OF 185

                                                                                      77
 Case1:15-cr-00072-TWP-DML
Case  1:15-cr-00072-TWP-DML Document
                             Document57-4
                                      148-1Filed
                                              Filed 12/12/16Page
                                                  01/22/16    Page
                                                                 1678
                                                                    of of
                                                                       185349PageID
                                                                              PageID209
                                                                                     #:
                                      3442



   A:    UH, WELL…

   Q:    SOME…

   A:    …I DON’T KNOW IF YOU’VE EVER HEARD OF SPORTS ZONE, THEY

         ACTUALLY HAVE INDOOR LEAGUES YOU CAN JUST…

   Q:    …OH REALLY.

   A:    …PLAY WITH YOUR OWN TEAM AND PLAY, IT’S…, IT’S A LOT OF FUN.

         (UNSURE)

   Q:    YEAH, YEAH.

   A:    AND I USED TO DO THAT AND THEN…, UH, JUST STARTED GETTING A LOT

         BUSIER AND STOPPED MAKING TIME FOR SOCCER.

   Q:    YEAH, THAT SUCKS. UH, MAN, SOMEBODY’S BLOWING MY PHONE UP, I

         GOT TO GO FIGURE OUT WHAT THEY NEED AND TELL ‘EM TO STOP

         CALLING ME, SO…

   A:    YEAH.

   Q:    …I’LL BE RIGHT BACK, MAN, I’M SORRY FOR THE INTERRUPTION.

   A:    IS IT ALRIGHT IF I CHECK MY PHONE OR IS THAT…?

   Q:    YEAH, IF YOU NEED TO, THAT’S FINE, MAN. (DOOR OPENS)

   A:    OKAY.

   Q:    IF IT’S STILL ON…, TYPICALLY…, I’LL BE HONEST WITH YOU TYPICALLY

         WE HAVE A RULE WE’RE NOT ALLOWED TO HAVE ANY PHONES IN THE…,

         IN THE ROOM…

   A:    OKAY.

   Q:    …SO I MEAN…



   STATEMENT OF ALI AL-AWADI              DP14-0088487        PAGE 16 OF 185

                                                                                      78
 Case1:15-cr-00072-TWP-DML
Case  1:15-cr-00072-TWP-DML Document
                             Document57-4
                                      148-1Filed
                                              Filed 12/12/16Page
                                                  01/22/16    Page
                                                                 1779
                                                                    of of
                                                                       185349PageID
                                                                              PageID210
                                                                                     #:
                                      3443



   A:    IF YOU DON’T WANT ME TO CHECK, IT’S FINE.

   Q:    …WELL THE THING IS I DON’T REALLY WANT TO GET IN TROUBLE, DO

         YOU MIND…, UH, UH…

   A:    YEAH, I CAN TAKE IT OUT, YEAH.

   Q:    …OKAY, JUST POWER IT DOWN OR SOMETHING OR…?

   A:    YEAH.

   Q:    I’LL JUST STICK IT ON MY DESK, I DIDN’T KNOW YOU HAD IT IN THERE,

         USUALLY…, USUALLY THEY…, UH, THEY…, THEY MAKE SURE NO ONE

         COMES IN WITH A CELL PHONE. SO I’LL…, I’LL GO AHEAD AND STICK IT

         ON MY…, UH…

   A:    ALRIGHT.

   Q:    …ON MY DESK, IT’LL BE SAFE, BUT…, UH, BUT I’LL RETURN IT TO YOU

         WHEN WE’RE DONE. (UNSURE)

   A:    OKAY.

   Q:    ALRIGHT, MAN. (DOOR CLOSES)

   (PAUSE)

   Q:    (DOOR OPENS) HEY, I’M SORRY ABOUT THAT, MAN. (DOOR CLOSES)

   A:    THAT’S FINE.

   Q:    UH, IF YOU BELIEVE ME IT’S KIND OF A COMPLICATED ORDEAL, MAN,

         TRYING TO GET EVERYTHING FIGURED OUT, YOU KNOW WHAT I MEAN?

   A:    M-HMM…

   Q:    SO, UH…

   A:    …FORTUNATELY.



   STATEMENT OF ALI AL-AWADI              DP14-0088487        PAGE 17 OF 185

                                                                                      79
 Case1:15-cr-00072-TWP-DML
Case  1:15-cr-00072-TWP-DML Document
                             Document57-4
                                      148-1Filed
                                              Filed 12/12/16Page
                                                  01/22/16    Page
                                                                 1880
                                                                    of of
                                                                       185349PageID
                                                                              PageID211
                                                                                     #:
                                      3444



   Q:    …SO ANYWAYS MAN, I’D LIKE TO TALK TO YOU IF I COULD. UH, I KNOW

         THEY DIDN’T GIVE YOU A WHOLE LOT OF CHOICE ABOUT COMING DOWN

         HERE…

   A:    NO, NO.

   Q:    …BUT…, UH, I THINK WE DO SHARE ONE COMMON GOAL WHICH IS TO GET

         THIS THING FIGURED OUT AND BEHIND US, AM I RIGHT?

   A:    YEAH, FOR SURE.

   Q:    UH, I…, UH, I’VE GOT SOMEWHERE TO BE THIS WEEKEND, SO I’M

         GONNA…, I…, YOU KNOW I WANT TO GET OUT OF HERE AS QUICK AS WE

         CAN, BUT…, UH…

   A:    UH HUH, OF COURSE.

   Q:    …BUT AT THE SAME TIME KNOW THIS IS AN IMPORTANT DEAL…

   A:    M-HMM.

   Q:    …FOR…, FOR YOUR LIFE AND FOR…, UH, FOR…, FOR THE…, THE

         DAYCARE AND FOR THE KIDS AND ALL THAT, IT…, IT MATTERS, RIGHT,

         NO MATTER WHAT HAPPENS…

   A:    YEAH, OF COURSE.

   Q:    …IT MATTERS FOR EVERYBODY.

   A:    I MEAN EVEN IF IT WAS SOMEONE ELSE I’D THINK THE SAME THING.

   Q:    YEAH, YEAH. SO…, SO GIVEN ALL THAT, UH, I REALLY AM INTERESTED IN

         HEARING YOUR SIDE OF IT ALL, UH, I’VE BEEN BUSY TODAY, BEEN

         TALKING TO A BUNCH OF DIFFERENT PEOPLE, LOOKING AT…, YOU KNOW,

         UH, ALL KINDS OF DIFFERENT PIECES OF INFORMATION.



   STATEMENT OF ALI AL-AWADI              DP14-0088487        PAGE 18 OF 185

                                                                                      80
 Case1:15-cr-00072-TWP-DML
Case  1:15-cr-00072-TWP-DML Document
                             Document57-4
                                      148-1Filed
                                              Filed 12/12/16Page
                                                  01/22/16    Page
                                                                 1981
                                                                    of of
                                                                       185349PageID
                                                                              PageID212
                                                                                     #:
                                      3445



   A:    OF COURSE.

   Q:    BUT…, UH, BUT I FEEL LIKE NOW WOULD BE A GOOD TIME TO GET YOUR

         SIDE OF IT AND FIGURE OUT WHAT YOU CAN TELL ME ABOUT ALL THIS,

         OKAY?

   A:    ALRIGHT.

   Q:    SO, UH, I’D LIKE TO JUST START BY GETTING SOME BASIC INFORMATION

         ABOUT YOU. UH, WHAT’S YOUR FULL NAME?

   A:    ALI AL-AWADI, A-L-I.

   Q:    UH HUH.

   A:    LAST NAME IS A-L…

   Q:    UH HUH.

   A:    …DASH A-W-A-D-I.

   Q:    OKAY, IS THAT YOUR FULL NAME?

   A:    YEAH.

   Q:    OKAY, DO YOU HAVE A MIDDLE NAME OR ANY…

   A:    WELL I HAVE A MIDDLE INITIAL…

   Q:    …ADDITIONAL (INAUDIBLE)?

   A:    …WHICH IS N.

   Q:    WHAT’S THAT STAND FOR?

   A:    UH, IT’S MY DAD’S NAME, NADHIN, N-A-D-H-I-N; N-A-D-H-I-N.

   Q:    N-A-D-H-I-N?

   A:    M-HMM.

   Q:    AND THAT’S PRONOUNCED NADHIN?



   STATEMENT OF ALI AL-AWADI              DP14-0088487        PAGE 19 OF 185

                                                                                      81
 Case1:15-cr-00072-TWP-DML
Case  1:15-cr-00072-TWP-DML Document
                             Document57-4
                                      148-1Filed
                                              Filed 12/12/16Page
                                                  01/22/16    Page
                                                                 2082
                                                                    of of
                                                                       185349PageID
                                                                              PageID213
                                                                                     #:
                                      3446



   A:    M-HMM.

   Q:    ALRIGHT. SO DO YOU STILL LIVE AT YOUR PARENTS’ HOUSE WITH THEM,

         ARE THEY STILL THERE?

   A:    YEAH, YEAH.

   Q:    MOM AND DAD?

   A:    YEAH.

   Q:    YOU SAID SOMETHING ABOUT A LITTLE BROTHER; SHE WAS PREGNANT

         WHEN YOU GUYS WERE TRYING TO LEAVE?

   A:    MY…

   Q:    DID SHE HAVE A…, A BRO…, DO YOU HAVE A BROTHER?

   A:    …MY BROTHER’S AT I.U. RIGHT NOW.

   Q:    OKAY, WHAT’S HE STUDYING?

   A:    UH, LAST TIME I TALKED TO HIM HE TOLD ME MICRO-BIOLOGY.

   Q:    OH YEAH.

   A:    BUT HE WANTS TO BE A GENERAL SURGEON, SO WE SAID IT’S WHICH

         EVER COMES FIRST.

   Q:    OKAY.

   A:    HE’S GONNA GO TO MEDICAL SCHOOL AND HE WANTS TO SEE WHICH ONE

         HE PREFERS.

   Q:    ALRIGHT, UH, WHAT’S YOUR DATE OF BIRTH, MAN?

   A:    UH, IT’S OCTOBER 6TH…

   Q:    UH HUH.

   A:    …1993.



   STATEMENT OF ALI AL-AWADI              DP14-0088487        PAGE 20 OF 185

                                                                                      82
 Case1:15-cr-00072-TWP-DML
Case  1:15-cr-00072-TWP-DML Document
                             Document57-4
                                      148-1Filed
                                              Filed 12/12/16Page
                                                  01/22/16    Page
                                                                 2183
                                                                    of of
                                                                       185349PageID
                                                                              PageID214
                                                                                     #:
                                      3447



   Q:    OKAY AND SO HE’S JUST DOING HIS UNDERGRAD AT I.U. NOW?

   A:    M-HMM.

   Q:    OKAY, WHAT’S YOUR HOME ADDRESS?

   A:    7322…

   Q:    UH HUH.

   A:    …CAMBERWOOD, C-A-M-B-E-R-W-O-O-D…

   Q:    UH HUH.

   A:    …DRIVE, INDIANAPOLIS, INDIANA 46268.

   Q:    OKAY, UH, WHAT’S YOUR SOCIAL SECURITY NUMBER?

   A:    IT’S 305-…

   Q:    UH HUH.

   A:    …17-8653.

   Q:    OKAY AND DO YOU HAVE A CELL PHONE NUMBER?

   A:    YES…

   Q:    WHAT’S THAT?

   A:    …317-…

   Q:    UH HUH?

   A:    …319-9601.

   Q:    IF I HAD TO GET A HOLD OF YOU AND SOMETHING HAPPENED TO YOUR

         CELL PHONE, YOU WOULDN’T BELIEVE HOW MANY TIMES PEOPLE

         CHANGE THEIR NUMBERS, I KNOW YOU MAY NOT, BUT…

   A:    UH HUH.




   STATEMENT OF ALI AL-AWADI              DP14-0088487        PAGE 21 OF 185

                                                                                      83
 Case1:15-cr-00072-TWP-DML
Case  1:15-cr-00072-TWP-DML Document
                             Document57-4
                                      148-1Filed
                                              Filed 12/12/16Page
                                                  01/22/16    Page
                                                                 2284
                                                                    of of
                                                                       185349PageID
                                                                              PageID215
                                                                                     #:
                                      3448



   Q:    …PEOPLE DO; WHO WOULD I CALL OR HOW WOULD I GET IN TOUCH WITH

         YOU IF I COULDN’T REACH YOU AT THIS NUMBER?

   A:    UH, YOU COULD CALL THE…, THE HOME.

   Q:    WHAT’S THAT NUMBER?

   A:    317-298-…

   Q:    UH HUH.

   A:    …8667.

   Q:    8667, OKAY AND THEN ASIDE FROM THE HOME NUMBER IS THERE ANYONE

         ELSE’S CELL PHONE LIKE YOUR MOM OR DAD OR SOMEBODY LIKE THAT I

         COULD CALL TO REACH ‘EM…, TO REACH YOU?

   A:    UH, SURE, I’LL GIVE YOU MY MOM’S, ITS 317-…

   Q:    UH HUH.

   A:    …319-…

   Q:    OKAY.

   A:    …4484.

   Q:    84 AND THAT’S YOUR MOM, WHAT’S HER NAME?

   A:    NAWAL, UH, N-A-W-A-L.

   Q:    NAWAL AND THEN WHAT’S HER…, THE REST OF HER NAME?

   A:    (CLEARING THROAT) UH, AL-KHAZALI, ITS A-L DASH K-H-A-Z-A-L-I.

   Q:    NAWAL AL-KHAZALI?

   A:    M-HMM.

   Q:    OKAY, (INAUDIBLE-UNSURE)…

   A:    M-HMM.



   STATEMENT OF ALI AL-AWADI              DP14-0088487        PAGE 22 OF 185

                                                                                      84
 Case1:15-cr-00072-TWP-DML
Case  1:15-cr-00072-TWP-DML Document
                             Document57-4
                                      148-1Filed
                                              Filed 12/12/16Page
                                                  01/22/16    Page
                                                                 2385
                                                                    of of
                                                                       185349PageID
                                                                              PageID216
                                                                                     #:
                                      3449



   Q:    …I SPOKE SOME FRENCH IN HIGH SCHOOL, SO. (CHUCKLE) SIMILAR…

   A:    (INAUDIBLE-UNSURE)

   Q:    …AT MOMENTS I’M SURE. SO, UH, YEAH, DO YOU PREFER ENGLISH OR I…,

         I’M…

   A:    I PREFER ENGLISH.

   Q:    …WELL I’M NOT…, I CAN’T TALK TO YOU IN ARABIC IF YOU WANTED TO, I

         JUST MEAN WHICH…, WHICH LANGUAGE DO YOU LIKE BETTER, YOU

         THINK IS A COOLER LANGUAGE?

   A:    UH, I LIKE SPEAKING ARABIC, BUT IN TERMS OF WHICH ONE’S EASIER IT’S

         ENGLISH.

   Q:    YOU THINK IN…, IN PROCESSING ENGLISH MORE THAN…

   A:    FOR SURE BECAUSE…

   Q:    …ARABIC?

   A:    …ARABIC HAS SO MANY MORE ACCENTS…

   Q:    YEAH.

   A:    …SO MANY DIFFERENT WAYS YOU PRONOUNCE SOMETHING. ENGLISH IT

         DOES HAVE SOME THINGS THAT ARE SILENT, LIKE…, UH, UH, CAN’T EVEN

         THINK OF ONE OFF THE TOP OF MY HEAD, LIKE SIGNED YOU DON’T HEAR

         THE LETTER G…

   Q:    G, EXACTLY.

   A:    …IT’S STUFF LIKE THAT, BUT ARABIC EVERYTHING IS PRONOUNCED, BUT

         THERE’S SO MANY DIFFERENT ACCENTS…

   Q:    THAT THAT CHANGES, YEAH. (UNSURE)



   STATEMENT OF ALI AL-AWADI              DP14-0088487        PAGE 23 OF 185

                                                                                      85
 Case1:15-cr-00072-TWP-DML
Case  1:15-cr-00072-TWP-DML Document
                             Document57-4
                                      148-1Filed
                                              Filed 12/12/16Page
                                                  01/22/16    Page
                                                                 2486
                                                                    of of
                                                                       185349PageID
                                                                              PageID217
                                                                                     #:
                                      3450



   A:    …THAT IT CAN CHANGE THE WAY THE WORD SOUNDS.

   Q:    WOW, YEAH. UH, IT SOUNDS COOL AND UH, I HEAR PEOPLE SPEAK IT YOU

         KNOW, I LIKE…, I LIKE DIFFERENT LANGUAGES, I’M NOT ALWAYS GREAT

         AT IT, BUT I…, I’VE SPOKEN SOME ENGLISH OBVIOUSLY, (CHUCKLE) I

         MEAN SPANISH AND FRENCH…

   A:    I’VE BEEN LEARNING SPANISH SO.

   Q:    …AND ITALIAN, YEAH, THERE’S A LOT OF SPANISH SPEAKING PEOPLE IN…

   A:    DEFINITELY.

   Q:    …IN THE UNITED STATES NOWADAYS AND ALL OVER, BUT…, UH,

         (CLEARING THROAT). ALRIGHT, UH, UH, AND SO YOU’VE LIVED IN THE

         CAMBERWOOD ADDRESS SINCE YOU WERE IN 4TH GRADE?

   A:    YES, ABOUT 2005 I THINK IF I’M CORRECT.

   Q:    OKAY.

   A:    NO, 2004, I’M SORRY.

   Q:    2004, HOW OLD ARE YOU NOW?

   A:    I’M 20 YEARS OLD.

   Q:    20, SO YOU GOT A BIRTHDAY COMING UP IN 2 MONTHS, RIGHT?

   A:    YEAH.

   Q:    IN A MONTH AND A HALF, SOMETHING LIKE THAT?

   A:    YEAH.

   Q:    ALRIGHT, COOL, IT’S IMPORTANT (INAUDIBLE-UNSURE) (CLEARING

         THROAT) ALRIGHT, UH, WHO ALL LIVES IN THE HOUSE WITH YOU, JUST

         YOU AND UH, YOUR PARENTS?



   STATEMENT OF ALI AL-AWADI              DP14-0088487        PAGE 24 OF 185

                                                                                      86
 Case1:15-cr-00072-TWP-DML
Case  1:15-cr-00072-TWP-DML Document
                             Document57-4
                                      148-1Filed
                                              Filed 12/12/16Page
                                                  01/22/16    Page
                                                                 2587
                                                                    of of
                                                                       185349PageID
                                                                              PageID218
                                                                                     #:
                                      3451



   A:    AND MY LITTLE SISTER.

   Q:    LITTLE SISTER, OKAY. WHAT’S YOUR DAD’S NAME?

   A:    NADHIN.

   Q:    OH, SO SAME SPELLING NADHIN?

   A:    M-HMM.

   Q:    NADHIN…?

   A:    SAME LAST NAME AS ME.

   Q:    AL-AWADI?

   A:    M-HMM.

   Q     OKAY AND DOESN’T AL…, DOES THAT MEAN THE, IS THAT RIGHT?

         (UNSURE)

   A:    IT’S…, THAT’S WHAT I BELIEVE, UH, MY PARENTS SAY IT’S…, UH, IT’S

         ACTUALLY PART OF OUR LAST NAME…

   Q:    OKAY.

   A:    …BUT MY COUSIN HE CHANGED HIS LAST NAME TO REMOVE THE A-L,

         JUST BECAUSE HE SAYS IT’S THE FAMILY.

   Q:    YEAH.

   A:    M-HMM.

   Q:    AL-AWADI, OKAY.

   A:    M-HMM.

   Q:    UH, OKAY. (COUGHING)

   A:    YOU NEED MY SISTER’S NAME TOO?




   STATEMENT OF ALI AL-AWADI              DP14-0088487        PAGE 25 OF 185

                                                                                      87
 Case1:15-cr-00072-TWP-DML
Case  1:15-cr-00072-TWP-DML Document
                             Document57-4
                                      148-1Filed
                                              Filed 12/12/16Page
                                                  01/22/16    Page
                                                                 2688
                                                                    of of
                                                                       185349PageID
                                                                              PageID219
                                                                                     #:
                                      3452



   Q:    YEAH, SO NADHIN AL-AWADI IS YOUR DAD’S NAME AND THEN WHAT’S

         YOUR SISTER?

   A:    M-HMM, IT IS Z-A-…

   Q:    M-HMM.

   A:    …H-R-A, ZAHRA AND SAME LAST NAME.

   Q:    AL-AWADI, OKAY.

   A:    M-HMM.

   Q:    ALRIGHT AND HOW OLD IS YOUR SISTER?

   A:     SHE IS 13.

   Q:    OKAY. UH, OKAY, UH, ALRIGHT. UH, HOW OLD WERE YOUR PARENTS

         WHEN THEY CAME OVER, DO YOU REMEMBER?

   A:    UH, 18 YEARS AGO, MY DAD WAS BORN 1965, UH, THINK MY DAD WAS IN

         HIS 30’S…

   Q:    YEAH.

   A:    …CAUSE WE CAME 1995.

   Q:    YEAH, DID HE GROW UP IN ANY PARTICULAR REGION OF IRAQ OR ANY

         PARTICULAR CITY?

   A:    UH, NYJEF. (UNSURE OF NAME AND SPELLING)

   Q:    NAJAF?

   A:    M-HMM…

   Q:    OKAY.

   A:    …THAT’S WHAT HE CALLS THE BEST CITY IN THE WORLD.




   STATEMENT OF ALI AL-AWADI              DP14-0088487        PAGE 26 OF 185

                                                                                      88
 Case1:15-cr-00072-TWP-DML
Case  1:15-cr-00072-TWP-DML Document
                             Document57-4
                                      148-1Filed
                                              Filed 12/12/16Page
                                                  01/22/16    Page
                                                                 2789
                                                                    of of
                                                                       185349PageID
                                                                              PageID220
                                                                                     #:
                                      3453



   Q:    OH YEAH. YEAH, HAS IT BEEN WRAPPED UP IN ANY OF THE FIGHTING

         WITH ISIS LATELY?

   A:    ACTUALLY THAT’S BEEN THE CALMEST CITY.

   Q:    IS IT IN THE SOUTH OR WHERE IS IT?

   A:    IT’S…, UH, IT’S CLOSE TO BAGHDAD…

   Q:    OKAY.

   A:    …AND BAGHDAD’S PRETTY CALM RIGHT NOW.

   Q:    YEAH, PRETTY SAFE AT THE MOMENT.

   A:    AND UH, I THINK IT’S SOUTH OF BAGHDAD IF I’M CORRECT…

   Q:    OH.

   A:    …I’M NOT ONE HUNDRED PERCENT SURE.

   Q:    YEAH, WELL THAT EXPLAINS IT IF IT’S STILL CALM, BECAUSE…

   A:    EVERYTHING’S HAPPENING IN THE NORTH.

   Q:    …I’VE SEEN THE…, YEAH, THE SYRIAN BORDER AND EVERYTHING UP

         NORTH IS WHERE THE PROBLEMS WERE LIVE. (UNSURE)

   A:    REALLY (INAUDIBLE-UNSURE)

   Q:    YEAH, HAS YOUR FAMILY NOT BEEN AFFECTED SO MUCH THEN IF

         THEY’RE DOWN IN NAJAF?

   A:    UH, ONE OF THE AYATOLLAHS HAS DECLARED GUHAD…

   Q:    M-HMM.

   A:    …SO MEANING, UH, RELIGIOUSLY OBLIGED WE DO HAVE TO GO TO WAR

         WITH THE TERRORISTS, SO, UH, THEY ALL SIGNED UP FOR THE MILITARY,




   STATEMENT OF ALI AL-AWADI              DP14-0088487        PAGE 27 OF 185

                                                                                      89
 Case1:15-cr-00072-TWP-DML
Case  1:15-cr-00072-TWP-DML Document
                             Document57-4
                                      148-1Filed
                                              Filed 12/12/16Page
                                                  01/22/16    Page
                                                                 2890
                                                                    of of
                                                                       185349PageID
                                                                              PageID221
                                                                                     #:
                                      3454



         THEY ONLY RECRUITED LIKE MAYBE A HUNDRED THOUSAND PEOPLE, SO

         I THINK MY FAMILY WASN’T ANY OF THEM…

   Q:    HMM.

   A:    …BUT…, UH, THEY WOULD DIE FOR THEIR COUNTRY AT ANY MINUTE, SO.

   Q:    YEAH, OKAY.

   A:    UH, ESPECIALLY FINDING THESE PEOPLE ARE MAKING US LOOK BAD

         BECAUSE…

   Q:    HMM.

   A:    …ISLAM IS NOT ABOUT WHAT PEOPLE MAKE IT SEEMS ABOUT…

   Q:    HMM.

   A:    …IT’S MORE ABOUT PEACE INSTEAD OF FIGHTING.

   Q:    YEAH.

   A:    THESE PEOPLE ARE JUST EXTREMISTS JUST LIKE THE WESTBORO BAPTIST

         CHURCH, I KNOW YOU’VE HEARD OF THAT.

   Q:    THEY’RE EXTREMISTS, YEAH.

   A:    THEY’RE EXTREME CHRISTIANS.

   Q:    YEAH.

   A:    THE REASON THEY’RE NOT SO WIDELY TALKED ABOUT IS CAUSE THEY’RE

         ONE SMALL GROUP AS OPPOSED TO HUGE GROUPS LIKE AL-QAEDA

         CLAIMING THEY’RE MUSLIMS AND THE ISIS WHO CLAIM THEY’RE

         MUSLIMS…

   Q:    M-HMM.




   STATEMENT OF ALI AL-AWADI              DP14-0088487        PAGE 28 OF 185

                                                                                      90
 Case1:15-cr-00072-TWP-DML
Case  1:15-cr-00072-TWP-DML Document
                             Document57-4
                                      148-1Filed
                                              Filed 12/12/16Page
                                                  01/22/16    Page
                                                                 2991
                                                                    of of
                                                                       185349PageID
                                                                              PageID222
                                                                                     #:
                                      3455



   A:    …IN REALITY THEY’RE NOT, BECAUSE IF YOU KILL SOMEONE YOU’RE NOT

         A MUSLIM…

   Q:    YEAH.

   A:    …YOU ARE DEFINITELY NOT.

   Q:    I GOTCHA, OKAY. WELL, UH, YEAH, I MEAN IT’S WEIRD BECAUSE THAT’S

         SUCH A…, IT’S NOT A PLACE THAT AMERICANS WOULD TYPICALLY KNOW

         A WHOLE LOT ABOUT, BUT…, BUT OBVIOUSLY WE’VE GOT A BIG STAKE IN

         THE COUNTRY AFTER BEING THERE FOR…

   A:    M-HMM.

   Q:    …OVER A DECADE, RIGHT?

   A:    YEAH.

   Q:    AND SO A LOT…, YOU’VE BEEN HEAR…, I’VE BEEN HEARING THE NAMES

         OF IRAQI CITIES ON THE NEWS AND IN LITERATURE AND STUFF FOR THE

         PAST 10 PLUS YEARS YOU KNOW. SO IT’S LIKE I HEAR NAJAF AND I’M

         LIKE, YEAH, I’VE HEARD OF THAT…

   A:    M-HMM.

   Q:    …BUT I COULDN’T TELL YOU WHERE IT IS, SO. ANYWAYS, UH OKAY,

         WELL HERE’S THE THING, MAN, UH, UH, JUST BRIEFLY AND I’M NOT

         ASKING IF YOU DID ANYTHING, I’M JUST SAYING DO…, DO YOU KNOW

         WHY YOU’RE HERE OR WHAT YOU’VE BEEN ACCUSED OF?

   A:    I DO KNOW WHY.

   Q:    IN JUST LIKE 2 WORDS OR 3 WORDS, HOW EVER AS BRIEFLY AS YOU CAN

         TELL ME WHAT YOU’VE BEEN ACCUSED OF DOING.



   STATEMENT OF ALI AL-AWADI              DP14-0088487        PAGE 29 OF 185

                                                                                      91
 Case1:15-cr-00072-TWP-DML
Case  1:15-cr-00072-TWP-DML Document
                             Document57-4
                                      148-1Filed
                                              Filed 12/12/16Page
                                                  01/22/16    Page
                                                                 3092
                                                                    of of
                                                                       185349PageID
                                                                              PageID223
                                                                                     #:
                                      3456



   A:    I’VE BEEN ALLEGEDLY ACCUSED OF…, UH, TOUCHING A LITTLE GIRL.

   Q:    OKAY, ALRIGHT AND THAT’S WHY I JUST WANTED TO MAKE SURE BEFORE

         I GET INTO…, THAT YOU KNOW WHY YOU’RE HERE.

   A:    M-HMM.

   Q:    I’M NOT GONNA BE LIKE YOU’RE SITTING HERE THINKING THAT YOU GOT

         CAUGHT UP IN SOME SPEEDING TICKETS AND THEN… (CHUCKLE)

   A:    I…, NO.

   Q:    …BY THE WAY…

   A:    OKAY.

   Q:    …NO, I WANTED YOU TO KNOW EXACTLY WHY YOU’RE HERE BEFORE WE

         GO ANY FURTHER. UH, PART OF THE THING IS IN…, IN THE WORD YOU

         SAID THERE ACCUSED…

   A:    M-HMM.

   Q:    …UH, THAT’S KEY, BECAUSE…, UH, ANYTIME I WANT TO ASK SOMEONE

         QUESTIONS ABOUT ACCUSATIONS OR…, UH SOMETHING THEY’VE BEEN

         ACCUSED OF AND THEY’RE CONSIDERED IN CUSTODY, WHICH I MEAN

         THIS BUILDING IS…, UH, UM, I DON’T KNOW HOW EXACTLY HOW IT WENT

         DOWN WHEN…, WHEN THEY CAME OUT TO YOUR HOUSE. I MEAN DID

         THEY ASK YOU IF YOU’D COME OR DID THEY SAY, HEY, YOU ARE

         COMING…

   A:    THEY JUST…

   Q:    …LET’S GO.

   A:    …THEY SAID I HAVE TO…



   STATEMENT OF ALI AL-AWADI              DP14-0088487        PAGE 30 OF 185

                                                                                      92
 Case1:15-cr-00072-TWP-DML
Case  1:15-cr-00072-TWP-DML Document
                             Document57-4
                                      148-1Filed
                                              Filed 12/12/16Page
                                                  01/22/16    Page
                                                                 3193
                                                                    of of
                                                                       185349PageID
                                                                              PageID224
                                                                                     #:
                                      3457



   Q:    YEAH.

   A:    …GO WITH THEM AND THEY SAID IF I COOPERATE IT…, EVERYTHING

         WILL BE FINE.

   Q:    OKAY.

   A:    AND OF COURSE I WANT TO COOPERATE AND CLEAR ALL OF THIS…

   Q:    (CLEARING THROAT) YEAH.

   A:    …MESS.

   Q:    YEAH. NOW WHEN THEY SAID EVERYTHING WILL BE FINE, WHAT…,

         WHAT DID THAT MEAN TO YOU?

   A:    UH, THAT MEANS PROBABLY I WOULDN’T GET HANDCUFFED OR…

   Q:    OKAY.

   A:    …ANY WORSE.

   Q:    DID THEY HANDCUFF YOU?

   A:    NO.

   Q:    OKAY, ALRIGHT, UH, BUT YOU HAVE BEEN IN A LOCKED ROOM FOR

         NOW…

   A:    M-HMM.

   Q:    …UH, WELL I DON’T KNOW THIS ROOM WAS UNLOCKED WHEN I SHOWED

         UP, SO BUT TYPICALLY THIS ROOM’S SUPPOSED TO BE LOCKED WHEN NO

         ONE ELSE IS INSIDE HERE WITH YOU; IF IT’S JUST YOU WE TRY TO LOCK

         THE DOOR.

   A:    M-HMM.




   STATEMENT OF ALI AL-AWADI              DP14-0088487        PAGE 31 OF 185

                                                                                      93
 Case1:15-cr-00072-TWP-DML
Case  1:15-cr-00072-TWP-DML Document
                             Document57-4
                                      148-1Filed
                                              Filed 12/12/16Page
                                                  01/22/16    Page
                                                                 3294
                                                                    of of
                                                                       185349PageID
                                                                              PageID225
                                                                                     #:
                                      3458



   Q:    UH, BUT YEAH, I MEAN THE…, THE…, THE MORE COOPERATION WE

         RECEIVE IN…, IN SITUATIONS LIKE THIS THE MORE SORT OF…, I DON’T

         KNOW…, UH, HOW TO EX…, EXPLAIN IT, BUT JUST YEAH, UH, WE’RE NOT

         GONNA TIE SOMEONE UP AND SIT ‘EM IN THE CORNER OR BOLT THEM TO

         THE WALL IF THEY’RE BEING COOPERATIVE, RIGHT?

   A:    M-HMM.

   Q:    LIKE SO THAT’S TYPICALLY NOT THE WAY THINGS HAPPEN, SO I THINK

         THAT’S PROBABLY WHAT THEY WERE GETTING AT, THAT HEY, WE’RE NOT

         GONNA…, WE’RE NOT TRYING TO HURT YOU IF YOU’RE NOT TRYING TO

         HURT US, RIGHT…

   A:    EXACTLY.

   Q:    …BUT YOU DO HAVE TO COME WITH US, IS THAT PRETTY MUCH…?

   A:    THAT’S WHAT THEY WANT TO GET THE STORY STRAIGHT AND…, AND MY

         SIDE…

   Q:    YEAH, YEAH.

   A:    …AND HOPEFULLY DO PROVE IT WAS ALL A MISUNDERSTANDING.

   Q:    YEAH. NOW…, NOW I’LL BE HONEST WITH YOU ON…, ON TERMS OF THE

         LONG TERM INVESTIGATION THEY HAVE NO WAY OF KNOWING WHAT

         THE FINAL OUTCOME’S GONNA BE AND HONESTLY I’M STILL IN THE

         MIDDLE OF IT AND I CAN’T TELL YOU AT THE…, AT THE END OF THE DAY

         WHAT THE FINAL OUTCOME’S GONNA BE. SO IN THAT SENSE I DON’T

         WANT YOU TO THINK COOPERATION MEANS THAT THIS IS ALL JUST

         GONNA DISAPPEAR, BECAUSE YOU KNOW I DON’T KNOW…



   STATEMENT OF ALI AL-AWADI              DP14-0088487        PAGE 32 OF 185

                                                                                      94
 Case1:15-cr-00072-TWP-DML
Case  1:15-cr-00072-TWP-DML Document
                             Document57-4
                                      148-1Filed
                                              Filed 12/12/16Page
                                                  01/22/16    Page
                                                                 3395
                                                                    of of
                                                                       185349PageID
                                                                              PageID226
                                                                                     #:
                                      3459



   A:    OKAY.

   Q:    …WE’RE IN THE MIDDLE OF IT, IT COULD BE THAT WE CAN’T MAKE IT

         DISAPPEAR, UH, IT…, IT MAY…, IT MAY GO AWAY, IT MAY NOT, I JUST…, I

         DON’T KNOW AND I’M NOT READY TO MAKE THAT PROCLAMATION AS TO

         EXACTLY WHAT HAS TO HAPPEN, WHAT’S GONNA HAPPEN, UH, IN THE

         LONG…, YOU KNOW THE LONG RUN AND…, AND THEY WEREN’T EITHER.

         SO I JUST DON’T WANT YOU TO THINK THAT BEING COOPERATIVE IN THAT

         SENSE OF COMING ALONG AND ALL THAT MEANS THAT NOTHING WILL

         EVER HAPPEN WITH THE CASE.

   A:    COMPLETELY UNDERSTAND.

   Q:    WE GOT TO FIGURE THE CASE OUT AND THAT’S SEPARATE FROM BEING

         JUST COOPERATIVE TO YOU KNOW NOT…, NOT BEING HANDCUFFED, SO.

   A:    M-HMM.

   Q:    DOES THAT MAKE SENSE?

   A:    YEAH.

   Q:    ALRIGHT, COOL. UH, BUT HOPEFULLY ME GETTING INFORMATION FROM

         YOU AND TALKING TO YOU ABOUT ALL THIS WILL BE PART OF THAT SORT

         OF LONG TERM DECISION MAKING PROCESS THAT’S GONNA HAVE TO

         HAPPEN ABOUT THIS PARTICULAR CASE, OKAY…

   A:    M-HMM.

   Q:    …IN THE…, IN THE LONG RUN OF WHAT HAPPENS WITH IT. UH, SO THAT’S

         WHY I’M INTERESTED IN TALKING WITH YOU, UH, BUT DID THEY TREAT

         YOU ALRIGHT THOUGH WHEN THEY PICKED YOU UP AND EVERYTHING?



   STATEMENT OF ALI AL-AWADI              DP14-0088487        PAGE 33 OF 185

                                                                                      95
 Case1:15-cr-00072-TWP-DML
Case  1:15-cr-00072-TWP-DML Document
                             Document57-4
                                      148-1Filed
                                              Filed 12/12/16Page
                                                  01/22/16    Page
                                                                 3496
                                                                    of of
                                                                       185349PageID
                                                                              PageID227
                                                                                     #:
                                      3460



   A:    YEAH.

   Q:    WEREN’T LIKE SPITTING AND CUSSING AT YOU OR ANYTHING?

   A:    NO, NOT AT ALL.

   Q:    ALRIGHT. UH, SO ANYWAYS, UH, LET’S SEE HERE, OKAY. I…, UH, I

         WANTED TO GO THROUGH SOMETHING BECAUSE LIKE I SAID ANYTIME

         I…, UH, I’M TALKING TO SOMEONE THAT’S BEING ACCUSED OF

         SOMETHING THEY’VE BEEN DETAINED. THEY’VE BEEN YOU KNOW

         PLACED IN CUSTODY AND RIGHT NOW THAT’S WHAT HAPPENED YOU

         WERE DETAINED, WE THOUGHT MAN, WE REALLY NEED TO TALK TO THIS

         GUY, WE NEED TO REALLY FIGURE THIS OUT . SO THAT’S WHY YOU

         KNOW I SENT YOU KNOW THE LIEUTENANT AND SOME OTHER GUYS OUT

         TO TALK WITH YOU, SO YOU’RE BEING DETAINED AND NOT…, THIS IS A

         POLICE FACILITY, NOT IT’S JUST COME IN OR GO. (UNSURE) SO ANYTIME

         WE WANT TO ASK SOME QUESTIONS WHILE YOU’RE BEING DETAINED WE

         HAVE TO GO THROUGH THE RIGHTS WITH THEM, OKAY?

   A:    OKAY.

   Q:    NOW YOU’VE HARD THESE BEFORE IF YOU GREW UP AND EVER WATCHED

         ANY TV HERE…

   A:    RIGHT.

   Q:    …IN OTHER WORDS MIRANDA RIGHTS, RIGHT. THE BASIC IDEA THOUGH

         IS…, IS DIFFERENT THAN WHAT YOU SEE ON TV, ON TV MIRANDA

         RIGHTS…, THEY ONLY REALLY POP UP WHEN…, UH, THERE’S A FOOT

         CHASE AND SOME DUDE JUMPS OUT OF AN APARTMENT BACK WINDOW,



   STATEMENT OF ALI AL-AWADI              DP14-0088487        PAGE 34 OF 185

                                                                                      96
 Case1:15-cr-00072-TWP-DML
Case  1:15-cr-00072-TWP-DML Document
                             Document57-4
                                      148-1Filed
                                              Filed 12/12/16Page
                                                  01/22/16    Page
                                                                 3597
                                                                    of of
                                                                       185349PageID
                                                                              PageID228
                                                                                     #:
                                      3461



         RUNS DOWN THE FIRE ESCAPE AND THE…, THE GRITTY YOU KNOW NEW

         YORK CITY OR CHICAGO COP CHASES THEM DOWN AND TACKLES THEM…

   A:    M-HMM.

   Q:    …AND PULLS A GUN OFF OF HIM AND SAYS, HEY, ASS HOLE, YOU’RE

         UNDER ARREST AND THEN THEY SLAP THEM IN CUFFS AND THEY HAVE A

         CAR COME…, I DON’T KNOW WHO THAT GUY WITH THE CAR IS THAT

         ALWAYS DRIVES UP, BUT SOME GUY WITH A POLICE CAR DRIVES UP AND

         THEY THROW ‘EM IN THE POLICE CAR… (CHUCKLE)

   A:    YEAH.

   Q:    …AND AS THEY’RE LIKE PUTTING THEM IN THE POLICE CAR, DUCKING

         THEIR HEAD IN, THEY READ THEM THEIR RIGHTS AND THEY SAY, YOU

         HAVE THE RIGHT TO REMAIN SILENT; ANYTHING YOU SAY…, MAYBE THIS

         GUY IS LIKE STRUGGLING AGAINST THE POLICE CAR THEY’RE READING

         HIM THE RIGHTS, THEY JUST SAY THE RIGHTS. BUT THEN THEY THROW

         HIM IN THIS MYSTERIOUS POLICE CAR THAT JUST SHOWS UP, THEY

         THROW ‘EM IN THE CAR AND DISAPPEAR AND GO DOWNTOWN, THEY’RE

         UNDER ARREST, THEY NEVER ASK HIM A SINGLE QUESTION.

   A:    M-HMM.

   Q:    THAT’S RIDICULOUS…

   A:    YEAH.

   Q:    …THERE’S NO REASON TO READ SOMEONE THE RIGHTS UNLESS YOU’RE

         GONNA ASK THEM QUESTIONS…

   A:    M-HMM.



   STATEMENT OF ALI AL-AWADI              DP14-0088487        PAGE 35 OF 185

                                                                                      97
 Case1:15-cr-00072-TWP-DML
Case  1:15-cr-00072-TWP-DML Document
                             Document57-4
                                      148-1Filed
                                              Filed 12/12/16Page
                                                  01/22/16    Page
                                                                 3698
                                                                    of of
                                                                       185349PageID
                                                                              PageID229
                                                                                     #:
                                      3462



   Q:    …THAT’S THE WHOLE PURPOSE OF THIS. SO I WANT YOU TO

         UNDERSTAND THAT A: JUST BECAUSE SOMEONE’S READING YOU YOUR

         RIGHTS DOESN’T MEAN YOU’RE GUILTY OF ANYTHING AND B: JUST

         BECAUSE…, UH, YOU’RE BEING READ YOUR RIGHTS DOESN’T MEAN

         YOU’RE UNDER ARREST, OKAY?

   A:    OKAY.

   Q:    UH, LET’S JUST THE WAY IT IS, UH, AND I LIKE TO EXPLAIN THAT CAUSE

         TV ALWAYS GETS IT WRONG YOU KNOW.

   A:    YEAH.

   Q:    UH, TYPICALLY WHEN YOU HEAR YOUR RIGHTS READ TO YOU ON TV

         THAT MEANS YOU’RE UNDER ARREST ALREADY…

   A:    HMM.

   Q:    …I JUST WANT YOU TO UNDERSTAND THE DIFFERENCE, IT DOESN’T

         NECESSARILY MEAN SOMEONE’S UNDER ARREST OR THEY EVEN WILL BE,

         JUST MEANS THAT YOU’RE IN CUSTODY AND WE’RE GONNA ASK YOU

         QUESTIONS, OKAY?

   A:    M-HMM.

   Q:    DO YOU UNDERSTAND ALL THAT?

   A:    YES I DO.

   Q:    ALRIGHT MAN, UH, AND YOU’VE GRADUATED HIGH SCHOOL, HAVE YOU

         STUDIED ANY COLLEGE COURSES YET?

   A:    I HAVE.




   STATEMENT OF ALI AL-AWADI              DP14-0088487        PAGE 36 OF 185

                                                                                      98
 Case1:15-cr-00072-TWP-DML
Case  1:15-cr-00072-TWP-DML Document
                             Document57-4
                                      148-1Filed
                                              Filed 12/12/16Page
                                                  01/22/16    Page
                                                                 3799
                                                                    of of
                                                                       185349PageID
                                                                              PageID230
                                                                                     #:
                                      3463



   Q:    HOW FAR HAVE YOU GONE IN THAT OR WHAT’D YOU…, WHAT HAVE YOU

         DONE?

   A:    UH, I’M 2 YEARS INTO IT AND THEN THIS IS MY THIRD YEAR.

   Q:    OKAY. WHERE DO YOU…, WHERE DO YOU GO TO SCHOOL?

   A:    IVY TECH.

   Q:    OKAY, ALRIGHT. WHAT KIND OF COURSES ARE YOU TAKING?

   A:    COMPUTER AND SCIENCE CLASSES TO HOPEFULLY GET MY BACHELORS

         IN COMPUTER SCIENCE.

   Q:    OKAY, ALRIGHT. WELL, UH, SO ANYWAYS SO YOU READ, WRITE,

         UNDERSTAND ENGLISH JUST FINE I’M SURE…

   A:    M-HMM.

   Q:    …UH, I ALWAYS ASK EVERYONE THIS, YOU…, YOU’D BE SURPRISED,

         EVERY ONCE IN A WHILE PEOPLE EVEN MAKE IT OUT OF HIGH SCHOOL

         AND THEY’RE STILL ILLITERATE. I MEAN I’M NOT SAYING I WOULD EX…,

         EXPECT THAT OUT OF YOU BUT I’M JUST SAYING THAT…, THAT HAPPENS

         SOMETIMES. SO TO MAKE SURE I DON’T START READING THE FORM TO

         SOMEONE THAT THEY CAN’T UNDERSTAND…, I JUST HAVE TO WRITE THE

         TIME ON HERE. UH, I WANT TO MAKE SURE YOU’RE…, YOU’RE GONNA BE

         ON BOARD WITH THIS, UH, ALRIGHT AND (INAUDIBLE-UNSURE) JUST GIVE

         ME THE PHONE HOURS TO SEE THE TIME. (UNSURE) ALRIGHT, SO I’M

         GONNA GO THROUGH THIS FORM WITH YOU, UH, I GOT TO READ IT ALL

         LINE BY LINE WITH YOU, SO I’M GONNA SCOOT OVER HERE SO WE CAN

         BOTH SEE IT AT THE SAME TIME.



   STATEMENT OF ALI AL-AWADI              DP14-0088487        PAGE 37 OF 185

                                                                                      99
Case 1:15-cr-00072-TWP-DML
Case 1:15-cr-00072-TWP-DML Document
                           Document 57-4
                                    148-1 Filed
                                           Filed01/22/16
                                                 12/12/16 Page
                                                           Page38100 of 349PageID
                                                                  of 185    PageID231
                                                                                   #:
                                     3464



   A:    OKAY.

   Q:    THAT WAY I’M NOT LETTING…, READING UPSIDE DOWN OR ANYTHING.

         BASICALLY IT’S IN 2 PARTS, 2 MAJOR SECTIONS AND I’LL DRAW…, I’LL

         DRAW A LINE RIGHT HERE…

   A:    M-HMM.

   Q:    …TO SORT OF VISUALLY DELINEATE THE 2 SECTIONS. OKAY, SO THIS

         FIRST SECTION IS JUST YOUR RIGHTS; THESE ARE YOUR RIGHTS THAT YOU

         HAVE, UH, THEY DON’T CHANGE, I CAN’T TAKE THEM AWAY FROM YOU

         AND THEY’RE…, THEY’RE TOTALLY YOUR RIGHTS. THE SECOND SECTION

         THOUGH IS IF YOU DECIDE THAT YOU DO WANT TO TALK TO ME TODAY

         AND MAKE A STATEMENT RIGHT HERE AND NOW ABOUT WHAT

         HAPPENED, UH, I’LL WANT YOU TO FILL THIS OUT OR UH, I WANT YOU TO

         READ THROUGH THIS, UNDERSTAND IT AND SIGN IT WITH ME, OKAY. IF

         YOU DON’T WANT TO TALK TO ME TODAY, IF YOU DON’T WANT TO

         ANSWER ANY QUESTIONS DON’T SIGN THIS, OKAY. SO, UH, AND…, AND

         IT’S TOTALLY YOUR CHOICE, OKAY, IT’S VOLUNTARY AND IT’S YOUR

         CHOICE. YOU…, YOU WERE BROUGHT HERE YOU KNOW UNDER

         DETENTION OR WHATEVER, DETAINED, BUT…, UH, BUT…, BUT TALKING

         AND ALL THAT, THAT’S…, THAT’S UP TO YOU FROM HERE, OKAY?

   A:    M-HMM.

   Q:    SO IT SAYS: INDIANAPOLIS POLICE DEPARTMENT ADVICE OF RIGHTS.

         PLACE, 4134 NORTH KEYSTONE AVENUE; DATE, AUGUST 22ND, 2014 AND

         TIME IS 4:31 P.M., OKAY. BEFORE WE ASK YOU ANY QUESTIONS YOU MUST



   STATEMENT OF ALI AL-AWADI             DP14-0088487        PAGE 38 OF 185

                                                                                   100
Case 1:15-cr-00072-TWP-DML
Case 1:15-cr-00072-TWP-DML Document
                           Document 57-4
                                    148-1 Filed
                                           Filed01/22/16
                                                 12/12/16 Page
                                                           Page39101 of 349PageID
                                                                  of 185    PageID232
                                                                                   #:
                                     3465



         UNDERSTAND YOUR RIGHTS. NUMBER 1: AND AFTER I EACH…, READ

         EACH OF THESE I’LL ASK YOU IF YOU UNDERSTAND IT. IF YOU DO

         UNDERSTAND JUST TELL ME YES OUT LOUD AND I’LL PUT A CHECK MARK

         AND MOVE TO THE NEXT ONE.

   A:    OKAY.

   Q:    IF YOU DON’T, LET ME KNOW; ASK A QUESTION AND I’LL TRY TO FIGURE

         IT OUT WITH YOU, OKAY?

   A:    (NO VERBAL RESPONSE)

   Q:    SO NUMBER 1: YOU HAVE THE RIGHT TO REMAIN SILENT. DO YOU

         UNDERSTAND THAT?

   A:    YES.

   Q:    OKAY. NUMBER 2: ANYTHING YOU SAY CAN BE USED AS EVIDENCE

         AGAINST YOU IN COURT. DO YOU UNDERSTAND THAT?

   A:    YES.

   Q:    SO IF YOU KILLED SOMEONE LAST NIGHT AND YOU TELL ME, WELL YEAH,

         I KILLED THAT GUY OVER ON…, UH, YOU KNOW OVER AT 71ST AND

         MICHIGAN AT THE YOU KNOW GAS STATION AND UH, AND I SEND A

         POLICE OFFICER THERE AND THERE’S A DEAD BODY BACK IN A

         DUMPSTER…, (CHUCKLE) I CAN PLAY THE RECORDING OF YOU BEING,

         YEAH, I KILLED THAT GUY LAST NIGHT…

   A:    M-HMM.

   Q:    …IN A COURT ROOM IN FRONT OF THE JUDGE OR JURY OR WHOEVER AND

         BE LIKE, SEE, HE KILLED HIM. (CHUCKLE)



   STATEMENT OF ALI AL-AWADI             DP14-0088487        PAGE 39 OF 185

                                                                                   101
Case 1:15-cr-00072-TWP-DML
Case 1:15-cr-00072-TWP-DML Document
                           Document 57-4
                                    148-1 Filed
                                           Filed01/22/16
                                                 12/12/16 Page
                                                           Page40102 of 349PageID
                                                                  of 185    PageID233
                                                                                   #:
                                     3466



   A:    YEAH.

   Q:    SO ANYWAYS, NUMBER 3: YOU HAVE THE RIGHT TO TALK TO A LAWYER

         FOR ADVICE BEFORE WE ASK YOU ANY QUESTIONS AND TO HAVE HIM…,

         AND IT’S NOT ON HERE BUT I’LL SAY, OR HER, UH, WITH YOU DURING

         QUESTIONING. DO YOU UNDERSTAND THAT?

   A:    M-HMM.

   Q:    OKAY, SO IF YOU…, IF YOU WANT TO TALK TO A LAWYER EITHER BEFORE

         OR DURING…, UH, TALKING TO ME YOU CAN DO THAT. NUMBER 4 SAYS:

         IF YOU CANNOT AFFORD A LAWYER AND YOU WANT ONE, ONE WILL BE

         APPOINTED FOR YOU BY THE COURT BEFORE ANY QUESTIONING. DO YOU

         UNDERSTAND THAT ONE?

   A:    SO IT WOULD ONLY BE RIGHT BEFORE COURT OR LIKE…

   Q:    SO WHAT WOULD HAPPEN IS IF…, UH, IF…, IF YOU CANNOT AFFORD AN

         ATTORNEY AND YOU WANT ONE, IT’S THE KIND OF THING WHERE I DON’T

         HAVE ONE YOU KNOW SI…, ON STAFF HERE AT MY OFFICE…

   A:    M-HMM.

   Q:    …UH, BUT WE WOULD HAVE TO SOMEHOW ARRANGE…, UH, FOR YOU TO

         TALK TO SOMEBODY, OKAY?

   A:    M-HMM.

   Q:    UH, BUT BASICALLY THOUGH IF YOU DID WANT TO TALK TO A LAWYER

         AND YOU…, AND YOU WANTED TO DO THAT AND YOU CAN’T AFFORD

         ONE YOU’RE ON YOUR OWN, BECAUSE I DON’T KNOW, IF YOU HAVE A




   STATEMENT OF ALI AL-AWADI             DP14-0088487        PAGE 40 OF 185

                                                                                   102
Case 1:15-cr-00072-TWP-DML
Case 1:15-cr-00072-TWP-DML Document
                           Document 57-4
                                    148-1 Filed
                                           Filed01/22/16
                                                 12/12/16 Page
                                                           Page41103 of 349PageID
                                                                  of 185    PageID234
                                                                                   #:
                                     3467



         LAWYER ON RETENTION OR NOT, IT DOESN’T SOUND LIKE YOU DO IF

         YOU’RE ASKING ABOUT NUMBER 4.

   A:    YEAH.

   Q:    SO IF YOU…, IF YOU DID WANT TO TALK TO A LAWYER…, UH, PRIOR TO

         GIVING ME A STATEMENT TODAY, I MEAN I…, THEY’RE NOT HERE RIGHT

         NOW. SO BASICALLY THAT MEANS IN THE IMMEDIATE MOMENT WE

         WOULDN’T TAKE A STATEMENT OR TALK OR DO AN INTERVIEW TODAY.

         NOW THAT DOESN’T MEAN IF THE LAWYER DECIDED THEY WANTED YOU

         TO TALK OR GIVE A STATEMENT LATER ON THEY COULD YOU KNOW

         HAVE YOU DO THAT AT A LATER DATE, UH, BUT…, UH, BUT AS OF RIGHT

         NOW WE DON’T HAVE ANYONE HERE, SO WE’D HAVE TO PUT IT OFF OR

         DELAY IT UNTIL YOU DID GET A CHANCE TO TALK TO THAT ATTORNEY,

         OKAY?

   A:    M-HMM.

   Q:    AND SO WHAT I COULD DO IS IF YOU WERE TO LEAVE HERE TODAY

         AND…, AND NOT GIVE ME ANY KIND OF STATEMENT, BUT WANTED TO…,

         TO TALK TO…, UH, YOU KNOW AN ATTORNEY ABOUT IT, WE COULD…, UH,

         I COULD FIND THE PUBLIC DEFENDERS…, THE PUBLIC DEFENDER

         AGENCY, WHICH IS…, THERE’S…, IT’S A…, IT’S A GOVERNMENT FUNDED

         AGENCY YOU KNOW PART OF OUR…, UH, CITY GOVERNMENT THAT IS THE

         MARION COUNTY PUBLIC DEFENDERS AGENCY AND THEY HAVE A WHOLE

         LIST OF CRIMINAL DEFENSE ATTORNEYS AND YOU COULD CALL UP

         THERE AND TELL THEM, HEY, UH, THERE’S A PENDING INVESTIGATION



   STATEMENT OF ALI AL-AWADI             DP14-0088487        PAGE 41 OF 185

                                                                                   103
Case 1:15-cr-00072-TWP-DML
Case 1:15-cr-00072-TWP-DML Document
                           Document 57-4
                                    148-1 Filed
                                           Filed01/22/16
                                                 12/12/16 Page
                                                           Page42104 of 349PageID
                                                                  of 185    PageID235
                                                                                   #:
                                     3468



         YOU KNOW INTO ME OR INTO THE ALLEGATIONS ABOUT ME AND I’D LIKE

         TO SEE…, AND I CAN’T AFFORD A LAWYER, BUT I WANT…, I’D LIKE TO

         TALK TO SOMEONE BECAUSE THE POLICE WANT TO ASK ME QUESTIONS.

   A:    M-HMM.

   Q:    THEN SO I WOULD GIVE YOU THEIR NUMBER, YOU COULD…, UH, YOU

         COULD MAKE THE CALL YOURSELF, I DON’T HAVE SOME CONNECTION

         RIGHT THERE TO YOU KNOW SEND YOU, OH YEAH, CALL BOB AT 679-9923,

         I CAN’T…, I DON’T…, I DON’T HAVE ANY OF THAT, BUT I CAN GIVE YOU

         THE GENERAL NUMBER AND TELL YOU TO CALL. AND I DON’T KNOW

         WHAT THEIR OFFICE HOURS ARE OR WHATEVER, BUT…, BUT THAT’S…,

         THAT’S THE WAY WE WOULD DO IT.

   A:    NOW IF I’VE ALREADY GIVEN A STATEMENT AT WORK IT WOULD KIND OF

         BE…, IT’S LESS NOT TO JUST GIVE A STATEMENT HERE?

   Q:    WELL I DON’T KNOW, UH, YOU’RE GETTING INTO THE TERRITORY THAT

         MAYBE A LAWYER WOULD HAVE TO GIVE YOU ADVICE ON. UH, I CAN

         SAY THAT…, UH, I MEAN I’LL BE HONEST WITH YOU I ALREADY HAVE THE

         STATEMENT THAT YOU HAVE FROM WORK…

   A:    M-HMM.

   Q:    …AND UH, I’VE GOT QUESTIONS ABOUT THAT STATEMENT.

   A:    OKAY.

   Q:    SO THAT’S PART OF WHAT I WOULD WANT TO BE TALKING TO YOU ABOUT

         TODAY. UH, BUT WHETHER OR NOT IT’S BETTER TO…, TO…, TO…, MORE

         FULLY EXPLAIN THAT INTERVIEW OR THAT STATEMENT TO ME OR NOT,



   STATEMENT OF ALI AL-AWADI             DP14-0088487        PAGE 42 OF 185

                                                                                   104
Case 1:15-cr-00072-TWP-DML
Case 1:15-cr-00072-TWP-DML Document
                           Document 57-4
                                    148-1 Filed
                                           Filed01/22/16
                                                 12/12/16 Page
                                                           Page43105 of 349PageID
                                                                  of 185    PageID236
                                                                                   #:
                                     3469



         THEN I…, YOU KNOW THAT’S…, YOU…, YOU’D HAVE TO MAKE THAT

         DECISION, UH, AND I CAN’T DO THAT FOR YOU, SO.

   A:    I DO UNDERSTAND THOUGH.

   Q:    OKAY, SO YOU UNDERSTAND NUMBER 4?

   A:    M-HMM.

   Q:    OKAY, ALRIGHT AND LIKE I SAID I DON’T HAVE ANYBODY RIGHT HERE,

         SO IF YOU DECIDED YOU WANT ONE IT WOULD…, IT WOULD TAKE MORE

         TIME AND WE JUST WOULDN’T DO THE INTERVIEW TODAY, BUT…, UH,

         BUT ANYWAYS. NUMBER 5 SAYS…, YEAH, IT’S IMPORTANT JUST BECAUSE

         SOMETIMES THINK THAT OKAY, IF I’M SIGNING SOMETHING THAT MEANS

         I’M JUST LIKE SIGNING MY RIGHTS AWAY FOREVER AND EVER, I’M IN. UH,

         THE REALITY IS IS THAT JUST BECAUSE YOU SIGN THIS DOESN’T MEAN

         YOU NEVER…, THAT THOSE RIGHTS JUST ALL DISAPPEAR; IT

         ESSENTIALLY MEANS YOU’RE TEMPORARILY WAIVING THOSE RIGHTS IN

         ORDER TO GO AHEAD AND MAKE A STATEMENT AND SO NUMBER 5 WILL

         EXPLAIN THAT MORE CLEARLY AND INSTEAD OF MY WORDS, OKAY?

   A:    (NO VERBAL RESPONSE)

   Q:    IT SAYS: IF YOU DECIDE TO ANSWER QUESTIONS NOW WITHOUT A

         LAWYER PRESENT, YOU WILL STILL HAVE THE RIGHT TO STOP

         ANSWERING AT ANYTIME. YOU ALSO HAVE THE RIGHT TO STOP

         ANSWERING AT ANY TIME UNTIL YOU TALK TO A LAWYER. DO YOU

         UNDERSTAND THAT?




   STATEMENT OF ALI AL-AWADI             DP14-0088487        PAGE 43 OF 185

                                                                                   105
Case 1:15-cr-00072-TWP-DML
Case 1:15-cr-00072-TWP-DML Document
                           Document 57-4
                                    148-1 Filed
                                           Filed01/22/16
                                                 12/12/16 Page
                                                           Page44106 of 349PageID
                                                                  of 185    PageID237
                                                                                   #:
                                     3470



   A:    M-HMM. SO THAT MEANS I WOULDN’T BE ABLE TO LEAVE UNTIL I

         TALKED TO A LAWYER, LIKE IF I START ANSWERING HALF WAY THOUGH?

   Q:    NO, YOU COULD…, YOU COULD…, YOU COULD START TALKING TO ME,

         HALF WAY THROUGH YOU COULD SAY, OH, I REALLY WANT TO TALK TO

         A LAWYER ABOUT THIS BEFORE I MAKE ANY MORE DECISIONS OR…

   A:    OKAY.

   Q:    …YOU KNOW AND THEN…, AND THEN I’D SAY, OKAY, WELL…, AND LIKE I

         SAID I DON’T HAVE ONE RIGHT HERE AND YOU DON’T HAVE ONE ON

         RETENTION TO CALL…

   A:    M-HMM.

   Q:    …SO YOU GOT…, UH, YOU’D HAVE TO TAKE SOME TIME TO ARRANGE

         THAT. SO WE WOULD HAVE TO END THE INTERVIEW AT THAT POINT

         UNTIL AT YOU KNOW SOME LATER TIME OR DATE WHERE YOU…, UH,

         WERE ABLE TO TALK TO AN ATTORNEY…

   A:    OKAY.

   Q:    …AND GET THEIR ADVICE AND GO FROM THERE. DOES THAT MAKE

         SENSE?

   A:    YES.

   Q:    OKAY. SO, UH, SO I’LL PUT A CHECK MARK IN NUMBER 5, YOU DO

         UNDERSTAND THAT THEN?

   A:    M-HMM.

   Q:    OKAY AND I…, I…, I CHECKED BEFORE YOU SAID YOU DO UNDERSTAND,

         SO LET ME MAKE SURE, YOU…



   STATEMENT OF ALI AL-AWADI             DP14-0088487        PAGE 44 OF 185

                                                                                   106
Case 1:15-cr-00072-TWP-DML
Case 1:15-cr-00072-TWP-DML Document
                           Document 57-4
                                    148-1 Filed
                                           Filed01/22/16
                                                 12/12/16 Page
                                                           Page45107 of 349PageID
                                                                  of 185    PageID238
                                                                                   #:
                                     3471



   A:    YES, I…

   Q:    …YOU HAVE NO QUESTIONS ABOUT THAT ONE?

   A:    …I UNDERSTAND.

   Q:    OKAY. UH, DO YOU KNOW WHAT YOU WANT TO DO TODAY OR NOT OR

         YOU…, CAUSE I CAN GO THROUGH THE FORM OF THE REASON WHY IT’S

         HERE BEFORE YOU MAKE YOUR FINAL DECISION, BUT BASICALLY…, UH, I

         DON’T KNOW, DO YOU HAVE ANY THOUGHTS, ARE YOU STILL DECIDING?

   A:    UH, I’D RATHER JUST GET IT OFF MY CHEST AND TELL YOU GUYS…

   Q:    OKAY.

   A:    …AND MAKE SURE IT ALL GETS CLEARED UP.

   Q:    OKAY, YEAH.

   A:    CAUSE LIKE I SAID I DON’T WANT ANY OF THIS HOVERING OVER MY HEAD

         ANY LONGER.

   Q:    YEAH.

   A:    IT’S…, IT’S…, UH, TO BE HONEST WITH YOU I ALMOST HAD A PANIC

         ATTACK, IT WAS REALLY LIKE ONE OF THOSE SCARY MOMENTS…

   Q:    YEAH.

   A:    …WHERE…, MY MOM EVEN…, UH, ADVISED ME BEFORE TAKING THE JOB

         SHE SAID THIS IS WHAT YOU GOT TO BE CAREFUL OF, I WAS LIKE, IT’S NOT

         GONNA HAPPEN AND THEN IT’S…, IT’S A REAL…

   Q:    HERE YOU SIT.

   A:    …REAL SCARY THING WHEN IT HAPPENS.




   STATEMENT OF ALI AL-AWADI             DP14-0088487        PAGE 45 OF 185

                                                                                   107
Case 1:15-cr-00072-TWP-DML
Case 1:15-cr-00072-TWP-DML Document
                           Document 57-4
                                    148-1 Filed
                                           Filed01/22/16
                                                 12/12/16 Page
                                                           Page46108 of 349PageID
                                                                  of 185    PageID239
                                                                                   #:
                                     3472



   Q:    YEAH, HERE WE SIT, SO. WELL LET ME READ THIS SECOND SECTION TO

         YOU. IT’S WRITTEN…, THE KEY THING ABOUT THIS IS IT’S WRITTEN FROM

         YOUR POINT OF VIEW, IT’S YOUR PERSPECTIVE, YOU’RE THE ONE THAT’S

         SAYING THESE THINGS, OKAY?

   A:    M-HMM.

   Q:    SO IF YOU DON’T AGREE WITH AND UNDERSTAND THESE STATEMENTS,

         DON’T SIGN HERE, OKAY. BUT IF YOU DO AGREE AND UNDERSTAND AND

         WANT TO TALK TO ME WE’LL GO AHEAD AND HAVE YOU SIGN AND

         WE’LL…, WE’LL GO THROUGH IT, OKAY?

   A:    OKAY.

   Q:    SAYS: WAIVER OF RIGHTS. THE ABOVE STATEMENT OF MY RIGHTS HAS

         BEEN READ TO ME AND I UNDERSTOOD WHAT MY RIGHTS ARE. I AM 20

         YEARS OF AGE AND I AM SIGNING THIS OF MY OWN FREE WILL. I DO NOT

         WANT A LAWYER AT THIS TIME. I UNDERSTAND AND KNOW WHAT I AM

         DOING. NO PROMISES OR THREATS HAVE BEEN MADE TO ME AND NO

         PRESSURE OR COERCION OF ANY KIND HAS BEEN USED AGAINST ME. I AM

         WILLING TO MAKE A STATEMENT AND ANSWER QUESTIONS. DO YOU

         UNDERSTAND ALL THOSE?

   A:    M-HMM.

   Q:    DO YOU AGREE WITH ALL OF THOSE, ARE ALL THOSE THINGS TRUE?

   A:    YEAH.

   Q:    NO ONE’S PRESSURED YOU OR COERCED YOU OR THREATENED YOU, IS

         THAT RIGHT?



   STATEMENT OF ALI AL-AWADI             DP14-0088487        PAGE 46 OF 185

                                                                                   108
Case 1:15-cr-00072-TWP-DML
Case 1:15-cr-00072-TWP-DML Document
                           Document 57-4
                                    148-1 Filed
                                           Filed01/22/16
                                                 12/12/16 Page
                                                           Page47109 of 349PageID
                                                                  of 185    PageID240
                                                                                   #:
                                     3473



   A:    YEAH.

   Q:    OKAY. ALRIGHT, WELL THEN GO AHEAD HERE WHERE IT SAYS SIGN AND

         THEN IF YOU WANT TO GO AHEAD AND SPEAK TO ME TODAY AND ALL

         THAT’S TRUE, THEN SIGN YOUR NAME.

   A:    (NO VERBAL RESPONSE)

   Q:    OKAY AND THEN I’M JUST GONNA FINISH THIS LAST LITTLE SECTION

         HERE. IT SAYS: I HAVE READ THE FOREGOING ADVICE OF RIGHTS AND

         WAIVER OF RIGHTS TO ALI AL-AWADI…

   A:    M-HMM.

   Q:    …AND HE SIGNED THE WAIVER IN MY PRESENCE. SO THEN 8-22-14 FOR

         THE DATE, MY ID NUMBER IS 20916 AND MY SIGNATURE, ELI MCALLISTER.

         OKAY, ANY QUESTIONS ABOUT THIS FORM OR…, OR YOUR RIGHTS OR

         ANYTHING LIKE THAT?

   A:    NO.

   Q:    OKAY, ALRIGHT. WELL, UH, SO BASICALLY I MEAN YOU KNOW MY JOB’S

         JUST TO TALK TO PEOPLE A LOT OF TIMES, I MEAN THERE’S OTHER PARTS

         TO IT AND OTHER THINGS HAPPEN, BUT A LOT OF WHAT MY JOB IS JUST

         TALK TO PEOPLE…

   A:    M-HMM.

   Q:    …AND UH, OH; AND UH, SEE WHAT’S GOING ON. SO…

   A:    OKAY.

   Q:    …I MEAN THAT’S…, THAT’S KIND OF WHERE I’D LIKE TO START WITH

         YOU, IF YOU CAN TELL ME WHAT…, WHAT’S GOING ON, WHAT HAPPENED?



   STATEMENT OF ALI AL-AWADI             DP14-0088487        PAGE 47 OF 185

                                                                                   109
Case 1:15-cr-00072-TWP-DML
Case 1:15-cr-00072-TWP-DML Document
                           Document 57-4
                                    148-1 Filed
                                           Filed01/22/16
                                                 12/12/16 Page
                                                           Page48110 of 349PageID
                                                                  of 185    PageID241
                                                                                   #:
                                     3474



   A:    UH, LIKE FROM HOW THE WHOLE THING STARTED OR…?

   Q:    YEAH, JUST TELL ME FROM THE BEGINNING. WELL LIKE FOR EXAMPLE

         JUST START WITH THIS, WHAT DO YOU DO FOR A LIVING, MAN?

   A:    WELL I WORK AT…, UH, THE CHILDREN’S CHOICE LEARNING CENTER

         DAYCARE.

   Q:    OKAY.

   A:    BEEN THERE FOR ABOUT A YEAR AND A MONTH NOW…

   Q:    M-HMM.

   A:    …NO PROBLEMS AND UH…

   Q:    WHERE’S THAT LOCATED?

   A:    IT’S…, I THINK THE ADDRESS IS 1795 WEST 86TH STREET.

   Q:    OKAY, ALRIGHT AND WHAT DO YOU DO THERE, WHAT’S YOUR JOB?

   A:    UH, I WENT FROM BEING A FLOATER THERE, FROM HELPING OTHER

         TEACHERS OUT FROM CLASSROOM TO CLASSROOM TO BECOME THE

         ASSISTANT EDUCATOR IN THE EARLY PRESCHOOL ROOM, THE 2 YEAR OLD

         CLASS.

   Q:    M-HMM.

   A:    AND UH, PRETTY MUCH JUST HELP THE LEAD EDUCATOR OUT WITH

         TEACHING THE KIDS, SETTING UP ACTIVITIES, TO…, UH, SUCH ACTIV…,

         LIKE SUCH THINGS THAT A EDUCATOR WOULD DO.

   Q:    OKAY, OKAY AND UH, YOU SAID A YEAR AND A HALF YOU’VE BEEN

         THERE?

   A:    A YEAR AND A MONTH.



   STATEMENT OF ALI AL-AWADI             DP14-0088487        PAGE 48 OF 185

                                                                                   110
Case 1:15-cr-00072-TWP-DML
Case 1:15-cr-00072-TWP-DML Document
                           Document 57-4
                                    148-1 Filed
                                           Filed01/22/16
                                                 12/12/16 Page
                                                           Page49111 of 349PageID
                                                                  of 185    PageID242
                                                                                   #:
                                     3475



   Q:    OH, A YEAR AND A MONTH.

   A:    LIKE JULY…, I STARTED LAST YEAR.

   Q:    OKAY, ALRIGHT AND HOW LONG WAS IT BEFORE YOU WENT FROM A

         FLOATER TO A…, TO AN ASSISTANT EDUCATOR?

   A:    UH, I WOULD SAY I BECAME THE…, UH, ASSISTANT EDUCATOR…, UH,

         MARCH OR APRIL.

   Q:    OKAY, SO ABOUT 6, 7 MONTHS…, 5 MONTHS SOMEWHERE?

   A:    ABOUT MAYBE 4 OR 5 MONTHS.

   Q:    OKAY, UH, AND SO WHAT’S YOUR JOB AS A ASSISTANT EDUCATOR, YOU

         JUST KINDA…?

   A:    JUST HELP OUT WITH THE…, UH, THE CLASSROOM, UH, BOUNCE IDEAS OFF

         THE LEAD EDUCATOR, WE TEACH THE KIDS, UH, HELP HER OUT WITH…,

         WE SPLIT UP THE KIDS INTO 2 DIFFERENT GROUPS AND THEY’RE MY

         PRIMARY CARE LIST AND SHE HAS HER PRIMARY CARE LIST…

   Q:    M-HMM.

   A:    …AND UH, REALLY WE JUST HELP OUT EVERYWHERE. THERE’S NO

         REALLY THOSE ARE YOUR KIDS, THOSE ARE MY KIDS, WE’RE MORE LIKE

         A TEAM TOGETHER.

   Q:    OKAY.

   A:    AND WE…, UH, WE’VE BEEN DOING REALLY GREAT IN THERE.

   Q:    OKAY. WHO’S YOUR…, WHO’S YOUR LEAD EDUCATOR?

   A:    UH, HER NAME IS CATHIE WILLIAMSON.




   STATEMENT OF ALI AL-AWADI             DP14-0088487        PAGE 49 OF 185

                                                                                   111
Case 1:15-cr-00072-TWP-DML
Case 1:15-cr-00072-TWP-DML Document
                           Document 57-4
                                    148-1 Filed
                                           Filed01/22/16
                                                 12/12/16 Page
                                                           Page50112 of 349PageID
                                                                  of 185    PageID243
                                                                                   #:
                                     3476



   Q:    OKAY, ALRIGHT. UH, SO WHEN IT…, UH, WELL BEFORE YOU WERE A

         FLOATER WOULD YOU JUST HELP ANYWHERE AND EVERYWHERE?

   A:    UH, PRETTY MUCH ANY CLASSROOM THEY’D NEED HELP WITH, UH, BUT

         PRIMARILY I WAS BETWEEN THE PRE-K AND PRESCHOOL CLA…,

         CLASSROOMS, THE 3 AND 4 YEAR OLDS.

   Q:    OKAY, ALRIGHT.

   A:    AND THEY…, UH, THEY WERE A HECTIC GROUP CAUSE IT WAS A LOT OF

         KIDS AT ONE TIME.

   Q:    YEAH.

   A:    AND UH, THEY OFFERED ME THE ASSISTANT EDUCATOR POSITION AND

         SEEING THAT IT WAS A LOT LESS KIDS AT ONE TIME I THOUGHT IT’D

         REALLY BE EASIER TO HANDLE.

   Q:    YEAH, HOW MANY KIDS ARE IN THE…, UH, THE CLASSROOM?

   A:    UH, FOR PRE-K THERE’S UP TO 24…

   Q:    M-HMM.

   A:    …FOR 2 TEACHERS AND THEN…, UH, 12 TO 1 WITH PRESCHOOL IT’S 20 TO

         2, BUT THEN THE 1 TO 10 RATIO AND THEN…, UH, THE EARLY PRESCHOOL

         I’M IN NOW IS…, UH, 10 TO 2, 5 TO 1.

   Q:    SO…

   A:    SO I CAN HAVE 5 CHILDREN…

   Q:    …BY YOURSELF?

   A:    …BY MYSELF.




   STATEMENT OF ALI AL-AWADI              DP14-0088487       PAGE 50 OF 185

                                                                                   112
Case 1:15-cr-00072-TWP-DML
Case 1:15-cr-00072-TWP-DML Document
                           Document 57-4
                                    148-1 Filed
                                           Filed01/22/16
                                                 12/12/16 Page
                                                           Page51113 of 349PageID
                                                                  of 185    PageID244
                                                                                   #:
                                     3477



   Q:    AND BUT AS…, OKAY AND BUT YOU CAN HAVE 10 IN THERE WITH 2

         PEOPLE?

   A:    YEAH.

   Q:    OKAY.

   A:    ANYMORE THAN 5 I’D NEED ANOTHER TEACHER WITH ME.

   Q:    OKAY, I GOTCHA AND THAT’S JUST TO TRY TO KEEP THE KIDS SAFE AND

         MAKE SURE…

   A:    YEAH.

   Q:    …YOU’RE NOT OVERWHELMED OR MISSING SOMETHING OR FORGET

         SOMETHING.

   A:    SUPERVISION OF COURSE AND…

   Q:    YEAH.

   A:    …UH, KIDS SAFETY FOR SURE.

   Q:    OKAY, I GOTCHA. UH, (YAWNING) TELL ME THIS, UH, WHAT WAS…, WHAT

         WAS GOING ON YESTERDAY, WHAT WERE YOU DOING YESTERDAY?

   A:    SO, UH, NOT…, ON A ROUTINE BASIS…, I WOULDN’T SAY ALL THE TIME,

         UH, I GO TO BREAK…, MS. EMILY, SHE’S THE…, UH, KINDERGARTEN

         TEACHER…

   Q:    M-HMM.

   A:    …LET HER GO ON BREAK WHILE I…, UH, SUPERVISE HER CLASS.

   Q:    OKAY.

   A:    AND UH, YESTERDAY WAS JUST NORMAL JUST DAY AND I KNOW ALL THE

         KIDS THERE…



   STATEMENT OF ALI AL-AWADI             DP14-0088487        PAGE 51 OF 185

                                                                                   113
Case 1:15-cr-00072-TWP-DML
Case 1:15-cr-00072-TWP-DML Document
                           Document 57-4
                                    148-1 Filed
                                           Filed01/22/16
                                                 12/12/16 Page
                                                           Page52114 of 349PageID
                                                                  of 185    PageID245
                                                                                   #:
                                     3478



   Q:    YEAH.

   A:    …THEY’RE A FUN GROUP.

   Q:    HOW MANY ARE THERE?

   A:    UH, THERE’S 11 TOTAL IN THE CLASS, BUT…, UH, YESTERDAY I THINK

         THERE WAS MAYBE 10.

   Q:    OKAY.

   A:    AND UH, IT WAS AROUND NAPTIME, SHE WA…, MS. EMILY WASN’T THERE,

         MS. TYRIA WAS…, UH, THE TEACHER FILLING IN FOR HER.

   Q:    OKAY.

   A:    SO I LET HER GO ON BREAK AND THE KIDS WERE ALL STILL AWAKE FOR

         THE MOST PART, 2 WERE KINDA DOZING OFF AND I TOOK A SEAT

         BETWEEN 2 OF THE CHILDREN AND UH, THEY LIKE TO JOKE AROUND

         WITH ME, LITTLE GIRL NAMED        AND A LITTLE BOY NAMED ETHAN.

   Q:    HMM, OKAY.

   A:    AND UH, IT HASN’T BEEN THE FIRST TIME, I ALWAYS JUST LAY DOWN

         RIGHT ON THE CARPET AND THEN I’LL PRETEND LIKE I’M TAKING THEIR

         PILLOW AND FAKE SLEEPING AND THEY JUST START GIGGLING UNTIL

         THEY CAN’T BREATHE ANYMORE.

   Q:    M-HMM.

   A:    AND UH, A LOT OF THE OTHER KIDS WERE SITTING THERE WATCHING US

         AND LAUGHING AND THEN I SAID; OKAY, NOW IT’S TIME TO TAKE A NAP.

   Q:    M-HMM.

   A:    UH,      THEN GETS UP AND SITS IN MY LAP.



   STATEMENT OF ALI AL-AWADI             DP14-0088487        PAGE 52 OF 185

                                                                                   114
Case 1:15-cr-00072-TWP-DML
Case 1:15-cr-00072-TWP-DML Document
                           Document 57-4
                                    148-1 Filed
                                           Filed01/22/16
                                                 12/12/16 Page
                                                           Page53115 of 349PageID
                                                                  of 185    PageID246
                                                                                   #:
                                     3479



   Q:    M-HMM.

   A:    AND I TOLD HER TO LAY BACK DOWN, IT’S TIME TO TAKE A NAP AND UH,

         SHE WASN’T REALLY LISTENING, BECAUSE 4 YEAR OLDS YOU KNOW

         HAVE A…, A HARD TIME GETTING OUT OF PLAY MOLD.

   Q:    M-HMM.

   A:    SO SHE…, UH, WOULDN’T GET UP SO I GO TO PICK HER UP TO PUT HER

         DOWN ON HER MAT, WHEN SHE LOCKS HER LEG AROUND MY ARM.

   Q:    M-HMM.

   A:    AND WHEN I GO TO WORK I HAVE A PRETTY BIG G-SHOCK WATCH ON.

   Q:    YEAH.

   A:    AND SHE WAS PRETTY MUCH AROUND THAT AS WELL. SO I WAS…, I WAS

         KINDA A LITTLE PANICKING BECAUSE MY ARM WAS AROUND HER

         PRIVATE AREA AND I WAS…, I DIDN’T WANT ANY INTENTIONS OF THEM

         BEING THERE…

   Q:    UH HUH.

   A:    …SO I TOLD HER TO GET OFF AND GET OFF AND SHE WASN’T LISTENING

         AND THEN I HAD TO MANEUVER MY ARM OUT OF THERE.

   Q:    M-HMM.

   A:    UH, ALL THE KIDS THOUGHT IT WAS A JOKE AND PLAYING, SHE THOUGHT

         IT WAS THE SAME THING AND UH, SHE THEN KEPT TRYING TO GET IN MY

         LAP AND I KEPT HAVING TO TELL HER NO, SHE HAS TO LAY DOWN. AND

         THEN SHE GRABBED MY ARM AND EVEN TRIED TO PUT IT BETWEEN

         AGAIN.



   STATEMENT OF ALI AL-AWADI             DP14-0088487        PAGE 53 OF 185

                                                                                   115
Case 1:15-cr-00072-TWP-DML
Case 1:15-cr-00072-TWP-DML Document
                           Document 57-4
                                    148-1 Filed
                                           Filed01/22/16
                                                 12/12/16 Page
                                                           Page54116 of 349PageID
                                                                  of 185    PageID247
                                                                                   #:
                                     3480



   Q:    BETWEEN WHAT?

   A:    HER…, HER LEGS.

   Q:    OKAY.

   A:    AND I DIDN’T…, I SAID NO, IT’S TIME TO TAKE A NAP.

   Q:    M-HMM.

   A:    SO I COVERED THEM UP, ALL THE OTHER KIDS…, OOPS, ‘CUSE ME.

         (CLEARING THROAT) SOME OF THE KIDS STARTED ALREADY SLEEPING,

         UH, SHE USUALLY SLEEPS RIGHT AWAY AND THEN ETHAN FELL ASLEEP

         SHORTLY AFTER AND THEN I GET UP AND START DOING MY ROUNDS,

         MAKING SURE ALL THE KIDS ARE OKAY. THERE’S…, UH, NO BREATHING

         ISSUES, CAUSE I KNOW A COUPLE OF THE KIDS IN THE CENTER HAVE…,

         UH, BREATHING TREATMENTS THEY NEED TO TAKE.

   Q:    M-HMM.

   A:    AND I ALWAYS WANT TO MAKE SURE ALL THE KIDS ARE SAFE FOR SURE.

   Q:    YEAH.

   A:    UH, AND THAT WAS PRETTY MUCH IT, I DIDN’T NOTICE ANYTHING ELSE

         OTHER THAN THEY WERE ALL FALLING ASLEEP…, THEY ALL FELL ASLEEP

         ACTUALLY.

   Q:    OKAY.

   A:    UH, THEN WHEN MS. TYRIA CAME BACK, UH, SHE SAW ME I THINK

         WALKING AROUND, I SAT DOWN WITH THE CLIPBOARD IN MY HAND JUST

         CAUSE I LIKE TO CARRY THAT EVERYWHERE I GO WITH ME AND AS SOON

         AS I SAW HER I SIGNED OUT AND I GAVE IT TO HER TO SIGN IN. SO I GO ON



   STATEMENT OF ALI AL-AWADI             DP14-0088487         PAGE 54 OF 185

                                                                                   116
Case 1:15-cr-00072-TWP-DML
Case 1:15-cr-00072-TWP-DML Document
                           Document 57-4
                                    148-1 Filed
                                           Filed01/22/16
                                                 12/12/16 Page
                                                           Page55117 of 349PageID
                                                                  of 185    PageID248
                                                                                   #:
                                     3481



         MY BREAK AND THEN I’D SAY 30 MINUTES AFTER I CLOCKED BACK IN, IT

         WASN’T 3:00 JUST YET…

   Q:    M-HMM.

   A:    …I GO TO MY ROOM, ONE OF THE KIDS…

   Q:    WHEN’S YOUR BREAK FROM, WHAT TIME TO WHAT TIME?

   A:    MY BREAK YESTERDAY WAS 1:30 I BELIEVE TO AROUND 2:30-ISH.

   Q:    OKAY AND WHAT TIME WERE YOU IN THE KINDERGARTEN CLASS?

   A:    UH, OH ACTUALLY MY BREAK WAS BETWEEN…, I…, I LET HER GO AT

         12:30…

   Q:    M-HMM.

   A:    …SO I WAS IN THERE 12:30 TO 1:30…

   Q:    OKAY.

   A:    …AND THEN FROM THERE I TOOK MY BREAK.

   Q:    IMMEDIATELY AFTER SHE GOT THERE? (UNSURE)

   A:    UH, I THINK I WENT TO THE RESTROOM FIRST…

   Q:    OKAY.

   A:    …AND THEN I IMMEDIATELY WENT . UH, DIDN’T REALLY DO MUCH ON

         MY BREAK, MS. TYRIA ASKED ME TO GO GET HER A POP FROM WHEREVER

         I WAS GOING, I SAID OKAY. SO, UH, ON MY BREAK I GO AND GET HER A

         POP AND JUST PRETTY MUCH HANG OUT A LITTLE BIT.

   Q:    M-HMM.




   STATEMENT OF ALI AL-AWADI             DP14-0088487        PAGE 55 OF 185

                                                                                   117
Case 1:15-cr-00072-TWP-DML
Case 1:15-cr-00072-TWP-DML Document
                           Document 57-4
                                    148-1 Filed
                                           Filed01/22/16
                                                 12/12/16 Page
                                                           Page56118 of 349PageID
                                                                  of 185    PageID249
                                                                                   #:
                                     3482



   A:    AND UH, WHEN I CLOCKED BACK IN I GO TO MY ROOM, ONE OF THE

         LITTLE BOYS…, THE LITTLE PRE…, EARLY PRESCHOOL ROOM, THE 2 YEAR

         OLDS…

   Q:    M-HMM.

   A:    …UH, HAS…, HE HAS A PROBLEM WHERE HE LIKES TO PLAY AROUND

         WITH HIS DIAPER AND THEN END UP PEEING ALL OVER HIMSELF…

   Q:    YEAH.

   A:    …SO I HAVE TO GO GET HIM SOME CLOTHES. UH, BEFORE I WAS EVEN

         HALF WAY THROUGH THE HALL, MS. CHIANA WHO SITS AT THE FRONT

         DESK TOLD ME SHE WANTS…, OR MS. TYRIA WANTS TO TALK TO ME.

   Q:    M-HMM.

   A:    SO I GO IN THE ROOM AND THEN SHE TELLS ME, LISTEN TO WHAT            HAS

         TO SAY AND THEN        TELLS ME THAT HER PRIVATE AREA IS HURTING

         FROM WHEN I TOUCHED HER.

   Q:    M-HMM.

   A:    AND I PRETTY MUCH ALMOST WENT INTO A PANIC ATTACK, BECAUSE I

         DIDN’T DO ANYTHING.

   Q:    M-HMM.

   A:    AND I…, I TOLD HER, ARE YOU SURE YOU’RE NOT DREAMING OR UH,

         BECAUSE I…, AND WE TAUGHT THE KIDS THAT WE DON’T APPRECIATE

         LIES AND SHE JUST KEPT SAYING NO, SHE WASN’T AND UH, I DON’T KNOW

         AND THEN I TOLD MS. TYRIA, I WAS LIKE…, I TOLD HER ABOUT THE

         WHOLE SITUATION WITH WHERE SHE WRAPPED HER LEGS AROUND MY



   STATEMENT OF ALI AL-AWADI             DP14-0088487        PAGE 56 OF 185

                                                                                    118
Case 1:15-cr-00072-TWP-DML
Case 1:15-cr-00072-TWP-DML Document
                           Document 57-4
                                    148-1 Filed
                                           Filed01/22/16
                                                 12/12/16 Page
                                                           Page57119 of 349PageID
                                                                  of 185    PageID250
                                                                                   #:
                                     3483



         ARMS AND I DID INFORM HER ON THE WHOLE BREAK…, OR WHEN SHE

         WAS ON BREAK, THE WHOLE NAPTIME.

   Q:    M-HMM.

   A:    AND UH, SHE TOLD ME SHE WAS GONNA TELL THEM AND SHE’S GONNA

         SAY THAT I DID INFORM HER ON WHAT HAPPENED AND UH, CLEAR

         EVERYTHING UP.

   Q:    TYRIA TOLD YOU THAT?

   A:    M-HMM.

   Q:    OKAY.

   A:    AND UH, I…, AT THIS POINT WAS STILL PRETTY MUCH FREAKING OUT,

         BECAUSE SHE EVEN TOLD ME SHE WAS FREAKING OUT BECAUSE SHE

         KNOWS I’M NOT THAT KIND OF GUY, I WOULDN’T DO ANYTHING LIKE

         THAT.

   Q:    M-HMM.

   A:    SHE’S KNOWN ME FOR A YEAR AND A HALF…, WELL NOT A YEAR AND A

         HALF, BUT A YEAR AND A MONTH NOW…

   Q:    M-HMM.

   A:    …AND I’VE NEVER EVEN ONCE TRIED TO GRAB A CHILD OR ANYTHING

         LIKE THAT.

   Q:    YEAH.

   A:    BECAUSE FOR ONE TO BE HONEST…, UH, THROUGHOUT THE REST OF MY

         LIFE I HAD MEN…, I DON’T SEE WHY ANYONE WOULD DO THAT TO A

         CHILD, IT’S…



   STATEMENT OF ALI AL-AWADI             DP14-0088487        PAGE 57 OF 185

                                                                                   119
Case 1:15-cr-00072-TWP-DML
Case 1:15-cr-00072-TWP-DML Document
                           Document 57-4
                                    148-1 Filed
                                           Filed01/22/16
                                                 12/12/16 Page
                                                           Page58120 of 349PageID
                                                                  of 185    PageID251
                                                                                   #:
                                     3484



   Q:    YEAH.

   A:    …BECAUSE IF THAT WAS MY DAUGHTER HONESTLY I’D BE BEYOND

         UPSET, IT WAS…, IT’S A TERRIFYING…, EVEN FOR ME IT’S ABSOLUTELY

         TERRIFYING. SO, UH, AFTER THAT, UH, JUST WENT TO MY ROOM, WENT

         ON ABOUT THE DAY, THEN AROUND 5:40-ISH…

   Q:    M-HMM.

   A:    …UH, I…, MY ASSISTANT DIRECTOR WANTS TO TALK TO ME AND THEN I

         GIVE HER MY FULL STATEMENT.

   Q:    OKAY.

   A:    AND UH…

   Q:    WHAT’D SHE…, WHAT’D YOUR ASSISTANT DIRECTOR…, WHAT’S HER

         NAME?

   A:    UH, HEIDI CONCES…

   Q:    OKAY.

   A:    …CONCES; SORRY, I DON’T KNOW HOW TO SAY HER LAST NAME.

   Q:    YEAH. WHAT DID…, WHAT DID SHE SAY WHEN SHE…, YOU SAID SHE

         CAME INTO THE CLASSROOM TO GET YOU?

   A:    UH, I WAS IN THE HALL WITH…, UH, THE KIDS ON…, WHAT WE CALL THE

         JELLY BEAN, WHICH IS LIKE A WAY TO TEACH ‘EM THAT WE WALK IN THE

         HALLS THEY NEED TO STAND IN A SINGLE FILE LINE.

   Q:    M-HMM.




   STATEMENT OF ALI AL-AWADI             DP14-0088487        PAGE 58 OF 185

                                                                                   120
Case 1:15-cr-00072-TWP-DML
Case 1:15-cr-00072-TWP-DML Document
                           Document 57-4
                                    148-1 Filed
                                           Filed01/22/16
                                                 12/12/16 Page
                                                           Page59121 of 349PageID
                                                                  of 185    PageID252
                                                                                   #:
                                     3485



   A:    UH, SHE…, UH, SHE HAD ANOTHER TEACHER COME IN FOR ME TO LET ME

         GO AND TALK TO THEM. SHE…, UH, PUT ME ON ADMINISTRATIVE LEAVE,

         WHICH…

   Q:    OKAY.

   A:    …HONESTLY I REALLY APPRECIATE AT THIS POINT BECAUSE…, UH, A

         DETECTIVE JAM…, JIM MADISON…, JAMES MADISON…

   Q:    M-HMM.

   A:    …HE TOLD ME THERE WAS MEDIA THERE AND IT WAS A BIG COMMOTION

         GOING ON.

   Q:    AW, I DIDN’T SAY COMMOTION, THERE WAS A…, THERE WAS LIKE A NEWS

         CAMERA WHATEVER OUT THERE, YEAH.

   A:    AND UH…

   Q:    BUT I WOULDN’T SAY COMMOTION, BUT ANYWAYS GO AHEAD.

   A:    …HE…, UH, HE TOLD ME JUST…, UH, IT WAS PROBABLY A GOOD THING

         THAT I WASN’T THERE AT THE TIME, CAUSE THEN HE…

   Q:    THEY’D FILM YOU OR WHATEVER…

   A:    YEAH.

   Q:    …AND GET YOU ON THE NEWS OR WHATEVER.

   A:    YEAH.

   Q:    THAT HAPPENS. (CHUCKLE)

   A:    SO I DO APPRECIATE THAT THEY PUT ME ON ADMINISTRATIVE LEAVE

         AND…

   Q:    YEAH.



   STATEMENT OF ALI AL-AWADI             DP14-0088487        PAGE 59 OF 185

                                                                                   121
Case 1:15-cr-00072-TWP-DML
Case 1:15-cr-00072-TWP-DML Document
                           Document 57-4
                                    148-1 Filed
                                           Filed01/22/16
                                                 12/12/16 Page
                                                           Page60122 of 349PageID
                                                                  of 185    PageID253
                                                                                   #:
                                     3486



   A:    …UH, SHE’S TOLD ME THAT EVEN FEMALE TEACHERS HAVE BEEN

         ACCUSED OF THESE ALLEGATIONS.

   Q:    WHO TOLD YOU THAT?

   A:    UH, HEIDI.

   Q:    OKAY.

   A:    SHE…, SHE DID.

   Q:    NOW WHEN SHE FIRST GOT YOU OUT OF THE HALLWAY AND YOU GOT

         RELIEF TO YOU, WHO RELIEVED YOU?

   A:    UH, HER NAME IS MS. FLO.

   Q:    OKAY AND SO SHE…, MS. FLO RELIEVED YOU AND YOU WENT…

   A:    M-HMM.

   Q:    …WHERE DID YOU GO TO TALK TO MS. HEIDI?

   A:    I WENT IN THE DIRECTOR’S OFFICE, MS. JENNIFER’S OFFICE…

   Q:    OKAY.

   A:    …UH…

   Q:    YEAH.

   A:    …MS. KIM WAS THERE TAKING NOTES AS I TALKED BECAUSE…, UH, IT

         IS…, I THINK A STATE REQUIREMENT THAT WHENEVER THEY TALK

         ABOUT ANYTHING LIKE THIS OR ANY DOMESTIC VIOLENCE OR

         WHATEVER IT IS THEY…, THERE’S A WITNESS IN THE ROOM.

   Q:    M-HMM.

   A:    SO, UH, WHICH I COMPLETELY UNDERSTAND AND I GAVE EVERYONE MY

         FULL COOPERATION BECAUSE LIKE I SAID I…, IT’S…, IT HIT ME, WAS A



   STATEMENT OF ALI AL-AWADI             DP14-0088487        PAGE 60 OF 185

                                                                                   122
Case 1:15-cr-00072-TWP-DML
Case 1:15-cr-00072-TWP-DML Document
                           Document 57-4
                                    148-1 Filed
                                           Filed01/22/16
                                                 12/12/16 Page
                                                           Page61123 of 349PageID
                                                                  of 185    PageID254
                                                                                   #:
                                     3487



         SURPRISE BECAUSE I MEAN I CHANGE DIAPERS OF 2 YEAR OLD KIDS ALL

         DAY…

   Q:    YEAH.

   A:    …AND I’D NEVER EVEN EVER THINK ABOUT ANYTHING LIKE THAT.

   Q:    SO WHEN YOU CAME IN THE ROOM WHAT DID MS. HEIDI SAY TO YOU?

         HOW DID SHE…, WHAT’D SHE TELL YOU?

   A:    UH, SHE JUST…, UH, ASKED ME, SHE WAS LIKE, SO UH, ASKED ME ABOUT

         IF I DID BREAK MS. TYRIA TODAY…, OR NOT TODAY, YESTERDAY, BUT

         SHE SAID THIS TODAY…

   Q:    M-HMM.

   A:    …AND I DID YES…, I SAID YES, YES AND THEN I TOLD HER I KNOW…, I

         PROBABLY KNOW WHAT IT IS ABOUT BECAUSE ME AND TYRIA DID TALK

         AND SHE WAS LIKE, OKAY, THEN WE’D LIKE TO HEAR YOUR SIDE OF THE

         STORY.

   Q:    M-HMM.

   A:    SO THEN I GAVE HER MY SIDE AND THAT’S WHEN SHE TOLD ME TO MAKE

         SURE I WRITE EVERYTHING DOWN, SO IT DOESN’T COME BACK AND UH,

         BITE ME IN THE…, BITE ME IN THE BUTT.

   Q:    YEAH.

   A:    SO, UH, IT’S FRIGHTENING I MEAN AND…

   Q:    M-HMM.

   A:    …SHE…, UH, SHE JUST WANTED TO ASSURE ME THAT…, UH, IT’S

         HAPPENED BEFORE.



   STATEMENT OF ALI AL-AWADI             DP14-0088487        PAGE 61 OF 185

                                                                                   123
Case 1:15-cr-00072-TWP-DML
Case 1:15-cr-00072-TWP-DML Document
                           Document 57-4
                                    148-1 Filed
                                           Filed01/22/16
                                                 12/12/16 Page
                                                           Page62124 of 349PageID
                                                                  of 185    PageID255
                                                                                   #:
                                     3488



   Q:    M-HMM.

   A:    THERE ARE ALLEGATIONS AND THERE ARE…, THERE’S GONNA BE AN

         INVESTIGATION GOING ON.

   Q:    YEAH, WHAT ELSE DID SHE SAY? (CLEARING THROAT)

   A:    UH, AFTER THAT SHE JUST ASKED ME IF I HAD ANY BELONGINGS I

         NEEDED TO GET OUT OF MY LOCKER AND THEN SHE…, UH, JUST…, UH,

         PRETTY MUCH ESCORTED ME OUT OF THE BUILDING.

   Q:    OKAY, HMM. UH, SO I WAS OUT THERE EARLIER TODAY…

   A:    M-HMM.

   Q:    …AND SHE GAVE ME THIS PAPER RIGHT HERE, IT’S JUST A BLANK…

   A:    YES.

   Q:    …PIECE OF PAPER THAT STARTED OFF JUST A WHITE PAPER AND THEN

         WITH PURPLE INK WRITING ON IT.

   A:    M-HMM.

   Q:    IS THAT YOUR HANDWRITING?

   A:    YES.

   Q:    DID YOU WRITE THAT?

   A:    YES.

   Q:    SO THIS IS THE STATEMENT THAT YOU WROTE FOR MS…., UH, MS. HEIDI?

   A:    YES.

   Q:    OKAY, ALRIGHT. UH, IN THERE YOU TALK ABOUT YOU KNOW THEM

         TALKING TO YOU BEFORE ABOUT SOMETHING, WHAT’S THAT ALL ABOUT?

   A:    UH, WHAT…, WHO TALKING TO ME BEFORE?



   STATEMENT OF ALI AL-AWADI             DP14-0088487        PAGE 62 OF 185

                                                                                   124
Case 1:15-cr-00072-TWP-DML
Case 1:15-cr-00072-TWP-DML Document
                           Document 57-4
                                    148-1 Filed
                                           Filed01/22/16
                                                 12/12/16 Page
                                                           Page63125 of 349PageID
                                                                  of 185    PageID256
                                                                                   #:
                                     3489



   Q:    UH, WELL YOU WROTE…, OH WAIT, NO, YOU KNOW WHAT, I’M SORRY

         YOU DID NOT, I APOLOGIZE.

   A:    YOU’RE FINE, THAT’S WHY I WAS JUST A LITTLE CONFUSED.

   Q:    YEAH, YEAH, YEAH, NO, UH, WHAT THAT IS IS…, UH, MS. KIM WAS IN

         THERE TAKING NOTES, RIGHT?

   A:    YES.

   Q:    OKAY. MS. KIM WROTE THAT YOU SAID YOU’VE BEEN TRYING TO BE

         MORE CAUTIOUS SINCE THEY TALKED TO YOU.

   A:    YEAH, THEY…, UH, THEY APPROACHED ME, UH, EARLIER IN THE YEAR I’D

         SAY ABOUT PICKING UP THE CHILDREN, BECAUSE THEY’VE HAD AN

         INCIDENT WHERE…, UH, IT WAS SOME…, ONE OF THE CHILDREN HAS

         FALLEN AND THEY JUST DON’T WANT ME TO BE…, UH, IN…, LIKE BE THE

         CAUSE OF IT, BECAUSE ONE OF THE CHILDREN HAS I THINK BROKEN

         THEIR ARM ONCE BEFORE.

   Q:    OKAY.

   A:    AND THEY JUST WANTED ME NOT TO BE LIKE I SAID THE CAUSE OF THAT

         AND SHE ALSO STATED THAT SOME OF THE PARENTS MIGHT NOT

         APPRECIATE IT…, UH, TELLING ME THAT…, UH, FOR EXAMPLE GABBY’S

         DAD WOULD PROBABLY NOT APPRECIATE ME PICKING HER UP BECAUSE

         SHE’S A…, A GIRL AND I’M A GUY WHO ISN’T HER FATHER.

   Q:    YEAH, HOW DID YOU…?

   A:    AND SHE SAID THAT’S JUST THE TYPE OF GUY HE IS.

   Q:    HOW DID YOU PICK UP…, UH, GABBY?



   STATEMENT OF ALI AL-AWADI             DP14-0088487        PAGE 63 OF 185

                                                                                   125
Case 1:15-cr-00072-TWP-DML
Case 1:15-cr-00072-TWP-DML Document
                           Document 57-4
                                    148-1 Filed
                                           Filed01/22/16
                                                 12/12/16 Page
                                                           Page64126 of 349PageID
                                                                  of 185    PageID257
                                                                                   #:
                                     3490



   A:    WELL GABBY WAS A LITTLE…, UH, KINDERGARTENER…

   Q:    UH HUH.

   A:    …SHE…, I’VE KNOWN HER WHEN SHE WAS IN PRE-K WHEN I FIRST

         STARTED, SHE MOVED UP EARLIER ON, BUT SHE WAS JUST A…, THE

         LITTLE SWEETHEART OF THE ROOM WHERE SHE WOULD JUST COME UP TO

         ME EVERY TIME I’D WALK IN AND SHE’D GIVE ME A BIG HUG.

   Q:    YEAH.

   A:    SO I’D GENERALLY JUST GIVE HER A HUG BACK, BECAUSE…, UH, IT’S

         BETTER TO SHOW THE KIDS AFFECTION THAN NO AFFECTION AND THEN

         THEY START ACTING UP.

   Q:    YEAH.

   A:    SO, UH, IN NO WAY DID I PICK ‘EM UP IN A SEXUAL MANNER OR

         ANYTHING LIKE THAT.

   Q:    WHAT WAY DID YOU PICK HER UP, GABBY?

   A:    WELL JUST NORMALLY HOW YOU’D EVER PICK UP A CHILD WHERE I’D

         MAKE SURE SHE’S RESTING, SO I WOULDN’T DROP HER AND THEN I’D PUT

         HER RIGHT BACK DOWN AFTER.

   Q:    HOW DID YOU…, YOU SAID MAKE SURE SHE’S RESTING, WHAT WAS

         RESTING ON YOUR…?

   A:    WELL LIKE…, UH, I WOULD SAY LIKE HER…, UH, LEGS…

   Q:    M-HMM.

   A:    …LIKE THE…, BETWEEN HER KNEES THAT’S WHERE I’D HOLD ‘EM, SO I’D

         MAKE SURE I HAVE A…, A GOOD…, UH, GRIP SO I DON’T DROP THEM.



   STATEMENT OF ALI AL-AWADI             DP14-0088487        PAGE 64 OF 185

                                                                                   126
Case 1:15-cr-00072-TWP-DML
Case 1:15-cr-00072-TWP-DML Document
                           Document 57-4
                                    148-1 Filed
                                           Filed01/22/16
                                                 12/12/16 Page
                                                           Page65127 of 349PageID
                                                                  of 185    PageID258
                                                                                   #:
                                     3491



   Q:    SO IF HER KNEES ARE RIGHT…, ON YOUR ARM, WHERE WOULD THE REST

         OF HER BODY BE?

   A:    UH, IT’D BE LIKE IF MY…, HER LIKE KNEES WERE LIKE THIS IT’D BE JUST

         LIKE THAT, LIKE THE REST OF IT WOULD BE STA…, LIKE SITTING UP

         WOULD BE. (UNSURE)

   Q:    WHAT DO YOU MEAN YOU’D HOLD HER BY THAT, I…, (CHUCKLE) WHAT

         DO YOU MEAN?

   A:    NO, LIKE IF I WAS HOLDING HER LIKE THIS…

   Q:    UH HUH.

   A:    …SHE…, LIKE THE REST OF HER BODY WOULD BE…, UH…

   Q:    OH, SO SHE WOULD…

   A:    …I’D BE NO…, NO CONTACT IN…, IN…, OF ANY PART OF HER BODY OTHER

         THAN ME HAVING A SECURE…

   Q:    OKAY. SO I’M…, I’M ENVISIONING BECAUSE YOU’RE…, YOU’RE NOT

         SAYING THAT, YOU’RE SAYING YOU’RE JUST HOLDING BEHIND THE

         KNEES, BUT I MEAN SHE’D BE OFF BALANCE AND FALL BACKWARDS IF

         SHE…

   A:    WELL IT WAS…

   Q:    …WAS SHE SITTING ON YOUR ARM?

   A:    (NO VERBAL RESPONSE)

   Q:    I MEAN SHE WOULD HAVE HAD TO BEEN, I CAN’T REALLY…

   A:    SHE WOULD ACTUALLY HOLD ON TO ME BECAUSE SHE WOULDN’T FALL

         OFF.



   STATEMENT OF ALI AL-AWADI             DP14-0088487        PAGE 65 OF 185

                                                                                   127
Case 1:15-cr-00072-TWP-DML
Case 1:15-cr-00072-TWP-DML Document
                           Document 57-4
                                    148-1 Filed
                                           Filed01/22/16
                                                 12/12/16 Page
                                                           Page66128 of 349PageID
                                                                  of 185    PageID259
                                                                                   #:
                                     3492



   Q:    SO SHE PUT HER ARMS WHERE?

   A:    LIKE MAYBE LIKE ONE ARM RIGHT HERE, NOTHING BIG AND…

   Q:    JUST PUT HER ARM RIGHT THERE?

   A:    LIKE HOLDING ON JUST SO SHE…

   Q:    I MEAN I’VE GOT KIDS, I…, I’LL HOLD ‘EM LIKE THIS, USUALLY THEY’LL

         WRAP THEIR LEGS AROUND YOU AND YOU KEEP YOUR HAND…, YOUR

         ARM WILL BE UNDER THEIR BUTT OR WHATEVER.

   A:    M-HMM, WELL…

   Q:    IS THAT LIKE WHAT YOU’RE DESCRIBING?

   A:    …PRETTY MUCH, BUT WHENEVER SHE DOES TRY TO WRAP HER LEGS

         AROUND I GENERALLY MOVE IT JUST SO I…, LIKE I SAID I DON’T GET

         ACCUSED OF ANYTHING.

   Q:    OKAY, ALRIGHT. HAS SHE WRAPPED HER…, GABBY WRAP HER LEGS

         AROUND LIKE…, LIKE THAT WITH YOU BEFORE?

   A:    SHE HAS AND UH, I…, I JUST PUT HER DOWN AS SOON AS POSSIBLE JUST

         SO IT DOESN’T HAPPEN.

   Q:    YEAH.

   A:    LIKE I SAID THE WHOLE SITUATION WITH ME AS WELL, UH, WHEN IT

         HAPPENED I…, I JUST DON’T FEEL COMFORTABLE WITH IT…

   Q:    YEAH.

   A:    …SO I DO PUT THEM DOWN.

   Q:    NOW IS THIS THE FIRST TIME YOU’VE HAD TO WRITE A STATEMENT FOR

         YOUR…, FOR YOUR WORK?



   STATEMENT OF ALI AL-AWADI             DP14-0088487        PAGE 66 OF 185

                                                                                   128
Case 1:15-cr-00072-TWP-DML
Case 1:15-cr-00072-TWP-DML Document
                           Document 57-4
                                    148-1 Filed
                                           Filed01/22/16
                                                 12/12/16 Page
                                                           Page67129 of 349PageID
                                                                  of 185    PageID260
                                                                                   #:
                                     3493



   A:    YES, YES.

   Q:    DID YOU WHEN…, DID…, WHO TALKED TO YOU ABOUT THE THING WITH

         GABBY AND HER DAD?

   A:    UH, HEIDI DID AS WELL, BUT IT WAS…

   Q:    WAS IT JUST HEIDI OR SOMEONE ELSE?

   A:    …IT WASN’T…, UH, IT WASN’T JUST GABBY, SHE WAS JUST GIVING ME AN

         EXAMPLE…

   Q:    OF…?

   A:    …OF HOW HER DAD MIGHT REACT. SHE WASN’T ACTUALLY SAYING HE

         DID COME UP TO HER AND TALK TO HER ABOUT IT, SHE JUST SAID BASED

         OFF HIS PERSONALITY HE MAY NOT…, UH, APPRECIATE THE ACTION…

   Q:    M-HMM.

   A:    …PRETTY MUCH. SO I DID END UP BEING MORE CAUTIOUS, UH,

         ESPECIALLY WITH PICKING UP THE KIDS, SHE TOLD ME NOT TO HAVE THE

         KIDS REALLY ALL UP ON ME AND PLAYING, BECAUSE I’M…, I’D SAY I’M

         THE MORE FUN GUY…

   Q:    YEAH.

   A:    …AT THE…, AT THE CENTER KNOWING I’M THE GUY AND I ALSO HAVE

         MORE ENERGY THAN MOST OF THEM…

   Q:    YEAH.

   A:    …20 YEARS OLD, THE KIDS TEND TO JUST…, LIKE I’D ACT LIKE I FELL

         OVER THEY START POUNDING AT ME AND IT’S JUST…, UH, KID PLAY, IT’S

         NOTHING MORE THAN THAT.



   STATEMENT OF ALI AL-AWADI             DP14-0088487        PAGE 67 OF 185

                                                                                   129
Case 1:15-cr-00072-TWP-DML
Case 1:15-cr-00072-TWP-DML Document
                           Document 57-4
                                    148-1 Filed
                                           Filed01/22/16
                                                 12/12/16 Page
                                                           Page68130 of 349PageID
                                                                  of 185    PageID261
                                                                                   #:
                                     3494



   Q:    YEAH, YEAH.

   A:    SO I…, LIKE WHENEVER ANYTHING LIKE THAT HAPPENS IT REALLY

         MAKES ME UNCOMFORTABLE.

   Q:    M-HMM.

   A:    SO I DON’T…, I PUT THEM DOWN, I EVEN…, UH, TOLD GABBY TO NOT DO

         THAT ANYMORE, I…

   Q:    DO WHAT?

   A:    …LIKE WHEN SHE GETS UP ON ME LIKE WRAP HERSELF ON ME AND WHEN

         I’D…, I DID START EXPLAINING TO THEM THAT THAT’S NOT WHAT WE DO.

   Q:    M-HMM.

   A:    UH, THEN THERE ARE TIMES WHERE THEY WRAP THEIR WHOLE BODY

         AROUND MY LEGS, BECAUSE THEY DON’T WANT ME TO WALK AROUND,

         BUT THEN I ACT LIKE I’M PICKING THEM UP, SO IT’S NOT…

   Q:    SO YOU’LL WALK WITH THEM LIKE CLINGING TO YOUR LEGS…

   A:    …YEAH.

   Q:    …LIKE WRAPPED AROUND…

   A:    M-HMM.

   Q:    …LIKE HANDS AND FEET?

   A:    HANDS AND FEET PRETTY MUCH.

   Q:    YEAH.

   A:    AND IT’S LIKE…

   Q:    LIKE SITTING ON YOUR FOOT?

   A:    …IT…, YEAH…



   STATEMENT OF ALI AL-AWADI             DP14-0088487        PAGE 68 OF 185

                                                                                   130
Case 1:15-cr-00072-TWP-DML
Case 1:15-cr-00072-TWP-DML Document
                           Document 57-4
                                    148-1 Filed
                                           Filed01/22/16
                                                 12/12/16 Page
                                                           Page69131 of 349PageID
                                                                  of 185    PageID262
                                                                                   #:
                                     3495



   Q:    OKAY.

   A:    …IT’S ALL PLAYFUL, IT’S NOTHING LIKE I SAID MORE THAN THAT.

   Q:    YEAH.

   A:    SO IT’S…, LIKE WHEN THIS ALLEGATION HAPPENED I JUST COMPLETELY

         FREAKED OUT, BECAUSE I’VE…, I WAS TRYING TO BE MORE CAUTIOUS

         ANYWAY.

   Q:    YEAH.

   A:    AND IT STILL HAPPENED, SO.

   Q:    SO BACK…, BACK TO IN THAT ROOM, UH, YESTERDAY. YOU SAID YOU

         LAID DOWN NEXT TO…, WHO’D YOU LAY DOWN NEXT TO?

   A:    IT WAS ON THE…, UH, THE CARPET…

   Q:    UH HUH.

   A:    …UH, BETWEEN…, OR ACTUALLY IT’S A RUG, BETWEEN ETHAN AND              .

   Q:    OKAY.

   A:    AND WE WERE JUST JOKING AROUND PLAYING LIKE…

   Q:    WHAT WERE THEY LAYING ON…

   A:    THEY HAVE MATS.

   Q:    …OR WERE THEY SITTING UP, LAYING DOWN, WHAT WERE THEY DOING?

   A:    UH, THEY WERE LAYING DOWN, THEN THEY SAT UP A COUPLE TIMES AND

         I KEPT TELLING THEM LAY DOWN…

   Q:    (CLEARING THROAT)




   STATEMENT OF ALI AL-AWADI             DP14-0088487        PAGE 69 OF 185

                                                                                   131
Case 1:15-cr-00072-TWP-DML
Case 1:15-cr-00072-TWP-DML Document
                           Document 57-4
                                    148-1 Filed
                                           Filed01/22/16
                                                 12/12/16 Page
                                                           Page70132 of 349PageID
                                                                  of 185    PageID263
                                                                                   #:
                                     3496



   A:    …BECAUSE IT WAS NAPTIME AND I…, HONESTLY I WASN’T SUPPOSED TO

         BE PLAYING WITH THEM, I WAS SUPPOSED TO LET THEM REST BECAUSE

         THEY HAVE LONG DAYS.

   Q:    YEAH, I GOTCHA.

   A:    THERE WAS JUST A LOT OF PLAY, IT WASN’T ANYTHING MORE THAN THAT

         WHERE I WOULD JUST PRETEND I TOOK THEIR PILLOW AND THEN SLEPT

         ON IT…

   Q:    YEAH.

   A:    …AND THEN THEY’D BE LIKE, HEY, THAT’S MY PILLOW AND THEN HE

         WOULD TAKE IT BACK FROM ME AND THEN            WOULD DO THE SAME

         THING AND I TOOK HERS BECAUSE KIDS GET JEALOUS, EVEN THE KID

         ACROSS THE ROOM WAS LIKE, MR. ALI, COME TAKE MY PILLOW.

   Q:    YEAH.

   A:    BUT…

   Q:    WHICH ONE SAID THAT?

   A:    …UH, SOSHA, SHE WASN’T REALLY CROSS THE ROOM, SHE WAS JUST

         RIGHT ACROSS FROM THEM. (UNSURE OF NAME AND SPELLING)

   Q:    OH.

   A:    BUT IT WAS…, IT WAS JUST PLAY.

   Q:    YEAH.

   A:    LIKE IT WASN’T ANYTHING SERIOUS.

   Q:    YEAH.




   STATEMENT OF ALI AL-AWADI             DP14-0088487        PAGE 70 OF 185

                                                                                   132
Case 1:15-cr-00072-TWP-DML
Case 1:15-cr-00072-TWP-DML Document
                           Document 57-4
                                    148-1 Filed
                                           Filed01/22/16
                                                 12/12/16 Page
                                                           Page71133 of 349PageID
                                                                  of 185    PageID264
                                                                                   #:
                                     3497



   A:    AND THEN…, UH, I DID TELL THEM IT WAS TIME TO TAKE A NAP AND

         THEN THAT’S WHEN SHE STARTED SITTING ON MY LAP AND UH, ME AND

             HAVE A LITTLE JOKE GOING ON…

   Q:    M-HMM.

   A:    …THAT WHEN SHE LEAVES I CALL HER LITTLE BABY…

   Q:    M-HMM.

   A:    …BECAUSE SHE HAS A LITTLE SISTER, BABY EMILY.

   Q:    YEAH.

   A:    AND I SAY, YOU’RE THE LITTLE BABY, SHE GOES LIKE, NO, YOU’RE THE

         LITTLE BABY AND EVEN AS…, AS SHE LEFT THAT DAY SHE WAS LIKE, BYE

         MR. ALI BABY, LIKE CALLING ME THE LITTLE BABY AND I SAY, NO,

         YOU’RE THE LITTLE BABY. SO…

   Q:    YEAH, WHEN WAS THAT SHE LEFT?

   A:    UH…

   Q:    LIKE YOU MEAN LEAVING THE WHOLE CENTER FOR THE DAY?

   A:    …WHEN HER DAD CAME TO PICK HER UP.

   Q:    OKAY. DID YOU SEE THEM WHEN THEY WERE LEAVING OR SOMETHING?

   A:    UH, I SAW THEM ON THEIR WAY OUT.

   Q:    OKAY. WHERE…, WHERE WERE YOU WHEN YOU SAW ‘EM?

   A:    UH, I HAD THE KIDS WITH ME AND WE WERE…, UH, LEAVING THE ROOM

         TO GO TO THE LIBRARY.

   Q:    OKAY, ALRIGHT AND UH, WHAT TIME WAS THAT? WHAT TIME DID THEY

         COME THROUGH?



   STATEMENT OF ALI AL-AWADI             DP14-0088487        PAGE 71 OF 185

                                                                                   133
Case 1:15-cr-00072-TWP-DML
Case 1:15-cr-00072-TWP-DML Document
                           Document 57-4
                                    148-1 Filed
                                           Filed01/22/16
                                                 12/12/16 Page
                                                           Page72134 of 349PageID
                                                                  of 185    PageID265
                                                                                   #:
                                     3498



   A:    UH, I WOULD SAY AROUND MAYBE 5:00-ISH, ONLY BECAUSE WE WERE IN

         THE LIBRARY AND UH, WE CAME OUT, PLAYED IN THE MULTI PURPOSE

         GYM AND I TOOK THE KIDS TO THE RESTROOM, CAUSE IT’S…, WE TAKE

         THEM OUT EVERY HOUR SINCE WE’RE POTTY TRAINING THEM WE DON’T

         WANT THEM TO…

   Q:    YEAH.

   A:    …PEE ALL OVER THEMSELVES AND AFTER THAT I…, WE STARTED

         WALKING OUT AND I SEE HER WITH…, LEAVING WITH HER DAD AND HER

         LITTLE SISTER.

   Q:    OKAY.

   A:    SO THAT’S WHEN SHE SAID IT, BUT…

   Q:    OKAY.

   A:    …SHE WAS JUST BEING PLAYFUL ABOUT IT.

   Q:    OKAY. TELL ME THIS, UH, THERE ARE A BUNCH OF QUESTIONS ABOUT

         SOME OF THE THINGS YOU TOLD ME, BUT…, UH…

   A:    SURE.

   Q:    …I’M JUST TRYING TO REMEMBER…, OH, SORRY, I’M JUST TRYING TO

         REMEMBER THEM AND GO ONE AT A TIME HERE. UH, YOU SAID YOUR…,

         YOUR…, YOU THAT…, YOUR TEAM OR NOT TEAM, YOUR CLASSROOM…

   A:    M-HMM.

   Q:    …YOU SAID THAT YOU’RE THE ASSISTANT EDUCATOR AND…, AND UH,

         CATHIE IS THE LEAD.

   A:    M-HMM.



   STATEMENT OF ALI AL-AWADI             DP14-0088487        PAGE 72 OF 185

                                                                                   134
Case 1:15-cr-00072-TWP-DML
Case 1:15-cr-00072-TWP-DML Document
                           Document 57-4
                                    148-1 Filed
                                           Filed01/22/16
                                                 12/12/16 Page
                                                           Page73135 of 349PageID
                                                                  of 185    PageID266
                                                                                   #:
                                     3499



   Q:    YOU SAID YOU…, YOU HAVE…,UH, GROUPS OF KIDS THAT ARE HER

         PRIMARY RESPONSIBILITY AND GROUPS THAT ARE YOUR PRIMARY

         RESPONSIBILITY, WHAT…, WHAT’S…

   A:    UH…

   Q:    …WHAT ARE THE NAMES OF YOUR KIDS? I KNOW YOU SAID THAT

         EVERYBODY’S…, YOU’RE STILL RESPONSIBLE, BUT…?

   A:    …UH, UH, TO BE HONEST WITH YOU I DON’T REMEMBER THE LIST

         EXACTLY, BECAUSE SHE MADE UP THE LIST AND UH, WHAT SHE WANTED

         TO DO WAS GIVE ME THE BOYS JUST SO SOME PARENTS WOULDN’T FEEL

         UNCOMFORTABLE, BUT I DID HAVE I THINK ANNA IN MY GROUP, UH, THE

         PAPER’S ON THE WALL AND I TOLD HER WE NEED TO UPDATE IT, BECAUSE

         WE GOT A COUPLE NEW KIDS…

   Q:    UH HUH.

   A:    …AND SOME OF THE KIDS WE HAD HAVE MOVED UP. SO IT’S A REALLY

         OUTDATED LIST…

   Q:    SO THIS…

   A:    …IT’S…

   Q:    …BUT IT’S ON THE WALL IN THE…

   A:    …IT’S…, IT’S ON THE WALL IN THE CLASSROOM.

   Q:    …OKAY.

   A:    AND UH, WE’VE…, WE REALLY DON’T GO BY THE LIST, WE GO AS A

         CLASSROOM…

   Q:    OKAY.



   STATEMENT OF ALI AL-AWADI             DP14-0088487        PAGE 73 OF 185

                                                                                   135
Case 1:15-cr-00072-TWP-DML
Case 1:15-cr-00072-TWP-DML Document
                           Document 57-4
                                    148-1 Filed
                                           Filed01/22/16
                                                 12/12/16 Page
                                                           Page74136 of 349PageID
                                                                  of 185    PageID267
                                                                                   #:
                                     3500



   A:    …ME AND CATHIE WHERE SHE’LL SAY, OKAY, INSTEAD OF SPLITTING UP

         THE TWO GROUPS AND WE DO OBSERVATIONS.

   Q:    M-HMM.

   A:    SHE’LL JUST DO OBSERVATIONS ON A CHILD AND THEN I’LL DO AN

         OBSERVATION ON A CHILD.

   Q:    WHAT’S AN OBSERVATION?

   A:    AN OBSERVATION IS WHEN WE SEE THEM DOING SOMETHING…, UH, NEW,

         LIKE THE…, OR SOMETHING WE OBSERVE ABOUT THEM THAT WE FIND…,

         UH, INTERESTING FOR THEIR AGE.

   Q:    YEAH.

   A:    SO AS A 2 YEAR OLD IF THEY COME IN AND SAY, MY SHOES ARE PURPLE,

         WE’D WRITE THAT AS AN OBSERVATION, BECAUSE THEY’RE STILL JUST

         LEARNING THEIR COLORS.

   Q:    M-HMM.

   A:    AND WE’D DO THAT ALL THE TIME AND UH, I…, I BELIEVE OBSERVATIONS

         ARE SUPPOSED TO BE SPLIT UP BETWEEN THE TWO, BUT I…, UH, ME AND

         MS. CATHIE WE JUST DO OBSERVATIONS AS WE GO. WHEN…, WHENEVER

         WE HEAR THEM SAY SOMETHING WE HAVE OUR CLIPBOARD WITH THE

         OBSERVATION SHEET AND WE JUST WRITE IT DOWN.

   Q:    YEAH, I GOTCHA.

   A:    SO, UH, THE…, LIKE I TOLD YOU THE PRIMARY CARE LIST IS…, UH, IT’S

         THERE, BUT WE WORK AS A TEAM…

   Q:    OKAY.



   STATEMENT OF ALI AL-AWADI             DP14-0088487        PAGE 74 OF 185

                                                                                   136
Case 1:15-cr-00072-TWP-DML
Case 1:15-cr-00072-TWP-DML Document
                           Document 57-4
                                    148-1 Filed
                                           Filed01/22/16
                                                 12/12/16 Page
                                                           Page75137 of 349PageID
                                                                  of 185    PageID268
                                                                                   #:
                                     3501



   A:    …AS OPPOSED TO ALWAYS SPLITTING UP THE KIDS.

   Q:    BUT THEY DID THE LIST YOU SAID GIRLS FOR CATHIE AND THE BOYS FOR

         YOU?

   A:    THAT’S WHAT SHE SUGGESTED WITH THE DIAPER CHANGING…

   Q:    OKAY.

   A:    …JUST SO OF COURSE…

   Q:    IS THAT THE PRIMARY LIST THOUGH TOO, IS THAT HOW YOU DO IT OR

         DIFFERENT?

   A:    HMM, I DON’T THINK SHE DID THAT…

   Q:    SO JUST FOR THE DIAPER CHANGING?

   A:    …SHE WANTED TO DO THAT FOR THE DIAPERS, BUT THEN SHE SAID, UH, I

         HAVEN’T…, SHE WOULD NEVER ACCUSE ME OF ANYTHING LIKE THAT OF

         COURSE AND I’M…, I’M SO GREAT WITH THE KIDS THAT DOESN’T REALLY

         MATTER WHO’S DOING IT.

   Q:    YEAH.

   A:    AND LIKE I TOLD YOU IT MAKES ME FEEL UNCOMFORTABLE SOMETIMES,

         SO I JUST TRY TO HURRY UP AND…

   Q:    DO IT QUICKLY.

   A:    …DO IT QUICKLY AND GET IT OVER WITH.

   Q:    YEAH.

   A:    BECAUSE WHO LIKES CHANGING A POOPIE DIAPER OR…

   Q:    YEAH, NO.




   STATEMENT OF ALI AL-AWADI             DP14-0088487        PAGE 75 OF 185

                                                                                   137
Case 1:15-cr-00072-TWP-DML
Case 1:15-cr-00072-TWP-DML Document
                           Document 57-4
                                    148-1 Filed
                                           Filed01/22/16
                                                 12/12/16 Page
                                                           Page76138 of 349PageID
                                                                  of 185    PageID269
                                                                                   #:
                                     3502



   A:    …UH, ANYTHING LIKE THAT AND UH, THE GIRL ON MY LIST, ANNA

         DOESN’T EVEN WEAR…, WEAR PULL UPS ANYMORE, SHE…

   Q:    YEAH, I GOTCHA. SO SHE’S POTTY TRAINED TOO?

   A:    …SHE’S POTTY TRAINED, YEAH.

   Q:    THAT’S PRETTY GOOD. UH, OKAY, SO…, UH, SO TELL ME…, GO BACK TO

         WHEN MS…., IS IT MS. TYRIA?

   A:    YEAH.

   Q:    CALLED YOU INTO THE ROOM OR SOMETHING OR WHA…, HOW’D THAT

         GO DOWN?

   A:    SHE TOLD CHIANA SHE WANTED TO TALK TO ME.

   Q:    OKAY.

   A:    AND UH, I WENT IN THERE AND THAT’S WHEN SHE TOLD ME, LISTEN TO

         WHAT         SAYING AND…

   Q:    THEN SHE TOLD YOU WHAT?

   A:    LISTEN TO WHAT       WAS SAYING.

   Q:    OKAY.

   A:    AND IT…

   Q:    AND WHAT DID       …, UH, WAS      THERE TOO?

   A:    …YEAH.

   Q:    WHERE…, WHERE WAS THIS CONVERSATION HAPPEN?

   A:    RIGHT ON THE SPOT WHERE I WAS, SHE WAS SITTING RIGHT THERE TOO.

   Q:    I MEAN LIKE WHAT ROOM WERE YOU GUYS IN?

   A:    KINDERGARTEN.



   STATEMENT OF ALI AL-AWADI             DP14-0088487        PAGE 76 OF 185

                                                                                   138
Case 1:15-cr-00072-TWP-DML
Case 1:15-cr-00072-TWP-DML Document
                           Document 57-4
                                    148-1 Filed
                                           Filed01/22/16
                                                 12/12/16 Page
                                                           Page77139 of 349PageID
                                                                  of 185    PageID270
                                                                                   #:
                                     3503



   Q:    SO YOU’RE IN THE KINDERGARTEN ROOM?

   A:    YEAH.

   Q:    IS THAT THE ONE WITH THE DOUBLE DOORS JUST OFF OF THE…, THE…

   A:    RIGHT ACROSS…

   Q:    …THE MAIN FRONT DESK?

   A:    …YEAH.

   Q:    OKAY. SO THEY WERE ON THE FLOOR YOU SAID?

   A:    YEAH, THEY WERE JUST LAYING DOWN ON THEIR MATS READY FOR NAP.

   Q:    UH, WHEN YOU WENT IN TO TALK TO THEM?

   A:    THEY WERE SITTING UP.

   Q:    OKAY, WERE THEY ON THEIR MATS STILL OR…?

   A:    THEY WERE ON THEIR MATS, UH, BUT MS. TYRIA WAS SITTING RIGHT

         BETWEEN ETHAN AND         .

   Q:    OKAY AND YOU…, UH, YOU SAID YOU WENT INTO THE ROOM WITH THEM?

   A:    I WENT INTO THE ROOM BECAUSE MS. TYRIA WANTED…

   Q:    SURE, SHE CALLED YOU INTO THERE.

   A:    …TO TALK TO ME AND THEN…

   Q;    SO WHEN YOU WENT IN DID YOU STAND UP, SIT DOWN, LAY DOWN, HOW

         WERE YOU…, HOW WERE YOU POSITIONED?

   A:    UH, I CAME DOWN AND THEN I LIKE BENT DOWN…

   Q:    UH HUH.

   A:    …SO I COULD…, UH, TALK TO MS. TYRIA…

   Q:    OKAY.



   STATEMENT OF ALI AL-AWADI             DP14-0088487        PAGE 77 OF 185

                                                                                   139
Case 1:15-cr-00072-TWP-DML
Case 1:15-cr-00072-TWP-DML Document
                           Document 57-4
                                    148-1 Filed
                                           Filed01/22/16
                                                 12/12/16 Page
                                                           Page78140 of 349PageID
                                                                  of 185    PageID271
                                                                                   #:
                                     3504



   A:    …AND HEAR WHAT          WAS SAYING.

   Q:    AND THEN WHAT DID         SAY AGAIN?

   A:    SHE SAID HER PRIVATE AREA WAS HURTING BECAUSE I TOUCHED HER.

   Q:    UH HUH.

   A:    AND MS. TYRIA THEN TOLD ME, SHE WAS LIKE…, SHE WAS FREAKING OUT

         WHEN SHE SAID THAT. SO I GEN…, OR OF COURSE TOLD HER I DIDN’T DO

         ANYTHING AND I…, I EXPLAINED WHAT MIGHT HAVE HAPPENED FROM

         THE…, HER WRAPPING AROUND MY WATCH…

   Q:    YEAH.

   A:    …WHERE SHE MIGHT’VE RUBBED UP ON IT AND HURT HERSELF.

   Q:    M-HMM.

   A:    AND THAT’S WHEN MS. TYRIA SAID SHE WAS GONNA…, UH, TELL THEM

         ABOUT IT AND THEN I SAID OKAY AND THAT I’LL TALK TO THEM

         WHENEVER…

   Q:    YEAH.

   A:    …THEY TALK TO ME.

   Q:    UH, DID…, DID YOU SAY ANYTHING TO         ONCE SHE SAID THAT ABOUT

         YOU?

   A:    I…, I TOLD HER…, I ASKED HER IF SHE WAS DREAMING…

   Q:    UH HUH.

   A:    …AND SHE SAID…

   Q:    WHAT’D SHE SAY?

   A:    …SHE SAID NO.



   STATEMENT OF ALI AL-AWADI             DP14-0088487        PAGE 78 OF 185

                                                                                   140
Case 1:15-cr-00072-TWP-DML
Case 1:15-cr-00072-TWP-DML Document
                           Document 57-4
                                    148-1 Filed
                                           Filed01/22/16
                                                 12/12/16 Page
                                                           Page79141 of 349PageID
                                                                  of 185    PageID272
                                                                                   #:
                                     3505



   Q:    OKAY.

   A:    AND I TOLD HER, UH…, AND EVEN MS. TYRIA SAID, UH, SHE TALKED TO

         HER ABOUT LYING BECAUSE KIDS AT 4 YEAR OLD…, YEARS OLD TEND TO

         HAVE A HUGE IMAGINATION THE WAY THEY START SAYING A WHOLE

         BUNCH OF THINGS…

   Q:    M-HMM.

   A:    …AND SHE JUST TOLD SHE’S LIKE, YOU NEED TO TELL THE TRUTH AND

         NO LYING AND I JUST SAID, YEAH, MS. TYRIA’S RIGHT, WE CAN’T TELL

         LIES AND UH, AFTER THAT I JUST LEFT THE ROOM AND CLOSED…

   Q:    WHAT DID SHE SAY IN RESPONSE TO ALL THAT; WHAT’D           SAY, DID

         SHE…, DID SHE…

   A:    SHE…, SHE DIDN’T REALLY SAY ANYTHING…

   Q:    …APOLOGIZE FOR LYING OR…?

   A:    …SHE DIDN’T SAY ANYTHING, SHE JUST STAYED QUIET.

   Q:    OKAY. UH…

   A:    LIKE SHE KIND OF PUT HER HEAD DOWN A LITTLE BIT.

   Q:    …AFTER WHEN?

   A:    AFTER WE TOLD HER THAT YOU SHOULDN’T LIE.

   Q:    OKAY, SHE JUST PUT HER HEAD DOWN?

   A:    M-HMM, SHE WAS JUST LIKE…, LIKE IN A…, KIND OF ODDLY UPSET.

         (UNSURE)

   Q:    WHERE…, WHERE WAS SHE AT THAT POINT?

   A:    UH, IN THE KINDERGARTEN ROOM ON HER MAT…



   STATEMENT OF ALI AL-AWADI             DP14-0088487        PAGE 79 OF 185

                                                                                   141
Case 1:15-cr-00072-TWP-DML
Case 1:15-cr-00072-TWP-DML Document
                           Document 57-4
                                    148-1 Filed
                                           Filed01/22/16
                                                 12/12/16 Page
                                                           Page80142 of 349PageID
                                                                  of 185    PageID273
                                                                                   #:
                                     3506



   Q:    OKAY.

   A:    …STILL IN THE SAME SPOT.

   Q:    DID SHE SIT ON YOUR LAP DURING THAT CONVERSATION AT ALL…

   A:    NO.

   Q:    …AT ANY POINT?

   A:    NO.

   Q:    SHE DIDN’T GET IN YOUR LAP?

   A:    NO.

   Q:    OKAY, UH…

   A:    I THINK I DID TELL HER TO COME HERE…

   Q:    M-HMM.

   A:    …AND I TALKED TO HER, I ASKED HER IF SHE WAS DREAMING, I DID…, UH,

         JUST BRING HER CLOSER SO SHE WOULDN’T TRIP, THERE WAS A PLATE IN

         THE ROOM ON THE FLOOR…

   Q:    M-HMM.

   A:    …I DIDN’T WANT HER TO SPILL OVER WHAT WAS ON THE FLOOR.

   Q:    OKAY, SO…

   A:    AND THAT WAS PRETTY MUCH IT.

   Q:    …SO HOW WAS SHE POSITIONED THEN ULTIMATELY?

   A:    JUST STANDING UP.

   Q:    OKAY. HOW WERE YOU IN RELATION TO HER THEN?

   A:    UH, JUST…

   Q:    LIKE… (INAUDIBLE-BOTH SPEAKING)



   STATEMENT OF ALI AL-AWADI             DP14-0088487        PAGE 80 OF 185

                                                                                   142
Case 1:15-cr-00072-TWP-DML
Case 1:15-cr-00072-TWP-DML Document
                           Document 57-4
                                    148-1 Filed
                                           Filed01/22/16
                                                 12/12/16 Page
                                                           Page81143 of 349PageID
                                                                  of 185    PageID274
                                                                                   #:
                                     3507



   A:    …FACE TO FACE KIND OF.

   Q:    OKAY. SO SHE WAS STANDING UP LIKE…, LIKE SO SHOW ME EXACTLY

         HOW YOU WERE ON THE RUG? (UNSURE)

   A:    I WAS KINDA LIKE THIS…

   Q:    OKAY.

   A:    …RIGHT THERE AND THEN I CAME AND TALKED TO HER LIKE…

   Q:    WHEN YOU SAID, COME HERE?

   A:    …YEAH, I TOLD HER TO COME HERE.

   Q:    AND THEN WHERE DID SHE…, WHERE DID SHE END UP STANDING?

   A:    RIGHT…, RIGHT THERE.

   Q:    OKAY. SO SHE’S JUST RIGHT IN FRONT OF YOU THERE?

   A:    YEAH.

   Q:    OKAY, ALRIGHT. UH, DO YOU REMEMBER YOUR EXACT WORDS TO HER

         WHEN SHE FIRST SAID THAT TO…, UH, TO YOU AND MS. TYRIA?

   A:    UH…

   Q:    JUST EXACTLY WHAT YOU SAID.

   A:    …I…, I DO BELIEVE I ASKED HER IS SHE WAS DREAMING IF IT HAPPENED.

   Q:    DID YOU SAY ANYTHING ELSE FIRST?

   A:    I HONESTLY DO NOT RECALL, BECAUSE AS SOON AS IT HAPPENED I KINDA

         WENT INTO A PANIC ATTACK ALMOST WHERE I WAS FREAKING OUT.

   Q:    YEAH.

   A:    AND HONESTLY IT WAS…, IT MADE ME REALLY NAUSEOUS…

   Q:    M-HMM.



   STATEMENT OF ALI AL-AWADI             DP14-0088487        PAGE 81 OF 185

                                                                                   143
Case 1:15-cr-00072-TWP-DML
Case 1:15-cr-00072-TWP-DML Document
                           Document 57-4
                                    148-1 Filed
                                           Filed01/22/16
                                                 12/12/16 Page
                                                           Page82144 of 349PageID
                                                                  of 185    PageID275
                                                                                   #:
                                     3508



   A:    …AS SOON AS SHE…, UH, SAID IT, BECAUSE…, UH, IT…, LIKE I SAID IT’S

         ONE OF MY BIGGEST FEARS FOR SOMETHING LIKE THAT TO HAPPEN AND

         UH, I MEAN I…, I REALLY FELT LIKE I WAS GONNA BE SICK TO MY

         STOMACH AFTER THAT.

   Q:    (SHUFFLING PAPERS) OKAY. UH, LET’S GO BACK TO…, UH, THE MOMENT

         YOU WALKED INTO THE ROOM TO RELIEVE MS. TYRIA.

   A:    M-HMM.

   Q:    START FROM THE BEGINNING AND TELL ME THAT FROM BEGINNING TO

         END ONCE MORE, THAT’S…, THAT’S IMPORTANT FOR ME TO HEAR

         EXACTLY WHAT HAPPENED THERE AND I MIGHT ASK YOU TO DO THAT

         AGAIN. I’M JUST TRYING TO UNDERSTAND EXACTLY.

   A:    OKAY. SO I WALKED IN…, UH, I…, I DON’T RECALL IF SHE WAS READING

         THE BOOK THAT DAY OR THE DAY BEFORE, UH…

   Q:    WHEN YOU SAY SHE, WHO ARE YOU TALKING ABOUT?

   A:    MS. TYRIA.

   Q:    OKAY.

   A:    UH, BECAUSE SHE WAS READING A BOOK TO THE CHILDREN AND I JUST

         CAN’T REMEMBER FO…, IF IT WAS YESTERDAY OR THE DAY BEFORE.

   Q:    OKAY.

   A:    AND I KINDA JUST STOOD THERE FOR A SECOND WHILE SHE WAS

         FINISHING READING AND SHE’S LIKE, UH, IF THIS WAS THE DAY BEFORE…,

         BECAUSE MS. EMILY WAS SICK FOR 2 DAYS.

   Q:    SURE.



   STATEMENT OF ALI AL-AWADI             DP14-0088487        PAGE 82 OF 185

                                                                                   144
Case 1:15-cr-00072-TWP-DML
Case 1:15-cr-00072-TWP-DML Document
                           Document 57-4
                                    148-1 Filed
                                           Filed01/22/16
                                                 12/12/16 Page
                                                           Page83145 of 349PageID
                                                                  of 185    PageID276
                                                                                   #:
                                     3509



   A:    AND…

   Q:    I’M MORE CONCERNED ABOUT YESTERDAY…

   A:    …I’M TRYING TO…

   Q:    …I MEAN THE DAY BEFORE KINDA MATTERS TO ME, BUT I’M THINKING

         SPECIFICALLY YESTERDAY, SO.

   A:    …UH, BUT I DON’T THINK SHE WAS READING THE BOOK YESTERDAY.

   Q:    WHAT WAS HAPPENING IN THE ROOM WHEN YOU WENT INSIDE?

   A:    SHE WAS GETTING THEM READY TO TAKE A NAP.

   Q:    OKAY. WERE THEY…, WHERE WERE THE KIDS, WERE THEY UP AND

         ABOUT OR WHAT WERE THEY DOING?

   A:    THEY WERE ON THEIR MATS.

   Q:    OKAY.

   A:    SHE TOLD ME…, UH, THAT THE LITTLE BOY GRANT WAS HAVING A LITTLE

         TROUBLE LISTENING THAT DAY.

   Q:    OH.

   A:    AND IT LOOKED LIKE HE WAS PRETTY MUCH FALLING ASLEEP, BE…, HE

         LOOKED TIRED. SO I TELL HER SHE CAN GO ON BREAK, SHE GOES ON

         BREAK AND I GO AROUND MAKE SURE…, OR ACTUALLY I GO AROUND IN

         THE ROOM LOOKING FOR THE CLIP BOARD, I COULDN’T FIND IT FOR A

         WHILE.

   Q:    M-HMM.




   STATEMENT OF ALI AL-AWADI             DP14-0088487        PAGE 83 OF 185

                                                                                   145
Case 1:15-cr-00072-TWP-DML
Case 1:15-cr-00072-TWP-DML Document
                           Document 57-4
                                    148-1 Filed
                                           Filed01/22/16
                                                 12/12/16 Page
                                                           Page84146 of 349PageID
                                                                  of 185    PageID277
                                                                                   #:
                                     3510



   A:    AND THEN I FOUND IT, IT WAS RIGHT BY THE FISH TANK, SO I GRABBED IT,

         SIGN IN, THEN I MAKE SURE ALL THE KIDS ARE THERE, NONE OF THEM

         ARE IN THE RESTROOM OR ANYTHING LIKE THAT.

   Q:    M-HMM.

   A:    AND…, AND THEN I GO AND SIT DOWN BETWEEN…

   Q:    (BURP) ‘CUSE ME.

   A:    …       AND ETHAN.

   Q:    M-HMM.

   A:    AND UH, THAT’S WHEN WE WERE JUST JOKING AROUND A LITTLE BIT AND

         THEN ME LIKE TAKING THEIR PILLOW.

   Q:    YEAH, WHOSE PILLOW DID YOU TAKE?

   A:    I TOOK ETHAN’S…

   Q:    YEAH.

   A:    …AND THEN THAT’S WHEN          STARTED GETTING JEALOUS AND SHE

         STARTED SCOOTING HER PILLOW CLOSER, SO THEN I PRETENDED I TOOK

         HERS AND WAS SLEEPING ON IT.

   Q:    DID YOU TAKE HER PILLOW THEN?

   A:    M-HMM.

   Q:    OKAY.

   A:    AND…

   Q:    AND YOU WERE LAYING DOWN IN BETWEEN THEM?

   A:    …YEAH, I WAS PRETENDING…, BECAUSE I TOLD ‘EM IT’S NAPTIME…

   Q:    OKAY.



   STATEMENT OF ALI AL-AWADI             DP14-0088487        PAGE 84 OF 185

                                                                                   146
Case 1:15-cr-00072-TWP-DML
Case 1:15-cr-00072-TWP-DML Document
                           Document 57-4
                                    148-1 Filed
                                           Filed01/22/16
                                                 12/12/16 Page
                                                           Page85147 of 349PageID
                                                                  of 185    PageID278
                                                                                   #:
                                     3511



   A:    …AND I WAS LIKE, IT’S TIME TO TAKE A NAP AND THEN…

   Q:    YEAH.

   A:    …I WOULD PRETEND TO SLEEP.

   Q:    DID YOU LIKE SNORE OR SOMETHING OR (INAUDIBLE-UNSURE)?

   A:    YEAH, I WAS FAKE SNORING.

   Q:    OKAY.

   A:    UH HUH AND…

   Q:    HOW DID THEY RESPOND?

   A:    …THEY WERE LIKE, WAKE UP, WAKE UP, UH, LIKE THEY DON’T WANT TO

         SEE THEIR TEACHER JUST FALL ASLEEP RIGHT THERE.

   Q:    YEAH, YEAH, YEAH.

   A:    SO, UH, ALL THAT ASIDE AFTER THAT SHE STARTED JUMPING IN MY LAP

         AND…

   Q:    YEAH, AT WHAT POINT DID SHE START JUMPING IN YOUR LAP?

   A:    …AFTER I STARTED GETTING SERIOUS OF THEM NEEDING TO TAKE A NAP,

         WHICH WAS AROUND 30 MINUTES, CAUSE I LET THEM PLAY AROUND A

         LITTLE BIT…

   Q:    YEAH.

   A:    …JUST SO THEY CAN GET TIRED, WORN OUT A LITTLE BIT.

   Q:    YEAH, HOW LONG DID YOU PLAY WITH THEM THEN?

   A:    OH, IT WAS JUST LIKE 30 MINUTES REALLY AFTER MS. TYRIA HAD LEFT

         AND THEN ME LOOKING FOR THE CLIP BOARD FOR ABOUT 5 MINUTES AND

         THEN I WOULD SAY MAYBE 25 MINUTES TOTAL OF JUST JOKING AROUND



   STATEMENT OF ALI AL-AWADI             DP14-0088487        PAGE 85 OF 185

                                                                                   147
Case 1:15-cr-00072-TWP-DML
Case 1:15-cr-00072-TWP-DML Document
                           Document 57-4
                                    148-1 Filed
                                           Filed01/22/16
                                                 12/12/16 Page
                                                           Page86148 of 349PageID
                                                                  of 185    PageID279
                                                                                   #:
                                     3512



         AND THEN…, UH, EVEN SOSHA WAS SITTING THERE JUST STARRING AT

         THE WHOLE THING HAPPENED, SHE WAS LAUGHING ABOUT IT. UH, AFTER

         THAT I JUST SAID, YOU KNOW IT’S TIME TO TAKE A NAP FOR REAL, I

         DON’T WANT MS. TYRIA COMING BACK AND GETTING MAD AT ME. SO

         THEY GO, OKAY, BUT THEN THAT’S WHEN            KEPT SITTING IN MY LAP

         AND THEN I TOLD HER SIT ON HER COT AND…, NOT COT, MAT BECAUSE

         THE OTHER CLASSROOMS HAVE COTS, KINDERGARTEN HAS MATS.

   Q:    M-HMM.

   A:    SO I TOLD HER SHE NEEDS TO GET ON HER MAT AND SHE WASN’T

         LISTENING. SO WHEN I GO TO PICK HER UP SHE JUST FLICKS HER LEG

         OVER AND LIKE WRAPS AROUND.

   Q:    HOW DID YOU PICK HER UP, WHAT…, HOW…, WHAT…, WHAT DID…?

   A:    UH, AS IF SHE WAS LIKE A LITTLE BABY KIND OF…

   Q:    UH HUH.

   A:    …LIKE JUST KINDA CARRYING HER LIKE THAT AND THEN SHE FLICKED

         HER LEG AROUND AND…, RIGHT AROUND…

   Q:    OKAY. SO LIKE HER KNEES WOULD’VE BEEN RIGHT HERE WITH HER FEET

         COMING DOWN OR…, LIKE THAT?

   A:    YEAH, PRETTY MUCH LIKE THAT AND THAT…

   Q:    AND SO HER THIGHS WENT DOWN THIS WAY AND THEN LIKE HER BUTT

         WOULD BE HERE AND HER BACK WAS UP HERE AND HER HEAD IN YOUR

         ARMS? (UNSURE)

   A:    YEAH, LIKE THAT…



   STATEMENT OF ALI AL-AWADI             DP14-0088487        PAGE 86 OF 185

                                                                                   148
Case 1:15-cr-00072-TWP-DML
Case 1:15-cr-00072-TWP-DML Document
                           Document 57-4
                                    148-1 Filed
                                           Filed01/22/16
                                                 12/12/16 Page
                                                           Page87149 of 349PageID
                                                                  of 185    PageID280
                                                                                   #:
                                     3513



   Q:    OKAY.

   A:    …AND THEN SHE JUST WRAPPED AROUND…

   Q:    SHE CRADLED YOU. (UNSURE)

   A:    … AND MY WATCH WASN’T ALL THE WAY ON MY WRIST…

   Q:    SO WHICH…

   A:    …IT HAD STARTED CLIMBING UP A LITTLE BIT.

   Q:    …SO IF HER FEET WERE RIGHT HERE WHICH LEG DID SHE FLICK AROUND?

   A:    HER RIGHT LEG.

   Q:    OKAY. SO SHE FLICKED HER RIGHT LEG AROUND YOUR WRIST?

   A:    SO KIND OF LIKE THIS…

   Q:    UH HUH.

   A:    …TO GET AROUND AND GET A GOOD GRIP ON IT.

   Q:    SO…, AND WHAT DID SHE DO WHEN SHE GOT A GOOD GRIP?

   A:    UH, I TOLD HER SHE NEEDS TO GET OFF AND SHE THOUGHT IT WAS…, WE

         WERE STILL PLAYING.

   Q:    M-HMM. (CLEARING THROAT)

   A:    SO I STARTED TRYING TO MANEUVER MY HAND AROUND LIKE GET IT

         OUT, BECAUSE I TOLD HER SHE NEEDS TO GET OFF, SHE NEEDS TO GET

         OFF…

   Q:    UH HUH.

   A:    …BUT SHE WASN’T LISTENING.

   Q:    OKAY.




   STATEMENT OF ALI AL-AWADI             DP14-0088487        PAGE 87 OF 185

                                                                                   149
Case 1:15-cr-00072-TWP-DML
Case 1:15-cr-00072-TWP-DML Document
                           Document 57-4
                                    148-1 Filed
                                           Filed01/22/16
                                                 12/12/16 Page
                                                           Page88150 of 349PageID
                                                                  of 185    PageID281
                                                                                   #:
                                     3514



   A:    AND I KNEW IT WAS KIND OF…, IT WAS PROBABLY UNCOMFORTABLE

         CAUSE SHE WAS REALLY RIGHT ON MY WATCH AND I TOLD HER SHE

         NEEDS TO GET OFF, BUT IT SEEMS LIKE SHE WAS ENJOYING IT THINKING

         IT WAS A GAME, LAUGHING AND ETHAN WAS SITTING THERE LAUGHING

         TOO AND SOSHA AND…

   Q:    YEAH.

   A:    …I BELIEVE THERE WAS FALLING ASLEEP AROUND THIS TIME.

   Q:    OKAY.

   A:    SO I TOLD HER…, I…, AFTER I FINALLY MANAGED TO GET IT OUT…

   Q:    YEAH, HOW DID YOU EN…, MANAGE TO GET IT OUT?

   A:    I PUT HER HEAD DOWN AND THEN JUST MOVED HER LEG A LITTLE BIT

         AND MOVED IT OUT.

   Q:    OKAY.

   A:    BUT THERE WAS A LITTLE BIT OF STRUGGLING AT FIRST BECAUSE I

         WASN’T TRYING TO STAY THERE AS LONG AS I COULD OBVIOUSLY.

   Q:    YEAH.

   A:    UH, AND THEN PUT HER DOWN AND THEN SHE…, UH, SHE KEPT TRYING TO

         DO IT AGAIN…

   Q:    M-HMM.

   A:    …AND AGAIN ON MY LAP AND I SAID, NO, YOU GOT TO TAKE A NAP AND

         THEN SHE KEPT SAYING, WELL I WANT TO SIT ON YOUR LAP AND I SAID,

         WELL NOT RIGHT NOW, YOU NEED TO TAKE A NAP, HMM, WHICH REALLY

         FOR ME IS PRETTY MUCH SAYING NO, JUST TAKE A NAP.



   STATEMENT OF ALI AL-AWADI             DP14-0088487        PAGE 88 OF 185

                                                                                   150
Case 1:15-cr-00072-TWP-DML
Case 1:15-cr-00072-TWP-DML Document
                           Document 57-4
                                    148-1 Filed
                                           Filed01/22/16
                                                 12/12/16 Page
                                                           Page89151 of 349PageID
                                                                  of 185    PageID282
                                                                                   #:
                                     3515



   Q:    M-HMM.

   A:    WHEN I SAY NOT RIGHT NOW IS PRETTY MUCH TELLING THE KIDS, UH, NO

         IN A NICER WAY…

   Q:    M-HMM.

   A:    …CAUSE I DON’T LIKE TELLING THE KIDS NO, NO, NO, NO.

   Q:    YEAH.

   A:    I’LL SAY NOT RIGHT NOW OR IT JUST…, IT KEEPS THEM PREOCCUPIED.

   Q:    M-HMM.

   A:    SO, UH, AFTER THAT SHE AGAIN TRIED TO GRAB MY ARM AND PUT IT

         DOWN THERE AND I JUST MOVED IT REALLY QUICK. SHE GRABBED MY

         RIGHT ARM THIS TIME…

   Q:    M-HMM.

   A:    …NOT MY LEFT AND I…, SHE WAS SMILING, SO I THINK SHE WAS STILL

         THINKING IT WAS A GAME WHERE SHE WAS JUST ENJOYING IT AND KIDS

         DO LIKE TO EXPERIMENT AT THAT AGE. WE’VE HAD…, UH, A COUPLE

         INSTANCES WHERE KI…, YOU’D CATCH THE KIDS WITH THEIR HANDS IN

         THEIR PANTS.

   Q:    M-HMM.

   A:    AND WE TELL ‘EM NO, ONLY BECAUSE IT’S NOT WHAT WE DO IN PUBLIC.

   Q:    YEAH.

   A:    AND I DON’T KNOW MAYBE I…

   Q:    YOU THINK SHE WAS EXPERIMENTING WITH YOU?

   A:    …IT…, IT MAY HAVE BEEN…



   STATEMENT OF ALI AL-AWADI             DP14-0088487        PAGE 89 OF 185

                                                                                   151
Case 1:15-cr-00072-TWP-DML
Case 1:15-cr-00072-TWP-DML Document
                           Document 57-4
                                    148-1 Filed
                                           Filed01/22/16
                                                 12/12/16 Page
                                                           Page90152 of 349PageID
                                                                  of 185    PageID283
                                                                                   #:
                                     3516



   Q:    YEAH.

   A:    …BECAUSE MAYBE SHE JUST LIKED HOW IT FELT AND THEN AFTER THAT

         IT…, I JUST STARTED WALKING AROUND MAKING SURE ALL THE KIDS

         WERE OKAY. SHE FELL ASLEEP, UH, I DIDN’T NOTICE ANYTHING

         UNORDINARY, I MEAN IT LOOKED LIKE SHE SHIFTED AROUND A COUPLE

         OF TIMES…

   Q:    YEAH.

   A:    …BUT I MEAN I JUST THOUGHT IT WAS NORMAL.

   Q:    M-HMM.

   A:    AND SHE DIDN’T EVEN SAY ANYTHING ABOUT ANYTHING HURTING OR

         ANYTHING.

   Q:    YEAH.

   A:    SO THEN WHEN MS. TYRIA COMES IN IT LIKE…, LIKE I SAID IT FREAKED

         ME OUT.

   Q:    YEAH. SO, UH, YOU SAID EARLIER SHE GRABBED YOUR ARM AND PUT IT

         BETWEEN YOUR LEGS, IS THAT THE SECOND TIME YOU’RE TALKING

         ABOUT WITH YOUR RIGHT ARM OR ARE YOU TALKING ABOUT…?

   A:    WITH MY RIGHT ARM SHE THOUGHT IT WAS STILL I GUESS A GAME…

   Q:    YEAH, SO SHE GRABBED YOUR…

   A:    …SO SHE KEPT TRYING TO PUT IT BETWEEN HER LEGS.

   Q:    WOULD SHE…, WHAT…, WHAT WOULD SHE DO WITH…, UH, YOUR ARM

         WHEN SHE GOT IT BETWEEN YOUR…, HER LEGS?




   STATEMENT OF ALI AL-AWADI             DP14-0088487        PAGE 90 OF 185

                                                                                   152
Case 1:15-cr-00072-TWP-DML
Case 1:15-cr-00072-TWP-DML Document
                           Document 57-4
                                    148-1 Filed
                                           Filed01/22/16
                                                 12/12/16 Page
                                                           Page91153 of 349PageID
                                                                  of 185    PageID284
                                                                                   #:
                                     3517



   A:    SHE WOULD GRAB IT AND THEN SHE WOULD TU…, LIKE OPEN UP HER

         LEGS…

   Q:    UH HUH.

   A:    …AND I SAID NO, IT’S TIME TO TAKE A NAP.

   Q:    OKAY.

   A:    AND THEN THAT’S WHEN I COVERED HER UP AND THEN I GOT UP AND LET

         HER TAKE A NAP AND THEN…

   Q:    I THOUGHT YOU’D SAID SHE GOT…, ACTUALLY GOT IT IN BETWEEN HER

         LEGS AGAIN THAT SECOND TIME AND WRAPPED HER LEG…

   A:    NO, SHE WAS TRYING TO, IT GOT REALLY CLOSE, BUT THEN I MOVED MY

         HAND OUT BEFORE.

   Q:    OKAY. SO…, SO THE FIRST TIME WHEN SHE HAD IT WRAPPED AROUND

         YOUR LEFT ARM…

   A:    THE LEFT ARM.

   Q:    …UH, IS THAT WHEN YOU THINK SHE WAS EXPERIMENTING KINDA

         SEXUALLY I GUESS?

   A:    I…, I…, I THINK SO.

   Q:    YEAH.

   A:    BUT…

   Q:    WHAT MADE YOU THINK MAYBE SHE WAS SEXUALLY…

   A:    …BECAUSE…

   Q:    …INTERESTED IN IT?




   STATEMENT OF ALI AL-AWADI             DP14-0088487        PAGE 91 OF 185

                                                                                   153
Case 1:15-cr-00072-TWP-DML
Case 1:15-cr-00072-TWP-DML Document
                           Document 57-4
                                    148-1 Filed
                                           Filed01/22/16
                                                 12/12/16 Page
                                                           Page92154 of 349PageID
                                                                  of 185    PageID285
                                                                                   #:
                                     3518



   A:    …UH, ONLY BECAUSE SHE WANTED IT RIGHT THERE AGAIN WITH MY

         OTHER ARM. SO…

   Q:    M-HMM, OH, LIKE SO WHEN SHE TRIED TO PUT YOUR OTHER ARM THERE?

   A:    …I DIDN’T THINK ANYTHING MUCH OF IT, OTHER THAN I THOUGHT SHE

         WAS JUST TRYING TO HOLD ON AT FIRST, BUT THEN MAYBE ONCE SHE

         GRABBED MY OTHER ARM AND…, OR TRIED TO PUT IT BETWEEN, THAT’S

         WHEN I THOUGHT MAYBE SHE WAS TRYING TO EXPERIMENT A LITTLE

         BIT.

   Q:    OKAY, ALRIGHT.

   A:    BUT LIKE I…

   Q:    DID SHE SAY ANYTHING LIKE, PUT YOUR ARM BACK HERE OR LET ME…,

         LET ME FEEL AGAIN OR SOMETHING LIKE THAT?

   A:    UH, SHE ACTUALLY DID, SHE SAID…

   Q:    WHAT’D SHE SAY?

   A:    …SHE SAID, GIVE ME YOUR ARM, GIVE ME YOUR ARM AND THEN…, UH,

         AT FIRST I THOUGHT SHE WAS NOT DOING ANYTHING MUCH WITH IT AND

         THEN SHE WAS LIKE…, THEN SHE GRABBED IT AND WENT CLOSER.

   Q:    SO WHEN SHE ASKED FOR YOUR ARM YOU…

   A:    I JUST STUCK IT OUT, BECAUSE I THOUGHT SHE WANTED TO SEE

         SOMETHING.

   Q:    …YOU STUCK IT OUT TO HER?

   A:    I JUST STUCK IT OUT…

   Q:    OKAY.



   STATEMENT OF ALI AL-AWADI             DP14-0088487        PAGE 92 OF 185

                                                                                   154
Case 1:15-cr-00072-TWP-DML
Case 1:15-cr-00072-TWP-DML Document
                           Document 57-4
                                    148-1 Filed
                                           Filed01/22/16
                                                 12/12/16 Page
                                                           Page93155 of 349PageID
                                                                  of 185    PageID286
                                                                                   #:
                                     3519



   A:    …AND THEN SHE ACTUALLY GRABS IT AND TRIES TO PUT IT DOWN.

   Q:    NOW WHEN YOU STUCK YOUR ARM OUT TO HER WERE YOU SITTING UP,

         STANDING, LAYING DOWN?

   A:    I WAS SITTING UP, I WASN’T LAYING DOWN ANYMORE BECAUSE…

   Q:    SO…

   A:    …LIKE I SAID WHEN…, WHEN I SAID…

   Q:    …ON YOUR BUTT OR…?

   A:    …IT WAS TIME FOR…, HUH?

   Q:    SITTING ON YOUR BOTTOM OR…?

   A:    YEAH, I WAS JUST SITTING A…, MY BACK AGAINST THE WALL.

   Q:    OKAY.

   A:    AND UH…

   Q:    WAS SHE ON YOUR RIGHT OR LEFT SIDE OR WHERE WAS SHE?

   A:    …SHE WAS ON MY RIGHT SIDE.

   Q:    OKAY.

   A:    AND THE…

   Q:    WAS SHE LAYING BESIDE YOU LIKE THIS WAY OR WAS SHE LAYING LIKE

         THAT WAY OR ANY WAY?

   A:    SHE WAS LAYING VERTICAL TO ME…

   Q:    OKAY.

   A:    …SO.

   Q:    WHERE WAS ETHAN?

   A:    ETHAN WAS ON MY OTHER SIDE.



   STATEMENT OF ALI AL-AWADI             DP14-0088487        PAGE 93 OF 185

                                                                                   155
Case 1:15-cr-00072-TWP-DML
Case 1:15-cr-00072-TWP-DML Document
                           Document 57-4
                                    148-1 Filed
                                           Filed01/22/16
                                                 12/12/16 Page
                                                           Page94156 of 349PageID
                                                                  of 185    PageID287
                                                                                   #:
                                     3520



   Q:    OKAY. HOW MUCH SPACE WAS BETWEEN THEIR 2 COTS?

   A:    UH, MY BODY’S LENGTH PRETTY MUCH, TO THE POINT WHERE THEY

         WERE HOLDING HANDS BEHIND MY BACK.

   Q:    AT ONE POINT?

   A:    AT ONE POINT.

   Q:    OKAY.

   A:    SO IT WASN’T REALLY THAT MUCH OF A DISTANCE, CAUSE THEY…, LIKE I

         SAID THEY WERE STILL PLAYING THINKING IT WAS A JOKE.

   Q:    HMM, OKAY.

   A:    AND I…, UH, I DIDN’T THINK IT WOULD GET TO THIS POINT WHERE…

   Q:    YEAH.

   A:    …I’D GET ACCUSED OF ANYTHING LIKE THAT.

   Q:    SURE.

   A:    YEAH.

   Q:    WHEN YOU PICKED HER UP, UH, HOW WERE YOU POSITIONED AT THAT

         POINT, WERE YOU STILL SITTING DOWN WITH YOUR BACK TO THE WALL?

   A:    NO, I WAS ACTUALLY…, YEAH, SITTING BECAUSE THAT’S WHEN SHE

         CAME AND SAT ON MY LAP.

   Q:    SO SHE SAT IN YOUR LAP.

   A:    AND I WAS…

   Q:    WHERE DID SHE SIT?

   A:    …SITTING WITH MY LEGS FOLDED.

   Q:    OKAY. SO YOU’RE LIKE…, I GUESS WE’D CALL IT AGAINST…



   STATEMENT OF ALI AL-AWADI             DP14-0088487        PAGE 94 OF 185

                                                                                   156
Case 1:15-cr-00072-TWP-DML
Case 1:15-cr-00072-TWP-DML Document
                           Document 57-4
                                    148-1 Filed
                                           Filed01/22/16
                                                 12/12/16 Page
                                                           Page95157 of 349PageID
                                                                  of 185    PageID288
                                                                                   #:
                                     3521



   A:    I…, I WAS…, I WAS SITTING…

   Q:    …UH, ACROSS THE…

   A:    …UH, WE WOULD CALL IT CRISS-CROSS APPLESAUCE.

   Q:    …CRISS-CROSS APPLESAUCE, UH…

   A:    SO I WAS JUST SITTING NORMAL LIKE THIS…

   Q:    YEAH.

   A:    …AND THAT’S WHEN SHE CAME AND JUST SAT DOWN.

   Q:    OKAY AND WHERE’D SHE SIT?

   A:    UH, PRETTY MUCH RIGHT HERE.

   Q:    OKAY, WAS LIKE HER BUTT RIGHT THERE OR…

   A:    YEAH, LIKE HER BUTT…

   Q:    …HER BACK…

   A:    …LIKE RIGHT HERE.

   Q:    …WHERE WERE HER LEGS?

   A:    HER LEGS WERE RIGHT OUT THERE…

   Q:    OKAY.

   A:    …CAUSE SHE WAS STILL FACING ETHAN.

   Q:    DID SHE SQUIRM AROUND ON YOUR LAP OR ANYTHING LIKE THAT OR…?

   A:    UH, A LITTLE BIT OF SQUIRMING ONLY BECAUSE I TOLD HER, GET ON HER

         MAT AND SHE WASN’T LISTENING. SO THEN I GO AND PICK HER UP LIKE

         THIS…

   Q:    OKAY.




   STATEMENT OF ALI AL-AWADI             DP14-0088487        PAGE 95 OF 185

                                                                                   157
Case 1:15-cr-00072-TWP-DML
Case 1:15-cr-00072-TWP-DML Document
                           Document 57-4
                                    148-1 Filed
                                           Filed01/22/16
                                                 12/12/16 Page
                                                           Page96158 of 349PageID
                                                                  of 185    PageID289
                                                                                   #:
                                     3522



   A:    …AND THAT’S WHEN SHE FLICKED HER LEG AND GOT A REALLY GOOD

         GRIP AND…

   Q:    OKAY AND THAT’S WHEN YOU WERE SITTING DOWN STILL?

   A:    WHILE I WAS SITTING DOWN.

   Q:    OKAY.

   A:    SO THEN I GO TO PUT HER DOWN AND THEN I WAS TRYING TO MANEUVER

         MY ARM OUT…

   Q:    YEAH.

   A:    …SO I PUT HER DOWN AND THEN JUST MOVED HER LEG A LITTLE BIT

         AND…

   Q:    NOW HOW LONG WAS…, WAS YOUR…, UH, YOUR RIGH…, YOUR LEFT

         WRIST IN…, IN BETWEEN HER LEGS?

   A:    MAYBE 10 SECONDS, ONLY BECAUSE I DIDN’T WANT TO DO ANY

         FORCEFUL THINGS, I WANTED HER TO SEE THAT I’M NOT PLAYING, JUST

         MOVE IT OUT OF THERE REALLY QUICK.

   Q:    ABOUT 10 SECONDS, OKAY.

   A:    IT WASN’T THAT LONG.

   Q:    DID SHE SAY ANYTHING WHILE…, UH, HER LEGS WERE CLAMPED AROUND

         YOUR WRIST?

   A:    SH…, SHE WAS LAUGHING AND SO WAS ETHAN AND SOSHA…

   Q:    M-HMM.

   A:    …THEY THOUGHT IT WAS A GAME PRETTY MUCH.




   STATEMENT OF ALI AL-AWADI             DP14-0088487        PAGE 96 OF 185

                                                                                   158
Case 1:15-cr-00072-TWP-DML
Case 1:15-cr-00072-TWP-DML Document
                           Document 57-4
                                    148-1 Filed
                                           Filed01/22/16
                                                 12/12/16 Page
                                                           Page97159 of 349PageID
                                                                  of 185    PageID290
                                                                                   #:
                                     3523



   Q:    OKAY, ALRIGHT. UH, AND…, AND WHAT TIME IS NAPTIME FOR THEM OR

         REST TIME?

   A:    UH, IT…, IT DIFFERS REALLY, UH, MS. TYRIA PUTS THEM DOWN EARLIER

         THAN MS…., UH, EMILY.

   Q:    M-HMM.

   A:    WELL MS. EMILY TOLD ME SHE’S BEEN TRYING TO GET THEM IN A

         ROUTINE FOR TAKING A NAP OR STARTING NAPTIME OR REST TIME

         BEFORE 1:00…

   Q:    OKAY.

   A:    …THAT’S WHAT SHE SAYS. SO MS. TYRIA ACTUALLY HAD ‘EM RIGHT

         AFTER LUNCH, CAUSE THAT’S WHAT PRE-K DOES IS RIGHT AFTER LUNCH

         THEY USE THE RESTROOM AND THEY GO LAY DOWN.

   Q:    M-HMM.

   A:    UH, PRE SCHOOL…, OUR LITTLE CLASSROOM DOES THE SAME THING.

   Q:    OKAY.

   A:    SO IT’S NOTHING UNUSUAL AND SOMETIMES THEY DON’T EVEN HAVE

         NAPTIME.

   Q:    YEAH.

   A:    BUT WITH THE NEWER KIDS I THINK SHE’S ALWAYS HAD A NAPTIME WITH

         THEM.

   Q:    YEAH AND YOU SAID THAT…, UH, YOU SAID THAT…, UH, YOU REALLY…,

         EARLIER YOU SAID YOU REALLY WEREN’T SUPPOSED TO BE PLAYING

         WITH THEM BECAUSE THEY WERE SUPPOSED TO BE RESTING.



   STATEMENT OF ALI AL-AWADI             DP14-0088487        PAGE 97 OF 185

                                                                                   159
Case 1:15-cr-00072-TWP-DML
Case 1:15-cr-00072-TWP-DML Document
                           Document 57-4
                                    148-1 Filed
                                           Filed01/22/16
                                                 12/12/16 Page
                                                           Page98160 of 349PageID
                                                                  of 185    PageID291
                                                                                   #:
                                     3524



   A:    THEY SUPPOSED TO TAKE A NAP…

   Q:    YEAH.

   A:    …BUT ME BEING THE MORE PLAYFUL KIND THEY REALLY OPEN UP AND

         LIKE TO PLAY.

   Q:    YEAH.

   A:    AND UH, THIS WAS THE SECOND DAY IN A ROW THAT I GOT TO…, UH, LET

         MS. TYRIA GO ON BREAK, SO I ACTUALLY…, UH, I ENJOY BEING WITH

         THEM BECAUSE THEY’RE…, THEY WERE MY OLD KIDS WHEN I WAS A

         FLOATER AND I USED TO SEE THEM EVERYDAY.

   Q:    OH.

   A:    NOW I DON’T SEE THEM AND THEN THEY ALWAYS LIKED TO PLAY

         AROUND.

   Q:    YEAH.

   A:    SO.

   Q:    IS THAT WHEN YOU AND         STARTED YOUR GAME ABOUT BEING A

         BABY?

   A:    THAT STARTED REALLY SOON WHEN I FOUND OUT SHE HAD A LITTLE

         SISTER.

   Q:    M-HMM.

   A:    I SAID, YOU’RE A LITTLE BABY JUST LIKE YOUR SISTER, SHE’S LIKE, NO,

         YOU’RE THE LITTLE BABY.

   Q:    YEAH.

   A:    SO IT WAS REALLY EARLY ON.



   STATEMENT OF ALI AL-AWADI             DP14-0088487        PAGE 98 OF 185

                                                                                   160
Case 1:15-cr-00072-TWP-DML
Case 1:15-cr-00072-TWP-DML Document
                           Document 57-4
                                    148-1 Filed
                                           Filed01/22/16
                                                 12/12/16 Page
                                                           Page99161 of 349PageID
                                                                  of 185    PageID292
                                                                                   #:
                                     3525



   Q:    DO YOU THINK YOU TWO KINDA HAD A SPECIAL CONNECTION COMPARED

         TO SOME OF THE OTHER KIDS?

   A:    I WOULD NOT SAY SO.

   Q:    I…, I MEAN I…, I JUST MEAN CAUSE…, I DON’T KNOW…

   A:    BECAUSE…

   Q:    …I…, I’VE…, I’VE GOT YOU KNOW 4 KIDS MYSELF AND UH, EVEN WITH MY

         OWN KIDS SOMETIMES YOU KINDA HAVE A CONNECTION WITH A

         CERTAIN KID OR…

   A:    …UH, TO BE HONEST WITH YOU I TRY NOT TO PICK ANY FAVORITES…

   Q:    WELL I KNOW.

   A:    …WITH THE KIDS AND UH…

   Q:    ME NEITHER, I’M A DAD, THEY’RE ALL 4 OF MY KIDS, I LOVE ‘EM ALL,

         RIGHT, BUT YOU KNOW SOMETIMES…

   A:    (COUGHING) (CHUCKLE) COMPLETELY UNDERSTANDABLE.

   Q:    …SOMETIMES ONE OF THE KIDS SEEMS TO…, TO GET ALONG WITH YOU

         OR JUST CLICK A LITTLE BIT DIFFERENT…

   A:    AND…

   Q:    …AND I’M JUST…

   A:    …       ACTUALLY…, UH, SHE’S A GOOD KID…

   Q:    YEAH.

   A:    …UH…

   Q:    DESCRIBE HER TO ME THEN.

   A:    …SHE’S REALLY PLAYFUL…



   STATEMENT OF ALI AL-AWADI             DP14-0088487        PAGE 99 OF 185

                                                                                   161
 Case1:15-cr-00072-TWP-DML
Case  1:15-cr-00072-TWP-DML Document
                             Document57-4
                                      148-1Filed
                                              Filed 12/12/16Page
                                                  01/22/16    Page 162
                                                                 100 of of
                                                                        185349PageID
                                                                               PageID293
                                                                                      #:
                                       3526



    Q:    YEAH.

    A:    …UH, DOESN’T REALLY LIKE TO GET OUT OF PLAY MOOD…

    Q:    YEAH.

    A:    …WANTS TO STAY IN THAT, BUT SHE WILL LISTEN FOR THE MOST PART;

          SOMETIMES SHE’LL BE A LITTLE REBELLIOUS, BUT…, UH, LIKE I SAID I DO

          THAT WITH A LOT OF THE OTHER KIDS WHERE I PRETEND I’M CHASING

          THEM OUT THE ROOM BECAUSE I’M GONNA GET THEM…

    Q:    YEAH.

    A:    …BECAUSE SOMETIMES THEY DON’T WANT TO LEAVE AND THEIR

          PARENTS I KNOW ARE SAYING COME ON, WE GOT TO GO, WE GOT TO GO,

          SO ALL THE KIDS PRETTY MUCH MADE A GAME ABOUT THAT.

    Q:    YEAH.

    A:    IS WHERE, I’M GONNA GET YOU, I’M GONNA GET YOU.

    Q:    HMM.

    A:    SO THEY ALL WANT ME TO CHASE THEM OUT OF THE ROOM, SO YOU’LL

          HAVE A LITTLE GIRL, ISABELLA, UH, SHE MAY NOT BE THERE ANYMORE

          CAUSE SHE’S GOING TO KINDERGARTEN AT A NEW SCHOOL. (UNSURE OF

          NAME AND SPELLING)

    Q:    YEAH.

    A:    UH, SHE WOULD NOT LEAVE THE CENTER AT ALL UNLESS I CHASED HER

          DOWN AND WAS GONNA GET HER…

    Q:    OKAY.

    A:    …PER SAY.



    STATEMENT OF ALI AL-AWADI             DP14-0088487        PAGE 100 OF 185

                                                                                     162
 Case1:15-cr-00072-TWP-DML
Case  1:15-cr-00072-TWP-DML Document
                             Document57-4
                                      148-1Filed
                                              Filed 12/12/16Page
                                                  01/22/16    Page 163
                                                                 101 of of
                                                                        185349PageID
                                                                               PageID294
                                                                                      #:
                                       3527



    Q:    I GOTCHA.

    A:    AND IT…, I…, I JUST WANT…, I FEEL LIKE I MEAN I CONNECTED WITH ALL

          THE KIDS…

    Q:    YEAH.

    A:    …NOT JUST…

    Q:    OH YEAH, SO LIKE…, SO LIKE…

    A:    …I DON’T…, I DON’T…, YEAH.

    Q:    …OH NO AND I’LL SAY THE SAME THING ABOUT MY KIDS, I JUST MEAN

          SOMETIMES A KID JUST…, YOU SEEM TO GET ALONG WITH ‘EM BETTER

          THAT’S ALL.

    A:    UH, THERE’S A LITTLE GIRL…

    Q:    THAT JUST KINDA SOUNDS LIKE MAYBE WHAT…, WHAT IS…

    A:    …I MEAN THERE’S A LITTLE GIRL WHO’S REALLY CLINGY, WHICH IS

          CHLOE… (UNSURE OF NAME AND SPELLING)

    Q:    YEAH.

    A:    …WHOSE MORE THAN           WHERE SHE’LL COME UP TO ME AND HOLD ON

          TO MY LEG AND…

    Q:    JUST ALL THE TIME, MAN.

    A:    …LIKE I SAID JUST SIT ON MY LEG AND NOT LET ME MOVE.

    Q:    YEAH.

    A:    SO THAT’S WHY I WAS SO SURPRISED WHEN           EVEN SAID ANYTHING

          LIKE THAT, BECAUSE IT’S…, IT’S NOTHING LIKE HER, IT’S…

    Q:    YEAH, YEAH.



    STATEMENT OF ALI AL-AWADI             DP14-0088487        PAGE 101 OF 185

                                                                                     163
 Case1:15-cr-00072-TWP-DML
Case  1:15-cr-00072-TWP-DML Document
                             Document57-4
                                      148-1Filed
                                              Filed 12/12/16Page
                                                  01/22/16    Page 164
                                                                 102 of of
                                                                        185349PageID
                                                                               PageID295
                                                                                      #:
                                       3528



    A:    …UH, AND I JUST WANTED TO BELIEVE SHE DREAMT IT MAYBE AND SHE

          WAS MAYBE THINKING SOMETHING WAS HAPPENING WHEN NOTHING

          WAS HAPPENING AT ALL.

    Q:    BUT DID SHE…, WHEN YOU ASKED HER THAT SHE DIDN’T CHANGE HER

          STORY OR ANYTHING DID SHE?

    A:    SHE DIDN’T, BUT THEN AGAIN 4 YEAR OLDS DON’T LIKE TO CHANGE

          THEIR STORY ALL THE TIME.

    Q:    YEAH.

    A:    AND…

    Q:    HAS SHE EVER SAID ANYTHING LIKE THAT ABOUT ANYONE ELSE SINCE

          YOU’VE KNOWN        ?

    A:    UH, I DON’T THINK SO.

    Q:    OKAY. HAVE YOU EVER BEEN ACCUSED OF ANYTHING WITH ANY OF THE

          OTHER KIDS AND STUFF LIKE THAT?

    A:    NOT AT ALL, NEVER AND LIKE I SAID I…

    Q:    HAVE YOU LIKE JOKED ABOUT IT…, WITH EVEN LIKE WITH YOUR FRIENDS

          AFTER, YOU KNOW NOT AT WORK…

    A:    OH…

    Q:    …BUT LIKE EVEN LIKE JOKED ABOUT IT OR JUST…?

    A:    …UH, I MEAN THERE WAS THIS ONE TIME WE JOKED ABOUT ONE OF THE

          GIRLS WOULD JUST…, WENT TO THE RESTROOM AND CAME OUT FULLY

          UNCLOTHED AND WE JUST LAUGHED, BECAUSE IT WAS COMPLETELY

          LIKE RANDOM, WE DIDN’T EXPECT IT.



    STATEMENT OF ALI AL-AWADI             DP14-0088487        PAGE 102 OF 185

                                                                                     164
 Case1:15-cr-00072-TWP-DML
Case  1:15-cr-00072-TWP-DML Document
                             Document57-4
                                      148-1Filed
                                              Filed 12/12/16Page
                                                  01/22/16    Page 165
                                                                 103 of of
                                                                        185349PageID
                                                                               PageID296
                                                                                      #:
                                       3529



    Q:    M-HMM.

    A:    AND I MEAN SHE JUST WENT POTTY…, AND SHE WAS NEW, SO WE JUST

          THOUGHT MAYBE THAT’S WHAT SHE DID AT HOME.

    Q:    YEAH.

    A:    BUT OTHER THAN THAT NO, I DON’T…

    Q:    WHO…, WHO’D YOU JOKE ABOUT IT WITH?

    A:    I THINK IT WAS A TEACHER THAT NO LONGER IS THERE, I THINK HER…, IT

          WAS MS. JOYA. (UNSURE OF NAME AND SPELLING)

    Q:    OKAY.

    A:    BUT IT WAS…

    Q:    I’M JUST THINKING THAT EVEN LIKE YOUR FRIENDS OR SOMETHING LIKE

          YOU KNOW…

    A:    OH NO, I…

    Q:    …AT YOUR AGE PEOPLE LIKE…, THEY’LL TEASE YOU ABOUT IT OR JOKE

          ABOUT IT WITH YOU.

    A:    …THEY…, WELL MY COUSINS THINK, OH, IT’S AMAZING, I’M A TEACHER, I

          TEACH LITTLE KIDS, LITTLE DO THEY REALIZE IT’S A DAYCARE JOB, NOT

          REALLY…

    Q:    YEAH.

    A:    …SO MUCH AS A TEACHER.

    Q:    YEAH.




    STATEMENT OF ALI AL-AWADI             DP14-0088487        PAGE 103 OF 185

                                                                                     165
 Case1:15-cr-00072-TWP-DML
Case  1:15-cr-00072-TWP-DML Document
                             Document57-4
                                      148-1Filed
                                              Filed 12/12/16Page
                                                  01/22/16    Page 166
                                                                 104 of of
                                                                        185349PageID
                                                                               PageID297
                                                                                      #:
                                       3530



    A:    BUT IT IS TEACHING, I DO THINK OF IT THAT WAY, BECAUSE IF WE DON’T

          SIT DOWN AND TELL THE KIDS THIS, THIS…, THAT YOUR COLORS, YOUR

          NUMBERS, YOUR ALPHABET, THEN WE’RE NOT BEING GOOD TEACHERS.

    Q:    YEAH, I GOTCHA.

    A:    AND HONESTLY I DON’T REALLY JOKE AROUND OR ANYTHING LIKE THAT

          ABOUT IT, UH, IT’S…, I MEAN I’LL TALK TO A CO-WORKER ABOUT MAYBE

          SOMETHING FUNNY THAT HAPPENED, BUT NOTHING SEXUAL AT ALL…

    Q:    NOTHING ABOUT I MEAN LIKE ABOUT SEXUAL WITH THE KIDS, THAT’S

          WHAT I’M TALKING ABOUT?

    A:    …AT ALL, NOTHING, NO.

    Q:    OKAY. HAVE YOU EV…, AND…, AND THIS…, AND JUST BE HONEST WITH

          ME, BECAUSE THIS IS NOT A CRIME…

    A:    UH, M-HMM.

    Q:    …A THOUGHT IS NOT A CRIME AND…, AND I UNDERSTAND WHY YOU MAY

          BE HESITANT TO TALK ABOUT IT, BUT AT THE SAME TIME I’M JUST

          TRYING TO BE OPEN AND HONEST AND IT’S IMPORTANT…

    A:    I COMPLETELY UNDERSTAND.

    Q:    …THAT I KNOW THAT YOU’RE HONEST WITH ME. BUT HAVE YOU EVER…,

          HAVE YOU EVER EVEN JUST THOUGHT ABOUT IT, I MEAN NOT EVEN LIKE

          REALLY WANTING TO DO ANYTHING SEXUAL WITH THE KIDS, BUT HAVE

          YOU EVER EVEN JUST THOUGHT ABOUT IT OR ANYTHING?




    STATEMENT OF ALI AL-AWADI             DP14-0088487        PAGE 104 OF 185

                                                                                     166
 Case1:15-cr-00072-TWP-DML
Case  1:15-cr-00072-TWP-DML Document
                             Document57-4
                                      148-1Filed
                                              Filed 12/12/16Page
                                                  01/22/16    Page 167
                                                                 105 of of
                                                                        185349PageID
                                                                               PageID298
                                                                                      #:
                                       3531



    A:    I MEAN ME AND A TEACHER…, UH, IT WAS MS. CATHIE; WE TALKED

          ABOUT WHERE WE DON’T UNDERSTAND WHERE ANYONE WOULD GET

          ANY PLEASURE OUT OF IT.

    Q:    M-HMM.

    A:    AND I HAVEN’T THOUGHT ABOUT IT IN A SEXUAL WAY LIKE THAT, I JUST

          THOUGHT ABOUT HOW COULD ANYONE REALLY GET ANY PLEASURE OUT

          OF IT, BECAUSE THEY’RE JUST LITTLE KIDS, THEY DON’T UNDERSTAND

          ANYTHING. IT’S NOT LIKE THEY’RE GROWN…, UH, ADULTS WHO KNOW

          WHAT SEXUAL FEELINGS FEEL LIKE. THEY JUST…

    Q:    SURE.

    A:    …THINK OH, IT MIGHT FEEL GOOD OR WHATEVER, BUT ME…, EVEN ME

          AND MS. CATHIE WERE LIKE WE JUST DON’T GET WHY…

    Q:    YEAH, GOTCHA.

    A:    …ANYONE WOULD DO THAT.

    Q:    OKAY.

    A:    AND I MEAN MS. CATHIE, SHE…, IF SHE EVEN HEARD ABOUT THIS, RIGHT

          NOW SHE’D PROBABLY DENY IT COMPLETELY CAUSE SHE KNOWS HOW I

          AM WITH THE KIDS, SO.

    Q:    WELL WE…, WE INTERVIEWED HER ALREADY TODAY.

    A:    OKAY.

    Q:    YEAH, ABSOLUTELY, ABSOLUTELY. UH, OKAY, UH, TELL ME THIS, UH,

          THE…, UH, UH, BECAUSE HERE’S THE THING I…, I GUESS…, MS. TYRIA

          SAID THAT SHE WAS…, UH, DURING THE CONVERSATION WHEN SHE



    STATEMENT OF ALI AL-AWADI             DP14-0088487        PAGE 105 OF 185

                                                                                     167
 Case1:15-cr-00072-TWP-DML
Case  1:15-cr-00072-TWP-DML Document
                             Document57-4
                                      148-1Filed
                                              Filed 12/12/16Page
                                                  01/22/16    Page 168
                                                                 106 of of
                                                                        185349PageID
                                                                               PageID299
                                                                                      #:
                                       3532



          CALLED YOU IN AND YOU AND          AND…, AND MS. TYRIA WERE ALL

          TALKING, SHE SAID THAT…, UH,         WAS ACTUALLY IN YOUR LAP

          DURING THAT CONVERSATION AT ONE POINT; NOT THE WHOLE TIME, BUT

          JUST AT ONE POINT SHE WAS LIKE SITTING ON YOUR LAP, DO YOU

          REMEMBER THAT?

    A:    I MEAN LIKE I SAID I WAS HAVING LIKE A PANIC ATTACK, SO I DON’T

          REMEMBER IT PRETTY MUCH, BUT I DID CALL FOR HER SHE MAY HAVE

          ACTUALLY CAME AND I ACTUALLY DID TALK TO HER ABOUT IT, BUT I

          DIDN’T…, LIKE I SAID DO ANYTHING LIKE ACTUALLY…

    Q:    YEAH. DID YOU TELL HER THAT IT DIDN’T HAPPEN OR DID YOU SAY

          SOMETHING LIKE…

    A:    I…, I…

    Q:    …NO OR ANYTHING LIKE THAT?

    A:    …I DID TELL HER I DIDN’T DO THAT AND WE SHOULDN’T LIE ABOUT IT.

    Q:    YEAH. DID SHE SAY…, DID YOU SAY ANYTHING ELSE TO HER?

    A:    I DON’T…

    Q:    MS. TYRIA SAID YOU SAID SOMETHING LIKE NO THANK YOU OR

          SOMETHING LIKE THAT, DID YOU REALLY SAY THAT?

    A:    OH, NO THANK YOU ABOUT LYING, BECAUSE WE…, INSTEAD OF SAYING

          NO ALL THE TIME WE DO SAY NO THANK YOU.

    Q:    OKAY AND DID YOU SAY NO THANK YOU TO HER?

    A:    I…, I MAY HAVE.

    Q:    OKAY.



    STATEMENT OF ALI AL-AWADI             DP14-0088487        PAGE 106 OF 185

                                                                                     168
 Case1:15-cr-00072-TWP-DML
Case  1:15-cr-00072-TWP-DML Document
                             Document57-4
                                      148-1Filed
                                              Filed 12/12/16Page
                                                  01/22/16    Page 169
                                                                 107 of of
                                                                        185349PageID
                                                                               PageID300
                                                                                      #:
                                       3533



    A:    I…

    Q:    AND…, AND WHAT DID YOU…, WHAT WOULD YOU…, UH, WHAT DID YOU

          SAY THAT TO HER FOR, DO YOU REMEMBER?

    A:    PROBABLY FOR NOT LYING.

    Q:    OKAY, ALRIGHT.

    A:    BECAUSE I DO TELL ALL THE KIDS WHENEVER THEY LIE, NO THANK YOU.

    Q:    OKAY.

    A:    BECAUSE…, UH, WE…, WE SAY NO THANK YOU ABOUT EVERYTHING. IF

          THEY PICK UP A TOY AND THEN THEY’RE NOT SUPPOSED TO PLAY WE’LL

          SAY, NO THANK YOU. UH, FOR EXAMPLE LIKE NOAH OR…, I’M JUST

          CALLING OUT A RANDOM NAME, I’LL SAY NO THANK YOU, WE DON’T DO

          THAT, IT’S TIME TO READ A BOOK INSTEAD…

    Q:    OKAY.

    A:    …SOMETHING LIKE THAT.

    Q:    YEAH.

    A:    SO I MAY HAVE…, LIKE I TOLD YOU I WAS COMPLETELY FREAKING OUT

          AT THE TIME.

    Q:    YEAH.

    A:    AND UH, I’M TRYING TO GIVE YOU AS MUCH INFORMATION AS I

          REMEMBER.

    Q:    I GOTCHA, I GOTCHA, UH, BUT EVEN AFTER YOU SAID NO THANK YOU SHE

          DIDN’T SAY, OH, I’M SORRY, I’M…, I’M SORRY FOR LYING OR ANYTHING

          LIKE THAT?



    STATEMENT OF ALI AL-AWADI             DP14-0088487        PAGE 107 OF 185

                                                                                     169
 Case1:15-cr-00072-TWP-DML
Case  1:15-cr-00072-TWP-DML Document
                             Document57-4
                                      148-1Filed
                                              Filed 12/12/16Page
                                                  01/22/16    Page 170
                                                                 108 of of
                                                                        185349PageID
                                                                               PageID301
                                                                                      #:
                                       3534



    A:    I HONESTLY DO NOT RECALL, I REALLY DON’T.

    Q:    BUT YOU DON’T REMEMBER HER SAYING ANYTHING LIKE THAT THEN DO

          YOU?

    A:    I…, I DON’T.

    Q:    OKAY, ALRIGHT. UH, UM, (SHUFFLING PAPERS) SO, UH, IF WE COULD I’D

          JUST LIKE TO TALK REAL BRIEFLY HERE AND MAYBE A LITTLE BIT MORE

          THAN BRIEFLY, BUT I’D JUST LIKE TO TALK AGAIN ABOUT YOUR…, UH,

          ABOUT YOUR STATEMENT THAT YOU WROTE OUT, UH…

    A:    SURE.

    Q:    …JUST ASK A FEW QUESTIONS. UH, SEE THE KIDS WERE LAUGHING A

          LITTLE BIT YOU SAID, IS THAT RIGHT?

    A:    YEAH, THEY THOUGHT IT WAS PLAYFUL.

    Q:    OH, EXCUSE ME. WELL YOU DIDN’T MENTION IN HERE ABOUT THE

          SECOND TIME SHE TRIED TO PUT YOUR…, YOUR ARM IN BETWEEN HER

          LEGS.

    A:    OH MY, I…

    Q:    IS THERE ANY REASON YOU LEFT THAT OUT OR…?

    A:    …I MAY HAVE FORGOT TO MENTION A LOT OF THINGS, LIKE I SAID IT’S…,

          I WAS PRETTY MUCH WRITING AS MUCH AS I COULD REMEMBER AT THE

          TIME.

    Q:    OKAY.

    A:    AND AS MUCH AS I REMEMBER RIGHT NOW I AM TRYING TO GIVE YOU

          MORE INFORMATION.



    STATEMENT OF ALI AL-AWADI             DP14-0088487        PAGE 108 OF 185

                                                                                     170
 Case1:15-cr-00072-TWP-DML
Case  1:15-cr-00072-TWP-DML Document
                             Document57-4
                                      148-1Filed
                                              Filed 12/12/16Page
                                                  01/22/16    Page 171
                                                                 109 of of
                                                                        185349PageID
                                                                               PageID302
                                                                                      #:
                                       3535



    Q:    OKAY, ALRIGHT.

    A:    UH, THAT STATEMENT…, SHE DID TELL ME TRY TO REMEMBER AS MUCH

          AS YOU CAN AND THAT WAS WHAT I COULD REMEMBER AT THE TIME

          BEING.

    Q:    YEAH. SO YOU SAID WHEN YOU LEFT THE…,THE ROOM, TELL ME WHAT

          YOU DID THE MOMENT YOU WALKED OUT OF THE KINDERGARTEN ROOM

          AFTER BREAKING…, AFTER LETTING…, UH, MS. TYRIA ON BREAK?

    A:    AFT…, AFTER SHE DID?

    Q:    YEAH, UH, WHEN SHE CAME BACK FROM HER LUNCH AND RELIEVED YOU

          AND YOU WERE ABLE TO LEAVE THE KINDERGARTEN ROOM…

    A:    OH, SO…

    Q:    …AND GO ON YOUR BREAK, TELL ME EXACTLY WHAT HAPPENED AND

          WHAT YOU DID.

    A:    …I WENT TO THE RESTROOM.

    Q:    M-HMM.

    A:    AND AFTER THE RESTROOM I…, UH, CLOCKED OUT…

    Q:    DID YOU USE THE RESTROOM?

    A:    YES, I DID.

    Q:    WHAT’D YOU DO?

    A:    PEE’D.

    Q:    OKAY, ALRIGHT.

    A:    UH…, UH…, YEAH.




    STATEMENT OF ALI AL-AWADI             DP14-0088487        PAGE 109 OF 185

                                                                                     171
 Case1:15-cr-00072-TWP-DML
Case  1:15-cr-00072-TWP-DML Document
                             Document57-4
                                      148-1Filed
                                              Filed 12/12/16Page
                                                  01/22/16    Page 172
                                                                 110 of of
                                                                        185349PageID
                                                                               PageID303
                                                                                      #:
                                       3536



    Q:    I’M JUST…, I MEAN EVERYTHING YOU DID LIKE; SO AFTER YOU PEE’D DID

          YOU…, WHAT’D YOU DO NEXT?

    A:    I…, UH, WENT TO CLOCK OUT.

    Q:    DID YOU…, UH, WHICH BATHROOM DID YOU USE BY THE WAY?

    A:    THE ONE CLOSEST TO THE…, UH, THE…

    Q:    SO WAS IT SNIFFLES ROOM? (UNSURE)

    A:    …THE ONE ACROSS FROM THE PLAYGROUND I WOULD SAY, THE OTHER

          ONE, THERE’S 2 RESTROOMS.

    Q:    OKAY, THE END CLOSEST TO YOUR CLASSROOM?

    A:    NO, THERE’S…, UH, HERE’S THE SNIFFLES ROOM, THERE’S A RESTROOM

          RIGHT HERE AND THEN THERE’S ANOTHER RESTROOM OVER HERE. UH…

    Q:    OH, ON EITHER SIDE OF IT?

    A:    …BECAUSE THE SNIFFLES/SNUGGLES ROOM HAS MS. KIM’S OFFICE AS

          WELL.

    Q:    OH…

    A:    UH, I JUST…

    Q:    …SO YOU DON’T USE THAT ONE AS MUCH?

    A:    …I DON’T LIKE TO AS MUCH, BECAUSE I FEEL LIKE I MIGHT BE

          BOTHERING HER OR WHATEVER…

    Q:    YEAH.

    A:    …SO I GO TO THE OTHER ONE.

    Q:    OKAY. WHAT’S MS. KIM’S JOB?

    A:    UH, SHE’S THE EDUCATIONAL COORDINATOR.



    STATEMENT OF ALI AL-AWADI             DP14-0088487        PAGE 110 OF 185

                                                                                     172
 Case1:15-cr-00072-TWP-DML
Case  1:15-cr-00072-TWP-DML Document
                             Document57-4
                                      148-1Filed
                                              Filed 12/12/16Page
                                                  01/22/16    Page 173
                                                                 111 of of
                                                                        185349PageID
                                                                               PageID304
                                                                                      #:
                                       3537



    Q:    OH OKAY, ALRIGHT, YEAH. SO, UH, SO AFTER YOU USED THE RESTROOM

          DID YOU WASH YOUR HANDS?

    A:    OF COURSE.

    Q:    OKAY, UH AND DRY THEM OFF WITH A PAPER TOWEL OR WHATEVER?

    A:    M-HMM.

    Q:    OKAY AND THEN AFTER THAT YOU WENT YOU SAID TO CLOCK OUT?

    A:    YEAH.

    Q:    WHERE DO YOU CLOCK IN AND OUT?

    A:    UH, THE FRONT 2 COMPUTERS YOU’LL SEE.

    Q:    USE THOSE?

    A:    WE USE THE ONE ON THE RIGHT HAND SIDE.

    Q:    OKAY, ALRIGHT, UH…

    A:    BECAUSE THERE’S A…, AN OLD SYSTEM THE TEACHERS USED TO CLOCK

          IN AND THE PARENTS CLOCK IN ON…, THE KIDS ON THE NEW SYSTEM.

    Q:    OKAY. SO WHEN YOU LEFT WHERE’D YOU GO?

    A:    UH, I WENT TO THE GAS STATION TO GET MS. TYRIA’S HER POP THAT SHE

          ASKED FOR.

    Q:    OKAY.

    A:    AND UH, I SPENT THE REST OF THE TIME IN THE CAR WATCHING YOUTUBE

          VIDEOS I BELIEVE AND I DON’T THINK I WENT ANYWHERE ELSE. AND

          ACTUALLY I DIDN’T GO TO THE GAS STATION I WENT TO MARSH.

    Q:    OKAY.




    STATEMENT OF ALI AL-AWADI             DP14-0088487        PAGE 111 OF 185

                                                                                     173
 Case1:15-cr-00072-TWP-DML
Case  1:15-cr-00072-TWP-DML Document
                             Document57-4
                                      148-1Filed
                                              Filed 12/12/16Page
                                                  01/22/16    Page 174
                                                                 112 of of
                                                                        185349PageID
                                                                               PageID305
                                                                                      #:
                                       3538



    A:    I WENT TO THE GAS STATION THE DAY BEFORE AND GOT ME 2 DRINKS,

          BUT YESTERDAY I DID GO TO MARSH, UH, YOU CAN SEE IT ON MY DEBIT

          CARD TRANSACTIONS…

    Q:    SURE.

    A:    …UH, IF YOU WANT TO SEE IT.

    Q:    YEAH, DID YOU GET ANYTHING TO EAT?

    A:    UH, I USUALLY EAT WITH THE KIDS BECAUSE WE DO FAMILY STYLE

          DINING…

    Q:    HMM.

    A:    …UH, WE’RE ENCOURAGED TO SIT DOWN WITH THE KIDS AND ACTUALLY

          EAT WITH THEM, ASK THEM HOW THEIR FOOD IS, IF THEY LIKE IT, IF THEY

          DON’T; SEE WHAT THINGS THEY LIKE, WHAT THEY DON’T LIKE.

    Q:    YEAH.

    A:    HELP THEM SERVE THEMSELVES.

    Q:    SO DID YOU EAT BEFORE YOU WENT IN WITH…, UH, WITH THE

          KINDERGARTEN CLASS?

    A:    YEAH, WE HAD A…, A CAMPING DAY THAT DAY.

    Q:    OKAY.

    A:    AND WE…, UH, IT WAS SO MUCH FOOD AND UH, IT WAS JUST A LOT OF

          FUN, BUT I EVEN NOTICED        WASN’T REALLY LISTENING MUCH THAT

          DAY, BECAUSE SHE WAS WATCHING…, UH, THE KIDS, LIKE…, UH, IN THE

          BIG GYM, LIKE CAMPING AND PLAYING.

    Q:    YEAH.



    STATEMENT OF ALI AL-AWADI             DP14-0088487        PAGE 112 OF 185

                                                                                     174
 Case1:15-cr-00072-TWP-DML
Case  1:15-cr-00072-TWP-DML Document
                             Document57-4
                                      148-1Filed
                                              Filed 12/12/16Page
                                                  01/22/16    Page 175
                                                                 113 of of
                                                                        185349PageID
                                                                               PageID306
                                                                                      #:
                                       3539



    A:    AND HER CLASSROOM HAD ALREADY LEFT…

    Q:    YEAH.

    A:    …AND THEN I SEE HER RUN BACK AND THEN MS. TYRIA SEES HER, SHE’S

          LIKE, YOU SHOULD’VE BEEN FOLLOWING US PRETTY MUCH.

    Q:    YEAH, I GOTCHA.

    A:    SO, UH, OTHER THAN THAT…, UH, I DID GO AND GET A POP, UH, DIDN’T…, I

          DIDN’T GET A POP FOR ME I GOT IT FOR MS. TYRIA, OTHER THAN THAT I…,

          UH, JUST TURNED THE A/C ON IN MY CAR, IT WAS A REALLY HOT DAY

          YESTERDAY.

    Q:    YEAH I KNOW.

    A:    AND UH, PARKED BACK IN AND WHEN I GET BACK TO MY…, I GIVE HER

          THE POP, SHE SAYS THANK YOU, I SAY YOU’RE WELCOME AND THEN I GO

          TO MY…, MY ROOM AND ONE OF THE KIDS HAD…, LIKE I TOLD YOU PEE’D

          ALL OVER HIMSELF…, SOILED HIS CLOTHES.

    Q:    YEAH.

    A:    WENT DOWN…, WENT TO GO GET HIM SOME CLOTHES AND THAT’S WHEN

          SHE CALLED FOR ME TO TALK TO HER.

    Q:    OKAY. SO MS. TYRIA DIDN’T SAY ANYTHING TO YOU WHEN YOU GAVE

          HER THE POP EXCEPT FOR THANK YOU?

    A:    NO, SHE DIDN’T SAY ANYTHING.

    Q:    OKAY. UH, (CLEARING THROAT) WHERE’D YOU PARK AND WATCH THE

          YOUTUBE VIDEOS?

    A:    IN THE PARKING LOT.



    STATEMENT OF ALI AL-AWADI             DP14-0088487        PAGE 113 OF 185

                                                                                     175
 Case1:15-cr-00072-TWP-DML
Case  1:15-cr-00072-TWP-DML Document
                             Document57-4
                                      148-1Filed
                                              Filed 12/12/16Page
                                                  01/22/16    Page 176
                                                                 114 of of
                                                                        185349PageID
                                                                               PageID307
                                                                                      #:
                                       3540



    Q:    OKAY, WHAT…

    A:    IT’S…

    Q:    …WHAT VIDEOS DID YOU WATCH?

    A:    …UH, I DON’T REMEMBER EXACTLY, I WATCHED A LOT OF THE ALS ICE

          BUCKET CHALLENGE VIDEOS, I DON’T KNOW IF YOU’VE SEEN THOSE.

    Q:    UH HUH.

    A:    UH…

    Q:    WHAT ELSE?

    A:    …AND I…, IF I WASN’T ON YOUTUBE YESTERDAY I WAS JUST PLAYING A

          GAME ON MY PHONE, I PLAYED CLASH OF CLANS AND 20/48, UH, I

          PLAYED…

    Q:    BUT YOU SAID YOU WERE WATCHING VIDEOS THOUGH, DID YOU WATCH

          ANYTHING BESIDES THE ICE BUCKET CHALLENGE VIDEO?

    A:    UH, IF…, IF I WAS WATCHING THEM YESTERDAY AND NOT THE DAY

          BEFORE, BECAUSE I DON’T REALLY LIKE TO GO TOO MANY PLACES.

    Q:    YEAH.

    A:    UH, MS. TYRIA DID ASK ME WHERE I WAS GOING, I TOLD HER I THINK I’M

          GOING HOME AND GETTING A FEW THINGS; I DIDN’T END UP GOING HOME.

    Q:    YEAH.

    A:    SO I JUST WENT AND GOT HER HER POP INSTEAD OF…

    Q:    WHAT OTHER VIDEOS DID YOU WATCH BESIDES THE ICE BUCKET

          CHALLENGE?




    STATEMENT OF ALI AL-AWADI             DP14-0088487        PAGE 114 OF 185

                                                                                     176
 Case1:15-cr-00072-TWP-DML
Case  1:15-cr-00072-TWP-DML Document
                             Document57-4
                                      148-1Filed
                                              Filed 12/12/16Page
                                                  01/22/16    Page 177
                                                                 115 of of
                                                                        185349PageID
                                                                               PageID308
                                                                                      #:
                                       3541



    A:    UH, I DON’T THINK I REALLY WATCHED ANYTHING ELSE OTHER THAN

          THAT, I MEAN THE HISTORY’S ON MY PHONE.

    Q:    IS IT?

    A:    YEAH, YOU CAN SEE ‘EM, UH, JUST…, THERE’S A…, I USE AN APP CALLED

          REDDIT. (UNSURE OF NAME AND SPELLING)

    Q:    OKAY, WHAT’S REDDIT?

    A:    REDDIT IS LIKE A…, IT’S A…, KINDA LIKE A SOCIAL MEDIA…

    Q:    M-HMM.

    A:    …WHERE PEOPLE POST CURRENT EVENTS, WHAT’S GOING ON, STUFF LIKE

          THAT.

    Q:    YEAH.

    A:    AND UH, THEY JUST POST FUNNY VIDEOS ALL THE TIME, TELLING YOU,

          HEY, CHECK THIS VIDEO OUT OR THEY’LL TELL YOU…, UH, SOMEONE

          LIKE…, SOMEONE FAMOUS LIKE BILL GATES DID THE ICE BUCKET

          CHALLENGE AND I CLICKED ON THAT AND I WATCHED IT.

    Q:    M-HMM.

    A:    THERE’S JUST SO MANY DIFFERENT THINGS ON THERE, SO MANY LINKS.

          UH, IT’S…, THAT…, I THINK THAT’S WHAT…, WHAT I MAY HAVE DONE A

          LITTLE BIT, BUT REALLY PLAY GAMES WAS THE MOST.

    Q:    OKAY. SO YOU PLAYED GAMES MOSTLY…

    A:    YEAH.

    Q:    …NOT…, NOT WATCHED VIDEOS?




    STATEMENT OF ALI AL-AWADI             DP14-0088487        PAGE 115 OF 185

                                                                                     177
 Case1:15-cr-00072-TWP-DML
Case  1:15-cr-00072-TWP-DML Document
                             Document57-4
                                      148-1Filed
                                              Filed 12/12/16Page
                                                  01/22/16    Page 178
                                                                 116 of of
                                                                        185349PageID
                                                                               PageID309
                                                                                      #:
                                       3542



    A:    I DON’T THINK SO, I THINK I WATCHED MAYBE ONE VIDEO IF THAT, UH,

          BECAUSE I DO REMEMBER I WAS WATCHING ‘EM THE DAY BEFORE…

    Q:    M-HMM.

    A:    …IN THE CAR, UH, I DO A LOT…, WATCH A LOT OF NETFLIX, BUT I DIDN’T

          BECAUSE LAST TIME I STARTED DOING IT ON MY BREAKS I WENT TOO

          MUCH IN MY DATA AND I DIDN’T WANT TO PAY TOO MUCH.

    Q:    YEAH, YEAH, YEAH.

    A:    SO, UH, OTHER THAN THAT I WAS JUST PLAYING THE CLASH OF CLANS

          GAME AND 20/48 AND I THINK I DIDN’T EVEN CLOCK IN ON MY NORMAL

          TIME, I THINK I CLOCKED IN A LITTLE EARLY.

    Q:    LITTLE EARLY, OKAY.

    A:    I THINK SO, I DON’T…, I DON’T REMEMBER BECAUSE…

    Q:    RIGHT, IF I CHECKED YOUR VIDEO…

    A:    YEAH, GO…

    Q:    …UH, HISTORY THERE’S NOTHING EXCEPT FOR WHAT…

    A:    IT’S…

    Q:    …JUST A COUPLE VIDEOS ABOUT ALS AND THAT’S IT, NOTHING ELSE?

    A:    …UH, THERE MAY HAVE BEEN OTHER VIDEOS, BUT NOTHING BAD, UH, IT

          MAY HAVE BEEN LIKE SILLY STUFF.

    Q:    OKAY AND IT’S LIKE…, THIS IS NOT ILLEGAL, BUT DID YOU WATCH ANY

          PORN ON YOUR PHONE, IF THERE…, IF…, IF YOU DID IT’S IMPORTANT TO

          TELL ME?




    STATEMENT OF ALI AL-AWADI             DP14-0088487        PAGE 116 OF 185

                                                                                     178
 Case1:15-cr-00072-TWP-DML
Case  1:15-cr-00072-TWP-DML Document
                             Document57-4
                                      148-1Filed
                                              Filed 12/12/16Page
                                                  01/22/16    Page 179
                                                                 117 of of
                                                                        185349PageID
                                                                               PageID310
                                                                                      #:
                                       3543



    A:    UH, UH, NOT…, I DON’T DO IT DURING WORK HOURS OF COURSE; I DO IT

          WHEN I’M AT HOME. (UNSURE)

    Q:    WELL YOU WERE ON BREAK AT THAT TIME…

    A:    YEAH, THAT’S…

    Q:    …SO THAT’S…, UH, THAT’S WHAT I’M SAYING.

    A:    …YEAH, I MEAN…

    Q:    SO DURING YOUR BREAK DID YOU WATCH ANYTHING…

    A:    NO.

    Q:    …LIKE ANY VIDEOS OF PORN?

    A:    NO, AT…, AT HOME I DO, BUT NOT…, NOT AT WORK.

    Q:    BUT SO THERE’S NO VIDEOS ON YOUR HISTORY OR ON YOUR PHONE?

    A:    THERE SHOULDN’T BE.

    Q:    OKAY, UH, I MEAN THERE IS OR THERE ISN’T, IS THERE?

    A:    UH, I…

    Q:    HERE’S THE THING, I’M NOT MAD AT YOU, I’M A GUY TOO AND I…

    A:    …ALRIGHT. (CHUCKLE)

    Q:    …I’VE SEEN…, I’VE SEEN THINGS BEFORE AND YOU KNOW WHAT

          SOMETIMES IF YOU’RE DOING IT JUST ON YOUR OWN TIME, LOOK, CAUSE

          YOU…, YOU COULD’VE GONE HOME, YOU COULD’VE GONE…

    A:    YEAH.

    Q:    …TO MARSH, YOU COULD’VE GONE TO MCDONALD’S…

    A:    YEAH.




    STATEMENT OF ALI AL-AWADI             DP14-0088487        PAGE 117 OF 185

                                                                                     179
 Case1:15-cr-00072-TWP-DML
Case  1:15-cr-00072-TWP-DML Document
                             Document57-4
                                      148-1Filed
                                              Filed 12/12/16Page
                                                  01/22/16    Page 180
                                                                 118 of of
                                                                        185349PageID
                                                                               PageID311
                                                                                      #:
                                       3544



    Q:    …YOU KNOW YOU COULD’VE GONE TO A…, A GAY STRIP CLUB

          DOWNTOWN FOR ALL…, FOR ALL WORK CARES AND KNOWS…

    A:    EXACTLY.

    Q:    …THEY DON’T KNOW YOU, THEY’RE NOT PAYING YOU, YOU WERE

          CLOCKED OUT, SO.

    A:    EXACTLY.

    Q:    THERE’S NOTHING WRONG WITH IT AND SO HERE’S MY THING, IF THERE’S

          SOMETHING ON THERE LOOK, YOU’RE…, YOU’RE NOT GETTING JAMMED

          UP FOR WORK…

    A:    THERE…, THERE SHOULDN’T BE.

    Q:    …CAUSE YOU WEREN’T…

    A:    YEAH.

    Q:    …YOU WEREN’T ON THE CLOCK. SO IF…, UH…

    A:    THERE SHOULDN’T BE ANYTHING ON THERE.

    Q:    …BUT THAT’S DIFFERENT THAN THERE ISN’T ANYTHING ON THERE, YOU

          SEE WHAT I’M SAYING?

    A:    YEAH.

    Q:    SO THAT’S WHY I’M CONCERNED, JUST WANT TO MAKE SURE IF IT’S ON

          THERE I’D RATHER YOU TELL ME…

    A:    UH…

    Q:    …THEN ME BE LIKE FINDING OUT, YOU KNOW WHAT I MEAN?

    A:    M-HMM, WELL I MEAN ON THE REDDIT APP…

    Q:    M-HMM.



    STATEMENT OF ALI AL-AWADI             DP14-0088487        PAGE 118 OF 185

                                                                                     180
 Case1:15-cr-00072-TWP-DML
Case  1:15-cr-00072-TWP-DML Document
                             Document57-4
                                      148-1Filed
                                              Filed 12/12/16Page
                                                  01/22/16    Page 181
                                                                 119 of of
                                                                        185349PageID
                                                                               PageID312
                                                                                      #:
                                       3545



    A:    …THERE’S A LOT OF DIFFERENT SIDE FORMS YOU CAN CHOOSE FROM.

    Q:    YEAH.

    A:    AND I MEAN THERE’S SOME CRAZY THINGS ON THERE FROM…, UH, LIKE

          GIRLS GOING NAKED TO GUYS BEING NAKED TO…

    Q:    YEAH.

    A:    …CRAZY THINGS, LIKE THERE’S EVEN SOMETHING CALLED WTF, WHICH

          STANDS FOR “WHAT THE FUCK” PRETTY MUCH.

    Q:    YEAH, YEAH, YEAH.

    A:    UH, AND UH, THERE’S STUFF LIKE…, UH, INCEST… (UNSURE)

    Q:    DID YOU CLICK ON ANY OF THE (INAUDIBLE) ONES?

    A:    I DIDN’T CLICK ON ANY OF THOSE.

    Q:    YOU DIDN’T?

    A:    NO.

    Q:    OKAY.

    A:    BUT…

    Q:    YOU SAID THERE’S STUFF ON INCEST?

    A:    …YEAH, THERE’S A WHOLE BUNCH OF THINGS ON THERE, LIKE IT’S JUST

          APPS ON THE SIDE THAT SOME PEOPLE MIGHT BE INTERESTED IN.

          (UNSURE)

    Q:    OKAY, YEAH.

    A:    AND I MEAN HONESTLY IT’S NOT REALLY SOMETHING I PROGRAMMED

          INTO IT, IT’S JUST AN APP.

    Q:    NO, IT’S JUST PART OF THE APP, YEAH.



    STATEMENT OF ALI AL-AWADI             DP14-0088487        PAGE 119 OF 185

                                                                                     181
 Case1:15-cr-00072-TWP-DML
Case  1:15-cr-00072-TWP-DML Document
                             Document57-4
                                      148-1Filed
                                              Filed 12/12/16Page
                                                  01/22/16    Page 182
                                                                 120 of of
                                                                        185349PageID
                                                                               PageID313
                                                                                      #:
                                       3546



    A:    SO, UH, I MEAN IF YOU LOOK THROUGH THAT YOU’LL…, YOU WILL

          DEFINITELY SEE SOME STUFF, BUT THAT’S THE APPLICATION.

    Q:    NO, I JUST KNOW THAT’S TABS, YEAH, YEAH… (UNSURE)

    A:    YEAH.

    Q:    …I MEAN DID YOU VIEW ANYTHING OR…?

    A:    ME PERSONALLY, NO.

    Q:    OKAY.

    A:    NOT…

    Q:    ALRIGHT, THAT’S FINE, NOT A BIG DEAL.

    A:    …NO.

    Q:    BECAUSE I MEAN THE TRUTH IS YOU KNOW PEOPLE DO STUFF AND IT’S

          NOT ILLEGAL, THERE’S A LOT OF STUFF ON THE INTERNET AND I JUST…,

          THAT’S ONE OF THOSE THINGS WHERE…, UH, I JUST LIKE TO KNOW

          YOU’RE BEING HONEST WITH ME.

    A:    UH, I…

    Q:    UH, I LIKE TO KNOW THAT I CAN…, YOU KNOW WHAT I MEAN BELIEVE

          EVERYTHING YOU’RE SAYING, THAT’S ALL.

    A:    …I’M GIVING YOU…

    Q:    NO, THAT’S FINE.

    A:    …ONE HUNDRED PERCENT TRUTH, IF YOU WANT TO PUT ME ON ONE OF

          THOSE LIE DETECTORS I’LL…

    Q:    OKAY, NO, NO, YEAH, THAT’S FINE.

    A:    …, I’LL DEFINITELY JUST SIGN OFF ON THAT, I DON’T CARE.



    STATEMENT OF ALI AL-AWADI             DP14-0088487        PAGE 120 OF 185

                                                                                     182
 Case1:15-cr-00072-TWP-DML
Case  1:15-cr-00072-TWP-DML Document
                             Document57-4
                                      148-1Filed
                                              Filed 12/12/16Page
                                                  01/22/16    Page 183
                                                                 121 of of
                                                                        185349PageID
                                                                               PageID314
                                                                                      #:
                                       3547



    Q:    NO, THAT’S FINE AND I APPRECIATE THAT. UH, SO, UH, (SHUFFLING

          PAPERS) JUST GIVE ME ONE QUICK SECOND, OKAY, I’LL BE BACK IN JUST

          A MINUTE. DO YOU NEED TO USE THE RESTROOM OR ANYTHING?

    A:    UH, NOT REALLY, I JUST KINDA HOPE MY MOM ISN’T FREAKING OUT AT

          THIS POINT.

    Q:    OKAY, YEAH. WELL I MEAN I THINK SHE UNDERSTANDS IT’S A…, IT’S

          SOMETHING WE GOT TO GET TAKEN CARE OF AND…, AND SO SHE’S…, I’M

          SURE IF SHE’S CALLED OR ANYTHING THEY’VE…, THEY’VE LET HER

          KNOW YOU’RE OKAY AND YOU’RE FINE, OKAY?

    A:    OKAY.

    Q:    SO JUST HANG HERE, I’LL BE BACK IN A MINUTE.

    A:    ALRIGHT. (DOOR OPENS AND CLOSES)

    (PAUSE)

    Q:    (DOOR OPENS) HEY MAN, SORRY ABOUT THAT. (DOOR CLOSES) I

          (INAUDIBLE-UNSURE)

    A:    OKAY.

    Q:    YEAH, SO WE HAD…, UH, WE HAD ETHAN IN HERE JUST NOW, THAT’S

          WHERE…, I WAS CHECKING ON THAT; HE WAS BEING INTERVIEWED

          WHILE YOU AND I WERE TALKING, SO.

    A:    OKAY.

    Q:    UH, WE DO WHAT WE CALL FORENSIC CHILD INTERVIEWS, DO YOU KNOW

          WHAT THOSE ARE?

    A:    NO I DON’T.



    STATEMENT OF ALI AL-AWADI             DP14-0088487        PAGE 121 OF 185

                                                                                     183
 Case1:15-cr-00072-TWP-DML
Case  1:15-cr-00072-TWP-DML Document
                             Document57-4
                                      148-1Filed
                                              Filed 12/12/16Page
                                                  01/22/16    Page 184
                                                                 122 of of
                                                                        185349PageID
                                                                               PageID315
                                                                                      #:
                                       3548



    Q:    YOU PROBABLY NEVER HEARD OF ‘EM. UH, FOR FORENSIC JUST MEANS

          SOMETHING FOR EVIDENCE, RIGHT?

    A:    YEAH.

    Q:    SO IT’S NOT JUST YOU KNOW 2 PEOPLE TALKING, IT’S SOMETHING THAT

          YOU…, UH, THAT YOU WANT TO AT THE HIGHEST STANDARD POSSIBLE…

    A:    OF COURSE.

    Q:    …ESSENTIALLY AND SO, UH, THEY DID…, SO WE HAVE WHAT WE CALL

          CHILD FORENSIC INTERVIEWERS OR FORENSIC CHILD INTERVIEWERS,

          THAT’S ALL THEY DO; YOU KNOW THEY JUST INTERVIEW KIDS, UH, HERE

          AT THIS BUILDING. UH, AND SO THIS MORNING…, UH, I DON’T KNOW, DID

          YOU KNOW        WENT TO THE HOSPITAL LAST NIGHT?

    A:    NO, I DIDN’T.

    Q:    YOU MAY NOT HAVE KNOWN THAT. YEAH, SHE WENT…, SHE WENT TO ST.

          VINCENT, THEY HAVE WHAT THEY CALL THE CENTER OF HOPE AT ST.

          VINCENT YESTERDAY, SHE WENT…, SHE WENT THERE.

    A:    M-HMM.

    Q:    UH, UH, ANYWAY SHE WENT THERE AND HAD A PHYSICAL EXAM AND THE

          CENTER OF HOPE IS…, UH, IT’S JUST A WHATEVER, A TOUCHY FEELY

          NAME FOR IT, BUT THEY’RE…, UH, FORENSIC NURSE EXAMINERS…

    A:    M-HMM.

    Q:    …UH, THEY ALSO CALL THEM SEXUAL ASSAULT NURSE EXAMINERS; BUT

          EITHER WAY THEY SPECIALIZE IN…, IN…, IN DOING EXAMS…

    A:    OKAY.



    STATEMENT OF ALI AL-AWADI             DP14-0088487        PAGE 122 OF 185

                                                                                     184
 Case1:15-cr-00072-TWP-DML
Case  1:15-cr-00072-TWP-DML Document
                             Document57-4
                                      148-1Filed
                                              Filed 12/12/16Page
                                                  01/22/16    Page 185
                                                                 123 of of
                                                                        185349PageID
                                                                               PageID316
                                                                                      #:
                                       3549



    Q:    …UH, AND…, AND NOT JUST FOR…, UH, LIKE THE SAKE OF HEALTH…

    A:    M-HMM.

    Q:    …WHICH IS ONE OF THE PRIMARY PURPOSES OF ANY MEDICAL PROVIDER

          IS TO TREAT THE PERSON’S HEALTH.

    A:    OF COURSE.

    Q:    BUT THEY ALSO DO THE EXAMS…, UH, FOR THE SAKE OF GATHERING ANY

          POTENTIAL EVIDENCE THAT COULD BE THERE, OKAY…

    A:    M-HMM.

    Q:    …ANY EVIDENCE AT ALL THEY…, THEY LOOK FOR IT.

    A:    IS SHE OKAY?

    Q:    UH, WELL LIKE I SAID SHE DIDN’T GO THERE NECESSARILY BECAUSE SHE

          WAS YOU KNOW SICK AND DYING…

    A:    M-HMM.

    Q:    …SHE WENT THERE BECAUSE OF YOU KNOW SHE WAS COMPLAINING

          OF…, OF SOME PAIN…

    A:    M-HMM.

    Q:    …OKAY, BUT ALSO…, UH, WHAT SHE WAS SAYING HAPPENED TO HER IS

          THE KIND OF THING THAT IF IT DID HAPPEN TO HER, UH, PHYSICAL

          EVIDENCE CAN AND OFTEN IS LEFT BEHIND.

    A:    OKAY.

    Q:    OKAY. SO SHE WENT THERE NOT NECESSARILY SO THEY COULD LIKE

          SAVE HER LIFE WHEN YOU TYPICALLY…

    A:    OKAY.



    STATEMENT OF ALI AL-AWADI             DP14-0088487        PAGE 123 OF 185

                                                                                     185
 Case1:15-cr-00072-TWP-DML
Case  1:15-cr-00072-TWP-DML Document
                             Document57-4
                                      148-1Filed
                                              Filed 12/12/16Page
                                                  01/22/16    Page 186
                                                                 124 of of
                                                                        185349PageID
                                                                               PageID317
                                                                                      #:
                                       3550



    Q:    …THINK SOMEONE GOING TO THE HOSPITAL, BUT…, UH, YOU KNOW AND

          THEY DO CHECK UP, CHECK HER BLOOD PRESSURE AND HEART YOU

          KNOW AND…, AND…, AND ALL THAT CRAP, YOU KNOW HEIGHT AND

          WEIGHT, TEMPERATURE…

    A:    YEAH.

    Q:    …THEY DO ALL THAT. BUT REALLY THAT’S NOT SORT OF THE MAIN

          PURPOSE, CAUSE NO ONE LOOKING AT HER WAS THINKING, OH, SHE’S

          ABOUT TO DIE, SHE’S GOT MALARIA OR SHE’S…, YOU KNOW HAS A HEART

          ATTACK, NO.

    A:    M-HMM.

    Q:    IT…, IT WAS MORE…, UH, TO DO THAT FORENSIC…, UH, EXAM. SO I’VE

          ALREADY THROWN 2 FORENSIC THINGS AT YOU, BUT WHAT I’M SAYING IS

          TO DO THE EXAM LAST NIGHT, OKAY?

    A:    M-HMM.

    Q:    UH, AND THEY…, THEY DO A PHYSICAL EXAM, THEY TAKE…, UH, THEY

          TAKE SWABS FOR DNA, UH, THEY ALSO CHECK…, UH, THEY USE WHAT

          THEY CALL A SALINE DRIP, WHICH…, UH, SO THEY…, THEY DO THE SWAB

          FIRST IF I’M…, IF I’M CORRECT, I DON’T TYPICALLY GO WATCH THESE

          THINGS.

    A:    M-HMM.

    Q:    BUT FROM MY UNDERSTANDING THEY DO…, THEY DO A SWAB FIRST

          TO…, UH, CHECK FOR ANY…, UH, SORT OF DNA THAT’S JUST ON THE

          SURFACE OR WHATEVER THAT CAN COME OUT ON TO THE…, ON TO THE



    STATEMENT OF ALI AL-AWADI             DP14-0088487        PAGE 124 OF 185

                                                                                     186
 Case1:15-cr-00072-TWP-DML
Case  1:15-cr-00072-TWP-DML Document
                             Document57-4
                                      148-1Filed
                                              Filed 12/12/16Page
                                                  01/22/16    Page 187
                                                                 125 of of
                                                                        185349PageID
                                                                               PageID318
                                                                                      #:
                                       3551



          SWAB, BUT THEN AFTER THAT THEY DO…, I THINK THEY DO WHAT THEY

          CALL A SALINE DRIP, WHICH IS THEY DRIP A SALINE STERILE SOLUTION,

          UH, OVER…

    A:    M-HMM.

    Q:    …YOU KNOW HER GENITALS ESSENTIALLY; UH, DRIP IT RIGHT OVER

          THERE AND THAT TENDS TO GET DNA CELLS THAT MAY NOT HAVE COME

          WITH THE SWAB, RIGHT?

    A:    OKAY.

    Q:    SO ANYTHING THAT MIGHT BE EVEN JUST A LITTLE BIT MORE RESISTANT

          OR WHATEVER TO…, UH, BEING PICKED UP BY THE SWAB, I THINK THAT’S

          THE PURPOSE OF THAT SALINE DRIP.

    A:    M-HMM.

    Q:    THEY…, THEY DRIP IT OVER THERE AND THEN THEY HAVE A SOLUTION, A

          SOLUTION THAT COULD CONTAIN ANYONE’S DNA IF THEY’RE YOU KNOW

          PART OF THE BODY TOUCHED OR INSIDE OF…, OF HER BODY, SO, UH,

          THERE…, THERE’S THAT. UH, ANYWAYS, UH, SO SHE HAD THAT EXAM,

          THEY ALSO DO…, UH, JUST A VISUAL EXAM, SOMETIMES…

    A:    OKAY.

    Q:    …IF…, IF…, IF SOMETHING HAPPENS TO A KID, IF THERE’S SOME TYPE

          OF…, UH, SEXUAL CONTACT WITH A KID, UH…

    A:    M-HMM.

    Q:    …SOMETIMES THEY’LL BE PHYSICAL SORT OF…, UH, EVIDENCE OF THAT

          YOU KNOW, A INJURY ESSENTIALLY I GUESS IS WHAT I’M SAYING…



    STATEMENT OF ALI AL-AWADI             DP14-0088487        PAGE 125 OF 185

                                                                                     187
 Case1:15-cr-00072-TWP-DML
Case  1:15-cr-00072-TWP-DML Document
                             Document57-4
                                      148-1Filed
                                              Filed 12/12/16Page
                                                  01/22/16    Page 188
                                                                 126 of of
                                                                        185349PageID
                                                                               PageID319
                                                                                      #:
                                       3552



    A:    M-HMM.

    Q:    …I MEAN NOT NECESSARILY LIKE YOU KNOW HER ARM’S CUT OFF

          INJURY, BUT JUST INJURY, LIKE PHYSICAL AFFECTS FROM WHAT

          HAPPENED, UH, AND THEY DO A VERY THOROUGH JOB. YOU OR I COULD

          LOOK AT THE…, THE BODY PART THAT THEY EXAMINE AND WE’D BE

          LIKE…

    A:    M-HMM.

    Q:    …IT’S PINK TO ME, (CHUCKLE) WHATEVER…

    A:    YEAH.

    Q:    …IT JUST LOOKS LIKE A BODY PART YOU KNOW, UH, IT WOULDN’T MAKE

          ANY DIFFERENCE TO YOU OR I JUST LOOKING AT IT…

    A:    M-HMM.

    Q:    …BUT THEY’RE SPECIALLY TRAINED AND THEY SEE A LOT OF DIFFERENT

          PEOPLE, IN PARTICULAR THE KIDS, UH, THAT PARTS OF THE BODY AND

          THEY’RE TRAINED WHAT TO LOOK FOR AND ALL THAT. SO THEY ARE

          SPECIFICALLY TRAINED TO LOOK FOR THAT, UH, THEY ALSO HAVE…, UH,

          AND I DON’T KNOW, I’D HAVE TO LOOK IN THE MEDICAL RECORDS HERE

          TO…, TO BE A HUNDRED PERCENT ON THIS CASE, BUT…, UH, THEY ALSO

          HAVE WHAT THEY CALL LIKE A DYE. THEY PUT A DYE ON THEIR BODIES,

          UH…

    A:    M-HMM.

    Q:    …ON THAT PARTICULAR PART OF THE BODY AND…, AND THAT DYE…,

          YOU KNOW AFTER THEY’VE DONE ALL THE OTHER EXAMS, THEY COULD



    STATEMENT OF ALI AL-AWADI             DP14-0088487        PAGE 126 OF 185

                                                                                     188
 Case1:15-cr-00072-TWP-DML
Case  1:15-cr-00072-TWP-DML Document
                             Document57-4
                                      148-1Filed
                                              Filed 12/12/16Page
                                                  01/22/16    Page 189
                                                                 127 of of
                                                                        185349PageID
                                                                               PageID320
                                                                                      #:
                                       3553



          DO IT BEFORE THE DNA CHECK, CAUSE THAT COULD CONTAMINATE

          THE..., THE SAMPLE, BUT AFTER THEY’VE DONE A DNA CHECK THEY

          COULD PUT A DYE ON THEIR BODIES TO CHECK FOR…, UH, ANY INJURIES.

          IF THEY…, YOU KNOW CAUSE YOU CAN…, YOU CAN LOOK AND SEE

          SOMETIMES…

    A:    M-HMM.

    Q:    …ACTUAL YOU KNOW REDNESS OR SWELLING OR ABRASIONS JUST

          SLIGHT, NOTHING CRAZY, I’M NOT TALKING ABOUT LIKE A…

    A:    YEAH.

    Q:    …LIKE A BLOODY GASH, JUST BE LIKE SLIGHT SCRAPE MARKS OR…, OR…,

          OR ABRASIONS…

    A:    (CLEARING THROAT) M-HMM.

    Q:    …THEY CHECK FOR THAT SORT OF PHYS… OR VISUALLY AND SOMETIMES

          THEY’LL USE MAYBE A MAGNIFYING YOU KNOW THING THAT THEY CAN

          LOOK AND SEE. BUT THEN THEY ALSO USE WHAT THEY CALL A…, A DYE

          AND…, AND SOMETIMES WHAT HAPPENS IS ONCE YOU PUT THAT DYE ON

          THERE YOU CAN USE A PARTICULAR TYPE OF LIGHT AND A PARTICULAR

          TYPE OF CAMERA THAT WILL REACT WITH THAT, RIGHT. SO IT’S LIKE…, I

          DON’T KNOW IF THEY USE SOME TYPE OF UV RAYS OR WHAT…

    A:    M-HMM.

    Q:    …OR THAT IF IT’S A BLACK LIGHT, I…, I DON’T…, I’M NOT…, I’M NOT A

          SCIENTIST, I’M A COP, RIGHT?

    A:    YEAH.



    STATEMENT OF ALI AL-AWADI             DP14-0088487        PAGE 127 OF 185

                                                                                     189
 Case1:15-cr-00072-TWP-DML
Case  1:15-cr-00072-TWP-DML Document
                             Document57-4
                                      148-1Filed
                                              Filed 12/12/16Page
                                                  01/22/16    Page 190
                                                                 128 of of
                                                                        185349PageID
                                                                               PageID321
                                                                                      #:
                                       3554



    Q:    BUT EITHER WAY THEY…, UH, THEY CAN…, THEY CAN PUT THAT ON

          THERE TO…, TO DOUBLE CHECK FOR ANY INJURIES, UH, THAT DIDN’T

          SHOW UP VISUALLY WHEN YOU JUST FIRST LOOK; IT’LL SHOW IF…, IF

          THERE’S SOME TYPE OF ABRASION, CAUSE WHAT HAPPENS IS IN…, UH, I

          MEAN BRUISE, SCRAPE, ANYTHING…

    A:    YEAH.

    Q:    …THE TISSUES ARE DAMAGED, UH, THE TINY LITTLE CAPILLARIES AND

          BLOOD VESSELS BURST AND…, AND YOU…, YOU GOT…, YOU GOT

          BLEEDING. SO…

    A:    YEAH.

    Q:    …THERE’S DIFFERENT DYES THEY CAN USE, ONE WITH THE SPECIAL

          CAMERAS THAT CAN PICK UP THAT AND SHOW INJURY…

    A:    OKAY.

    Q:    …UH, NOT JUST ON THE OUTSIDE OF A…, OF A LITTLE GIRL’S BODY FOR

          EXAMPLE, BUT ALSO IN THE INSIDE, RIGHT?

    A:    OKAY.

    Q:    OF THE VAGINA AND ACTUALLY THE VAGINAL CAVITY OR CANAL,

          WHATEVER YOU CALL IT. (CHUCKLE)

    A:    M-HMM.

    Q:    I SAID CAVITY, MAYBE THAT’S IT, MAYBE IT’S NOT, EITHER WAY YOU GET

          IT…

    A:    YEAH.




    STATEMENT OF ALI AL-AWADI             DP14-0088487        PAGE 128 OF 185

                                                                                     190
 Case1:15-cr-00072-TWP-DML
Case  1:15-cr-00072-TWP-DML Document
                             Document57-4
                                      148-1Filed
                                              Filed 12/12/16Page
                                                  01/22/16    Page 191
                                                                 129 of of
                                                                        185349PageID
                                                                               PageID322
                                                                                      #:
                                       3555



    Q:    …JUST WHOLE INSIDE OF HER BODY, THEY CAN CHECK INSIDE THE HOLE,

          NOT JUST ON THE OUTSIDE. UH, AND THAT’S…, AND THAT’S SOMETHING

          THEY DO AND I’M SURE THEY DID IT WITH HER. UH, THEY ALSO TAKE

          PHOTOGRAPHS OF IT LIKE I SAID WITH THE SPECIAL CAMERA AND…, AND

          A REGULAR ONE…

    A:    M-HMM.

    Q:    …UH, THEY DOCUMENT ON DIAGRAMS, THINGS LIKE THAT AND…, AND

          CHECK FOR INJURIES, DO ALL THAT ASIDE FROM THE DNA CHECKS. UH,

          OFTEN TIMES THEY’LL TAKE THE PANTIES, UH, YOU KNOW KEEP THOSE…

    A:    HMM.

    Q:    …AS POTENTIAL EVIDENCE, RIGHT, BECAUSE DNA COULD BE ON THOSE,

          THINGS LIKE THAT. SO THERE’S ALL THAT, UH, IN ADDITION TO THAT…,

          SO THAT WAS DONE YESTERDAY EVENING, RIGHT, THE WHOLE THING

          DONE YESTERDAY EVENING. UH, FIRST THING THIS MORNING SHE CAME

          IN HERE,     DID, UH, WE DID WHAT WAS CALLED A FORENSIC

          INTERVIEW, NOW THAT’S DIFFERENT. NO ONE’S PULLING HER PANTS OFF

          AND OPENING HER LEGS. (CHUCKLE)

    A:    RIGHT.

    Q:    IT’S JUST TALKING…

    A:    YEAH.

    Q:    …JUST TALKING, BUT IT’S TALKING WITH SOMEONE WHO’S SPECIFICALLY

          TRAINED IN…, IN INTERVIEWING CHILDREN AND OPEN ENDED, NON-

          LEADING WAYS, RIGHT?



    STATEMENT OF ALI AL-AWADI             DP14-0088487        PAGE 129 OF 185

                                                                                     191
 Case1:15-cr-00072-TWP-DML
Case  1:15-cr-00072-TWP-DML Document
                             Document57-4
                                      148-1Filed
                                              Filed 12/12/16Page
                                                  01/22/16    Page 192
                                                                 130 of of
                                                                        185349PageID
                                                                               PageID323
                                                                                      #:
                                       3556



    A:    OF COURSE.

    Q:    SO THEY ASK QUESTIONS THAT ARE JUST…, UH, NOT SAYING YOU

          KNOW…

    A:    M-HMM.

    Q:    …YOU’RE WEARING A WHITE SHIRT, AREN’T YOU?

    A:    YEAH.

    Q:    WHAT DO YOU SAY YES OR NO, YOU ONLY HAVE 2 CHOICES, YOU JUST

          SAY YES CAUSE YOU’RE WEARING A WHITE SHIRT, I GUESS YES…

    A:    M-HMM.

    Q:    …VERSUS ME SAYING WHAT KIND OF SHIRT ARE YOU WEARING. WELL

          YOU COULD SAY, WELL IT’S COTTON OR IT’S SHORT SLEEVE OR IT…, YOU

          KNOW WHATEVER, IT’S HANES, YOU COULD SAY WHATEVER YOU

          WANT…

    A:    M-HMM.

    Q:    …WHEN I JUST ASK YOU WHAT KIND OF SHIRT DO YOU HAVE. SO

          THEY’RE TRAINED IN DOING THAT, LONG STORY SHORT, SHE CAME IN, WE

          DID A FORENSIC CHILD INTERVIEW WITH HER AND UH, SHE TALKED

          ABOUT WHAT SHE SAYS HAPPENED YESTERDAY, OKAY?

    A:    (NO VERBAL RESPONSE)

    Q:    UH, IT’S…, OBVIOUSLY IT’S RECORDED, WE TAKE YOU KNOW VIDEO

          RECORDED AND EVERYTHING AND UH, AND JUST ASK HER QUESTIONS

          ABOUT IT, OKAY AND I’VE SEEN A TON OF THOSE. I’VE BEEN DOING THIS

          FOR OVER 5 YEARS NOW AND I’VE WATCHED A WHOLE LOT OF THOSE



    STATEMENT OF ALI AL-AWADI             DP14-0088487        PAGE 130 OF 185

                                                                                     192
 Case1:15-cr-00072-TWP-DML
Case  1:15-cr-00072-TWP-DML Document
                             Document57-4
                                      148-1Filed
                                              Filed 12/12/16Page
                                                  01/22/16    Page 193
                                                                 131 of of
                                                                        185349PageID
                                                                               PageID324
                                                                                      #:
                                       3557



          INTERVIEWS. SO, UH, THAT’S JUST ONE MORE TO ADD TO MY LIST I GUESS

          OF INTERVIEWS I’VE WATCHED.

    A:    RIGHT. (UNSURE)

    Q:    BUT…, UH, BUT ANYWAYS HERE’S THE…, THE THING, UH, AFTER THAT I…,

          I INTERVIEWED HER…, HER MOM…

    A:    M-HMM.

    Q:    …OKAY AND UH, TALKED TO HER MOM, TOOK A FULL STATEMENT FROM

          HER, YOU KNOW WHAT HAPPENED, WHAT DO YOU KNOW, HOW DID THIS

          COME OUT, WHAT…, HOW’D YOU FIND OUT ABOUT THIS, THAT TYPE OF

          THING. TALKED TO HER DAD, TOOK A FULL STATEMENT FROM HIM, HE

          DIDN’T SPEAK A LOT OF ENGLISH SO WE GOT A TRANSLATOR.

    A:    M-HMM.

    Q:    I SPEAK SOME SPANISH ENOUGH TO UNDERSTAND MOST OF WHAT HE

          WAS SAYING, BUT I STILL LIKE TO HAVE A TRANSLATOR, CAUSE YOU

          KNOW YOU WANT TO DO IT RIGHT.

    A:    OKAY.

    Q:    BUT ANYWAYS WE HAD HIM COME IN, TALKED TO HIM, UH, UH, WHAT

          ELSE HAVE WE DONE. UH, OBVIOUSLY I WENT OUT TO THE…, TO THE…,

          TO THE…

    A:    CENTER.

    Q:    …THE CENTER, YEAH, I DIDN’T KNOW WHAT TO CALL IT, I WAS GONNA

          SAY SCHOOL, BUT IT’S JUST A CENTER EITHER WAY, WENT OUT THERE,

          UH, GOT ALL KINDS OF…, UH, DOCUMENTS FROM THEM, OKAY. I MEAN



    STATEMENT OF ALI AL-AWADI             DP14-0088487        PAGE 131 OF 185

                                                                                     193
 Case1:15-cr-00072-TWP-DML
Case  1:15-cr-00072-TWP-DML Document
                             Document57-4
                                      148-1Filed
                                              Filed 12/12/16Page
                                                  01/22/16    Page 194
                                                                 132 of of
                                                                        185349PageID
                                                                               PageID325
                                                                                      #:
                                       3558



          I’VE GOT YOUR APPLICATION THERE AND…, AND UH, YOU KNOW ALL

          KINDS OF STUFF, UH, IT’S…, I MEAN THEY…, THEY TOLD US YOUR FULL

          NAME YOU KNOW…

    A:    YEAH.

    Q:    …THAT’S HOW WE KNEW WHERE TO FIND YOU, BUT THEY DIDN’T HAVE

          MUCH OF A CHOICE.

    A:    YEAH.

    Q:    UH, DCS IS PART OF MY INVESTIGATION TOO, THEY’VE GOT WHAT THEY

          CALL A INSTITUTIONAL YOU KNOW WING, SO THEY CAME OUT WITH US,

          CAUSE THEY HAVE TO, RIGHT, IF SOMETHING’S SUPPOSED TO HAVE

          HAPPENED AT A…

    A:    OF COURSE.

    Q:    …INSTITUTION, THEY ARE CHARGED WITH CHECKING ON IT. (UNSURE) SO

          THEY WERE THERE WITH US AND LOOKING INTO EVERYTHING, BUT…, UH,

          TALKED TO…, UH, MS. TYRIA, I…, I ALREADY TOLD YOU THAT MORE OR

          LESS…

    A:    M-HMM.

    Q:    …CAUSE I SAID WHAT SHE SAID YOU…, YOU SAID, BUT ANYWAY TALKED

          TO HER AND UH, SHI…, SHI…, CHIANA…

    A:    CHIANA.

    Q:    …I JUST WANTED TO SAY SHI…, BUT IT’S CHIANA, I’M SORRY.

    A:    M-HMM.




    STATEMENT OF ALI AL-AWADI             DP14-0088487        PAGE 132 OF 185

                                                                                     194
 Case1:15-cr-00072-TWP-DML
Case  1:15-cr-00072-TWP-DML Document
                             Document57-4
                                      148-1Filed
                                              Filed 12/12/16Page
                                                  01/22/16    Page 195
                                                                 133 of of
                                                                        185349PageID
                                                                               PageID326
                                                                                      #:
                                       3559



    Q:    UH, CHIANA, UH, MS. HEIDI, MS. KIM, UH, THERE’S MORE, I CAN’T

          REMEMBER, WE TALKED TO A BUNCH OF DIFFERENT PEOPLE AND THEN

          ALSO WE’VE BEEN INTERVIEWING CHILDREN, OKAY?

    A:    M-HMM.

    Q:    UH, ETHAN WAS THE ONE I WAS JUST NOW GOING ON, SO I YOU KNOW I

          NEED TO CHECK UP ON WHAT HE WAS SAYING ESSENTIALLY.

    A:    YEAH.

    Q:    I MEAN HE SAID SOME INTERESTING THINGS, QUITE HONESTLY, OKAY,

          WHICH ALL THAT BRINGS ME TO THE POINT WHERE I…, I…, I DON’T…, I…,

          I WANT TO BE HONEST WITH YOU, BUT I DON’T WANT TO…, I DON’T WANT

          TO SORT OF LEAD YOU ALONG AND…, AND…, AND NOT SORT OF LET YOU

          KNOW WHERE WE’RE AT WITH THIS THING, OKAY?

    A:    OKAY.

    Q:    AND THE TRUTH IS I…, I’M…, I’M JUST…, CAUSE I COME INTO THESE

          THINGS WITH A VERY OPEN MIND…

    A:    OKAY.

    Q:    …RIGHT, CAUSE YOU KNOW IT COULD BE ANYTHING GOING ON AND IT’S

          MY JOB TO BE LIKE, OKAY, LET’S SORT THROUGH THE B-S AND MAKE

          SURE SOMEBODY DIDN’T GET CAUGHT UP IN SOMETHING STUPID HERE,

          UH, JUST SOMEBODY BEING STUPID, BUT…, UH, I GOT TO BE HONEST WITH

          YOU WITH ALL THE INFORMATION AND ALL THE EVIDENCE I HAVE, ALL

          OF THE…, UH, I MEAN I JUST CAME FROM LOOKING AT THE PHOTOGRAPHS

          THAT WERE TAKEN…, UH, LAST NIGHT, OKAY?



    STATEMENT OF ALI AL-AWADI             DP14-0088487        PAGE 133 OF 185

                                                                                     195
 Case1:15-cr-00072-TWP-DML
Case  1:15-cr-00072-TWP-DML Document
                             Document57-4
                                      148-1Filed
                                              Filed 12/12/16Page
                                                  01/22/16    Page 196
                                                                 134 of of
                                                                        185349PageID
                                                                               PageID327
                                                                                      #:
                                       3560



    A:    M-HMM.

    Q:    COMPARING THAT WITH THE DIAGRAMS THAT THEY MADE AND THE

          NOTES THAT THE DOCTORS AND NURSES MADE, UH, REALLY TRYING TO

          DO A GOOD JOB OF REVIEWING ALL THE POSSIBLE INFORMATION. I MEAN

          I’VE READ…, YOU…, YOU WEREN’T THE ONLY ONE THAT TOOK A…, MADE

          A WRITTEN STATEMENT, UH, LIKE I SAID THERE’S…, THERE’S YOUR

          WRITTEN STATEMENT AND THEN THERE’S…, UH, MS…, UH, MS. CHIANA

          HARRIS, YOU KNOW SHE TOOK HERS, UH, TYRI…, TYRIA, IS IT TYRIA?

    A:    TYRIA.

    Q:    I ALWAYS PRONOUNCE TYRIA, BUT IT’S…, CAUSE IT’S GOT THAT I.

    A:    M-HMM.

    Q:    ANYWAYS MS. TYRIA MADE A STATEMENT, UH, THIS IS…, UH, MS…., UH,

          CONCES…, CONCES… (SHUFFLING PAPERS)

    A:    M-HMM.

    Q:    …AND THEN KIM WROTE SOME NOTES WHILE YOU WERE TALKING AND

          ALSO…, UH, I’VE GOT THAT AND I’VE GONE THROUGH THERE, I…, I’VE

          GOT SOME MORE QUESTIONS, NOT A TON BUT SOME OF THEM.

          OBVIOUSLY LIKE I SAID YOUR…, YOUR APPLICATION SHE GAVE ME THAT

          AND THEN…, AND THEN SHE SAID SHE PUT YOU ON ADMINISTRATIVE

          LEAVE YOU KNOW HERE IT IS.

    A:    YEAH.

    Q:    YOU KNOW THAT’S…, THAT’S A…, THAT DOESN’T MEAN ANYTHING,

          THAT’S JUST A…, A…



    STATEMENT OF ALI AL-AWADI             DP14-0088487        PAGE 134 OF 185

                                                                                     196
 Case1:15-cr-00072-TWP-DML
Case  1:15-cr-00072-TWP-DML Document
                             Document57-4
                                      148-1Filed
                                              Filed 12/12/16Page
                                                  01/22/16    Page 197
                                                                 135 of of
                                                                        185349PageID
                                                                               PageID328
                                                                                      #:
                                       3561



    A:    PAPER.

    Q:    …STOCK DOCUMENT, RIGHT, THERE’S NOTHING SPECIFIC TO YOU, EXCEPT

          FOR THE…, UH, SIGNED YOUR NAME RIGHT THERE; OTHERWISE IT

          DOESN’T EVEN HAVE YOUR NAME PRINTED, RIGHT?

    A:    M-HMM.

    Q:    ANYWAYS AND KIM…, KIM WAS THERE TOO. LONG STORY SHORT…, AND

          THERE’S MORE DOCUMENTS THAT WE HAVE FROM THEM THAT WE’RE…,

          ANOTHER DETECTIVE HAS RIGHT NOW. BUT…, UH, ANYWAYS I JUST

          WANT YOU TO KNOW THAT I’M NOT JUST BEING HALF COCKED HERE, I’M

          NOT JUST TRYING TO BE LIKE… YOU KNOW WHATEVER; I’M TRULY

          TRYING TO…

    A:    YEAH, OF COURSE.

    Q:    …THOROUGHLY INVESTIGATE THIS THING.

    A:    OF COURSE.

    Q:    ONE OF THE THINGS THAT I SAW IN THE NOTES, UH, FROM YOUR

          INTERVIEW WITH…, UH, INTERVIEW WHATEVER, YOUR STATEMENT…,

          YOUR…

    A:    WITH KIM.

    Q:    …YEAH, WITH…, WITH NOT JUST KIM, BUT ALSO…, UH, MS. HEIDI. UH,

          WERE THEY BOTH IN THE ROOM, IS THAT RIGHT?

    A:    YES.

    Q:    OKAY. UH, YOU SAID SOMETHING ABOUT WHEN IT HAPPENED WITH

          GABBY YOU BROUGHT HER TO THEM, TELL ME ABOUT THAT.



    STATEMENT OF ALI AL-AWADI             DP14-0088487        PAGE 135 OF 185

                                                                                     197
 Case1:15-cr-00072-TWP-DML
Case  1:15-cr-00072-TWP-DML Document
                             Document57-4
                                      148-1Filed
                                              Filed 12/12/16Page
                                                  01/22/16    Page 198
                                                                 136 of of
                                                                        185349PageID
                                                                               PageID329
                                                                                      #:
                                       3562



    A:    OKAY, UH IT WAS…, I…, I THINK IT WAS THE BEGINNING OF THIS YEAR.

    Q:    M-HMM.

    A:    UH…

    Q:    LIKE JANUARY OR LIKE THE BEGINNING OF THE SEMESTER…

    A:    …I THINK…

    Q:    …LIKE THIS FALL?

    A:    …THE ACTUAL BEGINNING OF THIS YEAR.

    Q:    OKAY, LIKE BACK IN JANUARY, FEBRUARY?

    A:    UH HUH…

    Q:    OKAY.

    A:    …IF I REMEMBER CORRECTLY.

    Q:    YEAH.

    A:    UH, SHE WAS COMPLAINING ABOUT PAIN DOWN THERE.

    Q:    M-HMM.

    A:    AND IT WASN’T JUST HER, IT WAS ANOTHER CHILD NAMED KENNEDY AS

          WELL.

    Q:    IS THAT A LITTLE GIRL OR BOY OR…?

    A:    IT WAS A LITTLE GIRL.

    Q:    OKAY.

    A:    AND…

    Q:    WHAT’S…, WHAT ARE THESE KIDS’ LAST NAMES; GABBY WHAT?

    A:    GABBY             AND KENNEDY…, UH,                  . (UNSURE OF NAME

          SPELLINGS)



    STATEMENT OF ALI AL-AWADI             DP14-0088487        PAGE 136 OF 185

                                                                                     198
 Case1:15-cr-00072-TWP-DML
Case  1:15-cr-00072-TWP-DML Document
                             Document57-4
                                      148-1Filed
                                              Filed 12/12/16Page
                                                  01/22/16    Page 199
                                                                 137 of of
                                                                        185349PageID
                                                                               PageID330
                                                                                      #:
                                       3563



    Q:    OKAY.

    A:    UH, AND THE SAME THING HAPPENED IN THE SENSE THEY SAID THERE

          WAS PAIN AND I IMMEDIATELY TOOK ‘EM TO THE NURSE, WHO WAS MS.

          TAWANA HURST. (UNSURE OF NAME AND SPELLING)

    Q:    WHO WAS…, WELL WHO’D THEY SAY…, WHO’D THEY SAY THEY HAD

          PAIN…, DID THEY TELL YOU OR SOMEONE ELSE OR WHAT?

    A:    WELL GABBY CAME UP TO ME AND TOLD ME.

    Q:    OKAY.

    A:    AND KENNEDY ALSO DID AS WELL, BUT WITH KENNEDY SHE WAS SITTING

          ON THE CARPET LIKE REALLY CLUTCHING HER PANTS LIKE THIS.

    Q:    HMM.

    A:    AND I IMMEDIATELY WENT AND TOLD THE NURSE, THE NURSE WHO

          IMMEDIATELY WENT AND TOLD MS. HEIDI.

    Q:    M-HMM.

    A:    BECAUSE I…, LIKE I TOLD YOU I NEVER WANT TO BE A PART OF THAT.

    Q:    SURE, YEAH, YEAH, YEAH.

    A:    AND UH, THAT WAS WHAT THAT WAS SAYING, IS AS SOON AS THAT

          HAPPENED I DID GO UP TO THEM AND TELL THEM IT DID…, THERE WAS

          PAIN.

    Q:    OH OKAY, OKAY.

    A:    BECAUSE I DIDN’T WANT TO BE THE ONE.




    STATEMENT OF ALI AL-AWADI             DP14-0088487        PAGE 137 OF 185

                                                                                     199
 Case1:15-cr-00072-TWP-DML
Case  1:15-cr-00072-TWP-DML Document
                             Document57-4
                                      148-1Filed
                                              Filed 12/12/16Page
                                                  01/22/16    Page 200
                                                                 138 of of
                                                                        185349PageID
                                                                               PageID331
                                                                                      #:
                                       3564



    Q:    DID…, WAS THERE ANY EVER ANY KIND OF THING THAT HAPPENED WITH

          ANY OF THOSE GIRLS EVEN JUST LIKE WITH…, WITH           , HOW IT WAS

          JUST A SORT OF ACCIDENTAL THING THAT YOU DIDN’T DO?

    A:    NOT AT ALL.

    Q:    THERE’S NOTHING…, NOTHING LIKE THAT WITH THEM?

    A:    NO, NOT AT ALL AND…

    Q:    OKAY.

    A:    …EVEN THEN MS. HEIDI SAID, UH, IT MAY BE BECAUSE OF

          DEHYDRATION…

    Q:    YEAH.

    A:    …WHICH MAY HAVE CAUSED THEM TO PAIN…, HAVE PAIN, BUT REALLY

          AFTER THAT THEY NEVER COMPLAINED ABOUT ANYTHING.

    Q:    OKAY.

    A:    AND I EVEN DID GO UP TO CHIANA AND TELL THEM, HEY, UH, I TOLD

          CHIANA, KENN…, KENNEDY WAS PRETTY MUCH REALLY CLUTCHING IT…

    Q:    M-HMM.

    A:    …I KNOW SHE TOOK HER TO THE NURSE OR IF IT WASN’T CHIANA, IT WAS

          WHOEVER WAS UP FRONT AT THE TIME.

    Q:    I GOTCHA.

    A:    BUT I DO REMEMBER I DID TELL MS. TAWANA THAT HAD 2 GIRLS HAD

          BEEN SAYING THEY HURT…

    Q:    M-HMM.

    A:    …NOT JUST ONE.



    STATEMENT OF ALI AL-AWADI             DP14-0088487        PAGE 138 OF 185

                                                                                     200
 Case1:15-cr-00072-TWP-DML
Case  1:15-cr-00072-TWP-DML Document
                             Document57-4
                                      148-1Filed
                                              Filed 12/12/16Page
                                                  01/22/16    Page 201
                                                                 139 of of
                                                                        185349PageID
                                                                               PageID332
                                                                                      #:
                                       3565



    Q:    I GOTCHA, OKAY.

    A:    AND I WAS…

    Q:    NOTHING CAME OF THAT THOUGH, THAT WAS NOT (INAUDIBLE-

          UNSURE)…

    A:    …NOTHING AT ALL.

    Q:    NO ONE ACCUSED YOU OF ANYTHING?

    A:    UH, NOTHING, NO.

    Q:    THERE WASN’T ANY ACCIDENTAL THING WHERE YOU ACCIDENTALLY…?

    A:    NOT AT ALL, I HAVE…, UH, LIKE…

    Q:    I KNOW GABBY WAS THE ONE GIRL THERE THOUGH THEY WAS TALKING

          ABOUT YOU KNOW PICKING HER UP, HAD YOU PICKED HER UP BEFORE

          THAT OR…?

    A:    NO, BECAUSE THAT WAS…, UH, IT WAS LIKE AS SOON AS I WALKED INTO

          THE ROOM…

    Q:    M-HMM.

    A:    …SHE WOULD…, SHE JUST CAME AND TOLD ME…

    Q:    OKAY.

    A:    …AND AS IT HAPPENED THEN I JUS…, WENT AND TOOK HER TO THE

          NURSE.

    Q:    WHAT EXACTLY DID SHE SAY?

    A:    SHE SAID, IT HURTS DOWN THERE AND…

    Q:    OKAY AND THEN THERE’S SOME REFERENCE TO LIKE A LITTLE BOY

          MAYBE LIKE TUESDAY OF THIS WEEK OR SOMETHING…



    STATEMENT OF ALI AL-AWADI             DP14-0088487        PAGE 139 OF 185

                                                                                     201
 Case1:15-cr-00072-TWP-DML
Case  1:15-cr-00072-TWP-DML Document
                             Document57-4
                                      148-1Filed
                                              Filed 12/12/16Page
                                                  01/22/16    Page 202
                                                                 140 of of
                                                                        185349PageID
                                                                               PageID333
                                                                                      #:
                                       3566



    A:    IT WAS…, IT WAS…

    Q:    …OR WHAT WAS THAT?

    A:    …ACTUALLY…, UH, MS. CATHIE TOLD ME ABOUT IT. A LITTLE BOY

          NAMED LUCAS IN OUR CLASSROOM HAS BEEN COMPLAINING THAT HIS

          PENIS HURTS.

    Q:    OKAY.

    A:    BUT REALLY THE ONLY TIME HE DOES THAT IS WHENEVER HE’S PULLING

          UP HIS UNDERWEAR. SO MS. CATHIE SENT A MESSAGE OUT AND MS.

          CATHIE WAS THE ONE WHO NOTICED IT, IT WASN’T EVEN ME, I DIDN’T

          EVEN KNOW ABOUT IT.

    Q:    OH OKAY, SO YOU DIDN’T HAVE ANYTHING TO DO WITH THAT.

    A:    AND SHE TOLD ME ABOUT IT SHE WAS LIKE, HE’S BEEN COMPLAINING HIS

          PENIS HURTS.

    Q:    OKAY.

    A:    HE DOESN’T SAY IT AROUND ME; HE DIDN’T SAY IT AROUND ANYONE. SO

          SHE TOLD…, SHE SENT A MESSAGE IN THE IPAD TO THE PARENTS SAYING

          MAYBE IT WAS…, HIS UNDERWEAR’S TOO TIGHT.

    Q:    SO YOU GUYS USE MESSAGES BACK AND FORTH WITH THE PARENTS?

    A:    UH, WHENEVER WE HAVE A SIGNAL WE’RE ABLE TO SEND THEM

          MESSAGES EASILY.

    Q:    OH OKAY, OKAY.

    A:    AND…

    Q:    BUT THAT WASN’T ANYTHING TO DO WITH YOU, YOU…



    STATEMENT OF ALI AL-AWADI             DP14-0088487        PAGE 140 OF 185

                                                                                     202
 Case1:15-cr-00072-TWP-DML
Case  1:15-cr-00072-TWP-DML Document
                             Document57-4
                                      148-1Filed
                                              Filed 12/12/16Page
                                                  01/22/16    Page 203
                                                                 141 of of
                                                                        185349PageID
                                                                               PageID334
                                                                                      #:
                                       3567



    A:    NOT AT ALL, I…

    Q:    …YOU DIDN’T HELP HIM USE THE BATHROOM RIGHT BEFORE THAT OR

          ANYTHING OR…?

    A:    …NO, HE…, AND SHE TOLD ME SHE NOTICED IT LIKE 2 DAYS BEFORE

          THAT, SO…

    Q:    OKAY.

    A:    …SHE’S THE ONE WHO TOLD ME ABOUT THAT.

    Q:    OKAY, THAT WASN’T IN YOUR WRITTEN STATEMENT, BUT THOSE 2 KIDS’

          NAMES IN PARTICULAR WAS BROUGHT UP, UH, YOU KNOW SO I JUST

          WANTED TO ASK ABOUT THOSE.

    A:    YEAH.

    Q:    NOT THAT I THINK THOSE ARE ANYTHING, I JUST WANTED…

    A:    I TOL…, I TOLD MS. HEIDI ABOUT THAT BECAUSE I TOLD HER FACE TO

          FACE THAT WHENEVER THERE’S ANYTHING LIKE THAT I DON’T WANT TO

          BE THE ONE…

    Q:    YOU’VE ALWAYS…

    A:    …ON THE OTHER END OF IT.

    Q:    …YEAH.

    A:    I ALWAYS GO UP TO THEM AND TELL THEM…

    Q:    YEAH, YEAH, YOU…

    A:    …SO AND I MEAN EVEN IF THERE MAY BE DNA OR SOMETHING I’M

          AROUND THESE KIDS ALL DAY, I DON’T KNOW IF THAT IS…




    STATEMENT OF ALI AL-AWADI             DP14-0088487        PAGE 141 OF 185

                                                                                     203
 Case1:15-cr-00072-TWP-DML
Case  1:15-cr-00072-TWP-DML Document
                             Document57-4
                                      148-1Filed
                                              Filed 12/12/16Page
                                                  01/22/16    Page 204
                                                                 142 of of
                                                                        185349PageID
                                                                               PageID335
                                                                                      #:
                                       3568



    Q:    DO YOU THINK THERE’S ANY REASON THERE WOULD BE YOUR DNA…?

    A:    NO, I MEAN OTHER THAN THE ONE TIME SHE WAS LIKE…, UH, I ASKED

          HER…, SHE WAS LIKE, UH, SHE SAID SHE HAD NEW PANTIES.

    Q:    M-HMM.

    A:    AND I TOLD HER WHERE’S HER BELT, SHE’S LIKE MY DAD DIDN’T BRING…,

          UH, FORGOT TO PUT IT ON.

    Q:    M-HMM.

    A:    SO THEN I…, UH, I TOLD HER HER PANTS ARE TOO LOOSE AND THAT

          WOULD BE THE ONLY TIME MY FINGERS WERE EVEN ON HER PANTS, SO.

    Q:    OH, WHEN WAS THAT?

    A:    THE SAME TIME DURING THE NAPTIME, IT WAS LIKE BEFORE…, AS SOON

          AS LIKE…, BUT…

    Q:    OH, WHAT…, SO YOU’RE TALKING ABOUT YESTERDAY?

    A:    …YES.

    Q:    OKAY. TELL ME MORE ABOUT THAT CAUSE…

    A:    SHE…

    Q:    …WHEN DID THAT HAPPEN?

    A:    …UH, AS SOON AS I LAID DOWN, SHE…, SHE JUST RAN OVER AND SAID I

          HAVE NEW PANTIES ON.

    Q:    OKAY.

    A:    AND I SAID…

    Q:    DID SHE SHOW YOU HER PANTIES?

    A:    …NO.



    STATEMENT OF ALI AL-AWADI             DP14-0088487        PAGE 142 OF 185

                                                                                     204
 Case1:15-cr-00072-TWP-DML
Case  1:15-cr-00072-TWP-DML Document
                             Document57-4
                                      148-1Filed
                                              Filed 12/12/16Page
                                                  01/22/16    Page 205
                                                                 143 of of
                                                                        185349PageID
                                                                               PageID336
                                                                                      #:
                                       3569



    Q:    OKAY.

    A:    AND…

    Q:    WHAT COLOR WERE THEY?

    A:    …WELL SHE WAS TRYING TO, BUT I TOLD HER, DON’T DO IT…

    Q:    OKAY.

    A:    …SO.

    Q:    SO JUST START FROM THE BEGINNING AND TELL ME THAT. SO YOU…,

          YOU COME IN THE ROOM, YOU RELIEVE HER, SHE LEAVES…

    A:    UH, THAT WAS ANOTHER THING I JUST WAS KIND OF LIKE FOGGY ABOUT,

          BECAUSE IT…, I DIDN’T KNOW IF IT WAS REALLY RELEVANT OR NOT.

    Q:    I MEAN IT’S…, KINDA AT THIS POINT IT’S…

    A:    THAT IS, IT’S KINDA RELEVANT NOW THAT YOU’RE TELLING ME…

    Q:    …YEAH, TELL ME…

    A:    …ABOUT ALL THAT.

    Q:    …TELL ME ALL ABOUT IT.

    A:    SO SHE…, UH, SHE TOLD ME SHE HAD NEW PANTIES ON AND I WAS LIKE,

          OKAY, THAT’S NICE,      , BECAUSE I MEAN HONESTLY I DIDN’T FEEL

          VERY COMFORT ABOUT…, COMFORTABLE ABOUT THE…, THE TO…, THE

          TOPIC. SO, UH, AND THEN I WAS LIKE, WHERE’S YOUR BELT, YOUR PANTS

          ARE TOO LOOSE AND THEN I LIKE JUST SHOOK HER PANTS LIKE THIS

          KINDA.

    Q:    WHERE…, WHERE ON HER BODY?

    A:    UH, IT WAS LIKE RIGHT AROUND HERE, I WAS LIKE…



    STATEMENT OF ALI AL-AWADI             DP14-0088487        PAGE 143 OF 185

                                                                                     205
 Case1:15-cr-00072-TWP-DML
Case  1:15-cr-00072-TWP-DML Document
                             Document57-4
                                      148-1Filed
                                              Filed 12/12/16Page
                                                  01/22/16    Page 206
                                                                 144 of of
                                                                        185349PageID
                                                                               PageID337
                                                                                      #:
                                       3570



    Q:    SO LIKE ON THE…, LIKE…

    A:    YEAH.

    Q:    …WHAT KIND OF PANTS WAS SHE WEARING?

    A:    JEANS.

    Q:    OKAY, WHAT COLOR WERE THEY?

    A:    AND…, UH, BLUE, IT WASN’T ANYTHING OUT… (UNSURE)

    Q:    LIKE REGULAR BLUE JEANS OR LIKE BRIGHT BLUE LIKE LITTLE…

          (INAUDIBLE-UNSURE)?

    A:    LIKE A LITTLE DARKER THAN NORMAL BLUE JEANS, BUT THEN AGAIN

          THE LIGHTS WERE…

    Q:    BUT JUST LIKE DENIM THOUGH, NOT LIKE…?

    A:    …IT…, I DON’T THINK THEY WERE TOO DARK.

    Q:    OKAY.

    A:    BUT I MEAN…, BUT I DIDN’T REALLY SEE ANYTHING ABOUT THAT,

          BECAUSE SHE…

    Q:    YEAH.

    A:    …USUALLY JUST HAS A BELT ON…

    Q:    BUT YOU…, YOU…, YOU GRABBED RIGHT HERE…

    A:    YEAH.

    Q:    AND JUST DID…, DID LIKE THIS?

    A:    KINDA LIKE THIS, BECAUSE…

    Q:    NOW WHERE WERE…, WHERE WERE YOU WHEN THAT HAPPENED?

    A:    I WAS JUST SITTING LIKE…



    STATEMENT OF ALI AL-AWADI             DP14-0088487        PAGE 144 OF 185

                                                                                     206
 Case1:15-cr-00072-TWP-DML
Case  1:15-cr-00072-TWP-DML Document
                             Document57-4
                                      148-1Filed
                                              Filed 12/12/16Page
                                                  01/22/16    Page 207
                                                                 145 of of
                                                                        185349PageID
                                                                               PageID338
                                                                                      #:
                                       3571



    Q:    OKAY.

    A:    …IT WAS BEFORE I SAT DOWN SHE SAID IT, SO AS I WAS SITTING DOWN

          THEN…

    Q:    AND YOU SAID YOU LAID DOWN AT FIRST, IS THAT RIGHT?

    A:    I MEAN YEAH, I LAID DOWN…

    Q:    OKAY.

    A:    …BUT THEN SHE STARTED TELLING ME.

    Q:    WAS SHE SITTING UP OR LAYING DOWN OR WHATEVER WAY?

    A:    SHE WAS SITTING DOWN…, LAYING DOWN.

    Q:    SHE WAS LAYING DOWN…

    A:    RIGHT.

    Q:    …WHEN YOU…, YOU DID THAT WITH HER PANTS?

    A:    UH, YEAH, BECAUSE IT WAS AROUND THAT TIME AND THEN I…

    Q:    OKAY.

    A:    …USUALLY SHE HAS A BELT ON ALL THE TIME, SO I WANTED TO SEE IF I

          COULD TIGHTEN HER BELT, BECAUSE SHE ALWAYS COMES UP TO A

          TEACHER…, RE…, REGARDLESS WHO THE TEACHER IS…

    Q:    YEAH.

    A:    …SHE DOESN’T KNOW HOW TO BUCKLE HER BELT.

    Q:    YEAH.

    A:    SO SHE’LL HAVE HER PANTS ALL THE WAY AND THEN SHE’LL JUST GO UP

          TO A TEACHER LIKE THIS AND WANT…, WANTS THEM TO BUCKLE IT FOR

          HER.



    STATEMENT OF ALI AL-AWADI             DP14-0088487        PAGE 145 OF 185

                                                                                     207
 Case1:15-cr-00072-TWP-DML
Case  1:15-cr-00072-TWP-DML Document
                             Document57-4
                                      148-1Filed
                                              Filed 12/12/16Page
                                                  01/22/16    Page 208
                                                                 146 of of
                                                                        185349PageID
                                                                               PageID339
                                                                                      #:
                                       3572



    Q:    OKAY.

    A:    AND I’VE DONE THAT MAYBE 2 TIMES, I HAVEN’T EVEN…, I USUALLY JUST

          TELL HER TO TRY.

    Q:    OKAY.

    A:    AND SOMETIMES SHE CAN GET IT, SOMETIMES SHE CAN’T.

    Q:    OKAY.

    A:    AND OTHER THAN THAT I MEAN THERE WAS NO CONTACT LIKE THAT AT

          ALL.

    Q:    OKAY.

    A:    AND THERE WASN’T EVEN LIKE…

    Q:    TELL ME MORE ABOUT THAT, SO LIKE WHEN YOU…, SHE SAID I HAVE

          NEW PANTIES AS YOU WERE STANDING UP YOU WENT AHEAD AND LAID

          DOWN THERE…

    A:    I…, I MEAN I…

    Q:    …AND THEN WHAT DID SHE SAY?

    A:    …LI…, I JUST SAID OKAY, THAT’S NICE AND THEN I LAID DOWN AND THEN

          SHE WAS LI…, LIKE TRYING TO SHOW ME, I WAS LIKE, NO, NO THANK

          YOU,     , I…, IT’S OKAY; LIKE PRETTY MUCH NOT TO GET HER UPSET.

    Q:    HOW DID SHE TRY TO SHOW YOU, WHAT DID SHE DO TO TRY TO SHOW

          YOU?

    A:    SHE WAS JUST LIKE…, TRYING TO LIFT UP HER SHIRT A LITTLE BIT.

    Q:    OKAY.

    A:    BUT IT WASN’T…, SHE WASN’T PULLING ANYTHING DOWN AT ALL.



    STATEMENT OF ALI AL-AWADI             DP14-0088487        PAGE 146 OF 185

                                                                                     208
 Case1:15-cr-00072-TWP-DML
Case  1:15-cr-00072-TWP-DML Document
                             Document57-4
                                      148-1Filed
                                              Filed 12/12/16Page
                                                  01/22/16    Page 209
                                                                 147 of of
                                                                        185349PageID
                                                                               PageID340
                                                                                      #:
                                       3573



    Q:    WHAT KIND OF SHIRT WAS SHE WEARING?

    A:    I HAVE NO IDEA.

    Q:    DID SHE LIFT UP YOUR SHIRT OR…

    A:    NO, SHE WAS LIKE GOING…

    Q:    …OR HER SHIRT I MEAN, I’M SORRY.

    A:    …SHE WAS GOING TO GRAB IT AND I JUST FIGURED SHE WAS GOING TO

          DO IT, SO I SAID NO THANK YOU.

    Q:    OKAY. SO YOU JUST SAID NO THANK YOU?

    A:    YEAH, I SAID NO THANK YOU, IT’S OKAY.

    Q:    OKAY.

    A:    SO, UH, AND THEN I…, I NOTICED HER PANTS WERE PRETTY LOOSE AND

          THEN THAT’S WHEN I ASKED HER WHERE WAS HER BELT AND THEN I

          TOLD HER IT WAS LOOSE.

    Q:    OKAY.

    A:    AND THAT WAS…, THAT WAS THAT, THAT WAS IT.

    Q:    SO WHEN YOU KINDA SHOOK HER PANTS AND TOLD HER HER PANTS

          WERE LOOSE AND ASKED HER WHERE HER BELT WAS…

    A:    YEAH.

    Q:    …AND THEN WHAT DID SHE SAY?

    A:    SHE SAID HER DAD FORGOT HER BELT IN THE MORNING.

    Q:    OKAY. DID YOU SAY ANYTHING BACK TO HER AFTER SHE SAID THAT?

    A:    I SAID, WELL YOU SHOULD’VE REMEMBERED AND THEN SHE’S JUST LIKE,

          NO, THAT’S IT.



    STATEMENT OF ALI AL-AWADI              DP14-0088487       PAGE 147 OF 185

                                                                                     209
 Case1:15-cr-00072-TWP-DML
Case  1:15-cr-00072-TWP-DML Document
                             Document57-4
                                      148-1Filed
                                              Filed 12/12/16Page
                                                  01/22/16    Page 210
                                                                 148 of of
                                                                        185349PageID
                                                                               PageID341
                                                                                      #:
                                       3574



    Q:    YEAH. DID SHE TELL YOU ABOUT HER PANTIES OR SAY ANYTHING ABOUT

          THEM?

    A:    NO, SHE JUST SAID I HAVE NEW PANTIES THAT WAS IT.

    Q:    OKAY. UH, OKAY. WELL THAT…, BUT…, UH, SEE THERE’S NO WAY YOUR

          DNA WOULD GET ON…,

    A:    AND IT…, IT…

    Q:    …I MEAN IN…, INSIDE OF HER THAT WAY. I JUST…, UH, YOU KNOW WHAT

          I’M SAYING, I CAN’T IMAGINE, THERE’S NO WAY IN THE WORLD YOUR

          DNA WOULD BE ON HER INSIDE OF HER LIKE THAT. SO THAT’S…, THAT’S

          CERTAINLY NOT A WAY, THAT COULDN’T HAVE BEEN IT. (UNSURE)

    A:    AND IT COULD BE FROM CONTACT TO CONTACT, LIKE IF SHE HOLDS MY

          HAND AND THEN TOUCHES ANY PART OF HER BODY?

    Q:    NO, NOT THAT PART.

    A:    OKAY.

    Q:    NO, NO, NOTHING LIKE THAT, NOTHING LIKE THAT. UH, ALRIGHT…

    A:    AND I’M JUST TRYING TO COVER MY BASES.

    Q:    NO, I THOUGHT THAT MIGHT COVER IT, UH, NEVER MIND THOUGH

          THAT’S…, THAT’S CERTAINLY NOT IT. ANYWAYS, UH, WELL SO WHEN…,

          UH, WHEN WE CONDUCT OUR INVESTIGATION WE REALLY WANT TO BE

          THOROUGH LIKE I SAID…

    A:    OF COURSE.

    Q:    …AND DON’T LEAVE ANY STONES UNTURNED AND…, AND…, AND THAT’S

          GOOD FOR EVERYBODY, RIGHT?



    STATEMENT OF ALI AL-AWADI             DP14-0088487        PAGE 148 OF 185

                                                                                     210
 Case1:15-cr-00072-TWP-DML
Case  1:15-cr-00072-TWP-DML Document
                             Document57-4
                                      148-1Filed
                                              Filed 12/12/16Page
                                                  01/22/16    Page 211
                                                                 149 of of
                                                                        185349PageID
                                                                               PageID342
                                                                                      #:
                                       3575



    A:    YEAH, UH…

    Q:    CAUSE IT GIVES YOU…

    A:    …THAT’S WHY I’M TRYING TO TELL YOU EVERYTHING…

    Q:    …A FULL CHANCE ABOUT…, YEAH.

    A:    …AND WHAT I REMEMBERED ABOUT THAT I WANTED TO TELL YOU, I’M

          NOT…

    Q:    YEAH.

    A:    …HIDING ANYTHING FROM YOU GUYS.

    Q:    YEAH AND THAT GIVES YOU FULL OPPORTUNITY TO…, TO…, TO GET THE

          BEST YOU KNOW FAIR SHAKE AT THIS AND…, AND YOU KNOW WHAT

          NOBODY WANTS…, WANTS ME TO JUST NOT DO MY JOB, BECAUSE THEN

          THAT LEAVES A CLOUD OF SUSPICION HANGING OVER YOU CAUSE

          PEOPLE LIKE, WELL HE DIDN’T DO A GOOD JOB. SO MUCH BETTER FOR

          YOU, UH, ESPECIALLY YOU KNOW IF YOU DIDN’T DO ANYTHING FOR ME

          TO DO MY JOB WELL AND DO IT FAIRLY.

    A:    OF COURSE.

    Q:    SO THAT BENEFITS YOU, BUT ALSO FOR THEM, BECAUSE YOU KNOW YOU

          GOT TO FIGURE FROM THEIR PERSPECTIVE THERE’S 2 SIDES TO EVERY

          STORY. YOU KNOW HER PARENTS AREN’T SURE THAT SOMETHING DIDN’T

          HAPPEN YOU KNOW WHAT I MEAN?

    A:    YEAH, I MEAN…

    Q:    AND SO THEY WANT TO KNOW THAT I’M DOING A THOROUGH JOB TO

          MAKE SURE…



    STATEMENT OF ALI AL-AWADI             DP14-0088487        PAGE 149 OF 185

                                                                                     211
 Case1:15-cr-00072-TWP-DML
Case  1:15-cr-00072-TWP-DML Document
                             Document57-4
                                      148-1Filed
                                              Filed 12/12/16Page
                                                  01/22/16    Page 212
                                                                 150 of of
                                                                        185349PageID
                                                                               PageID343
                                                                                      #:
                                       3576



    A:    …AND I…, I LOVE HER PARENTS, THEY’RE REALLY GREAT PARENTS,

          THEY’VE ALWAYS BEEN SUPPORTIVE OF OUR CLASSROOMS.

    Q:    YEAH.

    A:    AND THAT’S WHY I WAS SHOCKED.

    Q:    HAV…, HAVE THEY EVER BEEN UPSET WITH YOU FOR ANY REASON OR…?

    A:    NO, NOT THAT I KNOW OF, I MEAN…

    Q:    NEVER GOT ANY FIGHTS OR ANYTHING LIKE THAT?

    A:    …NO, NOT AT ALL AND…

    Q:    NO ARGUMENTS?

    A:    …THAT’S THE THING, I TRY TO CONNECT LIKE I SAID WITH THE CHILDREN

          AND THE PARENTS AS WELL, BECAUSE I MEAN SOME OF THE PARENTS

          ARE A LITTLE SKEPTICAL ABOUT HAVING A MALE TEACHER…

    Q:    YEAH.

    A:    …AND I JUST WANT TO EARN THEIR TRUST, SO.

    Q:    YEAH, HAVE YOU BEEN ABLE TO DO THAT SUCCESSFULLY YOU FEEL

          LIKE?

    A:    FOR…, FOR MOST PARENTS YES, THERE’S JUST THIS ONE LITTLE GIRL IN

          THE OTHER CLASSROOM, HER NAME IS DILLON; HER MOM JUST DIDN’T

          WANT HER AROUND A MALE TEACHER AND I…, I WAS IN THE CLASS

          MAYBE ONE TIME WITH HER. AND SHE JUST WAS LIKE, OH…, AND THEN

          THAT’S WHEN HER MOM SAW ME AND SHE…, SHE JUST STARTED ASKING

          WHO’S HE AND THEY TOLD HER AND THEN SHE JUST PREFERRED I WASN’T

          IN THE CLASSROOM WITH… (UNSURE OF THE NAME AND SPELLING)



    STATEMENT OF ALI AL-AWADI             DP14-0088487        PAGE 150 OF 185

                                                                                     212
 Case1:15-cr-00072-TWP-DML
Case  1:15-cr-00072-TWP-DML Document
                             Document57-4
                                      148-1Filed
                                              Filed 12/12/16Page
                                                  01/22/16    Page 213
                                                                 151 of of
                                                                        185349PageID
                                                                               PageID344
                                                                                      #:
                                       3577



    Q:    WHAT’S DILLON’S LAST NAME?

    A:         . (UNSURE OF NAME AND SPELLING)

    Q:    OKAY AND SO DID THEY MOVE YOU AFTER THAT OR WHAT?

    A:    THEY MOVED HER UP.

    Q:    TO ANOTHER CLASS?

    A:    …TO THE CLASSROOM ABOVE AND THEN I WENT TO THE OTHER

          CLASSROOM.

    Q:    OKAY.

    A:    ONLY BECAUSE THE MOTHER WASN’T TOO COMFORTABLE WITH HAV…,

          HER HAVING A MALE TEACHER, WHICH I THOUGHT WAS VERY

          REASONABLE BECAUSE IF I WERE TO HAVE A DAUGHTER THEN I MIGHT

          BE THE SAME WAY, BUT THEN AGAIN I WOULD WANT TO TRUST

          WHOEVER IT IS…

    Q:    YEAH.

    A:    …BECAUSE THEY WOULDN’T HIRE SOMEONE WHO…, AND I…

    Q:    YEAH.

    A:    …I’VE BEEN…

    Q:    AND YOU…, AND YOU’VE NEVER BEEN ARRESTED FOR ANYTHING LIKE

          THAT BEFORE?

    A:    NOT AT ALL.

    Q:    HAVE YOU EVER BEEN ARRESTED AT ALL EVER?

    A:    NO, NO.

    Q:    NO, OKAY, SO THERE’S NEVER BEEN ANY (INAUDIBLE-BOTH SPEAKING)



    STATEMENT OF ALI AL-AWADI             DP14-0088487        PAGE 151 OF 185

                                                                                     213
 Case1:15-cr-00072-TWP-DML
Case  1:15-cr-00072-TWP-DML Document
                             Document57-4
                                      148-1Filed
                                              Filed 12/12/16Page
                                                  01/22/16    Page 214
                                                                 152 of of
                                                                        185349PageID
                                                                               PageID345
                                                                                      #:
                                       3578



    A:    NO AND THAT’S WHY I’M…

    Q:    YEAH.

    A:    …I’M COOPERATING WITH YOU AS WELL…

    Q:    YEAH, ABSOLUTELY.

    A:    …I’M NOT TRYING TO GIVE YOU GUYS ANYTHING…

    Q:    ABSOLUTELY.

    A:    …I’M NOT TRYING TO BEAT AROUND THE BUSH…

    Q:    YEAH.

    A:    …I’M TRYING TO GIVE YOU GUYS AS MUCH ACCURATE INFORMATION AS I

          CAN.

    Q:    UH, SO I’M JUST TRYING TO THINK, CAUSE HERE’S…, IT’S REAL

          IMPORTANT THAT I GET THIS CLEAR IN MY HEAD. IF THERE’S…, UH,

          CAUSE I CAN THINK OF ANY NUMBER OF WAYS WHERE MAYBE

          SOMETHING…

    A:    OKAY.

    Q:    …MIGHT EXPLAIN IT, BUT…, AND IT CERTAINLY WASN’T FROM JUST

          GRABBING THE OUTSIDE OR EVEN RIGHT HERE, THAT…, THAT…

    A:    OKAY.

    Q:    …COULDN’T TRANSFER DNA AND EVEN TOUCHING HANDS LIKE THAT.

          UH, IT…, IT’S MORE OF A DIRECT TRANSFER THING, NOT A…, NOT A

          SECONDARY THING.

    A:    OF COURSE, SIR. (UNSURE)




    STATEMENT OF ALI AL-AWADI             DP14-0088487        PAGE 152 OF 185

                                                                                     214
 Case1:15-cr-00072-TWP-DML
Case  1:15-cr-00072-TWP-DML Document
                             Document57-4
                                      148-1Filed
                                              Filed 12/12/16Page
                                                  01/22/16    Page 215
                                                                 153 of of
                                                                        185349PageID
                                                                               PageID346
                                                                                      #:
                                       3579



    Q:    UH, ABSOLUTELY IT…, ABOUT ALMOST EXCLUSIVELY A…, A DIRECT

          TRANSFER…

    A:    OKAY.

    Q:    …BECAUSE THE…, THE CONCENTRATION LEVELS THEY FIND IT IN…, UH, I

          CAN’T GET INTO ALL OF IT, BUT…, BUT THE…, THERE’S WHAT THEY CALL

          EPITHELIA CELLS…

    A:    M-HMM.

    Q:    …AND THEY’RE FROM YOUR SKIN AND OTHER PARTS OF YOUR BODY;

          THEY CAN DIFFERENTIATE DIFFERENT TYPES OF EPITHELIA CELLS

          VERSUS OTHER TYPES OF CELLS IN YOUR BODY AND…

    A:    HMM.

    Q:    …ALL THE SCIENCES BEYOND ME CAUSE I’M NOT THE ONE, THE

          SCIENTISTS WILL DO IT, WE HAVE A WHOLE TEAM OF DOCTORS AND

          PHYSICIANS THAT…

    A:    OF COURSE.

    Q:    …UH, EXPERTS THAT…, I DON’T KNOW SCIENTISTS THAT DO THAT STUFF

          IN THE LAB I DON’T MESS WITH; THEY JUST EXPLAIN IT TO ME LATER ON,

          BUT FROM EVERYTHING THEY’VE EVER TOLD ME IT’S MORE OF A DIRECT

          TRANSFER ISSUE.

    A:    OKAY.

    Q:    CAUSE…, BECAUSE BY THE TIME YOU…, YOU TRANSFER THE EPITHELIA

          CELLS ONTO ANOTHER PERSON’S FINGERS AND ALL THAT, UH, THE




    STATEMENT OF ALI AL-AWADI             DP14-0088487        PAGE 153 OF 185

                                                                                     215
 Case1:15-cr-00072-TWP-DML
Case  1:15-cr-00072-TWP-DML Document
                             Document57-4
                                      148-1Filed
                                              Filed 12/12/16Page
                                                  01/22/16    Page 216
                                                                 154 of of
                                                                        185349PageID
                                                                               PageID347
                                                                                      #:
                                       3580



          CONCENTRATION LEVELS GO DOWN TO A POINT WHERE IT’S JUST NOT

          GONNA…, IT’S NOT GONNA BE ADEQUATE TO EXPLAIN IT. UH…

    A:    OKAY.

    Q:    …AND CERTAINLY ON THE OUTSIDE OF HER PANTS JUST ON EVEN THE…,

          UH, THAT’S NOT GONNA DO IT. SO I GUESS I JUST WANT TO MAKE SURE, A

          HUNDRED PERCENT THAT THERE’S NO OTHER WAY…, I MEAN FOR ANY

          REASON…, AND EVEN INNOCENTLY, EVEN INNOCENTLY THERE’S NO

          REASON WHY SOME OF YOUR DNA WOULD’VE BEEN FOUND INSIDE…?

    A:    I MEAN I DO OCCASIONALLY TICKLE THE KIDS LIKE AROUND THEIR

          BELLY AREA, CAUSE THAT’S WHERE THEY’RE USUALLY MOST TICKLISH.

    Q:    YEAH AND…, AND I…, LET ME…, IT’S IMPORTANT MAYBE THAT I FINISH

          MY QUESTION AND THEN THAT’S…, THAT’S HELPFUL, WE’LL GO INTO

          THAT SOME MORE HERE IN A SECOND.

    A:    OKAY.

    Q:    BUT WHAT I’M ASKING IS IS THERE…, IS THERE ANYWAY EVEN…, EVEN

          INNOCENTLY IN THE COURSE OF JUST BEING A HELPFUL PERSON OR

          BEING A GOOD TEACHER ANY REASON AT ALL, EVEN INNOCENTLY, THAT

          WE WOULD FIND ANY OF YOUR DNA INSIDE OF HER VAGINA, DO YOU

          KNOW WHAT I’M SAYING?

    A:    INSIDE, NO, THERE SHOULDN’T BE.

    Q:    TELL ME MORE ABOUT THE TICKLING.

    A:    I MEAN THE KIDS THEY JUST ALWAYS WANT TO PLAY LIKE I TOLD YOU.

    Q:    M-HMM.



    STATEMENT OF ALI AL-AWADI             DP14-0088487        PAGE 154 OF 185

                                                                                     216
 Case1:15-cr-00072-TWP-DML
Case  1:15-cr-00072-TWP-DML Document
                             Document57-4
                                      148-1Filed
                                              Filed 12/12/16Page
                                                  01/22/16    Page 217
                                                                 155 of of
                                                                        185349PageID
                                                                               PageID348
                                                                                      #:
                                       3581



    A:    UH, I DID TICKLE ‘EM A LITTLE BIT, I…, ETHAN, YOU CAN ASK HIM, HE’S…,

          HE…, HE ENJOYS IT, HE ALWAYS FINDS IT HILARIOUS.

    Q:    M-HMM.

    A:    UH, ALL THE OTHER KIDS TOO, BUT I DID TICKLE THEM A LITTLE BIT

          DURING THE PLAY…

    Q:    OH.

    A:    …LIKE IT WAS JUST…

    Q:    YOU SAID YOU LAID THERE FOR ABOUT WHAT HALF AN HOUR, 24…, 25

          MINUTES?

    A:    ABOUT 20 MINUTES…, HMM…

    Q:    OKAY.

    A:    …25 MINUTES MAYBE…

    Q:    OKAY.

    A:    …BUT IT WASN’T TOO MUCH AND…

    Q:    OKAY, SO DURING THAT TIME WHEN YOU’RE TAKING ETHAN’S AND

          PILLOW…

    A:    TAKING THE PILLOWS I’D LIKE…, I TOOK IT AND THEN HE’LL TRY TO

          TAKE IT BACK AND THEN I TICKLED HIM A LITTLE BIT AND…

    Q:    YOU TICKLED ETHAN, OKAY…

    A:    …ETHAN AND THEN I…

    Q:    …WHERE DID YOU TICKLE HIM?

    A:    ON THEIR TUMMIES.

    Q:    OKAY.



    STATEMENT OF ALI AL-AWADI             DP14-0088487        PAGE 155 OF 185

                                                                                     217
 Case1:15-cr-00072-TWP-DML
Case  1:15-cr-00072-TWP-DML Document
                             Document57-4
                                      148-1Filed
                                              Filed 12/12/16Page
                                                  01/22/16    Page 218
                                                                 156 of of
                                                                        185349PageID
                                                                               PageID349
                                                                                      #:
                                       3582



    A:    AND UH,        SHIRT WAS UP A LITTLE BIT AND ETHAN’S TOO AND I

          TICKLED THEIR BELLIES. SO I JUST THOUGHT IT WAS JUST INNOCENT

          PLAY, UH, THAT MIGHT ACCOUNT FOR ANY DNA ON THEIR BODIES, I

          MEAN…

    Q:    YEAH, WELL I…, I’M BEING MORE SPECIFIC.

    A:    YEAH I MEAN…, YEAH, I MEAN LIKE…

    Q:    UH…

    A:    …THE INSIDE OR ANYTHING LIKE THAT, NO, THERE SHOULDN’T BE.

    Q:    OKAY, UH, I GUESS TO…, UH, YOU KNOW I…, I’M…, I…, I’M JUST THINKING

          HERE CAUSE IT COULD BE A NUMBER OF THINGS, BUT…, UH, IF…, IF YOU

          KNOW USING THE BATHROOM, WIPING FOR HER, SOMETHING LIKE THAT, I

          MEAN THAT MIGHT COULD EXPLAIN SOME OF IT TO ME, I…, I DON’T

          KNOW IF…, IF THAT EVEN HAPPENED OR SHE EVEN DID USE THE

          BATHROOM OR I…, I’M TRYING TO THINK IF SHE WERE YOU KNOW HURT

          OR LIKE YOU SAID, I KNOW KIDS SOMETIMES JUST TAKE THEIR CLOTHES

          OFF. UH, I’VE GOT PICTURES OF…, I THINK IT’S OUR…, I’VE GOT 4 KIDS

          AND…, AND THEY’RE ALL ABOUT 2 YEARS APART…

    A:    YEAH.

    Q:    …AND UH, WHEN MY SECOND KID WAS BORN, I HAVE…, THE DAUGHTER

          WAS BORN FIRST AND THE SON WAS BORN SECOND AND THEY’RE 2

          YEARS APART. SO WHEN…, ACTUALLY ABOUT 27 MONTHS, A LITTLE

          OVER 2 YEARS, SO PROBABLY ABOUT THE SAME AGE OF KIDS YOU’RE

          IN…, YOU KNOW IN THE CLASS WITH. BUT WHEN…, WHEN MY SON WAS



    STATEMENT OF ALI AL-AWADI             DP14-0088487        PAGE 156 OF 185

                                                                                     218
 Case1:15-cr-00072-TWP-DML
Case  1:15-cr-00072-TWP-DML Document
                             Document57-4
                                      148-1Filed
                                              Filed 12/12/16Page
                                                  01/22/16    Page 219
                                                                 157 of of
                                                                        185349PageID
                                                                               PageID350
                                                                                      #:
                                       3583



          BORN MY DAUGHTER WAS ABOUT 2 AND A HALF YEARS OLD SHE CAME

          TO THE HOSPITAL TO SEE BABY BROTHER FOR THE FIRST TIME EVER AND

          UH…

    A:    M-HMM.

    Q:    …AND WE HAD…, MY WIFE WAS REAL THOUGHTFUL ABOUT IT AND

          BOUGHT A LITTLE CABBAGE PATCH KID LITTLE BOY TO BE LIKE, OH, THIS

          IS BABY BROTHER AND WE GET…, TRYING TO TEACH HER HOW TO BE

          YOU KNOW…, AND ALSO TO LIKE NOT MAKE HER JEALOUS OF THE NEW

          BABY IF WE GAVE HER HER OWN LITTLE BABY, SO HER AND MOM COULD

          TAKE CARE OF IT AT THE SAME TIME, YOU KNOW UH, IT WAS A GOOD

          IDEA. BUT SHE WAS A LITTLE BIT INTERESTED IN IT, IT WAS SWEET AND

          HELD IT THE LITTLE THICK BABY NEXT TO THE REAL ONE AND…, AND

          WAS INTERESTED IN IT FOR A FEW MINUTES, BUT BEFORE WE KNEW IT

          SHE KINDA GOT OFF THE BED AND WAS WONDERING AROUND AND WE’RE

          ALL LOOKING AT THE BABY, ME AND MY MOM AND UH, MY WIFE,

          WHATEVER WE’RE LOOKING AT THE BABY. BEFORE WE KNEW IT WE

          HEAR MY DAUGHTER IN THE BATHROOM, SHE’S BUCK NAKED IN THE

          SHOWER, (CHUCKLE) JUST STRIPPED ALL OF HER CLOTHES OFF.

    A:    WOW.

    Q:    ABSOLUTELY BUCK NAKED IN THE SHOWER AT THE HOSPITAL ROOM,

          WE’RE LIKE, WHAT ARE YOU DOING, SO. (CHUCKLE) UH, I GET…, THAT’S

          JUST AN EXAMPLE FOR IT, CAUSE LIKE…, LIKE YOU TOLD ME THE STORY

          ABOUT EARLIER ABOUT THE GIRL AND STRIPPED NAKED.



    STATEMENT OF ALI AL-AWADI             DP14-0088487        PAGE 157 OF 185

                                                                                     219
 Case1:15-cr-00072-TWP-DML
Case  1:15-cr-00072-TWP-DML Document
                             Document57-4
                                      148-1Filed
                                              Filed 12/12/16Page
                                                  01/22/16    Page 220
                                                                 158 of of
                                                                        185349PageID
                                                                               PageID351
                                                                                      #:
                                       3584



    A:    M-HMM.

    Q:    UH, KIDS DO THAT STUFF SOMETIMES AND…, AND I CAN JUST IMAGINE

          THE SCENARIO IF SHE WAS…, IF SHE WAS TRYING TO SHOW…, AND I’M

          NOT SAYING THIS HAPPENED CAUSE YOU…, YOU DIDN’T TALK ABOUT IT,

          BUT THAT DOESN’T MEAN IT DIDN’T HAPPEN, IT JUST MEANS THAT

          WHATEVER. BUT MY POINT IS I COULD SEE A SCENARIO WHERE SHE

          MIGHT’VE TAKEN SOME OF HER CLOTHES OFF OR IF SHE’S TRYING TO

          SHOW HER YOUR NEW PANTIES, CAUSE YOU KNOW WHAT SHE TALKED

          ABOUT NEW PANTIES IN THE FORENSIC INTERVIEW TOO.

    A:    SHE DID.

    Q:    SHE…, SHE SPECIFICALLY SAID, I GOT NEW PANTIES YESTERDAY, CAUSE

          WE ASK…, WELL WE ALWAYS ASK ‘EM LIKE WHAT WERE YOU WEARING…

    A:    M-HMM.

    Q:    …YOU KNOW WHICH PANTS, UNDERWEAR, YOU KNOW SHIR…,

          WHATEVER AND SHE WAS SO EXCITED CAUSE SHE SAID, I GOT NEW…

    A:    YEAH, THAT’S WHAT I WAS TELLING YOU…

    Q:    …I GOT NEW PANTIES.

    A:    …BUT I DIDN’T EVEN SIT DOWN AND SHE TOLD ME.

    Q:    YEAH, YEAH. SO ANYWAY SHE TOLD US WHEN WE ASKED HER ABOUT

          HER CLOTHES AND UH, AND UH, I CAN JUST…, LIKE I SAID YOU HAVEN’T

          TALKED ABOUT IT, BUT IT CAN BE FOR A NUMBER OF REASONS, MAYBE

          YOU FEEL UNCOMFORTABLE OR AFRAID IT MIGHT MAKE YOU LOOK BAD

          SOMETHING LIKE THAT, WHEN IN REALITY IF IT’S JUST WHAT KIDS DO,



    STATEMENT OF ALI AL-AWADI             DP14-0088487        PAGE 158 OF 185

                                                                                     220
 Case1:15-cr-00072-TWP-DML
Case  1:15-cr-00072-TWP-DML Document
                             Document57-4
                                      148-1Filed
                                              Filed 12/12/16Page
                                                  01/22/16    Page 221
                                                                 159 of of
                                                                        185349PageID
                                                                               PageID352
                                                                                      #:
                                       3585



          IT’S WHAT KIDS DO. BUT I CAN IMAGINE A SCENARIO WHERE MAYBE

          SOMETHING HAPPENED OR MAYBE SHE TOOK HER PANTIES…, OR TOOK

          HER PANTS DOWN TO SHOW YOU HER PANTIES AND YOU HAD TO HELP

          PUT IT BACK ON, I DON’T KNOW, I’M JUST…, I DON’T KNOW, I’M JUST

          THROWING IT OUT THERE BECAUSE IF THERE…, IT’S A PRETTY SPECIFIC

          PLACE AND WAY TO FIND…

    A:    YEAH.

    Q:    …DNA…

    A:    YEAH.

    Q:    …AND I’M JUST SAYING IF THERE WERE ANY DNA IN THERE AT ALL AND

          WE FOUND IT AND YOU DIDN’T TELL ME ABOUT IT BEFORE HAND AND IT

          WASN’T EXPLAINED…

    A:    YEAH, I’M…

    Q:    …UH, YEAH, WHAT AM I SUPPOSED TO DO WITH THAT…

    A:    …YEAH, EXACTLY.

    Q:    …MAN, THAT’S PRETTY TOUGH YOU KNOW.

    A:    I MEAN…

    Q:    SO THAT’S…, I GUESS THAT’S ALL I’M THINKING ABOUT, SO I DON’T

          KNOW I…

    A:    IF ANYTHING IT WAS JUST A INNOCENT…, I WAS TELLING HER HER

          LITTLE…, UH, HER JEANS…

    Q:    OH YEAH, NO, WE’RE GOOD…

    A:    …THEY’RE…



    STATEMENT OF ALI AL-AWADI             DP14-0088487        PAGE 159 OF 185

                                                                                     221
 Case1:15-cr-00072-TWP-DML
Case  1:15-cr-00072-TWP-DML Document
                             Document57-4
                                      148-1Filed
                                              Filed 12/12/16Page
                                                  01/22/16    Page 222
                                                                 160 of of
                                                                        185349PageID
                                                                               PageID353
                                                                                      #:
                                       3586



    Q:    …THEY’RE…, WE’RE GOOD, IF THAT’S ALL THERE IS I WOULDN’T WORRY

          ABOUT IT, UH, THERE’S NO…, THERE’S NO WAY…

    A:    …AND…

    Q:    …YEAH.

    A:    …THERE WAS…, AND UH…

    Q:    OKAY, IF THAT’S…, IF THAT’S ALL THAT HAPPENED I WOULDN’T…, I

          WOULDN’T BE WORRIED ABOUT IT AT ALL. I’LL BE RIGHT BACK, DO YOU

          NEED TO USE THE RESTROOM OR ANYTHING, MAN?

    A:    UH, NO, I…, IF I COULD TALK TO MY MOM AND LET HER KNOW

          EVERYTHING’S ALRIGHT.

    Q:    UH, I COULD CALL HER IF YOU GIVE ME HER NUMBER; YOU JUST WANT

          ME TO MAKE SURE?

    A:    UH, SH…, SHE MIGHT BE A LITTLE FREAKED OUT IF YOU CALL HER. I

          MEAN…

    Q:    OKAY, WELL…

    A:    …IT’S OKAY, I CAN WAIT A LITTLE BIT.

    Q:    …OKAY. (DOOR OPENS) WELL JUST HANG TIGHT FOR A MINUTE, I’M

          JUST…, YOU KNOW…, UH, WELL WE’LL SEE, I…, I…, I DON’T KNOW, I…,

          I’LL BE BACK IN A MINUTE THOUGH, OKAY?

    A:    OKAY. (DOOR CLOSES)

    (PAUSE)

    Q:    HEY, ONE OF THE THINGS I WANTED TO ASK YOU ABOUT WAS SOMETHING

          FROM…, UH, ETHAN’S INTERVIEW.



    STATEMENT OF ALI AL-AWADI             DP14-0088487        PAGE 160 OF 185

                                                                                     222
 Case1:15-cr-00072-TWP-DML
Case  1:15-cr-00072-TWP-DML Document
                             Document57-4
                                      148-1Filed
                                              Filed 12/12/16Page
                                                  01/22/16    Page 223
                                                                 161 of of
                                                                        185349PageID
                                                                               PageID354
                                                                                      #:
                                       3587



    A:    SURE.

    Q:    NOT A BIG DEAL, I JUST WANT TO ASK YOU ABOUT IT. UH, SAID THAT…,

          UH, THERE’S TIMES WHERE HE’S SUPPOSED TO TURN HIS BACK FROM YOU

          AND      , WHAT…, WHAT’S HE TALKING ABOUT WHEN HE SAID THAT?

    A:    I MAKE ‘EM LOOK THE OTHER WAY FROM EACH OTHER…

    Q:    YEAH.

    A:    …SO THEY DON’T PLAY, BECAUSE LIKE I TOLD YOU THEY STARTED

          HOLDING HANDS BEHIND MY BACK…

    Q:    M-HMM.

    A:    …SO I JUST TOLD THEM BOTH TO TURN THEIR HEADS AND THEN THAT’S

          WHEN I GOT UP AND ACTUALLY STARTED WALKING AROUND RIGHT

          AFTER I TOLD THEM THAT.

    Q:    OKAY, ALRIGHT.

    A:    OTHER THAN THAT I DON’T REALLY TELL THEM NOT TO. BECAUSE IF

          THEY SIT THERE ON THE MATS LOOKING AT EACH OTHER THEY’RE NOT

          GONNA GO TO SLEEP…

    Q:    YEAH.

    A:    …THEY’LL JUST PLAY AROUND AND UH, THERE WAS TIMES…, IT WAS THE

          DAY BEFORE THEY ACTUALLY DID THAT SAME THING AND UNTIL I TOLD

          THEM TO TURN THEIR HEADS THE OTHER WAY THEN THEY FELL ASLEEP,

          BUT BEFORE THAT THEY DIDN’T.




    STATEMENT OF ALI AL-AWADI             DP14-0088487        PAGE 161 OF 185

                                                                                     223
 Case1:15-cr-00072-TWP-DML
Case  1:15-cr-00072-TWP-DML Document
                             Document57-4
                                      148-1Filed
                                              Filed 12/12/16Page
                                                  01/22/16    Page 224
                                                                 162 of of
                                                                        185349PageID
                                                                               PageID355
                                                                                      #:
                                       3588



    Q:    OKAY. WHEN…, UH, WHEN…, SO WHEN YOU TOLD HIM TO TURN HIS…, TO

          TURN HIS HEAD THAT WAS…, OR LOOK…, LOOK THE OTHER WAY THAT

          WAS RIGHT BEFORE YOU GOT UP?

    A:    IT WAS AS I WAS GETTING UP PRETTY MUCH…

    Q:    OKAY.

    A:    …I TOLD HIM LOOK THAT WAY, YOU LOOK THAT WAY AND THEN TOLD

          ‘EM, TAKE A NAP, SO THEY COULD GO TO SLEEP.

    Q:    ALRIGHT, UH, OKAY. SO, UH, ETH…, ETHAN SAID SOME OTHER THINGS

          TOO.

    A:    OKAY.

    Q:    UH, BUT I…, I DON’T KNOW…, DID ANYTHING ELSE HAPPEN WITH ETHAN

          THAT…, THAT DAY THAT MIGHT YOU KNOW ACCOUNT FOR SOME OF THE

          THINGS HE’S SAYING NOW?

    A:    I HAVE NO IDEA TO BE HONEST WITH YOU.

    Q:    YEAH.

    A:    ETHAN’S JUST…, HE’S A…, LIKE THE WHOLE TIME…, UH, HE’S

          EVERYWHERE.

    Q:    YEAH.

    A:    AND LIKE WHEN YOU PLAY WITH HIM HE…, IF YOU SEE HIM IN THE BIG

          GYM PLAYING HE’S ALWAYS THE ONE WHO’S FALLING, GETTING HURT,

          PLAYING, STUFF LIKE THAT…, UH, ANY SEXUAL ACTIONS, NONE AT ALL

          EVER; SAME WITH       , NONE.

    Q:    UH HUH.



    STATEMENT OF ALI AL-AWADI             DP14-0088487        PAGE 162 OF 185

                                                                                     224
 Case1:15-cr-00072-TWP-DML
Case  1:15-cr-00072-TWP-DML Document
                             Document57-4
                                      148-1Filed
                                              Filed 12/12/16Page
                                                  01/22/16    Page 225
                                                                 163 of of
                                                                        185349PageID
                                                                               PageID356
                                                                                      #:
                                       3589



    A:    AND I MEAN OTHER THAN THE…, I SEE AS INNOCENT TICKLING NOTHING

          AT ALL.

    Q:    YEAH. HAD THEY…, WHEN THEY TALKED TO YOU ABOUT…, UH, PICKING

          KIDS UP…

    A:    M-HMM.

    Q:    …HOW LONG AGO WAS THAT CONVERSATION?

    A:    UH, IT WAS EARLY ON THIS YEAR, UH, PROBABLY AROUND WHEN THE

          SNOW STARTED TO MELT A LITTLE BIT.

    Q:    OKAY, SO BACK IN THE EARLY SPRING…

    A:    YEAH, THE SPRING PROBABLY.

    Q:    …APRIL OR SOMETHING OTHER, FEBRUARY, MARCH, WHATEVER?

    A:    M-HMM AND I REMEMBER BECAUSE I WAS A LITTLE UPSET ABOUT IT…

    Q:    M-HMM.

    A:    …BECAUSE I FELT IT WAS A SEXIST THING, BECAUSE THE FEMALE

          TEACHERS COULD PICK UP THE KIDS AND I COULDN’T, BUT THEN I

          STARTED REALIZING THEY WERE JUST PRETTY MUCH LOOKING OUT FOR

          ME.

    Q:    YEAH.

    A:    AND…

    Q:    TELL ME THIS, UH, WHEN…, UH, WELL I…, I GUESS THE THING IS I JUST

          WANT TO MAKE SURE THERE’S NOTHING THAT I’VE LEFT OUT OR FORGOT

          ABOUT.

    A:    UH, FOR SURE.



    STATEMENT OF ALI AL-AWADI             DP14-0088487        PAGE 163 OF 185

                                                                                     225
 Case1:15-cr-00072-TWP-DML
Case  1:15-cr-00072-TWP-DML Document
                             Document57-4
                                      148-1Filed
                                              Filed 12/12/16Page
                                                  01/22/16    Page 226
                                                                 164 of of
                                                                        185349PageID
                                                                               PageID357
                                                                                      #:
                                       3590



    Q:    BECAUSE YOU KNOW YOUR STATEMENT TO ME IS PART OF MY

          INVESTIGATION AND…

    A:    YEAH.

    Q:    …THE THING IS THOUGH IT’S SUCH AN IMPORTANT PART BECAUSE…, UH,

          YOU GOT TO REMEMBER I GET INFORMATION FROM ALL KINDS OF

          SOURCES, RIGHT?

    A:    M-HMM.

    Q:    ALL KINDS OF DIFFERENT SOURCES AND SOME OF IT IS YOU KNOW

          PEOPLE AND THINGS THEY TELL ME AND SOME OF IT IS LIKE YOU KNOW

          PHYSICAL EVIDENCE IF YOU WILL…

    A:    YEAH, YEAH.

    Q:    …YOU KNOW AND…, AND SO WHEN YOU LOOK AT LIKE PEOPLE AND

          WHAT THEY SAY YOU GOT TO THINK WELL WHY WOULD THEY SAID

          THAT…

    A:    YEAH, YEAH.

    Q:    …WHY WOULD THEY…, WHY WOULD THEY BE TRUTHFUL OR

          UNTRUTHFUL ABOUT THIS PARTICULAR THING.

    A:    OKAY.

    Q:    YOU KNOW WHAT I MEAN?

    A:    YEAH.

    Q:    AND WHEN YOU LOOK AT EVIDENCE, THE EVIDENCE SAYS WHAT IT SAYS

          AND YOU DON’T HAVE TO WORRY ABOUT ANY BIAS.

    A:    YEAH.



    STATEMENT OF ALI AL-AWADI             DP14-0088487        PAGE 164 OF 185

                                                                                     226
 Case1:15-cr-00072-TWP-DML
Case  1:15-cr-00072-TWP-DML Document
                             Document57-4
                                      148-1Filed
                                              Filed 12/12/16Page
                                                  01/22/16    Page 227
                                                                 165 of of
                                                                        185349PageID
                                                                               PageID358
                                                                                      #:
                                       3591



    Q:    YOU CAN TRUST…, I THINK YOU WOULD AGREE WHAT SOMEONE SAYS IF

          YOU REALIZE THEY HAVE LESS REASON TO BE BIASED THAN NOT.

    A:    YEAH.

    Q:    YOU KNOW WHAT I’M SAYING, LIKE SO…, SO LIKE IF FOR EXAMPLE, UH,

          YOU’VE HEARD THE TERM LIKE GOLD DIGGER BEFORE? (CHUCKLE)

    A:    YEAH.

    Q:    RIGHT, LIKE SO IF LIKE A 22 YEAR OLD WOMAN MARRIES LIKE AN 85 YEAR

          OLD MAN…

    A:    YEAH.

    Q:    …WHO’S LIKE FILTHY RICH, TAKES A HUGE INSURANCE POLICY OUT ON

          HIM, GETS HIM TO SIGN HIS WILL OVER TO HER COMPLETELY…

    A:    M-HMM.

    Q:    …AND THEN LIKE 6 MONTHS LATER HE LIKE DIES MYSTERIOUSLY OR

          WHATEVER?

    A:    YEAH, YEAH.

    Q:    PEOPLE ARE LIKE, WHAT, OKAY, RIGHT?

    A:    (NO VERBAL RESPONSE)

    Q:    BECAUSE DO YOU THINK SHE HAS A BIAS, A REASON FOR HIM TO BE

          DEAD, RIGHT?

    A:    YEAH.

    Q:    LIKE YEAH, TOTALLY, CAUSE SHE KINDA GETS TO BECOME A

          MILLIONAIRE ONCE HE DIES.

    A:    FOR SURE.



    STATEMENT OF ALI AL-AWADI             DP14-0088487        PAGE 165 OF 185

                                                                                     227
 Case1:15-cr-00072-TWP-DML
Case  1:15-cr-00072-TWP-DML Document
                             Document57-4
                                      148-1Filed
                                              Filed 12/12/16Page
                                                  01/22/16    Page 228
                                                                 166 of of
                                                                        185349PageID
                                                                               PageID359
                                                                                      #:
                                       3592



    Q:    UH, AND SO IF SOMEONE LIKE THAT VERSUS YOU KNOW LET’S SAY IT’S

          AN OLD COUPLE AND THEY’RE BOTH 85 AND THEY’VE BEEN TOGETHER

          THEIR WHOLE LIVES AND THEY MARRIED WHEN THEY WERE BOTH 20 AND

          THEY’VE BEEN TOGETHER 65 YEARS AND THEN THE HUSBAND DIES, DO

          YOU THINK PEOPLE ARE GOING AROUND SUSPECTING HER…

    A:    FOR SURE.

    Q:    …DO YOU KNOW WHAT I MEAN…

    A:    YEAH.

    Q:    …LIKE CASHING IN ON HIS HEALTH IN…, OR LIFE INSURANCE, I MEAN NO,

          THERE’S NO BIAS THERE, THERE’S NO REASON.

    A:    M-HMM.

    Q:    THAT’S…, THAT’S SORT OF AN JUST AN EXAMPLE, BUT IT…, THE POINT IS,

          UH, WHEN PEOPLE DON’T HAVE A REASON TO MAKE SOMETHING UP WE

          TEND TO BELIEVE WHAT THEY SAY A LOT MORE, RIGHT?

    A:    OF COURSE.

    Q:    UH, AND…, AND…, AND HERE’S THE KICKER, MAN, I SEE NO REASON…, I

          SEE NO REASON AT ALL FOR         TO MAKE THIS UP. I CAN’T FIGURE THAT

          OUT, I DON’T SEE…, LIKE SHE’S NOT…, BECAUSE HERE’S THE THING, UH,

          SHE’S…, SHE’S…, UH, VERY CLEARLY SAYING THAT…, THAT YOU DID DO

          SOMETHING TO HER AND SHE’S NOT…

    A:    AND I COMPLETELY UNDERSTAND.

    Q:    …AND SHE’S NOT CHANGING THAT, UH, WHAT YOU MAY NOT KNOW IS

          MS. TYRIA TALKED TO HER AND ASKED HER PROBABLY 10 TIMES.



    STATEMENT OF ALI AL-AWADI             DP14-0088487        PAGE 166 OF 185

                                                                                     228
 Case1:15-cr-00072-TWP-DML
Case  1:15-cr-00072-TWP-DML Document
                             Document57-4
                                      148-1Filed
                                              Filed 12/12/16Page
                                                  01/22/16    Page 229
                                                                 167 of of
                                                                        185349PageID
                                                                               PageID360
                                                                                      #:
                                       3593



    A:    M-HMM.

    Q:    MOST OF THOSE TIMES BEFORE YOU LEFT THE ROOM…, OR BEFORE YOU

          CAME INTO THE ROOM AND TALKED TO            YOURSELF.

    A:    M-HMM.

    Q:    AND UH, A LOT OF THOSE TIMES…, UH, AFTER, 2 OR 3 TIMES AGAIN AFTER

          YOU LEFT THE ROOM…

    A:    M-HMM.

    Q:    …SHE ASKED HER AGAIN AND CLARIFIED VERY SPECIFICALLY AND SHE

          WAS VERY, VERY SPECIFIC WITH TYRIA, BE…, BECAUSE SHE ASKED HER

          SO MANY TIMES SHE GOT VERY, VERY DETAILED INFORMATION FROM



    A:    M-HMM.

    Q:    …IN A WAY THAT NO ONE ELSE BESIDES THE FORENSIC INTERVIEWER

          DID.

    A:    YEAH.

    Q:    AND UH, AND SO WE HAVE MS…., MS. TYRIA THAT SHE TOLD AND SHE DID

          NOT…, I MEAN SHE SAID IT TO HER WITHIN PROBABLY 4 MINUTES OF YOU

          LEAVING THE ROOM SHE TOLD…

    A:    M-HMM.

    Q:    …IN ABOUT MAYBE 5…, I DON’T KNOW, RIGHT AFTER. AND THEN…, UH,

          AND THEN YOU KNOW SHE TOLD HER AGAIN AND AGAIN AND AGAIN AND

          SHE WASN’T ASKING…, I MEAN CAUSE SHE’S THE ONE THAT JUST CAME

          OUT AND SAID IT.



    STATEMENT OF ALI AL-AWADI             DP14-0088487        PAGE 167 OF 185

                                                                                     229
 Case1:15-cr-00072-TWP-DML
Case  1:15-cr-00072-TWP-DML Document
                             Document57-4
                                      148-1Filed
                                              Filed 12/12/16Page
                                                  01/22/16    Page 230
                                                                 168 of of
                                                                        185349PageID
                                                                               PageID361
                                                                                      #:
                                       3594



    A:    M-HMM.

    Q:    IT WASN’T THE KIND OF THING WHERE MS. TYRIA SAT DOWN AND

          STARTED DRILLING HER AND…

    A:    YEAH.

    Q:    …SAYING, WHO TOUCHED YOU, DID…, DID MR. ALI TOUCH YOU…

    A:    YEAH.

    Q:    …DID MS…, DID MS. HEIDI TOUCH YOU…, WHO TOUCHED YOU, WHO

          TOUCHED…, NO, SHE JUST CAME OUT AND TOLD HER OUT OF THE BLUE

          AND SO ANYWAY SHE TOLD HER A BUNCH OF TIMES AND SHE…, UH, SHE

          TOLD YOU.

    A:    YEAH.

    Q:    AND YOU SAID SHE WAS NEXT TO YOU OR YOU CALLED HER OVER…

    A:    YEAH.

    Q:    …AND THE THING IS, UH, MS. TYRIA, MAYBE SHE’S EXAGGERATING,

          MAYBE…, MAYBE YOU’RE MINIMIZING IT, BUT EITHER WAY SHE PUTS…,

          SHE PUTS…, UH,       IN YOUR LAP AT THAT POINT, NOT LIKE SHE PUT

          HER…

    A:    YEAH.

    Q:    …BUT SHE’S SAYING…

    A:    SHE WAS PRETTY CLOSE I KNOW THAT. (UNSURE)

    Q:            WAS IN YOUR LAP AT THAT POINT AND THAT EVEN IN YOUR LAP

          SHE SAID IT AGAIN TO YOU OR RIGHT IN FRONT OF YOU, RIGHT?

    A:    YEAH, UH…



    STATEMENT OF ALI AL-AWADI             DP14-0088487        PAGE 168 OF 185

                                                                                     230
 Case1:15-cr-00072-TWP-DML
Case  1:15-cr-00072-TWP-DML Document
                             Document57-4
                                      148-1Filed
                                              Filed 12/12/16Page
                                                  01/22/16    Page 231
                                                                 169 of of
                                                                        185349PageID
                                                                               PageID362
                                                                                      #:
                                       3595



    Q:    AND…, AND…, AND EVEN WHEN YOU TOLD HER NO THANK YOU OR TOLD

          HER NO OR I DIDN’T DO THAT SHE DIDN’T CHANGE AND SHE DIDN’T SAY,

          OH, I’M SORRY, I’M JUST PLAYING WHATEVER. AND THEN AGAIN, UH,

          AFTER THAT, UH, MS…., FORGET HER NAME, MS. SH….

    A:    SHERBY?

    Q:    WHAT’S THAT?

    A:    SHERBY.

    Q:    NO, NO, NO, NO, THE…, UH, THE…, THE…, THE OFFICE MANAGER, WHAT’S

          HER FIRST…, WHAT’S HER NAME?

    A:    HEIDI?

    Q:    NO, NO, NO.

    A:    KIM, CHIANA?

    Q:    CHIANA… (CHUCKLE)

    A:    OKAY.

    Q:    …I WAS GONNA SAY SHEANA, I KEEP WANTING TO SAY SHEANA, THEN…,

          NO, MS. CHIANA, CHIANA, UH, WAS THE NEXT ONE AND CAUSE…, UH,

          TYRIA TOLD…, OR TYRIA TOLD CHIANA AND CHIANA WENT IN THERE

          AND SHE ASKED HER 2 TIMES.

    A:    M-HMM.

    Q:    ASKED HER 2 TIMES, ASKED HER ONCE SHE SAID EXACTLY WHAT SHE

          TOLD MS. TYRIA, SHE SAID WHAT, AND SHE SAID IT AGAIN A SECOND

          TIME AND I THINK SHE EVEN SAID, DO YOU KNOW THE DIFFERENCE

          BETWEEN TRUTH AND LIE, SHE’S LIKE YEAH…



    STATEMENT OF ALI AL-AWADI             DP14-0088487        PAGE 169 OF 185

                                                                                     231
 Case1:15-cr-00072-TWP-DML
Case  1:15-cr-00072-TWP-DML Document
                             Document57-4
                                      148-1Filed
                                              Filed 12/12/16Page
                                                  01/22/16    Page 232
                                                                 170 of of
                                                                        185349PageID
                                                                               PageID363
                                                                                      #:
                                       3596



    A:    YEAH.

    Q:    …SHE’S LIKE, WE’RE TELLING THE TRUTH OR DID…, DID THIS HAPPEN,

          YEAH. AND THEN AFTER THAT…, UH, CHIANA TOLD…, UH, HEIDI AND

          HEIDI WENT IN THERE AND SAID HEY, WHAT…, WHAT…, WHAT

          HAPPENED…

    A:    M-HMM.

    Q:    …AND SHE SAID TO HER, OH…, YEAH, ALI DID SUCH AND SUCH AND SAID

          THE EXACT SAME THING. UH, AND THEN…, AND THEN AFTERWARDS YOU

          KNOW AND IT’S…, IT’S A SHAME THEY DIDN’T DO IT, BUT THEY…, THEY

          SHOULD HAVE, I DON’T KNOW, I DON’T UNDERSTAND WHY THEY DIDN’T,

          BUT THEY SHOULD…, THEY SHOULD’VE TOLD HER PARENTS.

    A:    YEAH.

    Q:    AND THEY…, THEY…, THEY CHOSE NOT TO FOR SOME REASON, I DON’T

          KNOW, THAT’S GOT NOTHING TO DO WITH YOU…

    A:    M-HMM.

    Q:    …UH, BUT THEY CHOSE NOT TO FOR SOME REASON. SO THEY DIDN’T

          EVEN TELL HER PARENTS, SO THEY JUST SENT HER HOME WITHOUT

          SAYING ANYTHING TO HER PARENTS…

    A:    M-HMM.

    Q:    …AND UH, WOULDN’T YOU KNOW WITHIN…, UH, JUST A…, A SHORT TIME

          OF BEING WITH DAD SHE STARTED COMPLAINING THAT IT WAS HURTING

          DOWN THERE AND UH, DIDN’T REALLY TALK A WHOLE LOT ABOUT IT TO

          ‘EM, BUT EVENTUALLY…, UH, WHEN THEY WENT HOME THE FIRST THING



    STATEMENT OF ALI AL-AWADI             DP14-0088487        PAGE 170 OF 185

                                                                                     232
 Case1:15-cr-00072-TWP-DML
Case  1:15-cr-00072-TWP-DML Document
                             Document57-4
                                      148-1Filed
                                              Filed 12/12/16Page
                                                  01/22/16    Page 233
                                                                 171 of of
                                                                        185349PageID
                                                                               PageID364
                                                                                      #:
                                       3597



          WHEN SHE WAS WITH HER MOM, PROBABLY I DON’T KNOW WITHIN 5

          MINUTES OR SO OF BEING WITH HER MOM HER MOM ASKED HER. DO YOU

          KNOW…, UH, WHEN SHE WAS SITTING IN HER MOM’S LAP HER MOM

          ASKED HER THE FIRST TIME WHAT HAPPENED AND…, AND SHE

          WOULDN’T ANSWER, SHE ACTUALLY KINDA RAN AWAY, HER MOM WENT

          UPSTAIRS INTO HER BEDROOM WITH HER, SHE’S GOT LIKE A ROCKING

          CHAIR IN THE BEDROOM. SHE SITS IN THE ROCKING CHAIR WITH              IN

          HER LAP AND ASKS HER WHAT HAPPENED…

    A:    M-HMM.

    Q:    …AND I GOT TO TELL YOU WHAT HAPPENS NEXT IS KINDA HEART

          BREAKING TO ME, BUT YOU KNOW…

    A:    OF COURSE.

    Q:    …THE TRUTH…, THE TRUTH IS THE TRUTH. UH, SHE ASKED HER AGAIN,

               WHAT’S GOING ON, YOU’RE SAYING IT HURTS DOWN THERE, WHY

          DOES IT HURT AND YOU KNOW WHAT HAPPENED,              PEE’D HER PANTS

          RIGHT THEN AND THERE, WET HERSELF, RELIEVED HER BLADDER, JUST

          LET IT GO AND STARTED CRYING MORE AND MORE AND SAID EXACTLY

          WHAT HAPPENED; SAID THAT YOU HAD TOUCHED HER DOWN THERE.

          AND HERE’S THE THING WHEN I HEARD THAT STORY I’M LIKE, MAN,

          THAT’S PRETTY…, THAT’S MESSED UP AND SO AND…, AND SO WE BRING

          HER IN FOR THE FORENSIC INTERVIEW AND WE TALK TO HER ABOUT IT

          AND WE ASK HER…

    A:    M-HMM.



    STATEMENT OF ALI AL-AWADI             DP14-0088487        PAGE 171 OF 185

                                                                                     233
 Case1:15-cr-00072-TWP-DML
Case  1:15-cr-00072-TWP-DML Document
                             Document57-4
                                      148-1Filed
                                              Filed 12/12/16Page
                                                  01/22/16    Page 234
                                                                 172 of of
                                                                        185349PageID
                                                                               PageID365
                                                                                      #:
                                       3598



    Q:    …AND BEFORE WE COULD EVEN START ASKING HER PRELIMINARY

          QUESTIONS DO YOU KNOW WHAT SHE DID?

    A:    (NO VERBAL RESPONSE)

    Q:    WE DIDN’T EVEN GET A CHANCE TO ASK HER BEFORE SHE STARTED

          SAYING, MR. ALI TOUCHED ME DOWN THERE. SO WE BRING OUT…, WE’VE

          GOT DIAGRAMS YOU KNOW, WE’VE GOT THESE DIAGRAMS, CAUSE YOU

          DON’T…, YOU DON’T WANT…, YOU DON’T WANT A MISTAKE, (SHUFFLING

          PAPERS) YOU DON’T WANT TO MAKE A MISTAKE AND…, AND…, AND

          POINT TO THE WRONG PART OF THE BODY. SO WE…, WHEN WE SAY

          DOWN THERE YOU KNOW WHAT DO YOU CALL IT AND SHE USES HER KID

          WORD WHATEVER SHE USES…

    A:    M-HMM.

    Q:    …BUT THEN WE SAY, HERE’S A MARKER AND HERE’S A DRAWING, MAKE

          SURE…, WE DON’T WANT TO BE CONFUSED HERE, WE DON’T WANT YOU

          TO BE SAYING MY…, MY POO-POO AND THAT MEANS YOUR ARM PIT,

          (CHUCKLE) YOU KNOW WHAT I MEAN…

    A:    YEAH.

    Q:    …ALL OF A SUDDEN SOMEBODY’S GETTING JAMMED UP OVER A

          ARMPIT…

    A:    M-HMM.

    Q:    …WHEN…, WHEN WE THINK POO-POO MEANS…, UH, ARM…, YOU KNOW

          VAGINA…

    A:    M-HMM.



    STATEMENT OF ALI AL-AWADI             DP14-0088487        PAGE 172 OF 185

                                                                                     234
 Case1:15-cr-00072-TWP-DML
Case  1:15-cr-00072-TWP-DML Document
                             Document57-4
                                      148-1Filed
                                              Filed 12/12/16Page
                                                  01/22/16    Page 235
                                                                 173 of of
                                                                        185349PageID
                                                                               PageID366
                                                                                      #:
                                       3599



    Q:    …WHATEVER. SO THIS IS THE DRAWING THAT WE USED WITH HER WHEN

          WE DID THE INTERVIEW AND THIS IS EXACTLY WHERE SHE SAYS THAT

          YOU TOUCHED HER, THAT’S PRETTY UNAMBIGUOUS AND HERE’S THE

          THING TOO…

    A:    OF COURSE.

    Q:    …SHE WAS VERY CLEAR ABOUT WHAT PART OF YOUR BODY THAT SHE

          SAID YOU DID IT WITH AND UH, I GOT TO TELL YOU SHE DIDN’T SAY YOUR

          WATCH.

    A:    I MEAN I…

    Q:    AND SHE DIDN’T SAY YOUR…, YOUR WRIST EITHER AND…, AND…, AND

          THE THING IS AT NO POINT DID SHE…, YOU KNOW ASKED SO MANY

          DIFFERENT TIMES BY SO MANY DIFFERENT PEOPLE AND SHE JUST…, SHE

          SAID IT THE SAME EVERY TIME.

    A:    M-HMM.

    Q:    AND…, AND HERE’S…, HERE’S THE THING I HAVEN’T TOLD YOU YET AND

          THIS MIGHT MAKE A DIFFERENCE BECAUSE HERE’S THE THING,

          WHATEVER HAPPENED IT’S IN THE PAST…

    A:    M-HMM.

    Q:    …AND THE REALITY IS…, IS WE CAN’T CHANGE THE PAST AND IF THERE’S

          DNA IN THERE, MAN YOU CAN’T CHANGE THAT.

    A:    M-HMM.

    Q:    AND…, AND YOU CAN’T CHANGE YOUR DNA…

    A:    M-HMM.



    STATEMENT OF ALI AL-AWADI             DP14-0088487        PAGE 173 OF 185

                                                                                     235
 Case1:15-cr-00072-TWP-DML
Case  1:15-cr-00072-TWP-DML Document
                             Document57-4
                                      148-1Filed
                                              Filed 12/12/16Page
                                                  01/22/16    Page 236
                                                                 174 of of
                                                                        185349PageID
                                                                               PageID367
                                                                                      #:
                                       3600



    Q:    …AND YOU CAN’T CHANGE WHATEVER SAMPLES ARE IN THE VILE DOWN

          AT THE LABORATORY RIGHT NOW EITHER.

    A:    OKAY.

    Q:    THE LIQUID SUSPENSION OR THE SWAB, CAUSE THEY DO IT TWICE TO BE

          THOROUGH.

    A:    OKAY.

    Q:    WE CAN’T CHANGE THAT AND…, AND…, AND STUFF THAT’S IN THE PAST

          YOU KNOW WHAT I’VE MADE A LOT OF MISTAKES IN MY LIFE AND I’VE

          DONE A LOT OF THINGS WRONG AND THERE’S THINGS THAT I’M NOT

          PROUD OF AND THAT IF I COULD HIDE AND BORROW IT UNDERNEATH A

          THOUSAND BRICKS OR A MILLION BRICKS…

    A:    M-HMM.

    Q:    …OR BURY YOU KNOW 50 FEET UNDER THE GROUND AND NEVER LET

          ANYONE SEE IT AGAIN…

    A:    M-HMM.

    Q:    …OR NEVER LET IT SEE THE LIGHT OF DAY AND I WOULD DO IT, OKAY…

    A:    M-HMM.

    Q:    …MISTAKES I’VE MADE IN MY PAST, BUT THE TRUTH IS WE…, WE CAN’T

          CHANGE THE PAST, WE CAN’T MAKE IT DISAPPEAR…

    A:    (INAUDIBLE-UNSURE)

    Q:    …AND IF SOMETHING HAPPENS, AS MUCH AS MAYBE WE WANT IT TO, WE

          CAN’T UNDO SOMETHING THAT’S ALREADY BEEN DONE.

    A:    YEAH. (CLEARING THROAT)



    STATEMENT OF ALI AL-AWADI             DP14-0088487        PAGE 174 OF 185

                                                                                     236
 Case1:15-cr-00072-TWP-DML
Case  1:15-cr-00072-TWP-DML Document
                             Document57-4
                                      148-1Filed
                                              Filed 12/12/16Page
                                                  01/22/16    Page 237
                                                                 175 of of
                                                                        185349PageID
                                                                               PageID368
                                                                                      #:
                                       3601



    Q:    UH, AND…, AND THE THING IS MISTAKES ARE UNIVERSAL, THERE’S NO

          ONE IN THE WORLD THAT HASN’T MADE A MISTAKE; THERE’S NO ONE IN

          THE WORLD THAT HASN’T DONE SOMETHING WRONG OR…, OR DONE

          SOMETHING THAT THEY SHOULDN’T HAVE DONE.

    A:    M-HMM.

    Q:    I MEAN PEOPLE UNIVERSALLY UNDERSTAND, I DID SOMETHING WRONG

          AND…, AND THE TRUTH IS WHEN WE DO SOMETHING WRONG I THINK

          PEOPLE ALSO UNIVERSALLY UNDERSTAND THE RIGHT THING TO DO IS TO

          DEAL WITH IT, BECAUSE ONCE WE DO SOMETHING WRONG AND WE CAN’T

          CHANGE IT, EVEN IF YOU’RE NOT…, EVEN IF NO ONE CATCHES YOU; LET’S

          SAY I DO SOME HORRIBLE THING AND IT’S EMBARRASSING TO ME, I

          KNOW PEOPLE WOULD BE UPSET WITH ME IF THEY FOUND OUT ABOUT IT

          AND I WANT TO KEEP IT HIDDEN. AND LET’S SAY EVEN I…, I SUCCEED

          AND I KEEP IT HIDDEN AND NO ONE EVEN EVER KNOWS ABOUT IT, THE

          REALITY IS IS WHEN WE DO SOMETHING WRONG, EVEN IF NO ONE EVER

          KNOWS, IT STILL EATS AT US, IT STILL…

    A:    OF COURSE.

    Q:    …PICKS AT US, IT STILL AFFECTS WHO WE ARE, IT AFFECTS HOW WE

          THINK, IT AFFECTS WHAT WE DO IN THE FUTURE, IT AFFECTS WHETHER

          OR NOT WE’RE SUCCESSFUL IN ANYTHING WE DO DOWN THE ROAD, IF WE

          CAN’T DEAL WITH THINGS WE’VE DONE…

    A:    M-HMM.




    STATEMENT OF ALI AL-AWADI             DP14-0088487        PAGE 175 OF 185

                                                                                     237
 Case1:15-cr-00072-TWP-DML
Case  1:15-cr-00072-TWP-DML Document
                             Document57-4
                                      148-1Filed
                                              Filed 12/12/16Page
                                                  01/22/16    Page 238
                                                                 176 of of
                                                                        185349PageID
                                                                               PageID369
                                                                                      #:
                                       3602



    Q:    …IF WE’VE DONE THINGS THAT WE’RE NOT PROUD OF OR THAT WE’RE

          ASHAMED OF OR THAT WERE MISTAKES, WE CAN’T…, WE CAN’T MOVE ON

          AND BE YOU KNOW COMPLETE, WHOLE AND SUCCESSFUL PEOPLE DOWN

          THE ROAD IF WE NEVER DEAL WITH THAT.

    A:    M-HMM.

    Q:    AND SO THE IMPORTANT THING TO UNDERSTAND IS WHEN YOU MAKE A

          MISTAKE YOU’VE GOT TO DEAL WITH IT.

    A:    M-HMM.

    Q:    (CLEARING THROAT) AN AIRPLANE PILOT CAN’T BE FLYING THROUGH

          THE SKY AND HAVE AN ENGINE GO OUT AND JUST KINDA GO, NO, NO, NO,

          NO, WE’RE FINE…

    A:    YEAH.

    Q:    …I KNOW WE’RE ONLY…, WE’RE ONLY…, UH, 250 MORE MILES FROM…,

          UH, DES MOINES, WE…, WE’LL…, WE’LL MAKE IT, JUST SH-H-H, NO, NO,

          NO, THE ENGINE’S FINE, THE ENGINE’S FINE, WHAT’S GONNA HAPPEN TO

          THAT PILOT…

    A:    HMM.

    Q:    …IF HE DOES THAT, YOU SEE WHAT I’M SAYING?

    A:    YEAH.

    Q:    WHAT’S GONNA HAPPEN, HE’S GONNA CRASH AND BURN.

    A:    M-HMM.




    STATEMENT OF ALI AL-AWADI             DP14-0088487        PAGE 176 OF 185

                                                                                     238
 Case1:15-cr-00072-TWP-DML
Case  1:15-cr-00072-TWP-DML Document
                             Document57-4
                                      148-1Filed
                                              Filed 12/12/16Page
                                                  01/22/16    Page 239
                                                                 177 of of
                                                                        185349PageID
                                                                               PageID370
                                                                                      #:
                                       3603



    Q:    AND…, AND HIM AND EVERYONE ON THE PLANE’S PROBABLY GONNA DIE,

          BECAUSE YOU KNOW WHAT HE’S NOT TAKING ANY PROACTIVE STEPS TO

          DEAL WITH THE PROBLEM…

    A:    M-HMM.

    Q:    …FIRST ACKNOWLEDGE THE PROBLEM; SECOND, DEAL WITH THE

          PROBLEM AND THEN THIRD, SOLVE THE PROBLEM. HE’S NOT…, HE’S NOT

          GOING THROUGH THAT CHAIN OF…, OF…, OF EVENTS, BECAUSE WHAT

          HAPPENS IS IT…, A NEW PROBLEM HAS COME UP, MAN AND YOU’VE GOT

          TO CONSTANTLY BE IN THE MOLD OF ACKNOWLEDGING WHAT THE

          PROBLEM IS, ADDRESSING IT, SOLVING THE PROBLEM AND LOOKING A…,

          AHEAD AND SEEING WHAT’S NEXT.

    A:    M-HMM.

    Q:    AND…, AND…, AND THE THING IS WHEN WE MAKE MISTAKES AND WE

          KEEP THEM IN THE PAST AND WE BURY THEM THEY ALWAYS COME BACK

          TO BITE US AND YOU CAN ASK ANY THERAPIST OR SOCIAL YOU KNOW

          PSYCHOLOGIST OR WHATEVER, THEY KNOW THAT…, UH, THE CONCEPT

          OF CONFESSION IS GOOD FOR THE SOUL IS THE ALMOST UNIVERSALLY

          RECOGNIZED CONCEPT IN THE SENSE OF WE CARRY ROU…, AROUND

          WEIGHT ON OUR SHOULDERS WHEN WE’VE DONE THINGS THAT WE FEEL

          BAD FOR AND WE DON’T EVER DEAL WITH IT.

    A:    M-HMM.

    Q:    AND SO THAT’S WHY YOU KNOW IT’S SUCH AN IMPORTANT THING TO

          REALIZE IS PEOPLE ALL MAKE MISTAKES, BUT NOT EVERYONE HAS THE



    STATEMENT OF ALI AL-AWADI             DP14-0088487        PAGE 177 OF 185

                                                                                     239
 Case1:15-cr-00072-TWP-DML
Case  1:15-cr-00072-TWP-DML Document
                             Document57-4
                                      148-1Filed
                                              Filed 12/12/16Page
                                                  01/22/16    Page 240
                                                                 178 of of
                                                                        185349PageID
                                                                               PageID371
                                                                                      #:
                                       3604



          COURAGE TO DEAL WITH IT, THAT’S WHY YOU SEE A LOT OF ALCOHOLICS

          WALKING AROUND; THAT’S WHY YOU SEE A LOT OF DYSFUNCTIONAL

          FAMILIES THAT DON’T TALK TO EACH OTHER OR…, OR YOU KNOW

          RELATIONSHIPS THAT BREAK APART, OKAY, IT’S BECAUSE SOMETIMES

          PEOPLE ARE TOO PRIDEFUL OR TOO FILLED WITH…, UH, UH, SOMETIMES

          WE’RE STUBBORN, SOMETIMES WE’RE TOO PRIDEFUL, SOMETIMES PEOPLE

          ARE…, ARE…, ARE JUST THINKING THAT THINGS ARE GONNA BE ALRIGHT

          WHEN THEY’RE NOT.

    A:    M-HMM.

    Q:    AND…, AND SO THE PROBLEM IS WHEN WE DON’T DEAL WITH OUR ISSUES

          THEY COME BACK AND GET US AND THEY…, AND MANIFEST ITSELF IN

          ALL KINDS OF DIFFERENT WAYS. AND SO ALL I’M SAYING IS IS IF AT THE

          END OF THE DAY MY THOROUGH INVESTIGATION THAT’S JUST BARELY

          STARTED AND IT’S CERTAINLY GONNA CONTINUE…

    A:    M-HMM.

    Q:    …AND IT’S CERTAINLY GONNA COME WITH MORE INFORMATION. I DON’T

          KNOW THAT THERE’S GONNA BE A CHILD IN THOSE CLASSES THAT

          YOU’VE SAT IN THAT WE’RE NOT GONNA HAVE A DETAILED FORENSIC

          INTERVIEW.

    A:    OF COURSE.

    Q:    AND WE’VE ALREADY DONE SEVERAL, THERE’S GONNA BE SEVERAL

          MORE.

    A:    M-HMM.



    STATEMENT OF ALI AL-AWADI             DP14-0088487        PAGE 178 OF 185

                                                                                     240
 Case1:15-cr-00072-TWP-DML
Case  1:15-cr-00072-TWP-DML Document
                             Document57-4
                                      148-1Filed
                                              Filed 12/12/16Page
                                                  01/22/16    Page 241
                                                                 179 of of
                                                                        185349PageID
                                                                               PageID372
                                                                                      #:
                                       3605



    Q:    AND…, AND…, AND ASIDE FROM THAT THERE’S PHYSICAL EVIDENCE AND

          THERE’S…, I DIDN’T TELL YOU THIS EARLIER, BECAUSE I DON’T WANT

          YOU TO BE UPSET AND I DON’T WANT YOU TO THINK I’M…, I’M JUST

          MESSING WITH YOU, BUT THERE’S PHYSICAL INJURY TO HER…

    A:    OKAY.

    Q:    …THAT IS INDICATIVE OF PENETRATION.

    A:    OKAY.

    Q:    AND HERE’S THE THING WHEN WE SEE THAT IT CAN’T BE CHANGED.

    A:    M-HMM.

    Q:    IT DOES NOT GO AWAY AND IT CANNOT BE TAKEN BACK AND…, AND…,

          AND AT THE END OF THE DAY THERE’S ONE PERSON AND ONE PERSON

          ALONE THAT SHE’S SAYING DID THAT TO HER AND…, AND

          UNFORTUNATELY IT’S YOU. NOW LET ME ASK YOU THIS, YOU SAID YOU

          WERE WEARING YOUR WATCH AND HER…, HER LEGS WERE AROUND IT.

    A:    YEAH.

    Q:    DO YOU THINK THAT IT’S POSSIBLE THAT YOUR WATCH CAUSED INJURIES

          TO THE INSIDE OF HER BODY?

    A:    I MEAN I’M HONESTLY NOT SURE, THAT’S WHY I’M TELLING YOU GUYS

          THE TRUTH, IT WAS KINDA TURNED A LITTLE BIT BECAUSE MY WATCH

          ISN’T ALWAYS SUPER TIGHT ON MY WRIST.

    Q:    YEAH.

    A:    SO WHEN IT’S TURNED…, IT’S A PRETTY BULKY WATCH, I CAN SHOW YOU

          WHAT IT LOOKS LIKE.



    STATEMENT OF ALI AL-AWADI             DP14-0088487        PAGE 179 OF 185

                                                                                     241
 Case1:15-cr-00072-TWP-DML
Case  1:15-cr-00072-TWP-DML Document
                             Document57-4
                                      148-1Filed
                                              Filed 12/12/16Page
                                                  01/22/16    Page 242
                                                                 180 of of
                                                                        185349PageID
                                                                               PageID373
                                                                                      #:
                                       3606



    Q:    NO. (UNSURE)

    A:    UH, DO YOU KNOW WHAT G SHOCKS ARE?

    Q:    YEAH.

    A:    SO THEY’RE…

    Q:    WHAT COLOR IS IT?

    A:    IT’S A BLACK ONE, IT’S PRETTY BULKY.

    Q:    YEAH.

    A:    AND…

    Q:    BUT SEE TO GO…

    A:    …I DON’T KNOW IF IT CAUSED ANY…

    Q:    …THE SPECIFIC INJURIES THAT SHE HAS ARE DEFINITELY PENETRATION

          AND IT’S TO THINK OF A WATCH GOING THAT DEEP…

    A:    M-HMM.

    Q:    …TO CAUSE SOME OF THOSE INJURIES, UH, I JUST…

    A:    BUT I’M…, I’M TELLING YOU GUYS…

    Q:    …DON’T THINK IT COULD, BUT HERE’S THE THING WHEN I LOOK AT MY

          INVESTIGATION AND WHEN I LOOK AT THE FULL DEPTH OF THE FACTS

          AND EVIDENCE THAT I HAVE IT CLEARLY SHOWS THAT YOU DID AND I’M

          NOT ANGRY AT YOU FOR IT, BUT THE THING IS…, UH, DNA DON’T LIE,

          MAN AND…

    A:    I KNOW THAT, BUT…

    Q:    …AND…, AND THE THING IS THERE’S NO REASON TUGGING ON HER BELT

          WOULD CAUSE DNA TO TRANSFER, IT’S JUST NO REASON FOR IT.



    STATEMENT OF ALI AL-AWADI             DP14-0088487        PAGE 180 OF 185

                                                                                     242
 Case1:15-cr-00072-TWP-DML
Case  1:15-cr-00072-TWP-DML Document
                             Document57-4
                                      148-1Filed
                                              Filed 12/12/16Page
                                                  01/22/16    Page 243
                                                                 181 of of
                                                                        185349PageID
                                                                               PageID374
                                                                                      #:
                                       3607



    A:    EVEN IF SHE TOUCHED MY HANDS AND THEN SHE TOUCHED HERSELF?

    Q:    IT’S NOT…, IT’S NOT INDIRECT TRANSFER…

    A:    BECAUSE I’M…, I’M…

    Q:    …IT’S DIRECT TRANSFER, MAN.

    A:    …I’M TELLING YOU GUYS EVERYTHING.

    Q:    I’LL BE BACK IN JUST A SECOND, OKAY, JUST HANG IN THERE ONE

          SECOND FOR ME, I’LL BE RIGHT BACK, OKAY?

    A:    ALRIGHT. (DOOR OPENS AND CLOSES)

    (PAUSE)

    Q:    (DOOR OPENS) ALRIGHT ALI, ONE OF THE THINGS I LIKE TO DO (DOOR

          CLOSES) JUST…, JUST LIKE TALKING TO ME IT’S TOTALLY VOLUNTARY,

          BUT ONE OF THE THINGS I’D LIKE TO DO IS GO AHEAD AND OBTAIN A DNA

          SAMPLE FROM YOU TODAY.

    A:    M-HMM.

    Q:    IS THAT SOMETHING THAT YOU’D BE WILLING TO DO FOR ME?

    A:    UH, I WAS THINKING MAYBE I SHOULD TALK TO A LAWYER.

    Q:    YEAH.

    A:    I MEAN I’M TELLING YOU GUYS THE TRUTH AND…

    Q:    OKAY, I…, I…, I DON’T BELIEVE THAT, I REALLY DO THINK THAT YOU DID,

          UH, MOLEST       YESTERDAY AND SO, UH, YOU KNOW WHAT YOU…, UH,

          YOU CERTAINLY HAVE THE RIGHT TO TALK TO AN ATTORNEY.

    A:    M-HMM.

    Q:    SO WE DON’T DO ANYMORE QUESTIONING AT THIS TIME, OKAY?



    STATEMENT OF ALI AL-AWADI             DP14-0088487        PAGE 181 OF 185

                                                                                     243
 Case1:15-cr-00072-TWP-DML
Case  1:15-cr-00072-TWP-DML Document
                             Document57-4
                                      148-1Filed
                                              Filed 12/12/16Page
                                                  01/22/16    Page 244
                                                                 182 of of
                                                                        185349PageID
                                                                               PageID375
                                                                                      #:
                                       3608



    A:    OKAY.

    Q:    UH, I DO NEED TO TELL YOU THOUGH THAT YOU ARE UNDER ARREST FOR

          CHILD MOLEST, OKAY?

    A:    SO I’M GOING TO PRISON?

    Q:    UH, NO, YOU’RE GOING TO…, TO THE APC, IT’S THE ARRESTEE

          PROCESSING CENTER. IT’S…, UH, IT’S…, UH, IT’S NOT PRISON, UH, BUT

          IT’S A…, IT’S A SECURED DETENTION FACILITY, SO YOU’LL BE GOING

          THERE TODAY, OKAY?

    A:    AND AM I STAYING THERE OVERNIGHT OR…

    Q:    UH…

    A:    …WILL I GET TO CALL SOMEONE?

    Q:    …YEAH, I WOULD EXPECT THAT YOU’LL BE THERE AT A MINIMUM OVER

          THE WEEKEND ABSOLUTELY. UH, YOU WON’T HAVE AN INITIAL HEARING

          UNTIL AT THE EARLIEST MONDAY, MAYBE AS LATE AS TUESDAY, OKAY?

    A:    OKAY.

    Q:    SO…

    A:    I’M TELLING YOU GUYS THE TRUTH.

    Q:    …OKAY, WELL I REALLY DON’T BELIEVE YOU, IF I DID BELIEVE YOU I

          WOULDN’T BE ARRESTING YOU RIGHT NOW, I WANT YOU TO KNOW THAT,

          OKAY.

    A:    WELL…, OF COURSE.

    Q:    UH, DO YOU HAVE ANYTHING IN YOUR POCKETS OR ANYTHING THAT’S

          DANGEROUS OR ANYTHING THAT CAN HURT ME?



    STATEMENT OF ALI AL-AWADI             DP14-0088487        PAGE 182 OF 185

                                                                                     244
 Case1:15-cr-00072-TWP-DML
Case  1:15-cr-00072-TWP-DML Document
                             Document57-4
                                      148-1Filed
                                              Filed 12/12/16Page
                                                  01/22/16    Page 245
                                                                 183 of of
                                                                        185349PageID
                                                                               PageID376
                                                                                      #:
                                       3609



    A:    I HAVE MY WALLET AND MY KEYS…

    Q:    OKAY, GO AHEAD AND GRAB THAT OUT FOR ME.

    A:    …THAT’S WHAT I GOT. (UNSURE)

    Q:    I’M SURE THEY SEARCHED YOU BEFORE THEY BROUGHT YOU IN HERE,

          RIGHT?

    A:    (NO VERBAL RESPONSE)

    Q:    OKAY, ALRIGHT. (SOUNDS OF COINS AND KEYS DROPPING ON A TABLE)

          (CLEARING THROAT) ALRIGHT. GO AHEAD AND STAND UP FOR ME. UH,

          FACE THE WALL, UH, CAN YOU PUT YOUR HANDS ON THE WALL FOR ME,

          OKAY, SPREAD YOUR FEET REAL WIDE.

    A:    M-HMM.

    Q:    ALRIGHT, GO AHEAD AND HAVE A…, WHOA, LET ME CHECK…, DOUBLE

          CHECK YOUR POCKETS HERE. GO AHEAD AND HAVE A SEAT RIGHT HERE

          AND KICK YOUR SHOES OFF FOR ME. (SHUFFLING PAPERS) (INAUDIBLE),

          BUT WE’LL DO IT NOW. UH, LET ME SEE YOUR FOOT, PLEASE, THAT ONE

          RIGHT THERE.

    A:    THIS ONE?

    Q:    YEAH, YEAH, JUST…, I’LL TAKE IT IN JUST A SECOND HERE. (INAUDIBLE-

          UNSURE) PEOPLE PUT STUFF ALL OVER, ALL KINDS OF PLACES, BUT WE

          GOT TO CHECK, OKAY. ALRIGHT, SO THE NEXT STEP IS…, UH, THE

          PROSECUTORS OFFICE WILL REVIEW EVERYTHING THAT I HAVE AND

          DECIDE IF THEY WANT TO IN FACT FILE CRIMINAL CHARGES AGAINST

          YOU AND THEN AFTER THAT, UH, IT’LL BE IN THE HANDS OF THE COURT.



    STATEMENT OF ALI AL-AWADI             DP14-0088487        PAGE 183 OF 185

                                                                                     245
 Case1:15-cr-00072-TWP-DML
Case  1:15-cr-00072-TWP-DML Document
                             Document57-4
                                      148-1Filed
                                              Filed 12/12/16Page
                                                  01/22/16    Page 246
                                                                 184 of of
                                                                        185349PageID
                                                                               PageID377
                                                                                      #:
                                       3610



          UH, THERE’S ANY NUMBER OF RESOLUTIONS THAT COULD TAKE PLACE,

          YOU COULD EVENTUALLY COME TO AN AGREEMENT WITH THE

          PROSECUTORS OFFICE WHERE YOU PLEAD GUILTY FOR WHATEVER

          DETERMINED SENTENCE THAT THEY…, THEY WANT OR YOU COULD…,

          UH, TAKE IT TO A TRIAL EITHER IN FRONT OF A JUDGE OR IN FRONT OF A

          JURY IF CHARGES WERE FILED BY THE PROSECUTORS OFFICE, WHICH…

    A:    OF COURSE.

    Q:    …HASN’T HAPPENED YET, (CLEARING THROAT) UH, BUT…, UH, BUT

          THAT’S SORT OF THE COURSE OF THINGS, OKAY. SO, UH, PRISON IS…, IS…,

          IS FOR PEOPLE WHO’VE BEEN CONVICTED…

    A:    M-HMM.

    Q:    …SO AT THIS POINT YOU’RE…, YOU’RE LOOKING AT GOING TO THE APC

          AND POTENTIALLY TO JAIL, BUT THOSE ARE MORE TEMPORARY OF A…,

          OF A FACILITY, NOT…, NOT SOMETHING THAT YOU’D SPEND 20 YEARS IN,

          YOU KNOW WHAT I’M SAYING?

    A:    YEAH.

    Q:    SO, ALRIGHT. WELL…

    A:    AND SO I…, I WILL GET A PHONE CALL WHENEVER I…?

    Q:    NO, NOT HERE, BUT…, UH, BUT DOWN THERE YOU’LL HAVE TO REGISTER

          WITH THEM, DO A LITTLE PRE-ADMITTANCE INTERVIEW, GET SEARCHED,

          ALL WHATEVER THEY GOT TO DO AND THEN AFTER THAT THEY’LL GIVE

          YOU A SPECIAL WRISTBAND, IF THEY STILL DO IT THE SAME WAY THEY

          USED TO; THEY’LL GIVE YOU A SPECIAL WRISTBAND AND THAT



    STATEMENT OF ALI AL-AWADI             DP14-0088487        PAGE 184 OF 185

                                                                                     246
 Case1:15-cr-00072-TWP-DML
Case  1:15-cr-00072-TWP-DML Document
                             Document57-4
                                      148-1Filed
                                              Filed 12/12/16Page
                                                  01/22/16    Page 247
                                                                 185 of of
                                                                        185349PageID
                                                                               PageID378
                                                                                      #:
                                       3611



          WRISTBAND MEANS THAT YOU’VE CLEARED AND YOU CAN MAKE PHONE

          CALLS, THEN YOU CAN USE THE PHONES THERE TO…, TO MAKE A CALL,

          SO. GO AHEAD AND HAVE A SEAT AND UH, AND I’LL…, UH, I’LL BE WITH

          YOU AS SOON AS WE GET SOMEBODY HERE TO TAKE YOU DOWN THERE,

          OKAY?

    A:    OKAY.

    Q:    ALRIGHT. (DOOR OPENS AND CLOSES)

    (PAUSE)

    A:    (SNIFFING) (CLEARING THROAT)

    Q:    (DOOR OPENS) ALRIGHT, GO AHEAD AND STAND UP FOR ME, MAN. HE’S

          GONNA SEARCH YOU, JUST DO WHAT THIS GENTLEMAN SAYS, OKAY.

    OFFICER:    TURN AROUND BOSS.

    Q:    (INAUDIBLE-UNSURE) (CUFFS CLICKING)

    OFFICER:    SPREAD YOUR LEGS FOR ME, MAN. ALRIGHT, TURN AROUND. LIFT

          THAT LEG. (INAUDIBLE-UNSURE)

    Q:    PASSED UP RECYCLE BOX AND EVERYTHING, RIGHT. (DOOR CLOSES)




    END OF STATEMENT.

    CYW
    6-19-2015




    STATEMENT OF ALI AL-AWADI             DP14-0088487        PAGE 185 OF 185

                                                                                     247
Case 1:15-cr-00072-TWP-DML
  Case  1:15-cr-00072-TWP-DMLDocument 148-1
                               Document     Filed01/22/16
                                        58 Filed  12/12/16 Page
                                                           Page1248
                                                                 of 9of PageID
                                                                        349 PageID
                                                                               379 #:
                                       3612



                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF INDIANA
                                     INDIANAPOLIS DIVISION


   UNITED STATES OF AMERICA,                      )
                                                  )
                  Plaintiff,                      )
                                                  )
      v.                                          ) Cause No. 1 1:15-cr-00072-TWP-DML
                                                  )
   ALI AL-AWADI,                                  )
                                                  )
                  Defendant.                      )

                               Government’s Second Notice of Intent to
                                   Use Evidence under F.R.E. 404

           The United States of America, by counsel, Josh J. Minkler, United States Attorney for the

   Southern District of Indiana, Bradley P. Shepard and Kristina Korobov, Assistant United States

   Attorneys, hereby files its, notice of intent to introduce evidence pursuant to Federal Rules of

   Evidence 404(b).

                                          Factual Background

           The Defendant, at the time of the allegations, was an employee of the Children’s Choice

   (Bright Horizons) Learning Center, which was a day care. One of the Defendant’s supervisors

   was Heidi Conces. Approximately two (2) months prior to the allegations, Conces had

   counselled the Defendant regarding physical contact with children.

      •    Conces told police (during their investigation into the molesting allegations regarding

           Minor Victim One) that an employee had come to Conces to express concern that the

           Defendant “took preference” with the girls, letting the girls sit in his lap and taking the

           girls to the bathroom, even when a female employee offered to do it for him.




                                                                                                         248
Case 1:15-cr-00072-TWP-DML
  Case  1:15-cr-00072-TWP-DMLDocument 148-1
                               Document     Filed01/22/16
                                        58 Filed  12/12/16 Page
                                                           Page2249
                                                                 of 9of PageID
                                                                        349 PageID
                                                                               380 #:
                                       3613



      •   Conces had seen the Defendant pick up a female child who was about 5 years old.

          Conces was concerned that the Defendant was holding the child with the girl’s legs

          wrapped around the Defendant.

      •   Conces told the Defendant that the child was five (5) years old and that he did not need to

          pick her up and that it was not appropriate.

      •   Conces counselled the Defendant on two (2) occasions that he should not pick up the

          children who could walk on their own.

      •   Conces was also aware that another employee, Cathie Williamson, had talked with the

          Defendant, telling him that the girls should not sit in his lap and that Williamson would

          take the girls to the bathroom for him.

      •   Conces said that the Defendant was receptive to this counselling and said that it was

          okay.



          Another co-worker, Cathie Williamson, told police (during their investigation into the

   molesting allegations regarding Minor Victim One) that she had also spoken with the Defendant

   regarding his physical contact with children.

      •   Williamson indicated that there were parents that had been uncomfortable with the

          Defendant.

      •   Williamson stated that she advised the Defendant not to pick up the girls and not to put

          them in his lap during “circle time.”

      •   Williamson indicated that she also offered to change the girls so that the Defendant

          would not have to do it.




                                                    2

                                                                                                        249
Case 1:15-cr-00072-TWP-DML
  Case  1:15-cr-00072-TWP-DMLDocument 148-1
                               Document     Filed01/22/16
                                        58 Filed  12/12/16 Page
                                                           Page3250
                                                                 of 9of PageID
                                                                        349 PageID
                                                                               381 #:
                                       3614



          Employees of the day care were prohibited from accessing cell phones in the classrooms

   and were also forbidden from taking any photos of the children with personal devices (Exhibit A:

   p. 23 and p. 28 of Bright Horizons Employee Handbook).

      •   At the time of the Defendant’s arrest, his cell phone was seized and subsequently

          examined. It was determined that

                      o the defendant had three (3) photographs on his cell phone that showed him

                         posing with Minor Victim One in photos that he had taken with his

                         phone’s camera, and

                      o photos of Minor Victim One’s genital area were found on the Defendant’s

                         cell phone and were determined to have been taken with his cell phone.



                                          Proffered Evidence

          The Government seeks to admit evidence that the Defendant had received instruction

   regarding the proper level of physical contact with female children at the day care.

      •   Testimony from Heidi Conces that she, as a supervisor, had directed the Defendant that

          he should not pick-up and / or carry children who could walk.

      •   Testimony from Cathie Williamson that she, as a co-worker, had suggested to the

          Defendant that the children not sit in his lap and that Williamson offered to take female

          children to the restroom so that the Defendant would not have to do so.

      •   Statements by the Defendant in his interview with Det. Eli McAlister that he had been

          cautioned about physically picking up the female children.




                                                    3

                                                                                                      250
Case 1:15-cr-00072-TWP-DML
  Case  1:15-cr-00072-TWP-DMLDocument 148-1
                               Document     Filed01/22/16
                                        58 Filed  12/12/16 Page
                                                           Page4251
                                                                 of 9of PageID
                                                                        349 PageID
                                                                               382 #:
                                       3615



          The Government also seeks to admit evidence that the day care prohibited employees

   from taking photographs of the children with personal devices. The Government seeks to admit

   evidence that, per day care policy, “[p]ersonal devices are not to be used or checked while you

   are working and must be kept in a bag, locker, desk, or other location that is not accessed during

   work time.” (p. 28)

          The Government is not seeking to admit any evidence that either Conces or Williamson

   or any of the day care parents had concerns about the Defendant unless counsel for the

   Defendant questions the motivation of these employees in speaking to the Defendant.

                                               Legal Basis

          The evidence of these directives and advice provided to the Defendant is admissible

   without resort to Fed R. Crim. P. 404(b). If, however, counsel would question the rationale for

   Conces and Williamson talking to the Defendant, the Government would seek to admit evidence

   from those employees as to their rationale in speaking to him (e.g. their specific concerns and /

   or observations that gave rise to the concerns). Offering evidence that policies existed and that

   the Defendant had received direction and guidance regarding the physical handling of children

   does not require a 404(b) analysis, as there is no “prior bad act” that the Government is seeking

   to introduce; however, if this Court were to find that this evidence is subject to Fed. R. Crim. P.

   404(b), there are non-propensity uses for the evidence. In United States v. Gomez, the Seventh

   Circuit adopted “a more straightforward rules-based approach,” which is summarized as follows:

          [T]o overcome an opponent's objection to the introduction of other-act evidence,
          the proponent of the evidence must first establish that the other act is relevant to a
          specific purpose other than the person's character or propensity to behave in a
          certain way. See Fed.R.Evid. 401, 402, 404(b). Other-act evidence need not be
          excluded whenever a propensity inference can be drawn. But its relevance to
          “another purpose” must be established through a chain of reasoning that does not


                                                    4

                                                                                                         251
Case 1:15-cr-00072-TWP-DML
  Case  1:15-cr-00072-TWP-DMLDocument 148-1
                               Document     Filed01/22/16
                                        58 Filed  12/12/16 Page
                                                           Page5252
                                                                 of 9of PageID
                                                                        349 PageID
                                                                               383 #:
                                       3616



          rely on the forbidden inference that the person has a certain character and acted in
          accordance with that character on the occasion charged in the case. If the
          proponent can make this initial showing, the district court must in every case
          assess whether the probative value of the other-act evidence is substantially
          outweighed by the risk of unfair prejudice and may exclude the evidence under
          Rule 403 if the risk is too great. The court's Rule 403 balancing should take
          account of the extent to which the non-propensity fact for which the evidence is
          offered actually is at issue in the case.


   Gomez, 763 F.3d 845, 853, 860 (7th Cir. 2014).

                                    Absence of Accident / Mistake

          The evidence offered by the Government will be used to show the defendant's absence of

   mistake / lack of accident in creating the images of Minor Victim’s One’s vagina or in touching

   Minor Victim One in such a way as to create the images in question.

          In the Defendant’s statements to police and to day care personnel, he claimed that he had

   picked up Minor Victim One and that Minor Victim One had sat on his lap. In a probable cause

   affidavit, Det. Eli McAlister wrote the following, under oath, regarding his interview with the

   Defendant:




                                                    5

                                                                                                      252
Case 1:15-cr-00072-TWP-DML
  Case  1:15-cr-00072-TWP-DMLDocument 148-1
                               Document     Filed01/22/16
                                        58 Filed  12/12/16 Page
                                                           Page6253
                                                                 of 9of PageID
                                                                        349 PageID
                                                                               384 #:
                                       3617




   Probable Cause Affidavit, August 26, 2014, p. 15



   When the Defendant was told that Minor Victim One’s clothing was being tested for DNA

   evidence, the Defendant added the following information to his interview with Det. McAlister:




                                                  6

                                                                                                   253
Case 1:15-cr-00072-TWP-DML
  Case  1:15-cr-00072-TWP-DMLDocument 148-1
                               Document     Filed01/22/16
                                        58 Filed  12/12/16 Page
                                                           Page7254
                                                                 of 9of PageID
                                                                        349 PageID
                                                                               385 #:
                                       3618




   Probable Cause Affidavit, August 26, 2014, p. 15

   The Defendant’s proffered explanations – attempts to offer innocent explanations for his

   behavior - give rise to the need to admit the evidence that Defendant had received instruction and

   suggestions regarding the proper care of the children at the day care. The Government also

   should be able to present evidence that policies of the day care prohibited any personal

   photography of the children at all, such that there would be no reason for the Defendant to be

   taking photos with his cell phone for any innocent purpose.

             This evidence showing of absence of mistake or lack of accident is derived from a

   propensity-free chain of reasoning. There is no attempted use of the evidence to say that because

   the Defendant had been counseled on the proper physical care of the children that the Defendant

   is more likely to have created child pornography of Minor Victim One. As a result the chain

   from the proffered evidence to the proffered use has no propensity use in it and is therefore

   proper.

                                                     7

                                                                                                        254
Case 1:15-cr-00072-TWP-DML
  Case  1:15-cr-00072-TWP-DMLDocument 148-1
                               Document     Filed01/22/16
                                        58 Filed  12/12/16 Page
                                                           Page8255
                                                                 of 9of PageID
                                                                        349 PageID
                                                                               386 #:
                                       3619



          The final analysis is under Rule 403, is whether the probative value of the molest

   evidence substantially outweighed by the danger of unfair prejudice. “Unfair prejudice ... means

   an undue tendency to suggest a decision on an improper basis, commonly, though not

   necessarily, an emotional one.” Advisory Committee’s Notes on Fed. R. Evid. 403, cited

   approvingly in Old Chief v. United States, 519 U.S. 172, 184−85 (1997).

          In this matter, there is nothing unfairly prejudicial about the evidence that specific rules

   existed regarding the use of cell phones and taking photographs at the day care and that the

   Defendant had been notified that he should not have certain types of contact with the children at

   the day care. Given that the Seventh Circuit has repeatedly held that evidence of a prior molest

   is not more prejudicial than probative. {see United States v. Russell, 662 F.3d 831, 847–48 (7th

   Cir.2011) (prior instances of inappropriate touching, by establishing defendant's sexual interest

   in his minor daughter, were probative of his motive to induce his daughter to create sexually

   explicit photographs in violation of section 2251(a)); United States v. Hawpetoss, 478 F.3d 82,

   824-827 (7th Cir. 2007)(admitting evidence under rule 403 of molestation of two uncharged

   minor victims); United States v. Roux, 715 F.3d 1019, 1024 (7th Cir. 2013)}, it cannot be argued

   that the evidence that the government seeks to admit rises to the level of unfairly prejudicial.



          WHEREFORE the Government requests this Court issue a ruling that the evidence of the

   day care policies and the specific counseling provided to the defendant is admissible in the

   Government's case in chief.


                                                 Respectfully submitted,

                                                 JOSH J. MINKLER
                                                 United States Attorney


                                                     8

                                                                                                         255
Case 1:15-cr-00072-TWP-DML
  Case  1:15-cr-00072-TWP-DMLDocument 148-1
                               Document     Filed01/22/16
                                        58 Filed  12/12/16 Page
                                                           Page9256
                                                                 of 9of PageID
                                                                        349 PageID
                                                                               387 #:
                                       3620



                                  By:   s/ Bradley P. Shepard
                                        Bradley P. Shepard
                                        Assistant United States Attorney

                                        s/ Kristina M. Korobov
                                        Kristina M. Korobov
                                        Assistant United States Attorney




                                           9

                                                                                   256
Case
 Case1:15-cr-00072-TWP-DML
       1:15-cr-00072-TWP-DML Document
                              Document148-1
                                       58-1 Filed
                                            Filed 12/12/16
                                                  01/22/16 Page
                                                           Page 257
                                                                1 of of
                                                                     2 349 PageID
                                                                        PageID 388#:
                                       3621




                                                                                  257
Case
 Case1:15-cr-00072-TWP-DML
       1:15-cr-00072-TWP-DML Document
                              Document148-1
                                       58-1 Filed
                                            Filed 12/12/16
                                                  01/22/16 Page
                                                           Page 258
                                                                2 of of
                                                                     2 349 PageID
                                                                        PageID 389#:
                                       3622




                                                                                  258
Case 1:15-cr-00072-TWP-DML
  Case  1:15-cr-00072-TWP-DMLDocument 148-1
                               Document     Filed01/22/16
                                        59 Filed  12/12/16 Page
                                                           Page1259
                                                                 of 3of PageID
                                                                        349 PageID
                                                                               390 #:
                                       3623



                                   UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF INDIANA
                                       INDIANAPOLIS DIVISION


   UNITED STATES OF AMERICA,                     )
                                                 )
                  Plaintiff,                     )
                                                 )
      v.                                         ) Cause No. 1 1:15-cr-00072-TWP-DML
                                                 )
   ALI AL-AWADI,                                 )
                                                 )
                  Defendant.                     )

                                     Government’s Notice of Intent to
                               Use Evidence under F.R.E. 801 and F.R.E. 803

           The United States of America, by counsel, Josh J. Minkler, United States Attorney for the

   Southern District of Indiana, Bradley P. Shepard and Kristina Korobov, Assistant United States

   Attorneys, hereby files its Notice of Intent to Introduce Evidence pursuant to the Federal Rules

   of Evidence, Rules 801 and 803.

                                  Proffered Evidence and Relevant Rules

           On the day in question in this case, August 21, 2014, Minor Victim One was a student at

   the Children’s Choice Learning Center and was four (4) years old. On this day, Minor Victim

   One made statements to day care personnel and to her parents. The Government seeks to admit

   into evidence the following statements, pursuant to the enumerated Federal Rules of Evidence:

      1) On August 21, 2014, the Defendant had been watching Minor Victim One’s class during

           the lunch hour for the regular teacher. Minor Victim One made statements to Tyria

           Graham. Within the hour after the Defendant left Minor Victim One’s classroom and

           after going to the restroom, Minor Victim One told Graham that it hurt when she peed

           because “Mr. Ali” touched it all the way and it hurts really bad. When asked where it




                                                                                                       259
Case 1:15-cr-00072-TWP-DML
  Case  1:15-cr-00072-TWP-DMLDocument 148-1
                               Document     Filed01/22/16
                                        59 Filed  12/12/16 Page
                                                           Page2260
                                                                 of 3of PageID
                                                                        349 PageID
                                                                               391 #:
                                       3624



         hurt, Minor Victim One told Graham “it hurts” and pointed to her “private (Graham’s

         term).” F.R.E. 803(1), 803(2), 803(3) and 803(4).

      2) After Minor Victim One told Graham what had happened, about one hour later, Graham

         brought the Defendant into the room with Minor Victim One. The Defendant sat next to

         Minor Victim One on the floor. Tyria told the child to tell the Defendant what had

         happened. Minor Victim One said that “Mr. Ali” put his finger all the way in her down

         there and it hurt (words of Graham). The Defendant responded saying loudly “(Child’s

         name)! No thank you. No thank you!” Defendant picked the child up and placed her in

         his lap, saying “(her name)! I didn’t do that.” When Graham asked Minor Victim One if

         she was telling the truth or a lie, the child simply said “Miss Tyria” and shook her head.

         F.R.E. 801 (statements not being offered for the truth of the matter, but to show the effect

         on the listener (the Defendant) and to put his responses into context, including his

         behavior in putting the child in his lap).

      3) Minor Victim One’s father picked her up from the day care on August 21, 2014. She

         began saying that her “tito” (word used by child for vagina) hurt. She cried while in a

         restaurant restroom at dinner time, and while going to the bathroom, said that it hurt her

         vagina. F.R.E. 803(1), 803(3), and 803(4).

      4) On the early evening on August 21, 2014, the mother of Minor Victim One asked Minor

         Victim One why it was hurting “down there.” Minor Victim One began crying and ran

         upstairs without answering. The mother went upstairs and had the child sit in her lap.

         She asked Minor Victim One what was going on and the child responded “No, no, no

         Mommy!” The child then urinated all over herself and her mother while sitting in her

         mother’s lap. The mother again asked what was wrong and Minor Victim One told her




                                                                                                        260
Case 1:15-cr-00072-TWP-DML
  Case  1:15-cr-00072-TWP-DMLDocument 148-1
                               Document     Filed01/22/16
                                        59 Filed  12/12/16 Page
                                                           Page3261
                                                                 of 3of PageID
                                                                        349 PageID
                                                                               392 #:
                                       3625



         mother that “Mr. Ali put his fingers in my Tito (word used by child for vagina).” Minor

         Victim One told her mother that it happened during nap time and that she told Ms. Tyria

         that it hurt. After making these statements, the mother took the child to a hospital.

         F.R.E. 803(1), 803(2), 803(3), and 803(4).



                WHEREFORE the Government requests this Court issue a ruling that the

         statements of Minor Victim One to Tyria Graham, to Minor Victim One’s father, and to

         Minor Victim One’s mother - all made on August 21, 2014 - are admissible in the

         Government's case in chief.



                                               Respectfully submitted,

                                               JOSH J. MINKLER
                                               United States Attorney

                                         By:   s/ Bradley P. Shepard
                                               Bradley P. Shepard
                                               Assistant United States Attorney

                                               s/ Kristina M. Korobov
                                               Kristina M. Korobov
                                               Assistant United States Attorney




                                                                                                   261
Case 1:15-cr-00072-TWP-DML
  Case  1:15-cr-00072-TWP-DMLDocument 148-1
                               Document     Filed01/25/16
                                        61 Filed  12/12/16 Page
                                                           Page1262
                                                                 of 1of PageID
                                                                        349 PageID
                                                                               397 #:
                                       3626



                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF INDIANA
                                     INDIANAPOLIS DIVISION

   UNITED STATES OF AMERICA,                      )
                                                  )
                          Plaintiff,              )
                                                  )
                  v.                              )       CAUSE NO. 1:15-cr-00072-TWP-DML
                                                  )
                                                  )
   ALI AL-AWADI,                                  )
                                                  )
                           Defendant.             )


                                                 ORDER

          This matter is before the Court on the United States’ Motion to Withdraw,

   Docket Number 54 and the Court being duly advised, now grants the motion.

          It is hereby ORDERED that the Clerk of Court show this filing as WITHDRAWN.


          IT IS SO ORDERED: 1/25/2016




                                                      ________________________
                                                      Hon. Tanya Walton Pratt, Judge
                                                      United States District Court
                                                      Southern District of Indiana




   Distribution to all registered counsel via electronic notification.


                                                                                            262
Case 1:15-cr-00072-TWP-DML
  Case  1:15-cr-00072-TWP-DMLDocument 148-1
                               Document     Filed02/05/16
                                        74 Filed  12/12/16 Page
                                                           Page1263
                                                                 of 8of PageID
                                                                        349 PageID
                                                                               417 #:
                                       3627



                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF INDIANA
                                   INDIANAPOLIS DIVISION


   UNITED STATES OF AMERICA,                    )
                                                )
                  Plaintiff,                    )
                                                )
      v.                                        ) Cause No. 1:15-cr-00072-TWP-DML
                                                )
   ALI AL-AWADI,                                )
                                                )
                  Defendant.                    )

               Government’s Supplemental Brief in Support of its Motion to Admit
                                Evidence Pursuant Rule 414


           The United States of America, by Josh J. Minkler, United States Attorney, and Bradley P.

   Shepard and Kristina M. Korobov, Assistant United States Attorneys, hereby file this

   supplemental brief in support of the Government's notice of intent to admit evidence of the

   alleged molest of Victim One by the defendant.

                                   Evidence sought for Admission

           The Government seeks to introduce in its case in chief evidence of (1) Victim One's

   multiple statements that the defendant molested her and caused her pain in her vagina; (2) the

   defendant's statements in response to accusations of the molest; (3) the medical examination and

   findings of Victim One; and (4) the DNA evidence recovered from the inside crotch of Victim

   One's underwear.

                                                 Law

           Defendant is charged with four counts of production of child pornography and four

   counts of attempted production of child pornography in violation of 18 U.S.C. § 2251(a)&(e).

   Title 18 U.S.C. § 2251(a) has the following elements:




                                                                                                      263
Case 1:15-cr-00072-TWP-DML
  Case  1:15-cr-00072-TWP-DMLDocument 148-1
                               Document     Filed02/05/16
                                        74 Filed  12/12/16 Page
                                                           Page2264
                                                                 of 8of PageID
                                                                        349 PageID
                                                                               418 #:
                                       3628



          1.      At the time Victim One was under the age of eighteen years; and

          2.     The defendant, for the purpose of producing a visual depiction of such
          conduct employed, used, persuaded, and/or coerced Victim One to take part in
          sexually explicit conduct;

          3.     The visual depiction was produced using materials that had been mailed,
          shipped, transported across state lines or in foreign commerce.

   Seventh Cir. Pattern Instruction 18 U.S.C. § 2251(a). Title 18 U.S.C. § 2251(a)&(e) has the

   following elements:

          1.      That the Defendant intended to employ, use, persuade, induce, entice or coerce
          Victim One to engage in sexually explicit conduct for the purpose of producing a
          visual depiction of such conduct;

          2.     That the Defendant engaged in a purposeful act, that under the
          circumstances as he believed them to be, amounted to a substantial step towards the
          commission of that crime and strongly corroborated his criminal intent;

          3.    That the visual depiction would have been produced using materials that had
          been mailed, shipped or transported in interstate and foreign commerce.

   18 U.S.C. § 2251(a) &(e); Seventh Cir. Pattern Instruction 18 U.S.C. § 2251(a), 4.01, & 4.09.

          For purposes of this motion, it is critically important to remember that the crime

   prohibited in Section 2251(a) is not the production of the image but the use of a child. According

   to the statute, the conduct (actus reus) that a defendant must engage in in order to commit the

   substantive offense is the employment, use, persuasion, or coercion of a minor to take part in

   sexually explicit conduct. If the defendant engages in this conduct with the requisite mental state

   (mens rea) (i.e., for the purpose of producing a visual depiction of the conduct), he has

   committed the substantive offense whether or not any visual depiction is actually produced. This

   concept is illustrated by United States v. Buculei, 262 F.3d 322, 325 (4th Cir. 2001), a case in

   which the 38-year-old defendant, having traveled from New York to Maryland, brought the 14-

   year-old Maryland girl whom he had met online to a motel room, placed a tape inside a camera,

   positioned the camera facing the bed and turned it on, gave the girl an alcoholic drink, and then



                                                                                                         264
Case 1:15-cr-00072-TWP-DML
  Case  1:15-cr-00072-TWP-DMLDocument 148-1
                               Document     Filed02/05/16
                                        74 Filed  12/12/16 Page
                                                           Page3265
                                                                 of 8of PageID
                                                                        349 PageID
                                                                               419 #:
                                       3629



   engaged sexual acts with her. Ultimately, no child pornography video was made because Buculei

   failed to fully rewind the videotape. Id. at 325-326. Though no visual depiction was produced,

   the Fourth Circuit upheld Buculei’s conviction for commission of the substantive offense. “That

   Buculei was unsuccessful in his attempt to actually produce a visual depiction of sexually

   explicit conduct, with [the minor] as its star, does not, therefore, require his acquittal on Count

   Two, that he violated § 2251(a). Assuming the jurisdictional commerce requirement was

   satisfied, see infra, the federal crime charged in Count Two was complete when Buculei

   induced [the minor] into sexually explicit conduct for the purpose of producing a visual depiction

   thereof.” Id. at 328.

            Based upon discussions with defense counsel, the main contested issue in this case is did

   the defendant use Victim One for the purpose of producing a depiction of sexually explicit

   conduct on the day in question. That is what the Government must prove beyond a reasonable

   doubt.

                 The Proffered Evidence is Direct Evidence of Elements of the Crime

            Evidence is direct when it “tend[s] to prove the elements of the offense . . . actually

   charged.” Id; see, e.g., United States v. Miller, 673 F.3d 688 (7th Cir. 2012) (holding that

   evidence of defendant’s prior possession of a gun was admissible as direct evidence that the

   defendant possessed the same gun on the date charged); United States v. McKibbins, 656 F.3d

   707 (7th Cir. 2011) (determining that it was not an abuse of discretion for the district court to

   admit child pornography and profile pictures as direct evidence of an obstruction charge).

            All four of the proffered pieces of evidence are direct evidence of two critically important

   things the Government must prove. First, that it was the defendant who committed the crime.

   Victim One's identifications of the defendant both orally to multiple Government witnesses and




                                                                                                           265
Case 1:15-cr-00072-TWP-DML
  Case  1:15-cr-00072-TWP-DMLDocument 148-1
                               Document     Filed02/05/16
                                        74 Filed  12/12/16 Page
                                                           Page4266
                                                                 of 8of PageID
                                                                        349 PageID
                                                                               420 #:
                                       3630



   recorded in the Medical records and the DNA evidence are all evidence that is was the defendant

   who committee the charged crime. The medical records and the DNA evidence also corroborate

   Victim One's account of the event. Further the medical records, and DNA evidence also attack

   the veracity of the defendant's version of events as relayed in his multiple statements;

   specifically that Victim One was possibly hurt by his watch, or that Victim One's jeans or

   underwear never were pulled down or aside.

          Secondly, all four categories are evidence that Victim One was used for the purpose of

   producing a depiction of sexually explicit conduct. Here the instance of the molest, and the

   corroborating evidence, are direct evidence of why the image was produced. It proves a sexual

   interest and attraction to Victim One, which resulted in the production of the visual depictions.

   In other words, it not only proves the defendant's motive, but an element of the crime. Therefore

   the evidence is direct evidence of the central issues in this case. Accordingly, subject to Rule

   403 (see below), it is admissible without resort to Rule 414.

                       The Evidence is also Admissible Pursuant to Rule 414

          FRE 414(a) states "[i]n a criminal case in which the defendant is accused of child

   molestation, the court may admit evidence that the defendant committed any other child

   molestation. The evidence may be considered on any matter to which it is relevant." Child

   molestation includes "any conduct prohibited by 18 U.S.C. chapter 110 … [and] contact between

   any part of the defendant's body … and a child's genitals …" FRE 414(d)(2)(B)&(C).

          The charged offenses are crimes under 18 U.S.C. chapter 110 so are child molestation

   offenses pursuant to FRE 414(d)(2)(B). The proffered molest evidence concerns contact with the

   defendant's body and Victim One's genitals so is a child molest offense pursuant to FRE

   414(d)(2)(C). Therefore FRE 414 applies.




                                                                                                       266
Case 1:15-cr-00072-TWP-DML
  Case  1:15-cr-00072-TWP-DMLDocument 148-1
                               Document     Filed02/05/16
                                        74 Filed  12/12/16 Page
                                                           Page5267
                                                                 of 8of PageID
                                                                        349 PageID
                                                                               421 #:
                                       3631



          FRE 414 constitutes an exception to the rule that evidence of prior bad acts is

   inadmissible to show a defendant's propensity to commit the offense charged. See United States

   v. Rogers, 587 F.3d 816, 822-23 (7th Cir. 2009) (discussing analogous Rule 413). FREs 413 and

   414 effectively override the propensity bar in rule 404(a)(1) in sexual assault cases. United

   States v. Stokes, 726 F.3d 880,896 (7th Cir. 2013).

          The Court must still employ FRE 403. Rule 403 requires the exclusion of relevant

   evidence when its “probative value is substantially outweighed by a danger of . . . unfair

   prejudice, confusing the issues, [or] misleading the jury . . . .” Fed. R. Evid. 403 (emphasis

   added). “Unfair prejudice ... means an undue tendency to suggest a decision on an improper

   basis, commonly, though not necessarily, an emotional one.” Advisory Committee’s Notes on

   Fed. R. Evid. 403, cited approvingly in Old Chief v. United States, 519 U.S. 172, 184−85 (1997).

   FREs 413 & 414 hold that any possible propensity inference does not constitute unfair prejudice

   as contemplated by FRE 403. Rogers, 587 F.3d at 822 ("Because Rule 413 identifies this

   propensity inference as proper, the chance that the jury will rely on that inference can no longer

   be labeled as “unfair” for purposes of the Rule 403 analysis.")

          In analyzing the proffered evidence, there is nothing about the evidence that would cause

   a decision on an improper basis. Indeed while at argument defense counsel repeatedly referred

   to the evidence as graphic, but when pressed by the Court as to what he was referring, counsel

   only responded concerns about redness in Victim One's hymen. This would not substantially

   outweigh the probative value of the evidence.

          As discussed above, the main issue to be tried in the case is what was the purpose for

   producing the visual depictions. As the proffered evidence goes to that specific issue, the

   evidence's probative value is high. See United States v. Brown, 151 Fed.Appx. 286 , 288 (4th




                                                                                                        267
Case 1:15-cr-00072-TWP-DML
  Case  1:15-cr-00072-TWP-DMLDocument 148-1
                               Document     Filed02/05/16
                                        74 Filed  12/12/16 Page
                                                           Page6268
                                                                 of 8of PageID
                                                                        349 PageID
                                                                               422 #:
                                       3632



   Cir. 2005) (noting in a FRE 404(b) analysis that the probative value of evidence on a contested

   issue is high).

           The Government has not found a case in the Seventh Circuit employing a 414/403

   analysis where the two child molest incidents were contemporaneous as they are here. There

   have been multiple instances where evidence of a prior child molest offense was admitted after a

   403 balancing as relevant and not overly prejudicial. United States v. Hawpetoss, 478 F.3d 82,

   824-827 (7th Cir. 2007)(admitting evidence under rule 403 of molestation of two uncharged

   minor victims; United States v. Foley, 740 F.3d 1079 (7th Cir. 2014) (admitting evidence of a

   molest which occurred seven years prior to the charged instance); ); United States v. Roux, 715

   F.3d 1019, 1024 (7th Cir. 2013)(admitting pursuant to the less generous 404(b) and 403 analysis

   evidence of molest of two uncharged victims as evidence of defendant's intent to produce child

   pornography of a charged victim). Based upon these cases, evidence of a contemporaneous

   molest does not substantially outweigh the probative value of the proffered evidence.

                                                Respectfully submitted,

                                                JOSH J. MINKLER
                                                United States Attorney

                                          By:   s/ Bradley P. Shepard
                                                Bradley P. Shepard
                                                Assistant United States Attorney

                                                s/ Kristina M. Korobov
                                                Kristina M. Korobov
                                                Assistant United States Attorney




                                                                                                      268
Case 1:15-cr-00072-TWP-DML
  Case  1:15-cr-00072-TWP-DMLDocument 148-1
                               Document     Filed02/05/16
                                        74 Filed  12/12/16 Page
                                                           Page7269
                                                                 of 8of PageID
                                                                        349 PageID
                                                                               423 #:
                                       3633



                                         Certificate of Service

          I hereby certify that on February 5, 2015, I caused the foregoing document to be

   electronically transmitted to the Clerk's Office using the CM/ECF system for filing, which will

   send a notification of such filing to the following:

          Ross Thomas



                                                  /s/ Bradley P. Shepard
                                                  Bradley P. Shepard




                                                                                                     269
Case 1:15-cr-00072-TWP-DML
  Case  1:15-cr-00072-TWP-DMLDocument 148-1
                               Document     Filed02/05/16
                                        74 Filed  12/12/16 Page
                                                           Page8270
                                                                 of 8of PageID
                                                                        349 PageID
                                                                               424 #:
                                       3634




                                                                                   270
Case 1:15-cr-00072-TWP-DML
  Case  1:15-cr-00072-TWP-DMLDocument 148-1
                               Document     Filed02/19/16
                                        78 Filed  12/12/16 Page
                                                           Page1271
                                                                 of 6of PageID
                                                                        349 PageID
                                                                               480 #:
                                       3635



                                   UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF INDIANA
                                       INDIANAPOLIS DIVISION



   UNITED STATES OF AMERICA,                               )
                                                           )
                           Plaintiff,                      )
                                                           )
             v.                                            )
                                                           ) Cause No. 1:15-cr-00072-TWP-DML
   ALI AL-AWADI,                                           )
                                                           )
                           Defendant.                      )


                                     GOVERNMENT'S EXHIBIT LIST

             The United States of America, by Josh J. Minkler, United States of America, and Bradley

   P. Shepard and Kristina Korobov, Assistant United States Attorneys, hereby file this Exhibit

   List.

   Exhibit                 Description

   1                       Picture of Day Care (outside)

   2                       Picture of Classroom from door

   3                       Picture of Victim One and D.

   4                       Blanket

   5                       Underwear


   5A                      Picture of Underwear

   6                       Jeans

   6A                      Picture of Jeans

   7                       imgcache.0_embedded_329.jpg




                                                                                                       271
Case 1:15-cr-00072-TWP-DML
  Case  1:15-cr-00072-TWP-DMLDocument 148-1
                               Document     Filed02/19/16
                                        78 Filed  12/12/16 Page
                                                           Page2272
                                                                 of 6of PageID
                                                                        349 PageID
                                                                               481 #:
                                       3636



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   11               Center of Hope Records and Cert.

   12               Center Of Hope Pg. 1

   13               Center of Hope Pg. 2

   14               Center of Hope pg. 4

   15               Center of Hope Pg. 7

   16               Center of Hope Pg. 8

   17               Examination Photo Bracelet

   18               Packaged Victim One's underwear

   19               Daycare Diagram

   20               Graham Statement

   21               Conces Statement

   22               Day Care Business Records and Cert.

   23               Defendant's Employment Application

   24               Defendant's Written Statement provided to Day

                    care

   25               CD - Defendant's Statement

   26               Reserved

   27               Cell Phone recovered from Defendant

   28               G-Shock Watch

   29               Defendant Miranda Waiver




                                                                                   272
Case 1:15-cr-00072-TWP-DML
  Case  1:15-cr-00072-TWP-DMLDocument 148-1
                               Document     Filed02/19/16
                                        78 Filed  12/12/16 Page
                                                           Page3273
                                                                 of 6of PageID
                                                                        349 PageID
                                                                               482 #:
                                       3637



   30               Defendant Buccal Swab

   31               Justo Guevara Buccal Swab

   32               Cellbrite Report

   33               Cellbrite Supplemenal

   34               Picture of phone (Made in China)

   35               Email to Ali Al-Awadi

   36               Email from Ali Al-Awadi

   37               Image file name exhibit

   38               Selfie Photo Bathroom

   39               Selfie Photo with kids

   40               Selfie Photo with girl

   41               Body Diagram

   42               Victim One Statement 1

   43               Victim One Statement 2

   44               Definition of CP

   45               Definition of Sex. Explicit Conduct

   46               Definition of Lascivious Exhibition

   47               Reserve

   48               Hospital samples and clothing from Victim One


   49               Buccal cell standard from Victim One


   50               Hymen swabs




                                                                                   273
Case 1:15-cr-00072-TWP-DML
  Case  1:15-cr-00072-TWP-DMLDocument 148-1
                               Document     Filed02/19/16
                                        78 Filed  12/12/16 Page
                                                           Page4274
                                                                 of 6of PageID
                                                                        349 PageID
                                                                               483 #:
                                       3638



   51               internal genitalia swabs


   52               external genital swabs


   53               oral swabs


   54               anal swabs


   55               cuttings from buccal cell swabs

   56               coin envelope: hymen swabs

   57               coin envelope: internal genitalia swabs

   58               coin envelope: external genital swabs

   59               coin envelope: oral swabs

   60               coin envelope: anal swabs

   61               sample from inside crotch panel of underpants

   62               exhibit female anatomy

   63

   64               Property transfer sheet

   65               Classroom mat to door

   66               Classroom oposite window

   67               Classroom Window and rug

   68               Time Card record

   69               SMS Conversation




                                                                                   274
Case 1:15-cr-00072-TWP-DML
  Case  1:15-cr-00072-TWP-DMLDocument 148-1
                               Document     Filed02/19/16
                                        78 Filed  12/12/16 Page
                                                           Page5275
                                                                 of 6of PageID
                                                                        349 PageID
                                                                               484 #:
                                       3639



   70               DNA Testing Results

   71               Incest Searches

   72

   73               Shea Hays-Anderson Lab Report

   74               Tonya Fishburm DNA Report 1

   75               Tonya Fishburn DNA Report 2

   76               Tonya Fishburn DNA Report 3

   77               Exam Photo Victim One

   78               Picture of Disc of Center of Hope Photos

   79               DNA Report from Tonya Fishburn

   80               DNA Report from Shea Hayes Anderson

   81               DNA Report from Shea Hayes Anderson 2



                                           Respectfully submitted,

                                           JOSH J. MINKLER
                                           United States Attorney

                                      By: s://Bradley P.Shepard___________
                                            Bradley P. Shepard
                                            Assistant United States Attorney

                                           s/ Kristina M. Korobov
                                           Kristina M. Korobov
                                           Assistant United States Attorney




                                                                                   275
Case 1:15-cr-00072-TWP-DML
  Case  1:15-cr-00072-TWP-DMLDocument 148-1
                               Document     Filed02/19/16
                                        78 Filed  12/12/16 Page
                                                           Page6276
                                                                 of 6of PageID
                                                                        349 PageID
                                                                               485 #:
                                       3640




                                         CERTIFICATE OF SERVICE

          I hereby certify that on February 19, 2016, a copy of the foregoing Government’s

   Preliminary Witness and Exhibit list was filed electronically. Notice of this filing will be sent to

   the parties by operation of the Court’s electronic filing system. Parties may access this filing

   through the Court’s system.

                                                 Respectfully submitted,

                                                 JOSH J. MINKLER
                                                 United States Attorney


                                          By:    s:/ Bradley P. Shepard
                                                 Bradley P. Shepard
                                                 Kristina Korobov
                                                 Assistant United States Attorney
                                                 10 West Market Street, Suite 2100
                                                 Indianapolis, IN 46204-3048
                                                 Telephone: 317-226-6333
                                                 Fax: 317-229-6125
                                                 Email: bradley.shepard@usdoj.gov




                                                                                                          276
Case
 Case1:15-cr-00072-TWP-DML
       1:15-cr-00072-TWP-DMLDocument
                             Document148-1 Filed02/23/16
                                       80 Filed  12/12/16 Page
                                                           Page1277 of 349
                                                                of 15      PageID
                                                                       PageID 488#:
                                      3641



                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF INDIANA
                            INDIANAPOLIS DIVISION


   UNITED STATES OF AMERICA,          )
                                      )
        Plaintiff,                    )
                                      )
            v.                        ) Case No. 1:15-cr-00072-TWP-DML
                                      )
   ALI AL-AWADI,                      )
                                      )
        Defendant.                    )



                      PRELIMINARY JURY INSTRUCTIONS




                                                                                 277
Case
 Case1:15-cr-00072-TWP-DML
       1:15-cr-00072-TWP-DMLDocument
                             Document148-1 Filed02/23/16
                                       80 Filed  12/12/16 Page
                                                           Page2278 of 349
                                                                of 15      PageID
                                                                       PageID 489#:
                                      3642



                               PRELIMINARY INSTRUCTION NO. 1

           Ladies and gentlemen: You are now the jury in this case. I would like to take a few minutes

   to describe your duties as jurors and to give you instructions concerning the case.

           As the judge in this case, one of my duties is to decide all questions of law and procedure.

   In these preliminary instructions, during the trial, and at the end of the trial, I will instruct you on

   the rules of law that you must follow in making your decision. The instructions that I give you at

   the end of the trial will be more detailed than the instructions I am giving you now. Each of you

   will have a copy of the instructions that I will give you at the end of the case.

           You have two duties as jurors. Your first duty is to decide the facts from the evidence that

   you see and hear in court. Your second duty is to take the law as I give it to you, apply it to the

   facts, and decide if the Government has proved the defendant guilty beyond a reasonable doubt.

   You must perform these duties fairly and impartially. Do not let sympathy, prejudice, fear, or

   public opinion influence you.

           You should not take anything I say or do during the trial as indicating what I think of the

   evidence or what I think your verdict should be.




                                                                                                              278
Case
 Case1:15-cr-00072-TWP-DML
       1:15-cr-00072-TWP-DMLDocument
                             Document148-1 Filed02/23/16
                                       80 Filed  12/12/16 Page
                                                           Page3279 of 349
                                                                of 15      PageID
                                                                       PageID 490#:
                                      3643



                              PRELIMINARY INSTRUCTION NO. 2

           This is a criminal case that has been brought by the United States of America against the

   Defendant, Ali Al-Awadi. The charges against Mr. Al-Awadi are in a document called an

   Indictment. You will have a copy of the Indictment during your deliberations.

           The Indictment in this case charges that Mr. Al-Awadi committed the crimes of Counts 1

   through 4, Production of Child Pornography, and Counts 5 through 8, Attempted Production of

   Child Pornography. Mr. Al-Awadi has pleaded not guilty to the charges.

           The Indictment reads as follows:

           The Indictment is simply the formal way of telling the Defendant what crimes he is accused

   of committing. It is not evidence that the Defendant is guilty. It does not even raise a suspicion

   of guilt.




                                                                                                        279
Case
 Case1:15-cr-00072-TWP-DML
       1:15-cr-00072-TWP-DMLDocument
                             Document148-1 Filed02/23/16
                                       80 Filed  12/12/16 Page
                                                           Page4280 of 349
                                                                of 15      PageID
                                                                       PageID 491#:
                                      3644



                              PRELIMINARY INSTRUCTION NO. 3

          I may sometimes refer to the attorneys for the prosecution as the Government. In this trial,

   there is one Defendant: Ali Al-Awadi. I may sometimes refer to Mr. Al-Awadi as the Defendant.




                                                                                                         280
Case
 Case1:15-cr-00072-TWP-DML
       1:15-cr-00072-TWP-DMLDocument
                             Document148-1 Filed02/23/16
                                       80 Filed  12/12/16 Page
                                                           Page5281 of 349
                                                                of 15      PageID
                                                                       PageID 492#:
                                      3645



                              PRELIMINARY INSTRUCTION NO. 4

          Mr. Al-Awadi is presumed innocent of each and every one of the charges.               This

   presumption continues throughout the case, including during your deliberations. It is not overcome

   unless, from all the evidence in the case, you are convinced beyond a reasonable doubt that Mr.

   Al-Awadi is guilty as charged.

          The Government has the burden of proving Mr. Al-Awadi’s guilt beyond a reasonable

   doubt. This burden of proof stays with the Government throughout the case.

          Mr. Al-Awadi is never required to prove his innocence. He is not required to produce any

   evidence at all.




                                                                                                        281
Case
 Case1:15-cr-00072-TWP-DML
       1:15-cr-00072-TWP-DMLDocument
                             Document148-1 Filed02/23/16
                                       80 Filed  12/12/16 Page
                                                           Page6282 of 349
                                                                of 15      PageID
                                                                       PageID 493#:
                                      3646



                             PRELIMINARY INSTRUCTION NO. 5

          A defendant has an absolute right not to testify or present evidence. You may not consider

   in any way if Mr. Al-Awadi does not testify or present evidence.




                                                                                                       282
Case
 Case1:15-cr-00072-TWP-DML
       1:15-cr-00072-TWP-DMLDocument
                             Document148-1 Filed02/23/16
                                       80 Filed  12/12/16 Page
                                                           Page7283 of 349
                                                                of 15      PageID
                                                                       PageID 494#:
                                      3647



                                   PRELIMINARY INSTRUCTION NO. 6

          You may consider only the evidence that you see and hear in court. You may not consider

   anything you may see or hear outside of court, including anything from the newspaper, television,

   radio, the Internet, or any other source.

          The evidence includes only what the witnesses say when they are testifying under oath, the

   exhibits that I allow into evidence, and any facts to which the parties stipulate. A stipulation is an

   agreement that certain facts are true or that a witness would have given certain testimony.

          Nothing else is evidence. Any statements and arguments that the lawyers make are not

   evidence. If what a lawyer says is different from the evidence as you hear or see it, the evidence

   is what counts. The lawyers’ questions and objections likewise are not evidence.

          A lawyer has a duty to object if he thinks a question or evidence is improper. When an

   objection is made, I will be required to rule on the objection. If I sustain an objection to a question

   a lawyer asks, you must not speculate on what the answer might have been. If I strike testimony

   or an exhibit from the record, or tell you to disregard something, you must not consider it.

          Pay close attention to the evidence as it is being presented. During your deliberations, you

   will have any exhibits that I allow into evidence, but you will not have a transcript of the testimony.

   You will have to make your decision based on what you recall of the evidence.




                                                                                                             283
Case
 Case1:15-cr-00072-TWP-DML
       1:15-cr-00072-TWP-DMLDocument
                             Document148-1 Filed02/23/16
                                       80 Filed  12/12/16 Page
                                                           Page8284 of 349
                                                                of 15      PageID
                                                                       PageID 495#:
                                      3648



                               PRELIMINARY INSTRUCTION NO. 7

          You may have heard the terms “direct evidence” and “circumstantial evidence.” Direct

   evidence is evidence that directly proves a fact. Circumstantial evidence is evidence that indirectly

   proves a fact.

          For example, direct evidence that it was raining outside is testimony by a witness that it

   was raining. Circumstantial evidence that it was raining outside is the observation of someone

   entering a room carrying a wet umbrella.

          You are to consider both direct and circumstantial evidence. The law does not say that one

   is better than the other. It is up to you to decide how much weight to give to any evidence, whether

   direct or circumstantial.




                                                                                                           284
Case
 Case1:15-cr-00072-TWP-DML
       1:15-cr-00072-TWP-DMLDocument
                             Document148-1 Filed02/23/16
                                       80 Filed  12/12/16 Page
                                                           Page9285 of 349
                                                                of 15      PageID
                                                                       PageID 496#:
                                      3649



                             PRELIMINARY INSTRUCTION NO. 8

          Give the evidence whatever weight you believe it deserves. Use your common sense in

   weighing the evidence, and consider the evidence in light of your own everyday experience.

          People sometimes look at one fact and conclude from it that another fact exists. This is

   called an inference. You are allowed to make reasonable inferences, so long as they are based on

   the evidence.




                                                                                                      285
Case
 Case1:15-cr-00072-TWP-DML
      1:15-cr-00072-TWP-DML Document
                             Document148-1 Filed
                                      80 Filed   12/12/16Page
                                               02/23/16   Page10286  of 349
                                                                 of 15      PageID
                                                                         PageID 497#:
                                      3650



                              PRELIMINARY INSTRUCTION NO. 9

           Part of your job as jurors will be to decide how believable each witness was, and how much

   weight to give each witness’s testimony. I will give you additional instructions about this at the

   end of the trial.




                                                                                                        286
Case
 Case1:15-cr-00072-TWP-DML
      1:15-cr-00072-TWP-DML Document
                             Document148-1 Filed
                                      80 Filed   12/12/16Page
                                               02/23/16   Page11287  of 349
                                                                 of 15      PageID
                                                                         PageID 498#:
                                      3651



                               PRELIMINARY INSTRUCTION NO. 10

           Do not make any decisions by simply counting the number of witnesses who testified about

   a certain point.

           What is important is how believable the witnesses were and how much weight you think

   their testimony deserves.




                                                                                                      287
Case
 Case1:15-cr-00072-TWP-DML
      1:15-cr-00072-TWP-DML Document
                             Document148-1 Filed
                                      80 Filed   12/12/16Page
                                               02/23/16   Page12288  of 349
                                                                 of 15      PageID
                                                                         PageID 499#:
                                      3652



                              PRELIMINARY INSTRUCTION NO. 11

            You will be permitted to take notes during the trial. If you take notes, you may use them

   during deliberations to help you remember what happened during the trial. You should use your

   notes only as aids to your memory. The notes are not evidence. All of you should rely on your

   independent recollection of the evidence, and you should not be unduly influenced by the notes of

   other jurors. Notes are not entitled to any more weight than the memory or impressions of each

   juror.




                                                                                                        288
Case
 Case1:15-cr-00072-TWP-DML
      1:15-cr-00072-TWP-DML Document
                             Document148-1 Filed
                                      80 Filed   12/12/16Page
                                               02/23/16   Page13289  of 349
                                                                 of 15      PageID
                                                                         PageID 500#:
                                      3653



                              PRELIMINARY INSTRUCTION NO. 12

           Before we begin the trial, I want to discuss several rules of conduct that you must follow

   as jurors.

           First, you should keep an open mind throughout the trial. Do not make up your mind about

   what your verdict should be until after the trial is over, you have received my final instructions on

   the law, and you and your fellow jurors have discussed the evidence.

           Your verdict in this case must be based exclusively on the law as I give it to you and the

   evidence that is presented during the trial. For this reason, and to ensure fairness to both sides in

   this case, you must obey the following rules. These rules apply both when you are here in court

   and when you are not in court. They apply until after you have returned your verdict in the case.

           1.     You must not discuss the case, including anyone who is involved in the case, among

   yourselves until you go to the jury room to deliberate after the trial is completed.

           2.     You must not communicate with anyone else about this case, including anyone who

   is involved in the case, until after you have returned your verdict.

           3.     When you are not in the courtroom, you must not allow anyone to communicate

   with you about the case or give you any information about the case, or about anyone who is

   involved in the case. If someone tries to communicate with you about the case or someone who is

   involved in the case, or if you overhear or learn any information about the case or someone

   involved in the case when you are not in the courtroom, you must report this to me promptly.

           4.     You may tell your family and your employer that you are serving on a jury, so that

   you can explain that you have to be in court. However, you must not communicate with them

   about the case or anyone who is involved in the case until after you have returned your verdict.

           5.     All of the information that you will need to decide the case will be presented here

   in court. You may not look up, obtain, or consider information from any outside source.



                                                                                                           289
Case
 Case1:15-cr-00072-TWP-DML
      1:15-cr-00072-TWP-DML Document
                             Document148-1 Filed
                                      80 Filed   12/12/16Page
                                               02/23/16   Page14290  of 349
                                                                 of 15      PageID
                                                                         PageID 501#:
                                      3654



          There are two reasons for these rules. First, it would not be fair to the parties in the case

   for you to consider outside information or communicate information about the case to others.

   Second, outside information may be incorrect or misleading.

          When I say that you may not obtain or consider any information from outside sources, and

   may not communicate with anyone about the case, I am referring to any and all means by which

   people communicate or obtain information. This includes, for example, face to face conversations;

   looking things up; doing research; reading, watching, or listening to reports in the news media;

   and any communication using any electronic device or media, such as a telephone, cell phone,

   smart phone, iPhone, Android, Blackberry or similar device, PDA, computer, the Internet, text

   messaging, emails, chat rooms, blogs, social networking websites like Facebook, YouTube,

   Twitter, GooglePlus, LinkedIn, SnapChat or any other form of communication at all. If you hear,

   see, or receive any information about the case by these or any other means, you must report that

   to me immediately.




                                                                                                          290
Case
 Case1:15-cr-00072-TWP-DML
      1:15-cr-00072-TWP-DML Document
                             Document148-1 Filed
                                      80 Filed   12/12/16Page
                                               02/23/16   Page15291  of 349
                                                                 of 15      PageID
                                                                         PageID 502#:
                                      3655



                              PRELIMINARY INSTRUCTION NO. 13

          We are now ready to begin the trial. The trial will proceed in the following manner:

          First, each side’s attorneys may make an opening statement. An opening statement is not

   evidence. Rather, it is a summary of what each side’s attorneys expect the evidence will show.

          After the opening statements, you will hear the evidence.

          After the evidence has been presented, the attorneys will make closing arguments, and I

   will instruct you on the law that applies to the case.

          After that, you will go to the jury room to deliberate on your verdict.



   Thank you ladies and gentlemen.




                                                                                                    291
Case
 Case1:15-cr-00072-TWP-DML
       1:15-cr-00072-TWP-DMLDocument
                             Document148-1 Filed02/26/16
                                       87 Filed  12/12/16 Page
                                                           Page1292 of 349
                                                                of 33      PageID
                                                                       PageID 528#:
                                      3656



                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF INDIANA
                               INDIANAPOLIS DIVISION


   UNITED STATES OF AMERICA,          )
                                      )
              Plaintiff,              )
                                      )
        v.                            )     Case No. 1:15-cr-00072-TWP-DML
                                      )
   ALI AL-AWADI,                      )
                                      )
              Defendant.              )



                             FINAL JURY INSTRUCTIONS




                                                                                 292
Case
 Case1:15-cr-00072-TWP-DML
       1:15-cr-00072-TWP-DMLDocument
                             Document148-1 Filed02/26/16
                                       87 Filed  12/12/16 Page
                                                           Page2293 of 349
                                                                of 33      PageID
                                                                       PageID 529#:
                                      3657



                                     JURY INSTRUCTION NO. 1


          Members of the jury, I will now instruct you on the law that you must follow in deciding

   this case. You must follow all of my instructions about the law, even if you disagree with them.

   This includes the instructions I gave you before the trial, any instructions I gave you during the

   trial, and the instructions I am giving you now.

          As jurors, you have two duties. Your first duty is to decide the facts from the evidence that

   you saw and heard here in court. This is your job, not my job or anyone else’s job.

          Your second duty is to take the law as I give it to you, apply it to the facts, and decide if

   the government has proved the Defendant guilty beyond a reasonable.

          You must perform these duties fairly and impartially. Do not let sympathy, prejudice, fear,

   or public opinion influence you. In addition, do not let any person’s race, color, religion, national

   ancestry, or gender influence you.

          You must not take anything I said or did during the trial as indicating that I have an opinion

   about the evidence or about what I think your verdict should be.




                                                                                                           293
Case
 Case1:15-cr-00072-TWP-DML
       1:15-cr-00072-TWP-DMLDocument
                             Document148-1 Filed02/26/16
                                       87 Filed  12/12/16 Page
                                                           Page3294 of 349
                                                                of 33      PageID
                                                                       PageID 530#:
                                      3658



                                     JURY INSTRUCTION NO. 2

            The charges against the Defendant are in a document called an Indictment.

            The Indictment in this case charges that the Defendant committed the crimes of sexual

   exploitation of a child and attempted sexual exploitation of a child. The Defendant has pled not

   guilty to the charges.

            The Indictment is simply the formal way of telling the Defendant what crimes he is accused

   of committing. It is not evidence that the Defendant is guilty. It does not even raise a suspicion of

   guilt.




                                                                                                           294
Case
 Case1:15-cr-00072-TWP-DML
       1:15-cr-00072-TWP-DMLDocument
                             Document148-1 Filed02/26/16
                                       87 Filed  12/12/16 Page
                                                           Page4295 of 349
                                                                of 33      PageID
                                                                       PageID 531#:
                                      3659



                                     JURY INSTRUCTION NO. 3


          The Defendant is presumed innocent of each and every one of the charges. This

   presumption continues throughout the case, including during your deliberations. It is not overcome

   unless, from all the evidence in the case, you are convinced beyond a reasonable doubt that the

   Defendant is guilty as charged.

          The Government has the burden of proving the Defendant’s guilt beyond a reasonable

   doubt. This burden of proof stays with the Government throughout the case.

          The Defendant is never required to prove his innocence. He is not required to produce any

   evidence at all.




                                                                                                        295
Case
 Case1:15-cr-00072-TWP-DML
       1:15-cr-00072-TWP-DMLDocument
                             Document148-1 Filed02/26/16
                                       87 Filed  12/12/16 Page
                                                           Page5296 of 349
                                                                of 33      PageID
                                                                       PageID 532#:
                                      3660



                                    JURY INSTRUCTION NO. 4

          You must make your decision based only on the evidence that you saw and heard here in

   court. Do not consider anything you may have seen or heard outside of court, including anything

   from the newspaper, television, radio, the Internet, or any other source.

          The evidence includes only what the witnesses said when they were testifying under oath,

   the exhibits that I allowed into evidence, and the stipulations that the lawyers agreed to. A

   stipulation is an agreement that certain facts are true or that a witness would have given certain

   testimony.

          In addition, you may recall that I took judicial notice of certain facts that may be considered

   as matters of common knowledge. You may accept those facts as proved, but you are not required

   to do so.

          Nothing else is evidence. The lawyers’ statements and arguments are not evidence. If

   what a lawyer said is different from the evidence as you remember it, the evidence is what counts.

   The lawyers’ questions and objections likewise are not evidence.

          A lawyer has a duty to object if he thinks a question is improper. If I sustained objections

   to questions the lawyers asked, you must not speculate on what the answers might have been.

          If, during the trial, I struck testimony or exhibits from the record, or told you to disregard

   something, you must not consider it.




                                                                                                            296
Case
 Case1:15-cr-00072-TWP-DML
       1:15-cr-00072-TWP-DMLDocument
                             Document148-1 Filed02/26/16
                                       87 Filed  12/12/16 Page
                                                           Page6297 of 349
                                                                of 33      PageID
                                                                       PageID 533#:
                                      3661



                                     JURY INSTRUCTION NO. 5



          You may have heard the terms “direct evidence” and “circumstantial evidence.” Direct

   evidence is evidence that directly proves a fact. Circumstantial evidence is evidence that indirectly

   proves a fact.

          You are to consider both direct and circumstantial evidence. The law does not say that one

   is better than the other. It is up to you to decide how much weight to give to any evidence, whether

   direct or circumstantial.




                                                                                                           297
Case
 Case1:15-cr-00072-TWP-DML
       1:15-cr-00072-TWP-DMLDocument
                             Document148-1 Filed02/26/16
                                       87 Filed  12/12/16 Page
                                                           Page7298 of 349
                                                                of 33      PageID
                                                                       PageID 534#:
                                      3662



                                   JURY INSTRUCTION NO. 6


           Do not make any decisions simply by counting the number of witnesses who testified about

   a certain point.

           You may find the testimony of one witness or a few witnesses more persuasive than the

   testimony of a larger number. You need not accept the testimony of the larger number of

   witnesses.

           What is important is how truthful and accurate the witnesses were and how much weight

   you think their testimony deserves.




                                                                                                      298
Case
 Case1:15-cr-00072-TWP-DML
       1:15-cr-00072-TWP-DMLDocument
                             Document148-1 Filed02/26/16
                                       87 Filed  12/12/16 Page
                                                           Page8299 of 349
                                                                of 33      PageID
                                                                       PageID 535#:
                                      3663



                                      JURY INSTRUCTION NO. 7



           Part of your job as jurors is to decide how believable each witness was, and how much

   weight to give each witness’ testimony, including that of the Defendant. You may accept all of

   what a witness says, or part of it, or none of it.

           Some factors you may consider include:

               -   the intelligence of the witness;

               -   the witness’ ability and opportunity to see, hear, or know the things the
                   witness testified about;

               -   the witness’ memory;

               -   the witness’ demeanor;

               -   whether the witness had any bias, prejudice, or other reason to lie or slant
                   the testimony;

               -   the truthfulness and accuracy of the witness’ testimony in light of the other
                   evidence presented; and

               -   inconsistent or consistent statements or conduct by the witness.




                                                                                                    299
Case
 Case1:15-cr-00072-TWP-DML
       1:15-cr-00072-TWP-DMLDocument
                             Document148-1 Filed02/26/16
                                       87 Filed  12/12/16 Page
                                                           Page9300 of 349
                                                                of 33      PageID
                                                                       PageID 536#:
                                      3664



                                  JURY INSTRUCTION NO. 8


        It is proper for an attorney to interview any witness in preparation for trial.




                                                                                          300
Case
 Case1:15-cr-00072-TWP-DML
      1:15-cr-00072-TWP-DML Document
                             Document148-1 Filed
                                      87 Filed   12/12/16Page
                                               02/26/16   Page10301  of 349
                                                                 of 33      PageID
                                                                         PageID 537#:
                                      3665



                                   JURY INSTRUCTION NO. 9

          You have heard evidence that before the trial, witnesses made statements that may be

   inconsistent with their testimony here in court. You may consider an inconsistent statement made

   before the trial to help you decide how believable a witness’ testimony was here in court.




                                                                                                      301
Case
 Case1:15-cr-00072-TWP-DML
      1:15-cr-00072-TWP-DML Document
                             Document148-1 Filed
                                      87 Filed   12/12/16Page
                                               02/26/16   Page11302  of 349
                                                                 of 33      PageID
                                                                         PageID 538#:
                                      3666



                                  JURY INSTRUCTION NO. 10




          You have heard evidence that before the trial, the Defendant made statements that may be

   inconsistent with his testimony here in court. You may consider an inconsistent statement by the

   Defendant made before the trial to help you decide how believable the Defendant’s testimony was

   here in court, and also as evidence of the truth of whatever the Defendant said in the earlier

   statement.




                                                                                                      302
Case
 Case1:15-cr-00072-TWP-DML
      1:15-cr-00072-TWP-DML Document
                             Document148-1 Filed
                                      87 Filed   12/12/16Page
                                               02/26/16   Page12303  of 349
                                                                 of 33      PageID
                                                                         PageID 539#:
                                      3667



                                 JURY INSTRUCTION NO. 11


          You have heard testimony that the Defendant made a statement to the Indianapolis

   Metropolitan Police Department. You must decide whether the Defendant actually made these

   statements and, if so, how much weight to give the statement. In making these decisions, you

   should consider all of the evidence, including the Defendant’s personal characteristics and

   circumstances under which the statement may have been made.




                                                                                                  303
Case
 Case1:15-cr-00072-TWP-DML
      1:15-cr-00072-TWP-DML Document
                             Document148-1 Filed
                                      87 Filed   12/12/16Page
                                               02/26/16   Page13304  of 349
                                                                 of 33      PageID
                                                                         PageID 540#:
                                      3668



                                    JURY INSTRUCTION NO. 12


          You have heard testimony and evidence that the Defendant committed crimes, acts and/or

   wrongs other than the ones charged in the Indictment. Before using this evidence, you must decide

   whether it is more likely than not that the Defendant did the crimes, acts, and/or wrongs that are

   not charged in the Indictment. If you decide that he did, then you may consider this evidence to

   help you decide the Defendant’s intent to produce or attempt to produce child pornography,

   absence of mistake in dealing with the alleged victim or opportunity. You may not consider it for

   any other purpose. Keep in mind that the Defendant is on trial here for sexual exploitation and

   attempted sexual exploitation of a child, not for the other crimes, acts, or wrongs.




                                                                                                        304
Case
 Case1:15-cr-00072-TWP-DML
      1:15-cr-00072-TWP-DML Document
                             Document148-1 Filed
                                      87 Filed   12/12/16Page
                                               02/26/16   Page14305  of 349
                                                                 of 33      PageID
                                                                         PageID 541#:
                                      3669



                                   JURY INSTRUCTION NO. 13


          You have heard testimony of an identification of a person. Identification testimony is an

   expression of the witness’ belief or impression. In evaluating this testimony, you should consider

   the opportunity the witness had to observe the person at the time and to make a reliable

   identification later. You should also consider the circumstances under which the witness later

   made the identification.

          The Government must prove beyond a reasonable doubt that the Defendant is the person

   who committed the crime that is charged.




                                                                                                        305
Case
 Case1:15-cr-00072-TWP-DML
      1:15-cr-00072-TWP-DML Document
                             Document148-1 Filed
                                      87 Filed   12/12/16Page
                                               02/26/16   Page15306  of 349
                                                                 of 33      PageID
                                                                         PageID 542#:
                                      3670



                                  JURY INSTRUCTION NO. 14


          You have heard witnesses who gave opinions and testimony based on their scientific,

   technical, or otherwise specialized knowledge. You do not have to accept the witnesses’ opinions

   or testimony. You should judge the witnesses opinions and testimony the same way you judge the

   testimony of any other witness. In deciding how much weight to give to these opinions and

   testimony, you should consider the witnesses qualifications, how the witness reached his or her

   opinions or conclusions, and the factors I have described for determining the believability of

   testimony.




                                                                                                      306
Case
 Case1:15-cr-00072-TWP-DML
      1:15-cr-00072-TWP-DML Document
                             Document148-1 Filed
                                      87 Filed   12/12/16Page
                                               02/26/16   Page16307  of 349
                                                                 of 33      PageID
                                                                         PageID 543#:
                                      3671



                                       JURY INSTRUCTION NO. 15

              You have seen video recordings. This is proper evidence that you should consider together

   with and in the same way you consider the other evidence.

              There were also transcripts of the conversations on the video recordings to help you follow

   the recordings as you listened to them. The recordings are the evidence of what was said and who

   said it. The transcripts are not evidence. If you noticed any differences between what you heard

   in a conversation and what you read in the transcripts, your understanding of the recording is what

   matters. In other words, you must rely on what you heard, not what you read. And if you could

   not hear or understand certain parts of a recording, you must ignore the transcripts as far as those

   parts are concerned. You may consider a person’s actions, facial expressions, and lip movements

   that you are able to observe on a video recording to help you determine what was said and who

   said it.

              If, during your deliberations, you wish to have another opportunity to view any

   transcript[s] as you listen to a recording, send a written message to the Bailiff, and I will provide

   you with the transcript[s].




                                                                                                            307
Case
 Case1:15-cr-00072-TWP-DML
      1:15-cr-00072-TWP-DML Document
                             Document148-1 Filed
                                      87 Filed   12/12/16Page
                                               02/26/16   Page17308  of 349
                                                                 of 33      PageID
                                                                         PageID 544#:
                                      3672



                                  JURY INSTRUCTION NO. 16

          Certain summaries and charts were admitted in evidence. You may use those summaries

   and charts as evidence.

          The accuracy of the summaries and charts has been challenged. The underlying documents

   and evidence have also been admitted so that you may determine whether the summaries are

   accurate.

          It is up to you to decide how much weight to give to the summaries.




                                                                                                   308
Case
 Case1:15-cr-00072-TWP-DML
      1:15-cr-00072-TWP-DML Document
                             Document148-1 Filed
                                      87 Filed   12/12/16Page
                                               02/26/16   Page18309  of 349
                                                                 of 33      PageID
                                                                         PageID 545#:
                                      3673



                                  JURY INSTRUCTION NO. 17

          Certain summaries and charts were shown to you to help explain other evidence that was

   admitted. These summaries and charts are not themselves evidence or proof of any facts, so you

   will not have these particular summaries and charts during your deliberations. If they do not

   correctly reflect the facts shown by the evidence, you should disregard the summaries and charts

   and determine the facts from the underlying evidence.




                                                                                                      309
Case
 Case1:15-cr-00072-TWP-DML
      1:15-cr-00072-TWP-DML Document
                             Document148-1 Filed
                                      87 Filed   12/12/16Page
                                               02/26/16   Page19310  of 349
                                                                 of 33      PageID
                                                                         PageID 546#:
                                      3674



                                   JURY INSTRUCTION NO. 18


          If you have taken notes during the trial, you may use them during deliberations to help you

   remember what happened during the trial. You should use your notes only as aids to your memory.

   The notes are not evidence. All of you should rely on your independent recollection of the

   evidence, and you should not be unduly influenced by the notes of other jurors. Notes are not

   entitled to any more weight than the memory or impressions of each juror.




                                                                                                        310
Case
 Case1:15-cr-00072-TWP-DML
      1:15-cr-00072-TWP-DML Document
                             Document148-1 Filed
                                      87 Filed   12/12/16Page
                                               02/26/16   Page20311  of 349
                                                                 of 33      PageID
                                                                         PageID 547#:
                                      3675



                                   JURY INSTRUCTION NO. 19


          The Indictment charges the Defendant in Counts 1-4 with the crime of sexual exploitation

   of a minor. In order for you to find the Defendant guilty of this charge, the Government must

   prove each of the following elements beyond a reasonable doubt:

      1. At the time, Victim One was under the age of eighteen years; and

      2. The Defendant, for the purpose of producing a visual depiction of such conduct used Victim
         One to take part in sexually explicit conduct;

          and

      3. The visual depiction was produced using materials that had been mailed, shipped,
         transported across state lines or in foreign commerce.

          If you find from your consideration of all the evidence that the Government has proved

   both of these elements beyond a reasonable doubt, then you should find the Defendant guilty.

          If, on the other hand, you find from your consideration of all the evidence that the

   Government has failed to prove any one of these elements beyond a reasonable doubt, then you

   should find the Defendant not guilty.




                                                                                                      311
Case
 Case1:15-cr-00072-TWP-DML
      1:15-cr-00072-TWP-DML Document
                             Document148-1 Filed
                                      87 Filed   12/12/16Page
                                               02/26/16   Page21312  of 349
                                                                 of 33      PageID
                                                                         PageID 548#:
                                      3676



                                   JURY INSTRUCTION NO. 20

          The Indictment charges the Defendant in Counts 5-8 with the crime of attempted sexual

   exploitation of a minor. In order for you to find the Defendant guilty of this charge, the

   Government must prove both of the following elements beyond a reasonable doubt:

          1.      That the Defendant intended to employ, use, persuade, induce, entice or coerce
                  Victim One to engage in sexually explicit conduct for the purpose of producing a
                  visual depiction of such conduct;

          2.      That the Defendant engaged in a purposeful act, that under the circumstances as he
                  believed them to be, amounted to a substantial step towards the commission of that
                  crime and strongly corroborated his criminal intent;

          3.      That the visual depiction would have been produced using materials that had been
                  mailed, shipped or transported in interstate and foreign commerce.

           If you find from your consideration of all the evidence that the Government has proved

   each of these elements beyond a reasonable doubt, then you should find the Defendant guilty of

   that charge.

           If, on the other hand, you find from your consideration of all the evidence that the

   Government has failed to prove any one of these elements beyond a reasonable doubt, then you

   must find the Defendant not guilty.




                                                                                                       312
Case
 Case1:15-cr-00072-TWP-DML
      1:15-cr-00072-TWP-DML Document
                             Document148-1 Filed
                                      87 Filed   12/12/16Page
                                               02/26/16   Page22313  of 349
                                                                 of 33      PageID
                                                                         PageID 549#:
                                      3677



                                JURY INSTRUCTION NO. 21



         “Minor” means any person under the age of eighteen (18) years.




                                                                                   313
Case
 Case1:15-cr-00072-TWP-DML
      1:15-cr-00072-TWP-DML Document
                             Document148-1 Filed
                                      87 Filed   12/12/16Page
                                               02/26/16   Page23314  of 349
                                                                 of 33      PageID
                                                                         PageID 550#:
                                      3678



                                   JURY INSTRUCTION NO. 22


          “Sexually explicit conduct” includes the lascivious exhibition of the genitals or pubic area

   of any person.




                                                                                                         314
Case
 Case1:15-cr-00072-TWP-DML
      1:15-cr-00072-TWP-DML Document
                             Document148-1 Filed
                                      87 Filed   12/12/16Page
                                               02/26/16   Page24315  of 349
                                                                 of 33      PageID
                                                                         PageID 551#:
                                      3679



                                  JURY INSTRUCTION NO. 23


          The term “producing” includes producing, directing, manufacturing, issuing, publishing, or

   advertising.




                                                                                                       315
Case
 Case1:15-cr-00072-TWP-DML
      1:15-cr-00072-TWP-DML Document
                             Document148-1 Filed
                                      87 Filed   12/12/16Page
                                               02/26/16   Page25316  of 349
                                                                 of 33      PageID
                                                                         PageID 552#:
                                      3680



                                    JURY INSTRUCTION NO. 24


          “Computer” as used in this instruction means an electronic, magnetic, optical,

   electrochemical, or other high speed data processing device performing logical, arithmetic, or

   storage functions, and includes any data storage facility or communications facility directly related

   to or operating in conjunction with such device, but such term does not include an automated

   typewriter or typesetter, a portable hand held calculator, or other similar device.




                                                                                                           316
Case
 Case1:15-cr-00072-TWP-DML
      1:15-cr-00072-TWP-DML Document
                             Document148-1 Filed
                                      87 Filed   12/12/16Page
                                               02/26/16   Page26317  of 349
                                                                 of 33      PageID
                                                                         PageID 553#:
                                      3681



                                    JURY INSTRUCTION NO. 25


          A lascivious display is one that draws attention to the genitals or pubic area of the subject

   in order to excite lustfulness or sexual stimulation in the viewer.




                                                                                                          317
Case
 Case1:15-cr-00072-TWP-DML
      1:15-cr-00072-TWP-DML Document
                             Document148-1 Filed
                                      87 Filed   12/12/16Page
                                               02/26/16   Page27318  of 349
                                                                 of 33      PageID
                                                                         PageID 554#:
                                      3682



                                   JURY INSTRUCTION NO. 26



          More than nudity is required to make an image lascivious; the focus of the image must be

   on the genitals or the image must be otherwise sexually suggestive.




                                                                                                     318
Case
 Case1:15-cr-00072-TWP-DML
      1:15-cr-00072-TWP-DML Document
                             Document148-1 Filed
                                      87 Filed   12/12/16Page
                                               02/26/16   Page28319  of 349
                                                                 of 33      PageID
                                                                         PageID 555#:
                                      3683



                                   JURY INSTRUCTION NO. 27


          The term “visual depiction” includes undeveloped film and videotape, data stored on

   computer disk or by electronic means which is capable of conversion into a visual image, and data

   which is capable of conversion into a visual image that has been transmitted by any means, whether

   or not stored in a permanent format.

          Computerized and digital visual depictions are produced when they are transferred and

    stored on computer media, including hard drives and flash drives, that have traveled in interstate

    commerce.

          "Interstate commerce" means “commerce or travel between one state...of the United States

    and another state...of the United States.” “[F]oreign commerce...includes commerce with a

    foreign country.”

          Thus the phrase “shipped or transported in interstate commerce or foreign commerce”

    means that the items used to produce the visual depiction, at any time, traveled or moved between

    one state or foreign country and another.




                                                                                                         319
Case
 Case1:15-cr-00072-TWP-DML
      1:15-cr-00072-TWP-DML Document
                             Document148-1 Filed
                                      87 Filed   12/12/16Page
                                               02/26/16   Page29320  of 349
                                                                 of 33      PageID
                                                                         PageID 556#:
                                      3684



                                   JURY INSTRUCTION NO. 28



          The Defendant has been accused of more than one crime. The number of charges is not

   evidence of guilt and should not influence your decision.

          You must consider each charge and the evidence concerning each charge separately. Your

   decision on one charge, whether it is guilty or not guilty, should not influence your decision on

   any other charge.




                                                                                                       320
Case
 Case1:15-cr-00072-TWP-DML
      1:15-cr-00072-TWP-DML Document
                             Document148-1 Filed
                                      87 Filed   12/12/16Page
                                               02/26/16   Page30321  of 349
                                                                 of 33      PageID
                                                                         PageID 557#:
                                      3685



                                       JURY INSTRUCTION NO. 29

          Alternate jurors, you may not participate in deliberations unless you replace a member of

   the jury. Any replacement would be done in open court. You will be provided separate facilities

   during deliberations and will be brought into court once the jury has reached a verdict.

          Ladies and gentlemen of the jury, once you are all in the jury room, the first thing you

   should do is choose a foreperson. The foreperson should see to it that your discussions are carried

   on in an organized way and that everyone has a fair chance to be heard. You may discuss the case

   only when all jurors are present.

          Once you start deliberating, do not communicate about the case or your deliberations with

   anyone except other members of your jury. You may not communicate with others about the case or

   your deliberations by any means. This includes oral or written communication, as well as any

   electronic method of communication, such as telephone, cell phone, smart phone, iPhone, Blackberry,

   computer, text messaging, instant messaging, the Internet, chat rooms, blogs, websites, or services like

   Facebook, MySpace, LinkedIn, YouTube, Twitter, SnapChat, or any other method of communication.

          If you need to communicate with me while you are deliberating, send a note through the

   Bailiff. The note should be signed by the foreperson, or by one or more members of the jury. To

   have a complete record of this trial, it is important that you do not communicate with me except

   by a written note. I may have to talk to the lawyers about your message, so it may take me some

   time to get back to you. You may continue your deliberations while you wait for my answer.

          Please be advised that transcripts of trial testimony are not available to you. You must rely

   on your collective memory of the testimony.

          If you send me a message, do not include the breakdown of any votes you may have

   conducted. In other words, do not tell me that you are split 6–6, or 8–4, or whatever your vote

   happens to be.



                                                                                                              321
Case
 Case1:15-cr-00072-TWP-DML
      1:15-cr-00072-TWP-DML Document
                             Document148-1 Filed
                                      87 Filed   12/12/16Page
                                               02/26/16   Page31322  of 349
                                                                 of 33      PageID
                                                                         PageID 558#:
                                      3686



                                    JURY INSTRUCTION NO. 30



           Verdict forms have been prepared for you. You will take these forms with you to the jury

   room.

           When you have reached unanimous agreement, your foreperson will fill in, date, and sign

   the verdict forms.

           Advise the Bailiff once you have reached a verdict. When you come back to the courtroom,

   I will read the verdict aloud.




                                                                                                      322
Case
 Case1:15-cr-00072-TWP-DML
      1:15-cr-00072-TWP-DML Document
                             Document148-1 Filed
                                      87 Filed   12/12/16Page
                                               02/26/16   Page32323  of 349
                                                                 of 33      PageID
                                                                         PageID 559#:
                                      3687



                                    JURY INSTRUCTION NO. 31

          The verdict must represent the considered judgment of each juror. Your verdict, whether

   it is guilty or not guilty, must be unanimous.

          You should make every reasonable effort to reach a verdict. In doing so, you should consult

   with each other, express your own views, and listen to your fellow jurors’ opinions. Discuss your

   differences with an open mind. Do not hesitate to re-examine your own view and change your

   opinion if you come to believe it is wrong. But you should not surrender your honest beliefs about

   the weight or effect of evidence just because of the opinions of your fellow jurors or just so that

   there can be a unanimous verdict.

          The twelve of you should give fair and equal consideration to all the evidence. You should

   deliberate with the goal of reaching an agreement that is consistent with the individual judgment

   of each juror.

          You are impartial judges of the facts. Your sole interest is to determine whether the

   Government has proved its case beyond a reasonable doubt.




                                                                                                         323
Case
 Case1:15-cr-00072-TWP-DML
      1:15-cr-00072-TWP-DML Document
                             Document148-1 Filed
                                      87 Filed   12/12/16Page
                                               02/26/16   Page33324  of 349
                                                                 of 33      PageID
                                                                         PageID 560#:
                                      3688



                                    JURY INSTRUCTION NO. 32



          Ladies and gentlemen, you will have photographs of all of the physical evidence that has

   been admitted into evidence with you during your deliberations. If you desire to listen to any

   recordings or view the physical evidence, please put that request in writing and you will be allowed

   to review that evidence in the courtroom.




                                                                                                          324
Case 1:15-cr-00072-TWP-DML
  Case  1:15-cr-00072-TWP-DMLDocument 148-1
                               Document     Filed02/26/16
                                        88 Filed  12/12/16 Page
                                                           Page1325
                                                                 of 2of PageID
                                                                        349 PageID
                                                                               561 #:
                                       3689




                                                                                   325
Case 1:15-cr-00072-TWP-DML
  Case  1:15-cr-00072-TWP-DMLDocument 148-1
                               Document     Filed02/26/16
                                        88 Filed  12/12/16 Page
                                                           Page2326
                                                                 of 2of PageID
                                                                        349 PageID
                                                                               562 #:
                                       3690




                                                                                   326
   Case
    Case1:15-cr-00072-TWP-DML
          1:15-cr-00072-TWP-DMLDocument
                                Document148-1 Filed 06/13/16
                                          105 Filed 12/12/16 Page
                                                             Page 1
                                                                  327  of 349
                                                                    of 7      PageID
                                                                          PageID 641#:
                                         3691
AO 245B        (Rev. 09/13) Judgment in a Criminal Case
               Sheet 1



                                         UNITED STATES DISTRICT COURT
                                                    Southern    District of        Indiana
                                                                       )
            UNITED STATES OF AMERICA                                   )      JUDGMENT IN A CRIMINAL CASE
                                   v.                                  )
                                                                       )
                        ALI AL-AWADI                                   )      Case Number: 1:15CR00072-001
                                                                       )
                                                                              USM Number: 12616-028
                                                                       )
                                                                       )      Ross G. Thomas
                                                                              Defendant’s Attorney
THE DEFENDANT:
   pleaded guilty to count(s)
   pleaded nolo contendere to count(s)
   which was accepted by the court.
   was found guilty on count(s) 1, 2, 4, and 7
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

   Title & Section              Nature of Offense                                                Offense Ended             Count

 18 U.S.C. § 2251(a)            Sexual Exploitation of a Child                                       8/21/2014               1
 18 U.S.C. § 2251(a)            Sexual Exploitation of a Child                                       8/21/2014               2
 18 U.S.C. § 2251(a)            Sexual Exploitation of a Child                                       8/21/2014               4
 18 U.S.C. § 2251(a)            Attempted Sexual Exploitation of a Child                             8/21/2014               7


       The defendant is sentenced as provided in pages 2 through              5    of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
   The defendant has been found not guilty on count(s) 3
   Count(s) 5,6, and 8                                     is      are dismissed on the motion of the United States.

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If
ordered to pay restitution, the defendant must notify the court and United States attorney of material changes in economic
circumstances.

                                                                    6/2/2016
                                                                    Date of Imposition of Judgment



          A CERTIFIED TRUE COPY                                     ________________________
          Laura A. Briggs, Clerk                                    Hon. Tanya Walton Pratt, Judge
          U.S. District Court
          Southern District of Indiana
                                                                    United States District Court
                                                                    Southern District of Indiana
          By
                                Deputy Clerk
                                                                      6/13/2016
                                                                    Date
                                                                                                                                   327
  Case
   Case1:15-cr-00072-TWP-DML
         1:15-cr-00072-TWP-DMLDocument
                               Document148-1 Filed 06/13/16
                                         105 Filed 12/12/16 Page
                                                            Page 2
                                                                 328  of 349
                                                                   of 7      PageID
                                                                         PageID 642#:
                                        3692
AO 245B    (Rev. 09/13) Judgment in Criminal Case
           Sheet 2 — Imprisonment

                                                                                                       Judgment — Page       2   of     5
 DEFENDANT:              ALI AL-AWADI
 CASE NUMBER:             1:15CR00072-001

                                                             IMPRISONMENT

          The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
 total term of:     324 months per count, concurrent.

          The court makes the following recommendations to the Bureau of Prisons:


          The defendant is remanded to the custody of the United States Marshal.

           The defendant shall surrender to the United States Marshal for this district:
              at                                      a.m.        p.m.       on                                          .
              as notified by the United States Marshal.

          The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
              before 2 p.m. on                                           .
              as notified by the United States Marshal.
              as notified by the Probation or Pretrial Services Office.


                                                                 RETURN
 I have executed this judgment as follows:




          Defendant delivered on                                                       to

 at                                                 , with a certified copy of this judgment.


                                                                                                UNITED STATES MARSHAL


                                                                         By
                                                                                        DEPUTY UNITED STATES MARSHAL




                                                                                                                                      328
  Case
   Case1:15-cr-00072-TWP-DML
         1:15-cr-00072-TWP-DMLDocument
                               Document148-1 Filed 06/13/16
                                         105 Filed 12/12/16 Page
                                                            Page 3
                                                                 329  of 349
                                                                   of 7      PageID
                                                                         PageID 643#:
                                        3693
AO 245B      (Rev. 09/13) Judgment in a Criminal Case
             Sheet 3 — Supervised Release
                                                                                                                    Judgment—Page             3   of     5
 DEFENDANT:                ALI AL-AWADI
 CASE NUMBER:               1:15CR00072-001
                                                         SUPERVISED RELEASE
 Upon release from imprisonment, the defendant shall be on supervised release for a term of : 15 years per count, concurrent.


 The defendant shall not commit another federal, state or local crime.
 The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a
 controlled substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two
 periodic drug tests thereafter.
        The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of
        future substance abuse. (Check, if applicable.)
        The defendant shall cooperate in the collection of DNA as directed by the probation officer.                (Check, if applicable.)

        The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16913,
        et seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or
        she resides, works, is a student, or was convicted of a qualifying offense. (Check, if applicable.)
        The defendant shall participate in an approved program for domestic violence.              (Check, if applicable.)

          If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance
 with the Schedule of Payments sheet of this judgment.
             The defendant must comply with the conditions listed below:

                                                CONDITIONS OF SUPERVISION
   1.     You shall report to the probation office in the district to which you are released within 72 hours of release from the custody of the Bureau of
          Prisons.

   2.     You shall report to the probation officer in a manner and frequency directed by the court or probation officer.

   3.     You shall permit a probation officer to visit you at a reasonable time at home or elsewhere and shall permit confiscation of any contraband
          observed in plain view of the probation officer.

   4.     You shall not knowingly leave the judicial district without the permission of the court or probation officer.

   5.     You shall answer truthfully the inquiries by the probation officer, subject to your 5th Amendment privilege.

   6.     You shall not meet, communicate, or otherwise interact with a person you know to be engaged, or planning to be engaged, in criminal activity.
          You shall report any contact with persons you know to be convicted felons to your probation officer within 72 hours of the contact.

   7.     You shall reside at a location approved by the probation officer and shall notify the probation officer at least 72 hours prior to any planned
          change in place or circumstances of residence or employment (including, but not limited to, changes in residence occupants, job positions,
          job responsibilities). When prior notification is not possible, you shall notify the probation officer within 72 hours of the change.

   8.     You shall not own, possess, or have access to a firearm, ammunition, destructive device or dangerous weapon.

   9.     You shall notify the probation officer within 72 hours of being arrested, charged, or questioned by a law enforcement officer.

   10. You shall maintain lawful full time employment, unless excused by the probation officer for schooling, vocational training, or other reasons
       that prevent lawful employment.

   11. As directed by the probation officer, you shall notify third parties who may be impacted by the nature of the conduct underlying your current
       or prior offense(s) of conviction and shall permit the probation officer to make such notifications and/or confirm your compliance with this
       requirement.

   12. You shall make a good faith effort to follow instructions of the probation officer necessary to ensure compliance with the conditions of
       supervision.



                                                                                                                                                       329
  Case
   Case1:15-cr-00072-TWP-DML
         1:15-cr-00072-TWP-DMLDocument
                               Document148-1 Filed 06/13/16
                                         105 Filed 12/12/16 Page
                                                            Page 4
                                                                 330  of 349
                                                                   of 7      PageID
                                                                         PageID 644#:
                                        3694
AO 245B   (Rev. 09/13) Judgment in a Criminal Case
          Sheet 3 — Supervised Release
                                                                                                Judgment—Page                  3.01     of    5
 DEFENDANT:             ALI AL-AWADI
 CASE NUMBER:            1:15CR00072-001



  13. You shall submit to the search by the probation officer of your person, vehicle, office/business, residence, and property, including any
      computer systems and hardware or software systems, electronic devices, telephones, and Internet-enabled devices, including the data
      contained in any such items, whenever the probation officer has a reasonable suspicion that a violation of a condition of supervision or other
      unlawful conduct may have occurred or be underway involving you and that the area(s) to be searched may contain evidence of such violation
      or conduct. Other law enforcement may assist as necessary. You shall submit to the seizure of contraband found by the probation officer.
      You shall warn other occupants these locations may be subject to searches.

  14. You shall consent, at the direction of the probation officer, to having installed on your computer(s), telephones(s), electronic devices, and
      any hardware or software, systems to monitor your use of these items. Monitoring will occur on a random and/or regular basis. You will
      warn other occupants or uses of the existence of the monitoring hardware or software. To promote the effectiveness of this monitoring, you
      shall disclose in advance all cellular phones, electronic devices, computers, and any hardware or software to the probation officer and may
      not access or use any undisclosed equipment. You shall pay some or all of the costs associated with the monitoring, in accordance with your
      ability to pay.

  15. You shall participate in a program of treatment for sexual disorders, including periodic polygraph examinations, as directed by the probation
      officer. The treatment provider should determine the type and timing of such polygraph examinations. The court authorizes the release of
      the presentence report and available psychological evaluations to the provider, as approved by the probation officer. You shall pay some or
      all of the costs of treatment, in accordance with your ability to pay.

  16. You shall not possess any obscene material, child pornography, child erotica, or nude images of minors. Any such material found in your
      possession shall be considered contraband and will be confiscated by the probation officer.

  17. You shall not have any unsupervised meetings, non-incidental communications, activities, or visits with any minor, unless they have been
      disclosed to the probation officer and approved by the court. In determining whether to recommend approval of such activities involving
      members of your family, the probation officer shall determine if you have notified the persons having custody of any such minors about the
      conviction in this case and the fact that you are under supervision. If this notification has been made, and if the person having custody
      consents to these activities, then this condition is not intended to prevent recommended approval of the activity.

  18. You shall not engage in any meetings, communications, activities, or visits with any of the victim(s) involved in this case or members of the
      family of such victim(s) without prior approval from the court.

  19. You shall not be employed in any position or participate as a volunteer in any activity that involves unsupervised meetings, non-incidental
      communications, activities, or visits with minors except as disclosed to the probation officer and approved by the court.

  20. You shall not participate in unsupervised meetings, non-incidental communications, activities, or visits with person you know to be a
      registered sex offender or to have been convicted of a felony sex offense involving an adult or minor, including any child pornography
      offense, except as disclosed to the probation officer and approved by the court. This condition is not intended to prevent you from
      participating in mental health treatment or religious services with felons in such programs so long as the activity has been disclosed as
      described above.

  21. You are prohibited from entering any place primarily frequented by children under the age of 18, including parks, schools, playgrounds, and
      childcare facilities.

  22. You shall not remain at a place for the primary purpose of observing or contacting children under the age of 18.




                                                                                                                                             330
    Case
     Case1:15-cr-00072-TWP-DML
           1:15-cr-00072-TWP-DMLDocument
                                 Document148-1 Filed 06/13/16
                                           105 Filed 12/12/16 Page
                                                              Page 5
                                                                   331  of 349
                                                                     of 7      PageID
                                                                           PageID 645#:
                                          3695
 AO 245B      (Rev. 09/13) Judgment in a Criminal Case
              Sheet 3 — Supervised Release
                                                                                                     Judgment—Page                   3.02     of    5
 DEFENDANT:                ALI AL-AWADI
 CASE NUMBER:               1:15CR00072-001



I understand that I and/or the probation officer may petition the Court to modify these conditions, and the final decision to modify these terms lies with
the Court. If I believe these conditions are being enforced unreasonably, I may petition the Court for relief or clarification; however, I must comply
with the directions of my probation officer unless or until the Court directs otherwise. Upon a finding of a violation of probation or supervised release,
I understand that the court may (1) revoke supervision, (2) extend the term of supervision, and/or (3) modify the condition of supervision.

These conditions have been read to me. I fully understand the conditions and have been provided a copy of them.


 (Signed)
                                   Defendant                                                     Date


                                   U.S. Probation Officer/Designated Witness                     Date




                                                                                                                                                   331
    Case
     Case1:15-cr-00072-TWP-DML
           1:15-cr-00072-TWP-DMLDocument
                                 Document148-1 Filed 06/13/16
                                           105 Filed 12/12/16 Page
                                                              Page 6
                                                                   332  of 349
                                                                     of 7      PageID
                                                                           PageID 646#:
                                          3696
 AO 245B    (Rev. 09/13) Judgment in a Criminal Case
            Sheet 5 — Criminal Monetary Penalties
                                                                                                    Judgment — Page      4       of     5
  DEFENDANT:              ALI AL-AWADI
  CASE NUMBER:             1:15CR00072-001

                                              CRIMINAL MONETARY PENALTIES
       The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                         Assessment                                     Fine                                Restitution
  TOTALS             $ 400.00                                       $                                    $ 9,000.00

       The determination of restitution is deferred until               . An Amended Judgment in a Criminal Case (AO 245C) will be
       entered after such determination.

       The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

       If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified
       otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal
       victims must be paid before the United States is paid.

           Name of Payee                         Total Loss*                     Restitution Ordered                  Priority or Percentage
              Child 1
                                                   $9,000.00                            $9,000.00




  TOTALS                                $                                  $

        Restitution amount ordered pursuant to plea agreement $         9,000.00

        The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
        fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be
        subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).
        The court determined that the defendant does not have the ability to pay interest and it is ordered that:

             the interest requirement is waived for the         fine           restitution.

             the interest requirement for the            fine      restitution is modified as follows:

* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed
on or after September 13, 1994, but before April 23, 1996.


                                                                                                                                      332
  Case
   Case1:15-cr-00072-TWP-DML
         1:15-cr-00072-TWP-DMLDocument
                               Document148-1 Filed 06/13/16
                                         105 Filed 12/12/16 Page
                                                            Page 7
                                                                 333  of 349
                                                                   of 7      PageID
                                                                         PageID 647#:
                                        3697
AO 245B   (Rev. 09/13) Judgment in a Criminal Case
          Sheet 6 — Schedule of Payments

                                                                                                              Judgment — Page        5       of    5
 DEFENDANT:             ALI AL-AWADI
 CASE NUMBER:            1:15CR00072-001
                                                     SCHEDULE OF PAYMENTS
 Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

 A        Lump sum payment of                                due immediately, balance due
                not later than                                   , or
                in accordance              C           D          E, or         G below; or
 B        Payment to begin immediately (may be combined with                    C,           D, or           G below); or
 C        Payment in equal                        (e.g., weekly, monthly, quarterly) installments of $                      over a period of
                          (e.g., months or years), to commence                       (e.g., 30 or 60 days) after the date of this judgment; or

 D        Payment in equal                       (e.g., weekly, monthly, quarterly) installments of $                    over a period of
                        (e.g., months or years), to commence                     (e.g., 30 or 60 days) after release from imprisonment to a
          term of supervision; or
 E        Payment during the term of supervised release will commence within              (e.g., 30 or 60 days) after release from
          imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

 F         If this case involves other defendants, each may be held jointly and severally liable for payment of all or part of the
           restitution ordered herein and the Court may order such payment in the future. The victims' recovery is limited to the
           amount of loss, and the defendant's liability for restitution ceases if and when the victims receive full restitution.
 G         Special instructions regarding the payment of criminal monetary penalties:
          Any unpaid restitution balance during the term of supervision shall be paid at a rate of not less than 10% of the defendant’s
          gross monthly income.


 Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is
 due during imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’
 Inmate Financial Responsibility Program, are made to the clerk of the court.

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.
      Joint and Several
      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.
                   Defendant Name                                     Case Number                                Joint & Several Amount




      The defendant shall pay the cost of prosecution.
      The defendant shall pay the following court cost(s):
      The defendant shall forfeit the defendant’s interest in the following property to the United States:
      The cellular phone used in the offenses.

 Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
 (5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.




                                                                                                                                             333
Case
 Case1:15-cr-00072-TWP-DML
       1:15-cr-00072-TWP-DMLDocument
                             Document148-1 Filed 06/22/16
                                       107 Filed 12/12/16 Page
                                                          Page 1
                                                               334  of 349
                                                                 of 1      PageID
                                                                       PageID 652#:
                                      3698



                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF INDIANA
                                   INDIANAPOLIS DIVISION

   UNITED STATES OF AMERICA, )
                                               )
                 Plaintiff,                    )
                                               )
          vs.                                  )      1:15-cr-0000072-TWP-DML
                                               )
   ALI AL-AWADI,                               )
                                               )
                 Defendant.                    )

                                    NOTICE OF APPEAL

          Notice is hereby given that Ali Al-Awadi, defendant in the above-captioned cause,

   appeals to the United States Court of Appeals for the Seventh Circuit from the sentence imposed

   thereon by the Hon. Judge Tonya Walton Pratt on June 2, 2016 and from the final Judgment of

   Conviction entered on June 13, 2016.

                                               Respectfully submitted,


                                               s/ Ross G. Thomas______

                                               Ross G. Thomas, #18453-49
                                               Attorney for the Defendant

                                    CERTIFICATE OF SERVICE

         The undersigned hereby certifies that a copy of the foregoing has been served by
   email, via the USDC Electronic Filing System, to the AUSA assigned to this case at the
   time of filing.
                                                       s/ Ross G. Thomas______

                                                      Ross G. Thomas
                                                      Attorney for the Defendant
   Ross G. Thomas
   Attorney #18453-49
   3728 N. Delaware Street
   Indianapolis, IN 46205-3434
   Tel. (317) 920-2840




                                                                                                     334
Case
 Case1:15-cr-00072-TWP-DML
       1:15-cr-00072-TWP-DMLDocument
                             Document148-1 Filed 06/22/16
                                       108 Filed 12/12/16 Page
                                                          Page 1
                                                               335  of 349
                                                                 of 2      PageID
                                                                       PageID 653#:
                                      3699
                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF INDIANA
                                     INDIANAPOLIS DIVISION

   UNITED STATES OF AMERICA, )
                                               )
                    Plaintiff,                 )
                                               )
            vs.                                )      1:15-cr-0000072-TWP-DML
                                               )
   ALI AL-AWADI,                               )
                                               )
                    Defendant.                 )
                  ____________________________________________________

             SEVENTH CIRCUIT RULE 3(C) DOCKETING STATEMENT



   This is a direct appeal from a criminal conviction in the United States District Court for the

   Southern District of Indiana, Indianapolis Division, obtained following a sentencing hearing

   which concluded on June 2, 2016, 2016, with a judgment of conviction and sentencing order on

   being entered on June 13, 2016. No motions for new trial have been filed. There are no related

   cases.

   The jurisdiction of the United States District Court was conferred pursuant to 18 U.S.C.3231.

   The United States Court of Appeals for the Seventh Circuit has jurisdiction pursuant to 28U.S.C.

   1291 and 1294(1). Mr. Ali Al-Awadi’s Notice of Appeal was timely filed herein on June 22,

   2016.


                                                      Respectfully submitted,

                                                      s/ Ross G. Thomas______

                                                      Ross G. Thomas, #18453-49
                                                      Attorney for the Defendan




                                                                                                      335
Case
 Case1:15-cr-00072-TWP-DML
       1:15-cr-00072-TWP-DMLDocument
                             Document148-1 Filed 06/22/16
                                       108 Filed 12/12/16 Page
                                                          Page 2
                                                               336  of 349
                                                                 of 2      PageID
                                                                       PageID 654#:
                                      3700



                                    CERTIFICATE OF SERVICE

         The undersigned hereby certifies that a copy of the foregoing has been served by
   email, via the USDC Electronic Filing System, to the AUSA assigned to this case at the
   time of filing.




                                                      s/ Ross G. Thomas______

                                                      Ross G. Thomas
                                                      Attorney for the Defendant




   Ross G. Thomas
   Attorney #18453-49
   3728 N. Delaware Street
   Indianapolis, IN 46205-3434
   Tel. (317) 920-2840
   Fax (317) 920-2875




                                                                                            336
         Case
          Case1:15-cr-00072-TWP-DML
               1:15-cr-00072-TWP-DML Document
                                      Document148-1 Filed07/08/16
                                               116 Filed  12/12/16 Page
                                                                   Page1337
                                                                         of 1of PageID
                                                                                349 PageID
                                                                                       1128#:
                                               3701
                         SEVENTH CIRCUIT TRANSCRIPT INFORMATION SHEET
 PART I – M ust be com pleted by party or party’s attorney pursuant to Rule 10(b) of the Federal R ules of Appellate Procedure and
 R ule 11(a) of the C ircuit R ules. T he appellant m ust file this form with the court reporter within 14 days of filing the notice of appeal,
 whether transcript is being ordered or not. (FR AP 10(b)(1)) Satisfactory arrangem ents with the court reporter for paym ent of the
 costs of the transcripts m ust also be m ade at that tim e. (F R AP 10(b)(4)) (N ote: Appellees as well as appellants are expected to
 use this form when ordering transcripts.)

 Short Title                                                              District                              D.C. Docket No.

 United States of America vs. Ali Al-Awadi                               Southern Dist. of Indiana 1:15-cr-72-TWP-DML
                                                                          District Judge                        Court Reporter
                                                                         Tonya Walton Pratt                  David Moxley
  ✔     I am ordering transcript.
                                                                          Sign below and return original and one copy to court reporter.
        I am not ordering transcript because:                             D istribute rem aining copies to the C lerk of the District C ourt
                                                                          and opposing party, retaining one copy for yourself.
        T he transcript has been prepared.

 Indicate proceedings for which transcript is required. Dates m ust be provided:                                            D ate(s)

           Pretrial proceedings. Specify:

           Voir D ire

                                 Jury Trial                                                                      2/22/16-2/26/2016
 T rial or H earing. Specify:

           O pening statem ent

           Instruction conference

                                                                                                                 2/26/2016
  ✔        C losing statem ents

           C ourt instructions

           Post-trial proceedings. Specify:

  ✔        Sentencing                                                                                            10/02/2016

           O ther proceedings. Specify:



 M ethod of P aym ent:           C ash                               C heck or M oney O rder                        C .J.A. Voucher
 Status of P aym ent:            Full Paym ent                       Partial Paym ent                        ✔      N o Paym ent Yet

 Signature:          s/ Ross G. Thomas                                                                T elephone N o. 317-920-2840
 Address:            3728 N. Delaware Street
                     Indianapolis, IN 46205
                    _________________________________________________________                               July 8, 2016
                                                                                                      Date: __________________________


 PAR T II – M ust be com pleted by C ourt R eporter pursuant to Rule 11(b) of the F ederal R ules of A ppellate P rocedure. By signing
 this Part II, the C ourt R eporter certifies that satisfactory arrangem ents for paym ent have been m ade.

 U.S.C.A. Docket No.                     Date Order Received              Estimated Completion Date             Estimated Length




                                    s/
 Signature of C ourt R eporter:                                                                        D ate:

 N O T IC E: T he Judicial C onference of the United States, by its resolution of M arch 11, 1 98 2, has provided that a penalty of 10
 percent m ust apply, unless a waiver is granted by the C ou rt of Appeals’ C lerk , when a “transcript of a case on appeal is not
 delivered within 30 days of the date ordered and paym ent received therefor.” T he penalty is 20 percent for transcript not delivered
 within 60 days.
O riginal to C ourt R eporter. C opies to:      U .S.C .A. C lerk   Service Copy     District Court Clerk and to      Party / Counsel 337
O rdering T ranscript.
Case
 Case1:15-cr-00072-TWP-DML
      1:15-cr-00072-TWP-DML Document
                             Document148-1 Filed09/26/16
                                      134 Filed  12/12/16 Page
                                                          Page1338
                                                                of 2of PageID
                                                                       349 PageID
                                                                              2062#:
                                      3702


                                    UNITED STATES DISTRICT COURT
                                    SOUTHERN DISTRICT OF INDIANA
                                        INDIANAPOLIS DIVISION

   UNITED STATE OF AMERICA                   )
                                             )
           Plaintiff-Appellee                )
                                             )
                                             )
   vs.                                       )        No. 1:15-cr-72-TWP-DML
                                             )
          ALI AL-AWADI,                      )
   Defendant-Appellant                       )


                                       DESIGNATION OF RECORD

           Comes now Charles C. Hayes, attorney for the defendant-appellant, Ali Al-Awadi, and submits his

   designation of the record herein. Attached hereto is a copy of the district court docket sheet with the

   document number, date of filing, and the title of the documents that the Defendant designates to be

   included in the appeal records, highlighted in green.

                                                                       Respectfully Submitted,

                                                                       s/ Charles C. Hayes

                                                                       Charles C. Hayes # 24220-53
                                                                       Attorney for Defendant-Appellant




                                                                                                             338
Case
 Case1:15-cr-00072-TWP-DML
      1:15-cr-00072-TWP-DML Document
                             Document148-1 Filed09/26/16
                                      134 Filed  12/12/16 Page
                                                          Page2339
                                                                of 2of PageID
                                                                       349 PageID
                                                                              2063#:
                                      3703




                                  CERTIFICATE OF SERVICE

           The undersigned hereby certifies that on September 26, 2016, a copy of the foregoing was
    electronically filed with the Clerk of the District Court. Participants in the case who are
   registered CM/ECF users will be served by the CM/ECF system.
           I further certify that some of the participants in the case are not CM/ECF users. I have
   mailed the foregoing document via first-class mail, postage prepaid, to the following non-CM-
   ECF participants:
                                    Mr. Ali-Awadi
                                    Grayson Detention Center
                                    320 Shaw Station Road
                                    Leitchfield, KY 42754


                 .
                                                              Respectfully Submitted,

                                                              s/ Charles C. Hayes

                                                              Charles Hayes # 24220-53
                                                              Attorney for Defendant-Appellant

   Charles C. Hayes, Attorney at Law
   141 E. Washington Street Ste 225
   Indianapolis, IN 46204
   Tel: 317-491-1050
   Fax: 317-491-1043




                                                                                                      339
Case 1:15-cr-00072-TWP-DML
Case 1:15-cr-00072-TWP-DML Document
                           Document 134-1
                                    148-1 Filed
                                          Filed 09/26/16
                                                12/12/16 Page
                                                         Page 1340 of 349
                                                                of 10     PageID
                                                                       PageID    #:
                                                                              2064
                                     3704




                                                                                 340
Case 1:15-cr-00072-TWP-DML
Case 1:15-cr-00072-TWP-DML Document
                           Document 134-1
                                    148-1 Filed
                                          Filed 09/26/16
                                                12/12/16 Page
                                                         Page 2341 of 349
                                                                of 10     PageID
                                                                       PageID    #:
                                                                              2065
                                     3705




                                                                                 341
Case 1:15-cr-00072-TWP-DML
Case 1:15-cr-00072-TWP-DML Document
                           Document 134-1
                                    148-1 Filed
                                          Filed 09/26/16
                                                12/12/16 Page
                                                         Page 3342 of 349
                                                                of 10     PageID
                                                                       PageID    #:
                                                                              2066
                                     3706




                                                                                 342
Case 1:15-cr-00072-TWP-DML
Case 1:15-cr-00072-TWP-DML Document
                           Document 134-1
                                    148-1 Filed
                                          Filed 09/26/16
                                                12/12/16 Page
                                                         Page 4343 of 349
                                                                of 10     PageID
                                                                       PageID    #:
                                                                              2067
                                     3707




                                                                                 343
Case 1:15-cr-00072-TWP-DML
Case 1:15-cr-00072-TWP-DML Document
                           Document 134-1
                                    148-1 Filed
                                          Filed 09/26/16
                                                12/12/16 Page
                                                         Page 5344 of 349
                                                                of 10     PageID
                                                                       PageID    #:
                                                                              2068
                                     3708




                                                                                 344
Case 1:15-cr-00072-TWP-DML
Case 1:15-cr-00072-TWP-DML Document
                           Document 134-1
                                    148-1 Filed
                                          Filed 09/26/16
                                                12/12/16 Page
                                                         Page 6345 of 349
                                                                of 10     PageID
                                                                       PageID    #:
                                                                              2069
                                     3709




                                                                                 345
Case 1:15-cr-00072-TWP-DML
Case 1:15-cr-00072-TWP-DML Document
                           Document 134-1
                                    148-1 Filed
                                          Filed 09/26/16
                                                12/12/16 Page
                                                         Page 7346 of 349
                                                                of 10     PageID
                                                                       PageID    #:
                                                                              2070
                                     3710




                                                                                 346
Case 1:15-cr-00072-TWP-DML
Case 1:15-cr-00072-TWP-DML Document
                           Document 134-1
                                    148-1 Filed
                                          Filed 09/26/16
                                                12/12/16 Page
                                                         Page 8347 of 349
                                                                of 10     PageID
                                                                       PageID    #:
                                                                              2071
                                     3711




                                                                                 347
Case 1:15-cr-00072-TWP-DML
Case 1:15-cr-00072-TWP-DML Document
                           Document 134-1
                                    148-1 Filed
                                          Filed 09/26/16
                                                12/12/16 Page
                                                         Page 9348 of 349
                                                                of 10     PageID
                                                                       PageID    #:
                                                                              2072
                                     3712




                                                                                 348
 Case1:15-cr-00072-TWP-DML
Case  1:15-cr-00072-TWP-DML Document
                             Document134-1
                                      148-1 Filed
                                             Filed09/26/16
                                                   12/12/16 Page
                                                             Page10
                                                                  349
                                                                    of of
                                                                       10349 PageID
                                                                           PageID   #:
                                                                                  2073
                                       3713




                                                                                   349
